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               Exhibit 1
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                              iii^S:
                              Ercak:,                  WESTON Ref. No.
                              Other:
                         L                                   00-0388

                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                             WESTERN DIVISION



UNITED STATES OF AMERICA,
STATE OF CONNECTICUT,
COMMONWEALTH OF
MASSACHUSETTS,                          CIVIL ACTION NO'S.

          Plaintiffs,



GENERAL ELECTRIC
COMPANY,

          Defendant



                            CONSENT DECREE




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                                    I BACKGROUND

       A      The United States of America ("United States"), on behalf of the

Administrator of the United States Environmental Protection Agency ("EPA"), the United

States Department of Interior ("DOI"), and the National Oceanic and Atmospheric

Administration ("NOAA"), filed a complaint in this matter pursuant to Sections 106 and

107 of the Comprehensive Environmental Response, Compensation, and Liability Act

("CERCLA"), 42 U S C §§ 9606 and 9607, Sections 3008 and 7003 of the Resource

Conservation and Recovery Act ("RCRA"), 42 U S C §§ 6928 and 6973, and other

federal statutes

       B      The United States in its complaint seeks, inter alia (1) reimbursement of

costs incurred and to be incurred by EPA and the Department of Justice for response

actions with regard to the GE-Pittsfield/Housatonic River Site ("Site"), together with

accrued interest, (2) performance of studies and response work by the defendant at the

Site and (3) damages for injury to, destruction of, or loss of natural resources, and for

costs of assessing natural resource damages together with accrued interest

      C       In accordance with the National Contingency Plan ("NCP"), 40 C F R Part

300 and Section 121(f)(1)(F) of CERCLA, 42 U S C § 9621(0(1 )(F), EPA notified the

Commonwealth of Massachusetts (the "State," the "Commonwealth" or

"Massachusetts") of negotiations with the General Electric Company ("Settling

Defendant"), regarding the implementation of the response actions for the Site, and
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EPA has provided the State with an opportunity to participate in such negotiations and

be a party to this Consent Decree

       D.     The State has filed a complaint against the defendant in this Court

alleging that the defendant is liable to the State under Section 107 of CERCLA, 42

U S C § 9607 and M G.L. c. 21E for, inter alia (1) reimbursement of costs incurred and

to be incurred by the State for response actions with regard to the Site, together with

accrued interest, (2) performance of studies and response work by the defendant at the

Site, and (3) damages for injury to, destruction of, or loss of natural resources, and for

costs of assessing natural resource damages, together with accrued interest The

State's action has been consolidated with the action of the United States

       E      The State of Connecticut ("Connecticut") has filed a complaint against the

defendant in this Court alleging that the defendant is liable to Connecticut under

Section 107 of CERCLA, 42 U S C § 9607, and Conn Gen Stat §§ 22a-6(a)(3), 22a­

6a, 22a-16, 22a-427, 22a-432 and 22a-451, seeking, inter alia (1) reimbursement of

costs incurred and to be incurred by Connecticut for response actions with regard to

the Site, together with accrued interest, (2) performance of studies and response work

by the defendant at the Site, and (3) damages for injury to, destruction of, or loss of

natural resources, and for costs of assessing natural resource damages, together with

accrued interest Connecticut's action has been consolidated with the action of the

United States.

       F.     In accordance with Section 122(j)(1) of CERCLA, 42 U.S.C §9622(j)(1),

EPA notified the DOI and NOAA of negotiations with General Electric regarding the

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release of hazardous substances that may have resulted in injury to natural resources

under Federal trusteeship and encouraged the trustee(s) to participate in the

negotiation of this Consent Decree

       G      The City of Pittsfield, Massachusetts ("City") and the Pittsfield Economic

Development Authority ("PEDA") are joined in this proceeding pursuant to Fed R Civ

P 19

       H      Settling Defendant does not admit any liability to the Plaintiffs arising out

of the transactions or occurrences alleged in the complaints, nor does it acknowledge

that the release or threatened release of hazardous substance(s) at or from the Site

constitutes or may present an imminent or substantial endangerment to the public

health or welfare or the environment

       I      On February 11, 1991, EPA issued to Settling Defendant a permit in

compliance with RCRA, to require corrective action activities related to Settling

Defendant's Pittsfield, Massachusetts facility pursuant to Sections 3004(u), 3004(v),

3005(c) and 3005(h) of RCRA, 42 U S C §§ 6924(u), 6924(v), 6925(c) and 6925(h)

Settling Defendant as well as Massachusetts, Connecticut and another private party

appealed the terms of that Permit, and on December 21, 1993, EPA issued a modified

Permit for the facility The modified Permit became effective on January 3, 1994

       J     On May 22, 1990 and July 2, 1990, the Massachusetts Department of

Environmental Protection ("MADEP") issued to Settling Defendant, and Settling

Defendant consented to, two Administrative Consent Orders (the "ACOs") The ACOs

require Settling Defendant to perform response actions pursuant to M G L c 21E at its
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industrial facility in Pittsfield and related areas including, but not limited to, the

+iousatonic River and Silver Lake and their floodplains, Allendale School, filled former

Oxbows along the Housatonic River, and Unkamet Brook and its floodpiain.

       K.     Settling Defendant has been performing investigations and response

activities pursuant to the Permit and the ACOs.

       L.     Pursuant to Section 105 of CERCLA, 42 U.S.C. § 9605, EPA proposed

the Site for placement on the National Priorities List, set forth at 40 C.F.R. Part 300,

Appendix B, by publication in the Federal Register on September 25, 1997. Settling

Defendant submitted comments to EPA in opposition to that proposal.

       M      On May 26, 1998, EPA issued a combined Action and Engineering

Evaluation/Cost Analysis Approval Memorandum regarding the Upper 2 - Mile Reach of

the Housatonic River ("Upper Reach Action Memorandum").             The Upper Reach Action

Memorandum authorizes a removal action for the Upper V* Mile Reach and further

investigation and evaluation of removal action alternatives for the 1 Vz Mile Reach

Settling Defendant submitted comments to EPA in opposition to the Upper Reach

Action Memorandum. EPA issued written responses to the comments on the Upper

Reach Action Memorandum.

       N      In the Fall of 1997, the Parties re-instituted settlement negotiations to

resolve the United States', Massachusetts', and Connecticut's claims for response

actions, response costs and natural resource damages in connection with the GE-

Pittsfield/Housatonic River Site. As a result of those negotiations, the Parties have

reached the settlement embodied in this Consent Decree.
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       O      In addition to this Consent Decree, Settling Defendant, the City and PEDA

have entered into a Definitive Economic Development Agreement providing inter alia

for redevelopment of a portion of the GE Plant Area, in part through the transfer of

portions of the GE Plant Area to PEDA, and economic aid to the City Pursuant to this

Consent Decree, PEDA is participating in the compensation to the Trustees for Natural

Resource Damages

       P      On July 12, 1999, EPA issued an Action Memorandum for the Allendale

School Removal Action In that Action Memorandum, EPA selected a removal action

for the Allendale School In addition, on August 5, 1999, EPA issued an Action

Memorandum for Removal Actions Outside the River        In that Action Memorandum

EPA selected removal actions for the Removal Actions Outside the River

       Q      Based on the information presently available to EPA and the State EPA

and the State believe that the Work will be properly and promptly conducted by Settling

Defendant if conducted in accordance with the requirements of this Consent Decree

and its appendices

       R      Solely for the purposes of Section 113Q) of CERCLA, the response

actions selected and the Work to be performed by Settling Defendant shall constitute

response actions taken or ordered by the President

      S      The Parties recognize, and the Court by entering this Consent Decree

finds, that this Consent Decree has been negotiated by the Parties in good faith and

implementation of this Consent Decree will expedite the cleanup of the Site, restore

part of the Site to productive economic use, expedite restoration of natural resources

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and avoid prolonged and complicated litigation between the Parties, and that this

Consent Decree is fair, reasonable, and in the public interest.

       NOW, THEREFORE, it is hereby Ordered, Adjudged, and Decreed

                                    II JURISDICTION

       1      This Court has jurisdiction over the subject matter of this action pursuant

to 28 U S C §§ 1331 and 1345, 42 U S C §§ 9606, 9607, and 9613(b), 42 U S C

§§ 6928 and 6973, 33 U.S C § 1319, and 15 U.S C. § 2606. This Court has pendent

jurisdiction over the state law claims This Court also has personal jurisdiction over

Settling Defendant Solely for the purposes of this Consent Decree and the underlying

complaints, Settling Defendant, the City, and PEDA waive all objections and defenses

that they may have to jurisdiction of the Court or to venue in this District Settling

Defendant, the City and PEDA shall not challenge the terms of this Consent Decree or

this Court's jurisdiction to enter and enforce this Consent Decree

                                  III PARTIES BOUND

       2      This Consent Decree applies to and is binding upon the United States, on

behalf of EPA, DOI, NOAA, the Army Corps of Engineers ("ACOE"), the Department of

Defense ("DOD"), the Agency for Toxic Substances Disease Registry ("ATSDR"), and

any other agency which may have authority to administer the statutes cited in

Paragraph 161 (United States' Covenant), upon Massachusetts, upon Connecticut and

upon the City, PEDA, Settling Defendant and their successors and assigns Except as

provided in Paragraph 12, any change in ownership or corporate status of Settling

Defendant, the City or PEDA, including, but not limited to, any transfer of assets or real

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or personal property, shall in no way alter Settling Defendant's, the City's or PEDA's

responsibilities under this Consent Decree

       3      Settling Defendant shall provide a copy of this Consent Decree to each

contractor hired to perform the Work (as defined below) required by this Consent

Decree and to each entity representing Settling Defendant with respect to the Site or

the Work and shall condition all contracts entered into hereunder upon performance of

the Work in conformity with the terms of this Consent Decree. Settling Defendant or its

contractors shall provide written notice of the Consent Decree to all subcontractors

hired to perform any portion of the Work required by this Consent Decree Settling

Defendant shall nonetheless be responsible for ensuring that its contractors and

subcontractors perform the Work contemplated herein in accordance with this Consent

Decree With regard to the activities undertaken pursuant to this Consent Decree, each

contractor and subcontractor shall be deemed to be in a contractual relationship with

the Settling Defendant within the meaning of Section 107(b)(3) of CERCLA, 42 U S C

§ 9607(b)(3) To the extent that PEDA has assumed obligations under this Consent

Decree, it shall comply with the provisions of this Paragraph

                                   IV DEFINITIONS

      4      Unless otherwise expressly provided herein, terms used in this Consent

Decree which are defined in CERCLA, RCRA or in regulations promulgated under

CERCLA or RCRA shall have the meaning assigned to them in CERCLA, RCRA or in

such regulations Whenever terms listed below are used in this Consent Decree or in
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the appendices attached hereto and incorporated hereunder, the following definitions

shall apply

       "1 Vi Mile Reach" or "Housatonic River - Next 1 7* Mile Reach" shall mean the

section of the East Branch of the Housatonic River and its nverbanks, from Lyman

Street to the confluence with the West Branch of the Housatonic River    This term does

not include the Actual/Potential Lawns and other non-nverbank portions of the

floodplain properties adjacent to this Reach

      "1 Vz Mile Reach Removal Action" shall mean the Removal Action for the 1 Vz

Mile Reach to be selected by EPA pursuant to Paragraph 21 of this Consent Decree

      "1 Vz Mile Reach Removal Action Costs" shall mean U S 1 Vz Mile Reach

Removal Action Costs, and the following costs incurred by Settling Defendant (1) costs

of obtaining EREs for the 1 V£ Mile Reach Removal Action, (2) costs to conduct Post-

Removal Site Control activities related to the 1 V* Mile Reach Removal Action, (3)

reimbursement of any costs Incurred by the State to obtain EREs for the 1 Vz Mile

Reach Removal Action, and (4) any other costs incurred by Settling Defendant

pursuant to any requirement of this Consent Decree for the implementation of the 1 Y2

Mile Reach Removal Action

      "1 Vz Mile Reach Removal Action Memo" shall mean the Action Memorandum to

be issued by EPA pursuant to Paragraph 21 of this Consent Decree selectmg the 1 Vz

Mile Reach Removal Action




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       "Action Memorandum for Removal Actions Outside the River" shall mean the

decision document for the Removal Actions Outside the River, attached to this Consent

Decree as Appendix D

       "Actual/Potential Lawns" shall mean all areas of the Housatonic River Floodplain

- Current Residential Properties except the nverbanks and those areas at which the wet

nature or steep slope of the ground surface results in potential exposures that are

inconsistent with residential use For residential properties between the GE Plant Area

and Woods Pond Dam, these areas are generally delineated on Figures 2-7 through 2­

24 of the SOW For residential properties downstream of Woods Pond Dam, the

delineation of these areas will be in accordance with this definition and will be proposed

in the Pre-design Investigation Work Plan for the Actual/Potential Lawns within the

Housatonic River Floodplain - Current Residential Properties

       "Agencies" shall mean the U S Environmental Protection Agency, Region I, and

the Massachusetts Department of Environmental Protection and any successor

departments or agencies

      "Allendale School Property" or "Allendale School" shall mean the school property

located at 180 Connecticut Avenue in Pittsfield, Massachusetts The school property is

bounded to the south and southwest by the GE Plant Area, to the north by Connecticut

Avenue, to the northwest by residential properties along Delaware Avenue, and to the

east by residential properties on Virginia Avenue

      "Appendix IX+3" or "Appendix IX" shall mean, unless otherwise specified in a

given work plan or other document submitted pursuant to this Consent Decree and
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approved by EPA, all compounds listed in Appendix IX of 40 C F R Part 264, plus the

following three additional constituents benzidene, chloroethylviny! ether, and 1 2­

diphenylhydrazine      __                                  ­

       "ARAR" or "Applicable or Relevant and Appropriate Requirement" shall mean

any legally applicable or relevant and appropriate standard, requirement, criteria or

limitation within the meaning of Section 121 of CERCLA, 42 U S C § 9621

       "Building 71 Consolidation Area" shall mean an approximately 5-acre area within

the approximately 57-acre area bounded by New York Avenue on the west, the General

Dynamics parking lot on the east, Tyler Street Extension on the north, and Merrill Road

on the south, as depicted generally on the map attached to this Consent Decree as

Appendix A-3, which will be used for on-plant consolidation of certain materials from the

Site pursuant to this Consent Decree and the work plans included in Annex 1 to the

SOW

      "CERCLA" shall mean the Comprehensive Environmental Response

Compensation, and Liability Act of 1980 as amended, 42 U S C §§ 9601 et seq

      "Chapter 21E" shall mean the Massachusetts Oil and Hazardous Material

Release Prevention and Response Act, codified at Massachusetts General Laws

Chapter 21 E, as amended

      "Citizens' Coordinating Council" shall mean the council established with respect

to the Site, as referenced in Section XXXVI of this Consent Decree

      "City" shall mean the City of Pittsfield, Massachusetts



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         "Commonwealth" or "State" or "Massachusetts" shall mean the Commonwealth

of Massachusetts

       "Conceptual Removal Design/Action Work Plan" or "Conceptual Removal

Design/Removal Action Work Plan" shall mean, for each Removal Action Outside the

River, the conceptual document developed, rf any, pursuant to Paragraph 18 c of this

Consent Decree and approved by EPA, and any amendments thereto

       "Conditional Solution" shall mean a response action that achieves the

Performance Standards for Conditional Solutions described in Paragraphs 34 and 36 of

this Consent Decree and in Sections 2 2, 2 3, 2 5, and 2 6 of the SOW attached to this

Consent Decree

       "Connecticut" shall mean the State of Connecticut

       "Connecticut Future Costs" shall mean all direct and indirect costs Incurred or to

be Incurred by Connecticut at or in connection with the Site on or after September 1

1998

       "Connecticut Past Response Costs" shall mean all costs, including, but not

limited to, direct and indirect costs, that the State of Connecticut paid at or in

connection with the Site through August 31, 1998, plus Interest on all such costs which

has accrued pursuant to 42 U S C § 9607(a) through the lodging of this Consent

Decree

       "Consent Decree" shall mean this document and all appendices attached hereto

(listed in Section XXXV) In the event of conflict between this document and any

appendix, this document shall control

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        "Conservation Easement and Restrictions" or "CER" shall mean an instrument

that grants rights and imposes restrictions running with the land in perpetuity, for the

purpose of protecting a specified area in its current undeveloped condition and/or, as

applicable, for the purpose of ensuring non-interference with the integrity of the

Restoration Work to be performed at a specified area pursuant to this Consent Decree,

including, without limitation (i) access for the purpose of monitoring and inspecting the

area subject to the CER to determine compliance with its terms, (ii) restrictions and

obligations concerning the use of the property subject to the CER, and (iii) the right to

enforce the rights of access, restrictions, and obligations set forth in subclauses (i) and

(ii) of this definition

        "CTDEP" shall mean the Connecticut Department of Environmental Protection,

and any successor departments or agencies of the State of Connecticut

        "Day" shall mean a calendar day unless expressly stated to be a working day

"Working day" shall mean a day other than a Saturday, Sunday, or Federal holiday In

computing any period of time under this Consent Decree, where the last day would fall

on a Saturday, Sunday, or Federal holiday, the period shall run until the close of

business of the next working day.

       "Definitive Economic Development Agreement" shall mean the agreement

entered into by PEDA, the City, and Settling Defendant that provides for, inter alia, the

transfer to PEDA and redevelopment of portions of the GE Plant Area and economic

aid to the City.



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       "Designated Fill Properties" shall mean the off-site properties identified in

Appendix T, which are categorized into two categories: Category 1, which shall consist

of Designated Fill Properties as to which EPA completed its Incurrence of all costs

relating to such properties on or before March 31, 1999, and Category 2, which shall

consist of Designated Fill Properties as to which EPA Incurred costs after March 31,

1999

       "DOD" shall mean the United States Department of Defense, including its

departments, offices, agencies, activities and commands.

       "DOI Future Costs" shall mean direct and indirect costs that DOI Incurs pursuant

to the provisions of this Consent Decree solely for the purposes of dispute resolution

relating to and/or enforcement of only the following Paragraphs of this Consent Decree

Paragraphs 114, 115, 118 (excluding 118 b), 119, 120, 121, 122 and 123 DOI Future

Costs shall not include DOI Oversight Costs

       "DOI Oversight Costs" shall mean all costs, including, but not limited to, direct

and indirect costs, that DOI Incurs after March 31, 1999, in reviewing plans, reports and

other items concerning Restoration Work pursuant to this Consent Decree, verifying the

Work, or otherwise overseeing this Consent Decree, including, but not limited to, payroll

costs, contractor costs, travel costs, and laboratory costs DOI Oversight Costs shall

not include DOI Future Costs

       "DOI Past Assessment Costs" shall mean all costs, including, but not limited to,

direct and indirect assessment costs, that DOI paid at or in connection with the Site



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through March 31, 1999, plus Interest on all such costs which has accrued pursuant to

42 U S C § 9607(a) through the lodging of this Consent Decree

        "Engineered Barrier" shall have the meaning ascribed to that term in the

Massachusetts Contingency Plan and as described further in Attachment G to the

SOW

        "Environmental Restriction and Easement" or "ERE" shall mean an instrument

that grants rights and imposes restrictions and obligations running with the land in

perpetuity, for the purpose of implementing, ensuring non-interference with, and/or

ensuring the integrity and protectiveness of the response actions performed, and to be

performed, pursuant to this Consent Decree, including, without limitation (i) access for

the purpose of monitoring, implementing, or otherwise conducting any response actions

related to this Consent Decree, (u) restrictions and obligations concerning the use of

land/water, and (in) the right to enforce the rights of access, restrictions, and obligations

set forth in subclauses (i) and (u) of this definition

        "EOEA" shall mean the Executive Office of Environmental Affairs of the

Commonwealth of Massachusetts and any successor departments or agencies of the

State

        "EPA" shall mean the United States Environmental Protection Agency and any

successor departments or agencies of the United States

        "Federal Trustees" shall mean DOI and NOAA

        "Flood Storage Compensation" shall mean, for activities which will cause or

contribute incrementally to a loss of flood storage capacity, provision of a volume of

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flood storage capacity that is equal to the volume of flood storage capacity that would

be displaced by the activities, to the maximum extent practicable    Unless otherwise

provided in this Consent Decree, the SOW, Upper 14 Mile Reach Removal Action Work

Plan, or the Rest of River SOW, Flood Storage Compensation shall be provided at the

same elevation and within the same general waterbody stretch as the activities causing

or contributing to the loss of flood storage capacity, but need not be in the specific

locations of those activities

       "Former Oxbow Areas" shall mean (i) the properties located where oxbows of

the Housatonic River formerly conveyed river flows, where such properties have been

isolated from the channel of the river, and subsequently filled, and found to contain

Waste Materials; and (n) properties adjacent thereto found to be contaminated with

Waste Materials The Former Oxbow Areas are generally depicted on the maps

attached as Appendix A-6, Figures 1 and 2

       "General Electric" or "GE" shall mean the General Electric Company,

headquartered in Fairfield, Connecticut

      "GE Plant Area" shall mean the current or former General Electric facility in

Pittsfield and certain adjacent areas, as described generally on the map attached to this

Consent Decree as Appendix A-2.

      "Hill 78 Consolidation Area" shall mean the approximately 6-acre portion of the

approximately 57-acre area between New York Avenue on the west and the General

Dynamics parking lot on the east, and bounded by Tyler Street Extension to the north

and Merrill Road to the south, as depicted generally on the map attached to this

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Consent Decree as Appendix A-4, which contains the area that Settling Defendant

historically used for conducted landfillmg operations involving Waste Materials, and

which will be used for on-plant consolidation pursuant to this Consent Decree

       ^Housatonic River Floodplam-Current Residential Properties" shall mean those

properties currently in residential use which are in or adjacent to the Housatonic River

floodplain downstream of the Lyman Street Bridge For properties between the Lyman

Street Bridge and Woods Pond Dam, these properties are included on Figures 2-7

through 2-24 of the SOW, which generally delineate (by shading) the Actual/Potential

Lawns of such properties    Downstream of Woods Pond Dam, these properties will be

identified in the Pre-Design Investigation Work Plan for Housatonic River Floodplain ­

Current Residential Properties

      "Housatonic River Floodplam-Non-Residential Properties" shall mean those

properties currently not in residential use which are in or adjacent to the Housatonic

River floodplain between Lyman Street and the confluence of the East and West

Branches of the Housatonic River, as generally delineated on Figures 2-7 through 2-9

of the SOW

      "Incur" shall mean to incur and to pay costs

      "Interest" shall mean interest at the rate specified for interest on investments of

the Hazardous Substance Superfund established under Subchapter A of Chapter 98 of

Title 26 of the U.S. Code, compounded on October 1 of each year, in accordance with

4 2 U S C §9607(a).



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       "LAT" or "Lead Administrative Trustee" shall mean the representative designated

by the Trustees pursuant to Paragraph 113 of this Consent Decree to serve as the

contact representative of the Trustees in matters under this Consent Decree

       "MADEP" shall mean the Massachusetts Department of Environmental

Protection (including its prior name as the Massachusetts Department of Environmental

Quality Engineering) and any successor departments or agencies of the State

       "Massachusetts Contingency Plan" or "MCP" shall mean the regulations

specified at 310 CMR 40 0000

       "Massachusetts Future Response Costs" or "State Future Response Costs" shall

mean all direct and indirect costs that Massachusetts Incurs pursuant to the provisions

of this Consent Decree after its effective date, including but not limited to costs Incurred

to enforce the Consent Decree (including dispute resolution except as noted below),

costs Incurred in fulfilling the State's mandatory statutory obligation pursuant to Section

104(c)(3) of CERCLA in the event of a Work Takeover pursuant to Paragraph 178 of

this Consent Decree, costs Incurred pursuant to Paragraphs 91 and/or 92 (Emergency

Response), costs of additional sampling in the areas subject to Removal Actions

Outside the River Incurred pursuant to Paragraph 48 b, costs Incurred to develop plans

or reports or perform modeling or assessments, costs of obtaining EREs in accordance

with Paragraph 60 h, and costs associated with enforcement and administration of

EREs and CERs Massachusetts Future Response Costs shall not include

Massachusetts Oversight Costs, Massachusetts Trustee Oversight Costs, or

Massachusetts Trustee Future Response Costs Massachusetts Future Response

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Costs shall also not include (i) any costs Incurred in connection with a petition for

review, appeal, or other proceeding in which the State challenges a determination by

EPA to select or waive any ARAR for the Rest of the River Remedial Action or O&M,

regardless of whether such determination is made prior to or after the selection of such

Remedial Action; or (ii) any costs associated with a legal action challenging EPA's

alleged failure to enforce any such ARAR

        "Massachusetts Interim Response Costs" or "State Interim Response Costs"

shall mean all costs, including direct and indirect costs, (a) paid by the State in

connection with the Site between June 21, 1999 and the effective date of this Consent

Decree, inclusive, or (b) of work performed prior to the effective date of this Consent

Decree but paid by the State after that date Massachusetts Interim Response Costs

shall not include Massachusetts Oversight Costs, Massachusetts Trustee Oversight

Costs, or Massachusetts Trustee Future Response Costs

       "Massachusetts Oversight Costs" or "State Oversight Costs" shall mean all costs

including, but not limited to, direct and indirect costs, that the State Incurs or has

Incurred after June 21, 1999 in reviewing plans, reports and other items pursuant to this

Consent Decree (including review of proposed EREs or related documents required to

be submitted pursuant to Section XIII), verifying the Work, or otherwise overseeing this

Consent Decree, including, but not limited to, payroll costs, contractor costs, travel

costs, and laboratory costs Massachusetts Oversight Costs shall also include costs

Incurred by the State in challenging a determination by EPA, in its selection or revised

selection of the Rest of the River Remedial Action, to waive any ARARs for such

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Remedial Action or O&M, if such costs are Incurred prior to an appeal to the EPA

Environmental Appeals Board. However, Massachusetts Oversight Costs shall not

include any costs Incurred in connection with a petition for review, appeal, or other

proceeding in which the State challenges such EPA determination in the EPA

Environmental Appeals Board or the United States Court of Appeals, nor shall

Massachusetts Oversight Costs include any costs associated with a legal challenge,

following EPA's selection of the Rest of the River Remedial Action (after all appeals and

remands), to a determination by EPA to waive any ARAR for the Rest of the River

Remedial Action or O&M or to EPA's alleged failure to enforce any such ARAR.

Massachusetts Oversight Costs shall also not include Massachusetts Future Response

Costs, Massachusetts Interim Response Costs, Massachusetts Trustee Oversight

Costs, or Massachusetts Trustee Future Response Costs.

       "Massachusetts Past Response Costs" or "State Past Response Costs" shall

mean all costs, including, but not limited to, direct and indirect costs, that the

Commonwealth of Massachusetts paid at or in connection with the Site through June

20, 1999

       "Massachusetts Trustee Future Response Costs" shall mean direct and indirect

costs that Massachusetts, in its capacity as Trustee for Natural Resources at the Site,

Incurs pursuant to the provisions of this Consent Decree solely for the purposes of

dispute resolution relating to and/or enforcement of only the following Paragraphs of

this Consent Decree: Paragraphs 114, 115, 118 (excluding 118.b), 119, 120, 121, 122,

and 123 Massachusetts Trustee Future Response Costs shall not include

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  Massachusetts Future Response Costs, Massachusetts Oversight Costs,

  Massachusetts Trustee Oversight Costs, or Massachusetts Interim Response Costs

         "Massachusetts Trustee Oversight Costs" shall mean all costs, including but not

  limited to, direct and indirect costs, that Massachusetts, in its capacity as Trustee for

  Natural Resources at the Site, Incurs in reviewing plans, reports, and other items

 pursuant to this Consent Decree and verifying the Work required to be performed under

 this Consent Decree, including but not limited to, payroll costs, contractor costs, travel

 costs, and labor costs. Massachusetts Trustee Oversight Costs shall not include

 Massachusetts Future Response Costs, Massachusetts Interim Response Costs,

 Massachusetts Oversight Costs, or Massachusetts Trustee Future Response Costs

        "Municipal Sewage Sludge" shall mean any solid, semi-solid, or liquid residue

 removed during the treatment of municipal wastewater or domestic sewage, and may

 include residue removed, all or in part, during the treatment of wastewater from

 manufacturing or processing operations, provided that such residue has essentially the

 same characteristics as residue removed during the treatment of domestic sewage

        "Municipal Solid Waste" shall mean household waste and solid waste collected

 from non-residential sources that is essentially the same as household waste While

 the composition of such wastes may vary considerably, municipal solid waste generally

 is composed of large volumes of non-hazardous substances (e.g., yard waste, food

 waste, glass and aluminum) and can contain small amounts of other wastes as typically

 may be accepted in RCRA Subtitle D landfills.



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       "National Contingency Plan" or "NCP" shall mean the National Oil and

Hazardous Substances Pollution Contingency Plan promulgated pursuant to Section

105 of CERCLA, 42 U S C § 9605, codified at 40 C F R Part 300, and any

amendments thereto

       "Natural Resources" shall have the meaning provided in Section 101(16) of

CERCLA, 4 2 U S C §9601(16)

       "Natural Resource Damages" shall mean (1) damages recoverable under

Section 107 of CERCLA, Section 311 of the Clean Water Act, and/or Sections 1002

and 1006 of the Oil Pollution Act for injury to destruction of, or loss of any and all

Natural Resources relating to the Site, including the reasonable costs of assessing

such injury, destruction or loss, (2) damages recoverable under M G L c 21E § 5(a),

c 12 §§ 5, 7, 11D, c 40 § 39G, c 91 § 59A and/or c 131, §§ 42 and 90, and/or under

common law for such injury, destruction or loss of natural resources relating to the Site

including the costs of assessing and evaluating such injury, destruction or loss, incurred

or suffered as a result of a release or threat of release, and/or (3) damages recoverable

under Conn Gen Stat §§ 22a-6, 22a-6a 22a-14 ej_seg_, 22a-432 and/or 22a^451

and/or under common law relating to such injury, destruction or loss, including the

reasonable costs and expenses in restoring the natural resources of Connecticut or for

damage to the natural resources of Connecticut and to the public trust therein

      "NOAA Future Costs" shall mean all direct and indirect costs that NOAA Incurs

pursuant to the provisions of this Consent Decree solely for the purposes of dispute

resolution relating to and/or enforcement of only the following Paragraphs of this

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  Consent Decree Paragraphs 114, 115, 118 (excluding 118.b), and 119-123 NOAA

  Future Costs shall not include NOAA Oversight Costs

         "NOAA Oversight Costs" shall mean all costs, including, but not limited to, direct

  and indirect costs, that NOAA Incurs after March 31, 1999, in reviewing plans, reports

  and other items concerning Restoration Work pursuant to this Consent Decree,

  verifying the Work, or otherwise overseeing this Consent Decree, including, but not

  limited to, payroll costs, contractor costs, travel costs, and laboratory costs NOAA

  Oversight Costs shall not include NOAA Future Costs

        "NOAA Past Assessment Costs" shall mean all costs, including, but not limited

  to, direct and indirect assessment costs, that NOAA paid at or in connection with the

  Site through MarcfT31, 1999, plus Interest on all such costs which has accrued

  pursuant to 42 U S C § 9607(a) through the lodging of this Consent Decree

        "Non-Settling Defendant Property" shall mean any real property at the Site or to

 which access and/or land/water use restrictions are required under this Consent

  Decree, which is not Settling Defendant Property

        "Notice ERE" shall mean an instrument, which affects a certain parcel(s) of land,

 that (i) provides record notice, in accordance with 310 C M R 40 1074(3)

 ("Recording/Registering Notices"), of prohibited and permitted uses and activities, and

 obligations and conditions for conducting the permitted uses and activities, for the

 purpose of ensuring non-interference with, and/or ensuring the integrity and

 protectiveness of the response actions performed, and to be performed, pursuant to

 this Consent Decree, and (u) contains the information identified in 310 C M R

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40 1074(2) ("Contents of a Notice of Activity and Use Limitation") as such information

may be modified to be consistent with CERCLA response actions conducted pursuant

to this Consent Decree

       "Operation and Maintenance" or "O&M" shall mean all activities required to

maintain the effectiveness of the Remedial Action for the Rest of the River as required

under an Operation and Maintenance Plan developed for the Rest of the River

Remedial Action

      "Paragraph" shall mean a portion of this Consent Decree identified by an arabic

numeral or an upper case letter

      "Parties" shall mean the United States the Commonwealth of Massachusetts,

the State of Connecticut, the City, PEDA and the Settling Defendant

      "PCBs" shall mean polychlonnated biphenyls

      "PEDA' or "Pittsfield Economic Development Authority" shall mean the authority

established pursuant to Mass St 1998 c 194 Section 268 as amended by St 1998,

C 486 Section 2

      "Performance Standards" shall mean the cleanup standards, design standards,

and other measures and requirements set forth in Section IX of this Consent Decree

and those identified as Performance Standards in the SOW, the Removal Action Work

Plan for the Upper % Mile Reach of Housatonic River (as approved by EPA), the final

modification of the Reissued RCRA Permit to select the Rest of the River Remedial

Action, or the Rest of the River SOW    For Removal Actions Outside the River, the

Performance Standards for Appendix IX + 3 constituents other than PCBs include both

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the procedures set forth in the SOW for evaluating and setting cleanup standards for

such constituents and the cleanup standards which result from following those

procedures

          "Plaintiffs" shall mean the United States, the Commonwealth of Massachusetts,

and the State of Connecticut

          "Post-Removal Site Control" shall mean the activities performed to monitor and

maintain the effectiveness of each Removal Action under this Consent Decree, as

specified in the SOW, the Upper V* Mile Reach Removal Action Work Plan, or Work

Plans developed for each Removal Action

      "Pre-design Investigation Report' shall mean, for each Removal Action Outside

the River, except as provided in Paragraph 18 b, the document developed pursuant to

Paragraph 18 b of this Consent Decree and approved by EPA, and any amendments

thereto

      "Pre-design Investigation Work Plan' shall mean, for each Removal Action

Outside the River, except as provided in Paragraph 18 a, the document developed

pursuant to Paragraph 18 a of this Consent Decree and approved by EPA, and any

amendments thereto

      "RCRA" shall mean the Solid Waste Disposal Act, as amended, 42 U S C

§§ 6901 et seq (also known as the Resource Conservation and Recovery Act)

      "RCRA Permit" shall mean the modified Permit, as described in Paragraph I of

Section I, that became effective January 3, 1994




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       "Reissued RCRA Permit" shall mean the permit re-issued by EPA to the Settling

Defendant in accordance with the provisions of Paragraph 10 of this Consent Decree, a

draft of which is set forth in Appendix G.

       "Removal Actions Outside the River" shall mean the following Removal Actions

required to be performed by Settling Defendant under this Consent Decree and the

SOW.

       (1)    Removal Actions at the GE Plant Area:

       The GE Plant Area Removal Actions each shall consist of the activities required

       to be performed by Settling Defendant under this Consent Decree and the SOW

       at or related to the area specified below, as generally depicted on Figures 2-1

       through 2-3 of the SOW, excluding activities pertaining to groundwater or to Non-

       Aqueous Phase Liquid ("NAPL"), as described in Section 2.7, Attachment H, and

       (where applicable) Annex 2 to the SOW

             (a)    The 30s Complex Removal Action, which shall consist of the

                    activities required to be performed by Settling Defendant at or

                    related to the 30s Complex,

             (b)    The 40s Complex Removal Action, which shall consist of the

                    activities required to be performed by Settling Defendant at or

                    related to the 40s Complex;

             (c)    The 20s Complex Removal Action, which shall consist of the

                    activities required to be performed by Settling Defendant at or

                    related to the 20s Complex;
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            (d)   The East Street Area 2-South Removal Action, which shall consist

                  of the activities required to be performed by Settling Defendant at

                  or related to East Street Area 2-South,

            (e)   The East Street Area 2-North Removal Action, which shall consist

                  of the activities required to be performed by Settling Defendant at

                  or related to East Street Area 2-North,

            (f)   The East Street Area 1-North Removal Action, which shall consist

                  of the activities required to be performed by Settling Defendant at

                  or related to East Street Area 1-North,

            (g)   The Hill 78 Consolidation Area Removal Action, which shall consist

                  of the activities required to be performed by Settling Defendant at

                  or related to the Hill 78 Consolidation Area,

            (h)   The Building 71 Consolidation Area Removal Action, which shall

                  consist of the activities required to be performed by Settling

                  Defendant at or related to the Building 71 Consolidation Area,

            (i)   The Hill 78 Area - Remainder Removal Action, which shall consist

                  of the activities required to be performed by Settling Defendant at

                  or related to the Hill 78 Area - Remainder, and

            0)    The Unkamet Brook Area Removal Action, which shall consist of

                  the activities required to be performed by Settling Defendant at or

                  related to the Unkamet Brook Area

      (2)   Removal Actions at the Former Oxbow Areas

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          The Removal Actions at the Former Oxbow Areas each shall consist of

          the activities required to be performed by Settling Defendant under this

          Consent Decree and the SOW at or related to the area specified below,

          as generally depicted on Figures 2-4 and 2-5 of the SOW, excluding

          activities pertaining to groundwater or NAPL as described in Section 2 7,

          Attachment H, and Annex 2 (for the Lyman Street Area and Newell Street

          Area II) to the SOW

          (a)   The Former Oxbow Areas A and C Removal Action, which shall

                consist of the activities required to be performed by Settling

                Defendant at or related to Former Oxbow Areas A and C,

          (b)   The Lyman Street Area Removal Action, which shall consist of the

                activities required to be performed by Settling Defendant at or

                related to the Lyman Street Area,

          (c)   The Newell Street Area II Removal Action, which shall consist of

                the activities required to be performed by Settling Defendant at or

                related to Newell Street Area II,

          (d)   The Newell Street Area I Removal Action, which shall consist of the

                activities required to be performed by Settling Defendant at or

                related to Newell Street Area I, and

          (e)   The Former Oxbow Areas J and K Removal Action, which shall

                consist of the activities required to be performed by Settling

                Defendant at or related to Former Oxbow Areas J and K


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     (3)   The Allendale School Removal Action, which shall consist of the activities

           required to be performed by Settling Defendant under this Consent

           Decree and the SOW at or related to the Allendale School Property, as

           described in the SOW and generally depicted on Figure 2-6 of the SOW,

           excluding activities pertaining to groundwater or NAPL, as described in

           Section 2.7 and Attachment H to the SOW.

     (4)   The Silver Lake Area Removal Action, which shall consist of the activities

           required to be performed by Settling Defendant under this Consent

           Decree and the SOW at or related to the Silver Lake Area, as described in

           the SOW and generally depicted on Figure 2-25 of the SOW, excluding

           activities pertaining to groundwater or subsurface NAPL, as described in

           Section 2.7 and Attachment H to the SOW.

     (5)   Removal Actions within the Housatonic River Floodplain

           The Removal Actions within the Housatonic River Floodplain each shall

           consist of the activities required to be performed by Settling Defendant

           under this Consent Decree and the SOW at or related to the area

           specified below, as generally depicted on Figures 2-7 through 2-24 of the

           SOW.

           (a)    The Removal Action for Actual/Potential Lawns within the

                  Housatonic River Floodplain - Current Residential Properties

                  Adjacent to 114 Mile Reach, which shall consist of the activities

                  required to be performed by Settling Defendant at or related to the


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                 Actual/Potential Lawns within the Housatonic River Floodplain ­

                 Current Residential Properties located adjacent to the 11/z Mile

                 Reach;

          (b)    The Removal Action for the Housatonic River Floodplain - Non-

                 Residential Properties, which shall consist of the activities required

                 to be performed by Settling Defendant at or related to the

                 Housatonic River Floodplain - Non-Residential Properties (located

                 adjacent to the 114 Mile Reach), excluding the riverbanks, and

          (c)    The Removal Action for Actual/Potential Lawns within the

                 Housatonic River Floodplain - Current Residential Properties

                 Downstream of Confluence, which shall consist of the activities

                 required to be performed by Settling Defendant at or related to the

                 Actual/Potential Lawns within the Housatonic River Floodplain ­

                 Current Residential Properties located downstream of the

                 confluence of the East and West Branches of the Housatonic River

    (6)   Groundwater Removal Actions

          The Groundwater Removal Actions each shall consist of the activities

          required to be performed by Settling Defendant under this Consent

          Decree and the SOW (including Attachment H and, if applicable, Annex 2)

          pertaining to groundwater and/or NAPL at or related to the Groundwater

          Management Area specified below, as described in Attachment H to the

          SOW.


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             (a)   The Plant Site 1 Groundwater Management Area Removal Action,

                   which shall consist of the activities required to be performed by

                   Settling Defendant at or related to the Plant Site 1 Groundwater

                   Management Area,

             (b)   The Former Oxbows J and K Groundwater Management Area

                   Removal Action, which shall consist of the activities required to be

                   performed by Settling Defendant at or related to the Former

                   Oxbows J and K Groundwater Management Area,

             (c)   The Plant Site 2 Groundwater Management Area Removal Action,

                   which shall consist of the activities required to be performed by

                   Settling Defendant at or related to the Plant Site 2 Groundwater

                   Management Area,

             (d)   The Plant Site 3 Groundwater Management Area Removal Action,

                   which shall consist of the activities required to be performed by

                   Settling Defendant at or related to the Plant Site 3 Groundwater

                   Management Area and

             (e)   The Former Oxbows A and C Groundwater Management Area

                   Removal Action, which shall consist of the activities required to be

                   performed by Settling Defendant at or related to the Former

                   Oxbows A and C Groundwater Management Area

      "Removal Design/Action Work Plan" shall mean, for each Removal Action

Outside the River, except as provided in Paragraph 18, the document developed


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pursuant to Paragraph 18.d of this Consent Decree and approved by EPA, and any

amendments thereto.

       "Rest of the River" or "Rest of River" shall mean the Housatonic River and its

sediments and floodplain areas downstream of the confluence of the East and West

Branches of the Housatonic River, including backwaters, except for Actual/Potential

Lawns, to the extent that such areas are areas to which Waste Materials that originated

at the GE Plant Area have migrated and which are being investigated and/or

remediated pursuant to this Consent Decree. Between the confluence of the East and

West Branches of the River and Woods Pond Dam, the Rest of the River generally

includes the Housatonic River and its sediments, as well as its floodplain (except for

Actual/Potential Lawns) extending laterally to the approximate 1 ppm PCB isopleth, as

generally depicted on Figures 2 through 4 of Appendix A-1. Downstream of Woods

Pond Dam, the Rest of the River shall include those areas of the River and its

sediments and floodplain (except for Actual/Potential Lawns) at which Waste Materials

originating at the GE Plant Area have come to be located and which are being

investigated and/or remediated pursuant to this Consent Decree.

      "Rest of River Remedial Action" shall mean those activities, except for Operation

and Maintenance, to be undertaken by Settling Defendant to implement the selected

remedy for the Rest of the River, in accordance with a modification of the Reissued

RCRA Permit as provided in Paragraph 22 of this Consent Decree, the Rest of River

SOW and the final Remedial Design and Remedial Action Work Plans and other plans

approved by EPA pursuant to the Rest of River SOW
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       "Rest of River SOW shall mean the Statement of Work to be prepared by

Settling Defendant for performance of the Remedial Action for the Rest of the River, as

set forth in Paragraph 22 x of this Consent Decree

       "Restoration Work" shall mean the work to be performed as part of response

actions to restore, replace, enhance, and/or acquire the equivalent of Natural

Resources, as specified in Section XXI of this Consent Decree

       "River Response Actions" shall mean the Upper 14 Mile Reach Removal Action,

the 1 V2 Mile Reach Removal Action, and the Rest of the River Remedial Action

       "Section" shall mean a portion of this Consent Decree identified by a capital

Roman numeral

       "Settling Defendant" shall mean the General Electric Company

       "Settling Defendant Property" shall mean any real property at the Site, or to

which access and/or land/water use restrictions are required under this Consent

Decree, which Settling Defendant either (i) owns or (n) sufficiently controls to grant a

legally binding and valid interest of a nature and kind required pursuant to this Consent

Decree provided, however, that Settling Defendant Property shall not include any

property in which Settling Defendant holds only a mortgage or other non-fee property

interest that is not also related to Settling Defendant's manufacturing facility in Pittsfield,

Massachusetts For purposes of this definition, "owned" shall include all such real

property owned as of the date that Settling Defendant signs this Consent Decree or

acquired thereafter.




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       "Silver Lake Area" or "Silver Lake" shall mean the 26-acre Massachusetts Great

Pond located on the Site, including the area bounded by properties with frontage on

East Street to the south, Fourth Street and Fenn Street to the west, and Silver Lake

Boulevard to the north and east, including the banks of Silver Lake, as depicted

generally on the map attached to this Consent Decree as Appendix A-7

       "Site" or "GE-Pittsfield/Housatonic River Site" shall mean the GE Plant Area,

the Former Oxbow Areas, the Allendale School Property, the Housatonic River

Floodplain - Current Residential Properties, the Housatonic River Floodplam - Non-

Residential Properties, the Silver Lake Area, the Upper 14 Mile Reach, the 1 V2 Mile

Reach, the Rest of the River, and other properties or areas to the extent that they are

areas to which Waste Materials that originated at the GE Plant Area have migrated and

which are being investigated or remediated pursuant to this Consent Decree The Site

shall not include properties on which Waste Materials have come to be located solely

as a result of the placement of fill and which are not being investigated or remediated

pursuant to this Consent Decree (including but not limited to the Designated Fill

Properties and/or the properties addressed by the new State Administrative Consent

Order described in Paragraph 11 (except as provided in the SOW with respect to East

Street Area 1-South)) The Site is depicted generally on the maps attached hereto as

Appendix A-1, Figures 1-5

      "State," "Massachusetts" or "Commonwealth" shall mean the Commonwealth of

Massachusetts




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       "Statement of Basis" shall mean the statement of basis for the modification of the

Reissued RCRA Permit for performance of Remedial Design and Remedial Action for

the Rest of the River, pursuant to Paragraph 22 of this Consent Decree and in

accordance with 40 C.F.R. § 124.7.

       "Statement of Work" or "SOW" shall mean the statement of work for

implementation of the Removal Actions Outside the River, as set forth in Appendix E to

this Consent Decree (including Attachments and Annexes) and any modifications made

in accordance with this Consent Decree.

       "Supervising Contractor(s)" shall mean the principal contractor(s) retained by

Settling Defendant to supervise and direct the implementation of the Work under this

Consent Decree.

       "Trustee Secretaries" shall mean the Secretary of the United States Department

of the Interior, the Secretary of the United States Department of Commerce, the

Secretary of the Executive Office of Environmental Affairs for the Commonwealth of

Massachusetts, and the Commissioner of the Connecticut Department of Environmental

Protection, or their respective designees for purposes of dispute resolution under this

Consent Decree.

      "Trustees" or "Trustee Council" shall mean the designated representatives of

each of the Trustee Secretaries (or the designated representatives of the Trustee

Secretaries' respective designees) who shall act collectively to carry out the Trustees'

responsibilities under this Consent Decree pursuant to a Memorandum of Agreement

referenced in Paragraph 117 of this Consent Decree


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       "United States" shall mean the United States of America, including all of its

departments, agencies or instrumentalities

       "Unkamet Brook Area" shall mean the area consisting generally of the eastern

portion of the GE Plant Area including property from Dalton Avenue to the north and

extending along Unkamet Brook and its floodplain to its confluence with the Housatonic

River, as depicted generally on the map attached to this Consent Decree as Appendix

A-5

       "Upper Vs Mile Reach" shall mean the portion of the Upper 2-Mile Reach of the

East Branch of the Housatonic River, including the riverbanks, from Newell Street to

Lyman Street

       "Upper V2 Mile Reach Removal Action" shall mean the Removal Action for the

Upper !4 Mile Reach as described in Paragraph 20 of this Consent Decree.
                                                                                «

       "Upper 2-Mile Reach" or "Upper Reach" shall mean the section of the East

Branch of the Housatonic River, riverbanks, and associated floodplains, from Newell

Street to the confluence with the West Branch of the Housatonic River

       "U S 1 1/2 Mile Reach Removal Action Costs" shall mean all costs Incurred by the

United States in the design and implementation of the 1 !4 Mile Reach Removal Action

following selection of such Removal Action, including, but not limited to, the costs of

Restoration Work associated with the 1 Vz Mile Reach Removal Action, as described in

Paragraph 21 of this Consent Decree, costs of obtaining access to property for the

purpose of conducting the 1VS Mile Reach Removal Action pursuant to Paragraph 21 .b

of this Consent Decree, and costs of any additional studies, investigation, analytical


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work, or community relations activities conducted by the United States as part of the

design and implementation of the 1 Vi Mile Reach Removal Action

       "U.S Future Additional Sampling Costs' shall mean the costs Incurred for certain

additional sampling to be performed by or on behalf of EPA at areas subject to the

Removal Actions Outside the River as described in the SOW

       "U S Future Response Costs" or "Future Responso Costs" shall mean all direct

and indirect costs that EPA and DOJ Incur pursuant to the provisions of this Consent

Decree, including but not limited to costs Incurred to enforce the Consent Decree

(including dispute resolution), the costs incurred pursuant to Sections X (Review of

Response Actions), XIII (Access and Land/Water Use Restrictions) (including the cost

of attorney time and monies paid to secure access and/or to secure or implement

land/water use restrictions, including the amount of just compensation), XIX

(Emergency Response), and Paragraph 178 (Work Takeover), non-field work costs

incurred for preparing, reviewing, and approving the documents that propose and select

the Rest of River Remedial Action (including responding to public comments thereto)

and costs Incurred to develop plans or reports pursuant to the provisions of this

Consent Decree that do not fall within the categories of costs excluded from U S

Future Response Costs by the last sentence of this definition, together with any

accrued Interest   U S Future Response Costs shall also include all U S Interim

Response Costs and costs Incurred in connection with the Category 2 Designated Fill

Properties after March 31, 1999    U S Future Response Costs shall not include U S

Oversight Costs, U S Future Rest of River Capped Response Costs, U S Future


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Additional Sampling Costs, U S Rest of River Oversight Costs, U S Post

Removal/Groundwater Monitoring Costs, or the U S 114 Mile Reach Removal Action

Costs

        "U S. Future Rest of River Capped Response Costs" shall mean all costs EPA

Incurs after March 31, 1999, including but not limited to direct and indirect costs, in

connection with studying or otherwise investigating the Rest of River and/or all field

work to support the preparation, development, and selection of the Rest of River

Remedial Action, all prior to the modification of the Reissued RCRA Permit to select the

Rest of River Remedial Action pursuant to Paragraph 22.p of this Consent Decree

U S Future Rest of River Capped Response Costs shall include, but not be limited to,

costs that EPA Incurs for sampling and analysis in the Rest of River, performance of

human health risk assessment(s), performance of ecological risk assessment(s),

modeling, data management, preparation of reports, peer input, peer review, general

contractor costs (including, for example, administrative record development, project

administration, project management, health and safety), interagency and

intergovernmental agreement costs (including costs of ATSDR and Army Corps of

Engineers), and costs of maintaining a Field Office, insofar as such costs are Incurred

for the activities described in the first sentence of this definition U S Future Rest of

River Capped Response Costs shall not include U S. Oversight Costs, U S Rest of

River Oversight Costs, U.S. Post-Removal/Groundwater Monitoring Costs, U S Future

Response Costs, U.S. Future Additional Sampling Costs, U.S Interim Response Costs,

or U.S r/z Mile Reach Removal Action Costs


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        "U.S. Interim Response Costs" or "Interim Response Costs" shall mean all costs,

 including direct and indirect costs, (a) Incurred or paid by EPA and DOJ in connection

 with the Site between March 31, 1999, and the effective date of this Consent Decree, or

 (b) of work performed prior to the effective date of this Consent Decree but paid by EPA

 or DOJ after that date. U.S. Interim Response Costs shall not include U.S. Oversight

 Costs, U.S. Future Rest of River Capped Response Costs, U.S. Future Additional,

 Sampling Costs, or U.S. 1 Vz Mile Reach Removal Action Costs.

        "U.S. Oversight Costs" shall mean all costs, including, but not limited to, direct

 and indirect costs, that EPA Incurs after March 31, 1999, and prior to either the date of

 the last Certification of Completion issued for the non-groundwater/NAPL-related

 Removal Actions Outside the River or the date of the Certification of Completion for the

 Upper >2 Mile Reach Removal Action, whichever is later (or, for costs of activities

 described in subclause (d) herein, prior to the date of the modification of the Reissued

 RCRA Permit to select the Rest of River Remedial Action pursuant to Paragraph 22.p),

 in conducting the following activities1 (a) reviewing plans, studies, reports and other

 items related to any Removal Actions Outside the River (including those that do not

 relate to^roundwater/NAPL and those that relate to groundwater/NAPL) and the Upper

 Va Mile Reach Removal Action; (b) verifying the Work for such Removal Actions, (c)

 otherwise overseeing Settling Defendant's compliance with this Consent Decree

 relating to such Removal Actions; and (d) reviewing proposals, reports, studies and

 other deliverables submitted by Settling Defendant under the Reissued RCRA Permit,

 conducting shadow or supplemental studies for the studies to be conducted by Settling


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Defendant under that Permit, and otherwise overseeing Settling Defendant's activities

under that Permit, all prior to the modification of that Permit to select the Rest of the

River Remedial Action pursuant to Paragraph 22.p of this Consent Decree U S

Oversight Costs shall include, but not be limited to, payroll costs, contractor costs,

travel costs, laboratory costs, community relations costs, technical support costs,

interagency and intergovernmental agreement costs (including ATSDR and U S Army

Corps of Engineers costs), costs of maintaining a Field Office, data management costs,

and modeling costs, insofar as such costs are Incurred for the activities described in the

first sentence of this definition U.S. Oversight Costs shall not include U S Rest of

River Oversight Costs, U S Post-Removal/Groundwater Monitoring Costs, U S Future

Response Costs, U S Future Rest of River Capped Response Costs, U S Future

Additional Sampling Costs, U S Interim Response Costs, or U S 1V£ Mile Reach

Removal Action Costs

       "U S Past Response Costs" or "Past Response Costs" shall mean all costs,

including, but not limited to, direct and indirect costs, that EPA and DOJ paid at or in

connection with the Site through March 31, 1999, plus all costs paid at or in connection

with the Designated Fill Properties through March 31, 1999, plus Interest on all such

costs which have accrued pursuant to 42 U.S C § 9607(a) through the lodging of this

Consent Decree

      "U.S Post-Removal/Groundwater Monitoring Costs" shall mean all costs

Incurred by EPA after either the date of the last Certification of Completion issued for

the non-groundwater/NAPL-related Removal Actions Outside the River or the date of


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the Certification of Completion for the Upper Vz Mile Reach Removal Action, whichever

is later, in overseeing (a) Post-Removal Site Control activities for the

non-groundwater/NAPL-related Removal Actions Outside the River and the Upper V*

Mile Reach Removal Action, and (b) any remaining activities that are part of the

Removal Actions Outside the River that relate to groundwater/NAPL          U.S

Post-Removal/Groundwater Monitoring Costs shall include, but not be limited to payroll

costs, contractor costs, travel costs, laboratory costs, community relations costs,

technical support costs, interagency and intergovernmental agreement costs (including

ATSDR, and U S Army Corps of Engineers costs), costs of maintaining a Field Office,

data management costs, and modeling costs, insofar as such costs are Incurred for the

activities described in the first sentence of this definition   US

Post-Removal/Groundwater Monitoring Costs shall not include U S Oversight Costs,

U S Rest of River Oversight Costs, U S Future Response Costs, U S Future Rest of

River Capped Response Costs, U S Future Additional Sampling Costs, U S Interim

Response Costs, or U S 11/2 Mile Reach Removal Action Costs

        "U S Rest of River Oversight Costs" shall mean all costs related to the Rest of

River Remedial Action Incurred by EPA after the modification of the Reissued RCRA

Permit to select the Rest of River Remedial Action pursuant to Paragraph 22 p of this

Consent Decree, including but not limited to, direct and indirect costs that EPA Incurs in

connection with the following activities reviewing plans, studies, reports, and other

items related to the design, implementation, and Operation and Maintenance of the

Rest of River Remedial Action pursuant to this Consent Decree, verifying the Work,


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sampling and analysis or performing studies for such purposes,'or otherwise

overseeing the Rest of River Remedial Action under this Consent Decree U S Rest of

River Oversight Costs shall include, but not be limited to, payroll costs, contractor costs,

travel costs, laboratory costs, community relations costs, technical support costs,

mteragency and intergovernmental agreement costs (including costs of ATSDR and

Army Corps of Engineers), costs of maintaining a Field Office, data management costs,

and modeling costs, insofar as such costs are Incurred for the activities described in the

first sentence of this definition U S Rest of River Oversight Costs shall not include

U S Oversight Costs, U S Future Response Costs, U S Future Rest of River Capped

Response Costs, U S Post-Removal/Groundwater Monitoring Costs, U S Future

Additional Sampling Costs, U S Interim Response Costs, or U S 1 Vs Mile Reach

Removal Action Costs

       'Waste Material" shall mean (1) any "hazardous substance" under Section

101(14) of CERCLA, 42 U S C § 9601(14), (2) any pollutant or contaminant under

Section 101(33) of CERCLA, 42 U S C § 9601(33), (3) any "solid waste" under Sectfon

1004(27) of RCRA, 42 U S C § 6903(27), and (4) any "oil and/or hazardous material"

under M G L c 21E, section 2

       "Work" shall mean all activities Settling Defendant is required to perform under

this Consent Decree, except those required by Section XXXI (Retention of Records)

                              V GENERAL PROVISIONS

      5      Objectives of the Parties The objectives of the Parties in entering into

this Consent Decree are to protect public health, welfare and the environment at the


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Site by the design and implementation of response actions at the Site by the Settling

Defendant and^PA, to reimburse response costs of the Plaintiffs as provided herein, to

provide for recovery of damages and the performance of restoration projects for injury

to natural resources, and to resolve the claims of Plamtrffs against Settling Defendant

as provided in this Consent Decree In addition to this Consent Decree, Settling

Defendant, the City, and PEDA have entered into a Definitive Economic Development

Agreement which provides, inter alia, for redevelopment of a portion of the GE Plant

Area and economic aid to the City The United States and the State reserve the right to

consult with and/or assist the City and PEDA and to move to intervene or participate as

amicus cunae in connection with any dispute or proceeding relating to enforcement or

implementation of the Definitive Economic Development Agreement

      6       Commitments by Settling Defendant Except as otherwise expressly

provided in this Consent Decree, Settling Defendant shall finance and perform the Work

in accordance with this Consent Decree, the SOW, the Rest of the River SOW, and

Work Plans attached to this Consent Decree, and all work plans and other plans,

standards, specifications, and schedules set forth herein or developed by Settling

Defendant and approved by EPA pursuant to this Consent Decree Settling Defendant

shall also reimburse Plaintiffs for response costs as provided in this Consent Decree,

and shall reimburse the United States for costs related to the 1 V2 Mile Reach Removal

Action as provided in this Consent Decree Settling Defendant shall also pay Natural

Resource Damages to the Trustees, perform Restoration Work and other natural




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resource protection and restoration actions as specified herein, and reimburse the

Trustees for costs Incurred and to be Incurred, all as provided in this Consent Decree

       7      Commitments by EPA EPA intends to implement a Removal Action in

the 1 >2 Mile Reach Performance of such Removal Action shall be in accordance with

the 1 1/4 Mile Reach Removal Action Memorandum       Funding of such Removal Action

shall be in accordance with Paragraphs 103-111 of this Consent Decree

       8      Compliance With Applicable Law And Protectiveness

             a      All activities undertaken by Settling Defendant pursuant to this

Consent Decree shall be performed in accordance with the requirements of all

applicable federal and state laws and regulations Except for the Rest of the River

Remedial Action, for all activities undertaken pursuant to CERCLA in this Consent

Decree, Settling Defendant must also comply with any ARARs of all federal and state

environmental laws, as described in Attachment B to the SOW and in ARARs tables in

the Removal Action Work Plan for the Upper V2 Mile Reach (Appendix F hereto), EPA's

Action Memorandum for the Allendale School Removal Action (Appendix C hereto), and

a Supplemental Addendum to the Work Plan for On-Plant Consolidation Areas

(included in Annex 1 to the SOW), unless otherwise determined by EPA pursuant to

CERCLA and the NCP       For the Rest of the River Remedial Action, for all activities

undertaken pursuant to CERCLA in this Consent Decree, Settling Defendant must also

comply with any ARARs of federal and state environmental laws set forth in the

documents selecting the Rest of the River Remedial Action and/or in the Rest of the

River SOW, unless waived by EPA pursuant to CERCLA and the NCP For purposes


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of this Consent Decree, ARARs shall not be considered Performance Standards unless,

for the Rest of the River, EPA specifically identifies an ARAR as a Performance

Standard The activities conducted pursuant to this Consent Decree, If approved by

EPA, shall be deemed to be consistent with the NCP.

              b      EPA, MADEP and CTDEP have determined that

                    (i)   The Removal Actions, when implemented and completed in

accordance with this Consent Decree, the SOW, and the Work Plan for the Upper 1/2

Mile Reach Removal Action (including achieving and maintaining Performance

Standards), are protective of human health and the environment with respect to the

areas addressed by those Removal Actions, and

                    (u)    Except as expressly provided in this Consent Decree, no

further response actions for the areas addressed by such Removal Actions are

necessary to protect human health and the environment

             c     The Consent Decree establishes a process intended to ensure that

the Remedial Action to be selected for the Rest of the River will be protective of human

health and the environment

             d     In the event that EPA, or MADEP or CTDEP (as applicable),

determines that a Removal Action or Remedial Action is no longer protective of human

health or the environment, the Consent Decree provides a procedure by which EPA or

MADEP or CTDEP (as applicable) can seek additional relief.




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       9.     Permits

              a.    As provided in Section 121(e) of CERCLA and Section 300 400(e) of

the NCR, no permit shall be required for any portion of the Work conducted entirely on-

site (i.e., within the areal extent of contamination or in very close proximity to the

contamination and necessary for implementation of the Work). Any measures

performed pursuant to Paragraphs 118 and 123 (Restoration Work and Other Natural

Resource Protection and Restoration Actions) shall be considered on-site for purposes

of this provision. Where any portion of the Work that is not on-site requires a federal,

state or local governmental permit or approval, Settling Defendant shall submit timely

and complete applications and take all other actions necessary to obtain all such

permits or approvals.

              b.     Settling Defendant may seek relief under the provisions of Section

XXIII (Force Majeure) of this Consent Decree for any delay in the performance of the

Work resulting from a failure to obtain, or a delay in obtaining, any permit required for

the Work.

              c.    This Consent Decree is not, and shall not be construed to be, a

permit issued pursuant to any federal or state statute or regulation, or local law

       10.    Reissuance of RCRA Permit.

              a.     Settling Defendant and the United States agree that, in connection

with the settlement embodied in this Consent Decree, GE's RCRA Permit will be

revoked and reissued pursuant to 40 C.F.R §§ 124.5 and 270.41, upon the effective

date of this Consent Decree. Settling Defendant and EPA have jointly proposed for


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public comment, pursuant to 40 C F R § 124 10, a draft Reissued RCRA Permit in the

form attached hereto as Appendix G Following the close of the public comment period

on the draft Reissued RCRA Permit, and prior to any United States motion for entry of

this Consent Decree, EPA shall issue a final permit decision on the Reissued RCRA

Permit in accordance with 40 C F R § 124 15, to be effective in accordance with

Paragraph 10 d

              b       In the event that EPA's final permit decision on the Reissued

RCRA Permit does not materially modify the draft Reissued RCRA Permit attached as

Appendix G, Settling Defendant shall not seek review of, or otherwise contest, that final

permit decision, and shall comply with requirements of the Reissued RCRA Permit and

this Consent Decree

              c       To the extent that Settling Defendant believes the final Reissued

RCRA Permit to be a material modification of the draft Reissued RCRA Permit attached

as Appendix G, Settling Defendant may, within 15 days of its receipt of the final

Reissued RCRA Permit, file a motion with the Court for dispute resolution pursuant to

Paragraph 136 c and d (record review) of this Consent Decree regarding the final

Reissued RCRA Permit Settling Defendant's dispute shall be limited to whether the

final Reissued RCRA Permit materially modifies Appendix G The United States the

State and Connecticut may file an opposition to Settling Defendant's motion within thirty

days after receipt of such motion The Parties hereby stipulate that after lodging and

prior to entry of this Consent Decree, such dispute shall proceed under this Paragraph

as a contractual matter If, at the conclusion of dispute resolution, the final Reissued


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RCRA Permit is held not to materially modify the draft Reissued RCRA Permit set forth

at Appendix G, Settling Defendant shall not oppose entry of the Consent Decree, shall

not seek review of the Reissued RCRA Permit, and shall comply with the requirements

of the Reissued RCRA Permit and this Consent Decree. If, at the conclusion of dispute

resolution, the final Reissued RCRA Permit is held to materially modify the draft

Reissued Permit set forth at Appendix G, the United States, the State, Connecticut and

the Settling Defendant may agree to go forward with the Consent Decree, and the

United States may thereafter move for entry and Settling Defendant shall not contest

and shall comply with the requirements of the Reissued RCRA Permit and this Consent

Decree. If, at the conclusion of dispute resolution, the final Reissued RCRA Permit is

held to materially modify the draft Reissued Permit set forth at Appendix G, and the

United States, the State, Connecticut and the Settling Defendant do not agree to go
                                                                               j

forward with the Consent Decree, either the United States or Settling Defendant shall

withdraw from the Consent Decree.

              d.     In accordance with 40 C.F.R § 124.15(b)(1), the effective date of

the Reissued RCRA Permit shall be the date of entry of this Consent Decree, provided,

however, that if, after dispute resolution, the final Reissued RCRA Permit is found to

materially modify Appendix G and the United States, the State, Connecticut and the

Settling Defendant do not agree to go forward with this Consent Decree, then EPA may

finalize the permit after either the United States or Settling Defendant withdraws from

the Consent Decree. In that event, Settling Defendant may appeal the final Reissued

RCRA Permit in accordance with 40 C.F.R. § 124.19 and Section 7006(b) of RCRA, in


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which case Settling Defendant's compliance with such Permit shall be governed by

applicable laws and regulations relating to RCRA permits issued by EPA If Settling

Defendant does not appeal such Reissued-RCRA Permit, Settling Defendant shall

comply with all conditions of the Reissued RCRA Permit If this Consent Decree is

entered, upon the effective date of the Consent Decree, Settling Defendant shall

comply with the provisions of the Reissued RCRA Permit and the requirements of

Paragraph 22 (Rest of River) of this Consent Decree     If, after the effective date of this

Consent Decree, a person other than Settling Defendant appeals the final Reissued

RCRA Permit pursuant to 40 C F R § 124 19, Settling Defendant shall comply with the

requirements of the Reissued RCRA Permit, as well as the requirements of Paragraph

22 (Rest of River) of this Consent Decree, during the period of such appeal In the

event that a person other than Settling Defendant appeals the Reissued RCRA Permit,

but Settling Defendant does not, Settling Defendant shall support the issuance of the

Reissued RCRA Permit in such appeal

       11    Revision of State Administrative Consent Orders Settling Defendant and

the State agree that in connection with the settlement embodied in this Consent

Decree, the Administrative Consent Orders executed by Settling Defendant and

MADEP on May 22, 1990, and July 2, 1990, will be terminated and superseded by a

new Administrative Consent Order Within fifteen (15) days of entry of this Consent

Decree, Settling Defendant and MADEP will execute the Administrative Consent Order

attached hereto as Appendix H The properties addressed by the new Administrative

Consent Order shall not be considered part of the Site, as Site is defined in Paragraph


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4 of this Consent Decree (except as provided in the SOW with respect to East Street

Area 1-South)

       12     Conveyance of Property and Notice to Successors-in-Title

              a     Conveyance of Property from Settling Defendant to Grantee Other

than PEDA

                     (i)     In addition to the requirements of Paragraph 54 j of this

Consent Decree, at least 30 days prior to the conveyance from Settling Defendant to a

grantee other than PEDA, of any interest in property owned by Settling Defendant

located within the Site including, but not limited to, fee interests, leasehold interests,

and mortgage interests, Settling Defendant shall give the grantee written notice of

(A) this Consent Decree, (B) any instrument by which an interest in real property has

been previously conveyed that confers a right of access to the property to be conveyed,

including Environmental Restrictions and Easements ("EREs") and/or Conservation

Easements and Restrictions ("CERs") pursuant to Section XIII (Access and Land/Water

Use Restrictions), and (C) any instrument by which an interest in real property has been

conveyed that confers a right to enforce restrictions on the use of such property (EREs

and/or CERs) pursuant to Section XIII (Access and Land/Water Use Restrictions),

provided, however, that this requirement shall not apply to any mortgage or other non-

fee property interest held by Settling Defendant that is not also related to Settling

Defendant's manufacturing facility in Pittsfield, Massachusetts     At least 30 days prior to

such conveyance, Settling Defendant shall also give written notice to EPA and the

State of the proposed conveyance, including the name and address of the grantee, and


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 the date on which notice of the Consent Decree, CERs and/or EREs was given to the

 grantee

                      (ii)   In the event of any such conveyance, Settling Defendant's

 obligations under this Consent Decree, including, but not limited to, its obligation to

 provide or secure access and land/water use restrictions, as well as to abide by such

 land/water use restrictions pursuant to Section XIII (Access and Land/Water Use

 Restrictions) of this Consent Decree, shall continue to be met by Settling Defendant. In

 no event shall the conveyance release or otherwise affect the liability of Settling

 Defendant to comply with all provisions of this Consent Decree, absent the prior written

 consent of the Agencies If the United States and the State approve, the grantee may

 perform some or all of the Work under this Consent Decree.

              b.     Conveyance of Property from Settling Defendant to PEDA

                     (i)     Consent/Notice

                     (A)     The Parties acknowledge that Settling Defendant has

 agreed to transfer a fee interest in portions of the GE Plant Area to PEDA pursuant to

the Definitive Economic Development Agreement The Parties hereby consent to

transfer of such properties, identified in Appendix I hereto, provided that the

requirements of this Paragraph are met

                     (B)     For all property transfers specified in Paragraph 12.b(i)(A)

above, and to the extent that Settling Defendant agrees to transfer to PEDA any fee

property interest in additional portions of the GE Plant Area other than those specified

in Paragraph 12.b(i)(A) above, the following shall apply:


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                            (1) At least 30 days prior to such conveyance, Settling

       Defendant and PEDA shall give written notice to EPA and the State of the

       proposed conveyance

                            (2) Unless otherwise agreed to by Settling Defendant,

       PEDA, EPA and MADEP, Settling Defendant shall not convey such property to

       PEDA unless and until Settling Defendant has caused an ERE to be placed on

       such property pursuant to Section XIII of this Consent Decree, and unless and

       until Settling Defendant has received, pursuant to Section XVIII of this Consent

       Decree, a Certification of Completion for the Removal Action at the GE Plant

       Area applicable to such property (excluding the Groundwater Removal Actions)

                           (3) Settling Defendant shall not convey to PEDA the Hill 78

       Consolidation Area, the Building 71 Consolidation Area, the potential

       consolidation area that may be constructed at the comer of New York Avenue

      and Merrill Road (unless such area is not used for any on-plant consolidation) or

      the interior landfill at the Unkamet Brook Area

                    (n)    In the event of any fee conveyance from Settling Defendant

to PEDA as specified in this Paragraph, Settling Defendant's obligations under this

Consent Decree shall continue to be met by Settling Defendant, with the following

exceptions (which exceptions shall apply unless and until the property reverts or is

conveyed back to Settling Defendant)




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                     (A)    The obligations to provide or secure access and land/water

use restrictions, as well as to abide by such land/water use restrictions, pursuant to

Section XIII of this Consent Decree, shall be met by PEDA, not Settling Defendant, and

                     (B)    The Post-Removal Site Control obligations with respect to

such property (other than with respect to Removal Actions relating to groundwater

and/or NAPL) shall be met by PEDA, not Settling Defendant, unless EPA, after a

reasonable opportunity for review and comment by the State, determines to its

satisfaction that PEDA has ceased to exist or otherwise will not or cannot perform such

obligations If EPA so determines, EPA will notify Settling Defendant, and Settling

Defendant will meet such Post-Removal Site Control obligations, unless and until EPA,

after a reasonable opportunity for review and comment by the State, determines to its

satisfaction that PEDA will resume performance of such responsibilities in a satisfactory

manner

                     (in)   Nothing in this Consent Decree shall preclude Settling

Defendant and PEDA from agreeing that PEDA will assume obligations of Settling

Defendant in addition to those specified in Paragraph 12 b(n), above, with respect to

property conveyed to PEDA However, except as specifically provided in this

Paragraph, in no event shall such agreement or the conveyance release or otherwise

affect the liability of Settling Defendant for compliance under this Consent Decree,

absent the prior written consent of the Agencies




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              c.       Conveyance of Property from PEDA to Another Party.

                       (i)    To the extent that PEDA agrees to transfer to any other

-party any interest in property transferred previously to PEDA by Settling Defendant

within the Site including, but not limited to, fee interests, leasehold interests, and

mortgage interests, PEDA shall give the grantee written notice of (A) this Consent

Decree, (B) any instrument by which an interest in real property has been previously

conveyed that confers a right of access to the property to be conveyed, including EREs

and/or CERs, pursuant to Section XIII (Access and Land/Water Use Restrictions), and

(C) any instrument by which an interest in real property has been conveyed that confers

a right to enforce restrictions on the use of such property (EREs and/or CERs) pursuant

to Section XIII. At least 30 days prior to such conveyance, PEDA shall also give written

notice to EPA, the State and Settling Defendant of the proposed conveyance, including

the name and address of the grantee, and the date on which notice of the Consent

Decree, CERs and/or EREs was given to the grantee.

                       (ii)   In the event of such conveyance from PEDA as specified in

this Paragraph, Settling Defendant s obligations under this Consent Decree shall

continue to be met by Settling Defendant, with the following exceptions (which

exceptions shall apply unless and until the property reverts to or is conveyed back to

Settling Defendant):

                       (A)    The obligations to ensure that access and land/water use

restrictions are provided and secured, as well as to ensure that such land/water




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 restrictions are abided by, pursuant to Section XIII of this Consent Decree shall be met

 by PEDA, not Settling Defendant, and

                      (B)    Regarding Post-Removal Site Control obligations with

 respect to such property (other than with respect to Removal Actions relating to

 groundwater and/or NAPL), PEDA, not Settling Defendant, shall ensure that such

 obligations are met, unless EPA, after a reasonable opportunity for review and

 comment by the State, determines to its satisfaction that PEDA has ceased to exist or

 otherwise will not or cannot perform such obligations If EPA so determines, EPA will

 notify Settling Defendant, and Settling Defendant will meet such Post-Removal Site

 Control obligations, unless and until EPA, after a reasonable opportunity for review and

 comment by the State, determines to its satisfaction that PEDA will resume

 performance of such responsibilities in a satisfactory manner

                      (in)   Except as specifically provided in this Paragraph, in no

 event shall the conveyance release or otherwise affect the liability of Settling Defendant

 to comply with all provisions of this Consent Decree, absent the prior written consent of

 the Agencies If the United States and the State approve, the grantee may perform

 some or all of the Work under this Consent Decree

        13    Management of Response Action Activities

              a      The Parties agree to implement a fully collaborative, collegia! and

 cooperative approach to management of the response actions at the Site

              b      The Parties agree to form three Management Groups to oversee

 the response actions at the Site These Management Groups are to meet regularly


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review progress, and anticipate and minimize problems with the response actions The

Management Groups will include the following

                    (i)    A Project Management Group consisting of EPA's Remedial

Project Manager, MADEP's Special Projects Section Chief of the Western Regional

Office, and GE's Project Coordinator designated pursuant to Section XVI to work on

day-to-day project management issues

                    (n)    A Senior Management Group consisting of EPA's Director of

the Office of Site Remediation and Restoration, MADEP's Director or Deputy Director of

its Western Regional Office, and GE's Manager of Pittsfield Remediation Programs or

its Manager and Counsel for Remediation Programs, Corporate Environmental

Programs, or their respective designees to consult and confer on issues that could not

be resolved at the Project Management Group level

                    (in)   An Executive Board consisting of the EPA Regional

Administrator, MADEP Commissioner, and GE Vice President for Corporate

Environmental Programs to meet periodically to review overall progress of the cleanup

             c    Each of the Management Groups will include, as the United States

and the State deem appropriate, a representative of the Trustees Each of the

Management Groups will include, as the United States, the State and Settling

Defendant deem appropriate, a representative of the City of Pittsfield and/or PEDA

    VI PERFORMANCE OF RESPONSE ACTIONS BY SETTLING DEFENDANT

      14     Settling Defendant shall perform the following response actions pursuant

to this Consent Decree, the SOW, the Rest of the River SOW, the Removal Action


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 Work Plan for Upper 14 Mile Reach, and Work Plans developed and/or implemented

 pursuant to this Consent Decree

              a       Settling Defendant shall perform the Removal Actions Outside the

 River in accordance with this Consent Decree and the SOW attached hereto

              b       Settling Defendant shall perform the Upper 14 Mile Reach Removal

 Action in accordance with this Consent Decree and the Removal Action Work Plan for

 Upper 14 Mile Reach (Appendix F hereto) as approved by EPA

              c      Settling Defendant shall, with respect to the 1 14 Mile Reach

 Removal Action, pay its share of the 114 Mile Reach Removal Action Costs in

 accordance with Section XX of this Consent Decree (Reimbursement of Costs) and

 perform other activities as specified in this Consent Decree

              d      Subject to and in accordance with Paragraph 22 (Rest of River) of

 this Consent Decree, Settling Defendant shall complete the RCRA Facility Investigation

 Report, shall propose Interim Media Protection Goals, and shall perform the Corrective

 Measures Study for the Rest of the River in accordance with the Reissued RCRA

 Permit, and shall perform the Rest of River Remedial Action and O&M in accordance

 with the modification of that Reissued RCRA Permit to select the Rest of the River

 Remedial Action and in accordance with the Rest of River SOW

       15      In addition to Settling Defendant's other obligations in this Consent

 Decree, including the specific obligations regarding the performance of response

 actions and Restoration Work and other natural resource protection and restoration

actions pursuant to Sections VII (Removal Actions Outside the River), VIII (River


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Response Actions), and XXI (Natural Resource Damages) and its obligation to achieve

and maintain Performance Standards as set forth in Section IX of this Consent Decree

and in the SOW, Settling Defendant shall comply with the following requirements with

respect to each Removal or Remedial Action required under this Consent Decree

              a       Materials that are excavated or otherwise removed from their

current location at the Site and demolition debris from building demolition may be

permanently consolidated at the GE Plant Area using a combination of the Hill 78

Consolidation Area, the Building 71 Consolidation Area, and another potential

Consolidation Area at the corner of New York Avenue and Merrill Road, as designated

in the SOW as permanent consolidation areas (collectively referred to herein as "on­

plant consolidation areas"), in accordance with the following

                     (i)   All materials to be consolidated at the Hill 78 Consolidation

Area shall contain less than 50 ppm PCBs, as determined by appropriate composite

sampling techniques or other techniques approved by EPA, and shall not constitute

hazardous waste under RCRA

                     (n)   Settling Defendant shall not place in the on-plant consolidation

areas any asbestos-containing materials required by applicable law to be removed from

buildings or structures prior to demolition, free liquids, "free product," intact drums and

capacitors, or other equipment that contains liquid PCBs within its internal components

If such materials are encountered, Settling Defendant will instead dispose of these

materials appropriately off-site   For purposes of this Paragraph, "free product" is

defined as materials containing PCBs or other Waste Material that by visual inspection


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flow at room temperature or from which liquid passes when a 100 mg or 100 ml sample

is placed on a mesh number 60 pkjs or minus 5 percent paint filter and allowed to drain

at room temperature for 5 minutes

                     (lii)   The specific design and implementation requirements of the

on-plant consolidation areas, including, but not limited to, engineering limitations and

consolidation area configuration (e g , horizontal extent and maximum elevation), shall

comply with Section 2 1 4 and Annex 1 of the SOW attached to this Consent Decree

              b      In addition to using the on-plant consolidation areas for

consolidation of building demolition debris, Settling Defendant may use the existing

foundations of certain buildings, as described in the SOW, for placement of debris from

building demolition activities conducted pursuant to the Definitive Economic

Development Agreement and at Buildings 12, 12X, and 12Y Such building foundations

shall not be considered " on-plant consolidation areas" for purposes of this Consent

Decree However, if Settling Defendant uses such building foundations for the

placement of building demolition debris, it shall comply with the requirements of Section

2 1 5 of the SOW for placement of such material in building foundations and for the

covering of those foundations after use Building demolition conducted pursuant to the

Definitive Economic Development Agreement and at Buildings 12, 12X, and 12Y is not

part of the GE Plant Area Removal Actions, however, the placement of demolition

debris in the foundations shall be part of the GE Plant Area Removal Actions for the

areas where such foundations are located (but will be excluded from the spatial

averaging for such areas, as provided in Section 2 1 5 of the SOW)


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              c.     To the extent Settling Defendant performs the Work in accordance

with this Consent Decree, the SOW, the Upper V£ Mile Reach Removal Action Work

Plan, and other required work plans, RCRA land disposal restrictions shall not apply to

on-plant consolidation (including placement of materials in the on-plant consolidation

areas and placement of building demolition debris in building foundations), because the

areas covered by those documents have been designated by EPA as an Area of

Contamination pursuant to EPA's "Area of Contamination Policy." For the Building 71

and New York Avenue/Merrill Road Consolidation Areas, Settling Defendant shall:

suitably prepare, cap, monitor and maintain the area in accordance with Section 2.1.4,

Attachments G, H and J, and Annex 1 of the SOW; provided, however, that except as

otherwise provided therein, the additional liner and leachate collection requirements of

40 C.F.R. § 761.75 and 40 C.F.R. § 253.301 (c) and .comparable requirements of
                                                                              «
Massachusetts regulations shall not apply to the consolidation areas. For the Hill 78

Consolidation Area, as well as the other on-plant consolidation areas, Settling

Defendant shall comply with the requirements of Paragraph 25.b (Performance

Standards) of this Consent Decree.

       16.    Performance of Removal Actions Prior to Effective Date of Consent

Decree.

             a.       Obligations to be Performed. In order to expedite response

actions at the Site, Settling Defendant has agreed to commence and perform the

following work as a contractual obligation effective upon lodging of this Consent

Decree: (1) all design and implementation of the Allendale School Removal Action, in


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accordance with Sections VI, VII and IX of this Consent Decree and the SOW and

Annex 3 to the SOW (Work Plan for Allendale School Removal Action), (2) all design       ­

and implementation of the Upper >2 Mile Reach Removal Action, in accordance with

Paragraph 20 and Sections VI, VIII and IX of this Consent Decree and the Upper !4

Mile Reach Removal Action Work Plan; (3) the design, implementation, and operation

of the Hill 78 and Building 71 Consolidation Areas for the consolidation of materials

excavated as part of the Allendale School and Upper V£ Mile Reach Removal Actions, in

accordance with the applicable provisions of Sections VI, VII and IX of this Consent

Decree, the SOW, and Annex 1 to the SOW (Work Plans for On-Plant Consolidation

Areas), and (4) submittal of Pre-design Investigation Work Plans for the 30s Complex

Removal Action, the 40s Complex Removal Action, the 20s Complex Removal Action,

and the Newell Street Area I Removal Action, as well as the Field Sampling

Plan/Quality Assurance Project Plan portions of the Project Operations Plan, in

accordance with the schedule set forth in Attachment A to the SOW, and submittal of

the Baseline Monitoring Program Proposal for the Plant Site 1 Groundwater

Management Area in accordance with the schedule set forth in Attachment H to the

SOW, and (5) continuation of source control investigation, design, and implementation

activities for East Street Area 2-South, the Lyman Street Area, and Newell Street Area

II in accordance with the work plans and schedules approved by EPA as included in

Annex 2 to the SOW, provided, however, that if the Court denies entry of this Consent

Decree before completion of all work provided for in this Paragraph, or if the United

States, the State or Connecticut withdraws from this Consent Decree pursuant to


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Section XXXVIII (Lodging and Opportunity for Public Comment) of this Consent Decree

or if either the United States or Settling Defendant withdraws from this Consent Decree

pursuant to Paragraph 10 c, then Settling Defendant may suspend performance as of

the date of denial of entry by the Court or of written notice by the United States, the

State or Connecticut (or Settling Defendant pursuant to Paragraph 10 c) that it has

withdrawn from the Decree and Settling Defendant shall have no further obligations

under this Paragraph 16     In the event that Settling Defendant suspends performance,

the Parties reserve all of their rights except as specifically provided in this Paragraph

16

       In addition, the Parties agree that Settling Defendant may, upon lodging of this

Consent Decree, commence use of certain existing building foundations for

consolidation of building demolition debris, as described in Paragraph 15 b of this

Consent Decree, in accordance with and subject to the requirements of Paragraph 15 b

and Section 2 1 5 of the SOW

              b      Covenants by United States In consideration of the actions that

will be performed and the payments that will be made by the Settling Defendant as a

contractual matter prior to the effective date of the Consent Decree, and except as

specifically provided in this Paragraph, the United States, on behalf of EPA, NOAA,

DOI, DOD, ACOE, ATSDR and any other agency of the United States which may have

authority to administer the statutes cite* in this subparagraph, as a contractual

obligation effective upon lodging of this Consent Decree, covenants not to sue or to

take administrative action against Settling Defendant pursuant to Section 106 or 107(a)


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of CERCLA, Section 7003 of RCRA, Section 7 of the Toxic Substances Control Act

("TSCA"), and/or Section 504 of the Clean Water-AeMor-Feteases or threatened

releases of Waste Material to or at the Allendale School Property and/or the Upper 14

Mile Reach, where such Waste Material originated at the GE Plant Area, and/or for the

on-plant consolidation activities that are the subject of this Paragraph The United

States, on behalf of the above-mentioned agencies, further covenants not to sue or to

take administrative action against Settling Defendant pursuant to Sections 1002, 1005,

1006, 1009 and 1015 of the Oil Pollution Act, Section 113(f) of CERCLA, Sections

3004(u) and (v) and 3008 of RCRA, Section 17 of TSCA, Sections 309, 311 and 404 of

the Clean Water Act, and/or Section 10 of the Rivers and Harbors Act for releases or

threatened releases of Waste Material (regardless of the manner in which such Waste

Material may be listed, defined or characterized under these statutes) to or at the

Allendale School Property and/or the Upper Vz Mile Reach, where such Waste Material

originated at the GE Plant Area and/or for the on-plant consolidation activities that are

the subject of this Paragraph, provided, however, that the United States' covenant with

respect to such statutory provisions does not apply to any action or claim other than an

action or claim to compel Settling Defendant to implement, comply with, or fund

response actions, corrective actions or measures, or other similar judicial or

administrative response-type injunctive relief, or for recovery, reimbursement,

contribution or equitable share of response costs or, with respect to the Upper Y2 Mile

Reach, Natural Resource Damages, and specifically does not apply to any action or

claim for civil penalties under these statutory provisions Except with respect to future


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liability, these covenants not to sue shall take effect upon lodging of this Consent

Decree With respect to future liability, the covenant not to sue shall be effective as to

each Removal Action upon EPA's Certification of Completion for that individual

Removal Action. These covenants not to sue are conditioned upon the satisfactory

performance by Settling Defendant of its obligations under this Paragraph. These

covenants not to sue extend only to the Settling Defendant and do not extend to any

other person. Upon the effective date of this Consent Decree, the provisions of Section

XXVI of this Consent Decree shall apply in lieu of the covenants in this Paragraph 16 b

However, if the Court denies entry of this Consent Decree or the United States, the

State or Connecticut withdraws from this Consent Decree pursuant to Section XXXVIII

of this Consent Decree (Lodging and Opportunity for Public Comment), or the United

States or Settling Defendant withdraws from this Consent Decree pursuant to

Paragraph 10 c, and Settling Defendant suspends work pursuant to Paragraph 16 a,

then the scope of the covenant not to sue in this Paragraph 16.b shall be limited to the

work that has been completed as of the date that Settling Defendant suspends the

work

              c      Covenants by Massachusetts

              (i) In consideration of the actions that will be performed and the payments

that will be made by the Settling Defendant as a contractual matter prior to the effective

date of the Consent Decree, and except as specifically provided in this Paragraph, the

State, as a contractual obligation effective upon lodging of this Consent Decree,

covenants not to sue or to take administrative action against Settling Defendant


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pursuant to the statutes and common law theories listed in Paragraph 16 c(n), whether

on its own behalf or as parens patnae, for releases or threatened releases of Waste

Material (regardless of the manner in which such Waste Material may be listed, defined

or characterized under these statutes or common law theories), where such Waste

Material originated at the GE Plant Area, to or at the Allendale School Property and/or

the Upper 14 Mile Reach and/or for the on-plant consolidation activities that are the

subject of this Paragraph, provided, however, that the State's covenant is limited to

claims or actions (A) to compel Settling Defendant to implement, comply with, or fund

response actions, corrective actions or measures, or other similar judicial or

administrative response-type injunctive relief, (B) for recovery, reimbursement,

contribution, or equitable share of response costs or, with respect to the Upper 1/2 Mile

Reach Natural Resource Damages, and (C) for recovery, reimbursement, contribution,

or equitable share of property damage The covenants in this Paragraph 16 c

specifically do not apply to any action or claim for civil penalties under these statutory

provisions

              (u) The statutes and common law theories subject to the covenants in

Paragraph 16 c(i), and to the limitations set forth therein, are the following Sections

107, 113, 121(e)(2), 121(f), and 310 of CERCLA, Sections 1002, 1005, 1006, 1008 and

1009 of the Oil Pollution Act, Section 7002 of RCRA, Section 20 of TSCA, Section 505

of the Clean Water Act, Sections 3A, A, 4A, 5, 9, and 10 of M G L c 21E and Section

11 of M G L c 21E for violation or enforcement of such Sections 3A, A, 4A, 5, 9, and

10, Section 4 o f M G L c 21H, Sections 5, 7, and 11D of M G L c 12, Sections 42, 44,


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46, and 53 of M.G.L c. 21; Sections 9 and 10 of M.G.L c. 21C; Sections 142A, 142B,

160, 160B, and 162 of M.G.L c 111; Section 169 of M.G.L c. 111 for violation of

Section 167, Sections 40, 40A, 42, and 90 of M.G.L c 131; Section 7A of M G L c

214; Section 39G of M G.L c 40; Sections 59 and 59A of M.G.L c 91; Sections 4, 9,

and 11 of M.G.L. c. 93A for a violation of Section 2; and Section 6 of M G.L. c 131A

(including the implementing regulations of the statutes listed in this subparagraph

16(c)(ii)) and nuisance, trespass, negligence, strict liability, or restitution

              (iii) Except with respect to future liability, these covenants not to sue shall

take effect upon lodging of this Consent Decree. With respect to future liability, the

covenant not to sue shall be effective as to each Removal Action upon EPA's

Certification of Completion for that individual Removal Action. These covenants not to

sue are conditioned upon the satisfactory performance by Settling Defendant of its

obligations under this Paragraph These covenants not to sue extend only to the

Settling Defendant and do not extend to any other person. Upon the effective date of

this Consent Decree, the provisions of Section XXVI of this Consent Decree shall apply

in lieu of the covenants in this Paragraph 16 c However, if the Court denies entry of

this Consent Decree or the United States, the State or Connecticut withdraws from this

Consent Decree pursuant to Section XXXVIII of this Consent Decree (Lodging and

Opportunity for Public Comment), or the United States or Settling Defendant withdraws

from this Consent Decree pursuant to Paragraph 10 c, and Settling Defendant

suspends work pursuant to Paragraph 16.a, then the scope of the covenant not to sue




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in this Paragraph 16.c shall be limited to the work that has been completed as of the

date that Settling Defendant suspends the work.

              d.      Covenants by Connecticut.

              (i)    In consideration of the actions that will be performed and the

payments that will be made by the Settling Defendant as a contractual matter prior to

the effective date of the Consent Decree, and except as specifically provided in this

Paragraph, Connecticut, as a contractual obligation effective upon lodging of this

Consent Decree, covenants not to sue or take administrative action against Settling

Defendant pursuant to Sections 107, 121(e)(2), or 113 of CERCLA, Sections 310 and

106 of CERCLA, Sections 7002 and 7003 of RCRA, Sections 20 and 7 of TSCA,

Sections 1002, 1005, 1006, 1008 and 1009 of the CXI Pollution Act, or Sections 505 and

504 of the Clean Water Act for releases or threatened releases of substances subject to

these statutes, where such substances originated at the GE Plant Area, to or at the

Allendale School Property, the Upper Y2 Mile Reach, and/or the Hill 78 and Building 71

Consolidation Areas, and for the Removal Actions and on-plant consolidation activities

that are the subject of this Paragraph, and not to sue or take administrative action

against Settling Defendant pursuant to the Connecticut statutory provisions set forth

herein with respect to releases, spills or discharges of or pollution from, or threatened

releases, spills or discharges of or pollution from, the chemical liquids, hazardous

wastes, oil or petroleum, waste oil or solid, liquid or gaseous products subject to such

statutes, where such substances originated at the GE Plant Area, to or at the Allendale

School Property, the Upper V* Mile Reach, and/or the Hill 78 and Building 71


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Consolidation Areas, and for the Removal Actions and on-plant consolidation activities

that are the subject of this Paragraph. The Connecticut statutory provisions subject to

Connecticut's covenant are Sections 5, 6, 6a, 7, 427, 432, 435, 451 and 452 of Title

22a of the Connecticut General Statutes, and, to the extent Connecticut participates in

the New England Interstate Water Pollution Control Commission, these covenants

include Section 309, Article XII of the Connecticut General Statutes. For purposes of

this subparagraph (d)(i), the phrase "substances subject to these statutes" includes

wastes, hazardous constituents, refuse, materials, chemical substances or mixtures,

PCBs, pollutants, oil, hazardous substances, and pollution sources.

               (ii)   In consideration of the actions that will be performed and the

payments that will be made by the Settling Defendant as a contractual matter prior to

the effective date of this Consent Decree, and except as specifically provided in sub­

paragraph (e) and subject to the limitations set forth herein, Connecticut, as a

contractual obligation effective upon lodging of this Consent Decree, covenants not to

sue Settling Defendant pursuant to Sections 7002 and 3004(u) or (v) of RCRA,

Sections 7002 and 3008 of RCRA, Sections 20 and 17 of TSCA, Sections 505 and 309

of the Clean Water Act, or Sections 505 and 311 of the Clean Water Act, and further

covenants not to sue Settling Defendant for nuisance, negligence, negligence per se,

strict liability for ultrahazardous activity, restitution, reckless misconduct, trespass, or

under the public trust doctrine theory, with respect to pollution, chemical liquids,

hazardous wastes, oil or petroleum, waste oil or solid, liquid or gaseous products,

where such pollution, chemical liquids, hazardous wastes, oil or petroleum, waste oil or


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solid, liquid or gaseous products originated at the GE Plant Area, to or at the Allendale

School Property, the Upper !4 Mile Reach, and/or the Hill 78 and Building 71

Consolidation Areas, and for the Removal Actions and on-plant consolidation activities

that are the subject of this Paragraph, and further covenants not to sue or take

administrative action against Settling Defendant, pursuant to the statutory provisions

set forth herein, with respect to the pollution, chemical liquids, hazardous wastes, oil or

petroleum, waste oil or solid, liquid or gaseous products subject to the statutes set forth

herein, where such pollution, chemical liquids, hazardous wastes, oil or petroleum,

waste oil or solid, liquid or gaseous products originated at the GE Plant Area, to or at

the Allendale School Property, the Upper !4 Mile Reach, and/or the Hill 78 and Building

71 Consolidation Areas, and for the Removal Actions and on-plant consolidation

activities that are the subject of this Paragraph The Connecticut statutory provisions

subject to Connecticut's covenant are Sections 6b, 6e, 14 et seq (Environmental

Protection Act), 123, 131, 133c-g, 225, 226, 226a, 226b, 416, 430, 438, 449(c) and

463-469 of Title 22a of the Connecticut General Statutes Connecticut's covenant set

forth in this subparagraph (d)(n), with respect to the aforementioned common law and

statutory provisions, does not apply to any action other than (A) an action to compel

Settling Defendant to implement response actions, corrective actions or measures, or

for other similar judicial or administrative mjunctive relief, or (B) an action for recovery of

response costs, damages, civil penalties or Natural Resource Damages

              (in)    For purposes of subparagraphs (i) and (n) of this Paragraph 16 d,

the phrase "pollution, chemical liquids, hazardous wastes, oil or petroleum, waste oil or


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solid, liquid or gaseous products" shall be as defined in Chapters 445 or 446k of the

Connecticut General Statutes.

              (iv)   "Except with respect to future liability, these covenants not to sue

shall take effect upon lodging of this Consent Decree. With respect to future liability,

the covenant not to sue shall be effective as to each Removal Action upon EPA's

Certification of Completion for that individual Removal Action. These covenants not to

sue are conditioned upon the satisfactory performance by Settling Defendant of its

obligations under this Paragraph These covenants not to sue extend only to the

Settling Defendant and do not extend to any other person. Upon the effective date of

this Consent Decree, the provisions of Section XXVI of this Consent Decree shall apply

in lieu of the covenants in this subparagraph 16 d However, if the Court denies entry

of this Consent Decree or the United States, the State or Connecticut withdraws from

this Consent Decree pursuant to Section XXXVIII of this Consent Decree, or the United

States or Settling Defendant withdraws from this Consent Decree pursuant to

Paragraph 10 c, and Settling Defendant suspends work pursuant to Paragraph 16 a,

then the scope of the covenant not to sue in this Paragraph 16.d shall be limited to the

work that has been completed as of the date that Settling Defendant suspends the

work

             e.      Pre- and Post-Certification Reservation The covenants set forth in

subparagraphs b, c and d above are subject to the provisions of Paragraphs 162, 163,

167, 168, 171 and 172 (United States, State and Connecticut Pre- and Post-

Certification Reservations) and Paragraph 42 of this Consent Decree.


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                f      Genera! Reservation of Rights The covenants not to sue set forth

  above do not pertain to any matters other than those expressly specified in

  subparagraphs 16 b, 16 c, and 16 d above The United States, Connecticut and the

  State reserve, and this Paragraph is without prejudice to, all rights against Settling

  Defendant with respect to all other matters, including but not limited to, the following

                       (i)    claims based on a failure by Settling Defendant to meet a

  requirement of this Paragraph,

                       (11)   liability arising from the past, present, or future disposal,

  release, or threat of release of Waste Materials outside of the Site,

                       (in)   liability for future disposal of Waste Material at the Site, other

 than as provided in the Work to be performed under this Paragraph, or otherwise

 ordered by EPA,

                      (iv)    criminal liability,

                      (v)     liability for violations of federal or state law which occur

 during or after implementation of any Work under this Paragraph,

                       (vi)   if the Court denies entry of this Consent Decree or the

 United States, the State or Connecticut withdraws from this Consent Decree pursuant

 to Section XXXVIII of this Consent Decree or the United States or Settling Defendant

 withdraws from this Consent Decree pursuant to Paragraph 10 c, liability for additional

 response actions that EPA determines are necessary to address releases or threatened

 releases of NAPL or Waste Materials in groundwater from areas outside the Upper !4

 Mile Reach or the Allendale School Property to or at the Upper V2 Mile Reach or the

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Allendale School Property, except as addressed by the source control activities

performed by Seltling Defendant pursuant to clause (5) of Paragraph 16 a, and

                     (vii)   Tiability for Natural Resource Damages except relating to the

Upper Va Mile Reach

             g        Work Takeover      In the event EPA determines that Settling

Defendant has ceased implementation of the Allendale School Removal Action (and

associated on-plant consolidation activities) and/or the Upper V£ Mile Reach Removal

Action (and associated on-plant consolidation activities), as required by Paragraph

16 a, is seriously or repeatedly deficient or late in its performance of such response

actions under Paragraph 16 a, or is implementing such response actions under

Paragraph 16 a in a manner which may cause an endangerment to human health or the

environment, EPA may assume the performance of the Removal Action in question

(including associated on-plant consolidation activities) Settling Defendant may invoke

the procedures set forth in Section XXIV (Dispute Resolution), Paragraph 136, to

dispute EPA's determination that takeover of such response actions is warranted under

this Paragraph Costs Incurred by the United States in performing such response

actions pursuant to this Paragraph shall be considered U S Future Response Costs

that Settling Defendant shall pay in accordance with Section XX (Reimbursement of

Costs)

             h        Covenants by Settling Defendant

             (i)   As a contractual matter, as of the lodging of this Consent Decree,

Settling Defendant covenants not to sue and agrees not to assert any claims or causes

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of action against the United States, on behalf of EPA, DOI, NOAA, DOD, ACOE

ATSDR, and any other agency of the Unrted^States which may have authority to

administer the statutes cited m'subparagraph 16 b, or against Connecticut and the

State (including any department, agency or instrumentality of Connecticut or the State),

with respect to the Removal Actions and on-plant consolidation activities that are the

subject of this Paragraph or for releases or threatened releases of Waste Material

(regardless of the manner in which such Waste Material may be listed, defined or

characterized under these statutes) to or at the Allendale School Property and the

Upper Vz Mile Reach, where such Waste Material originated at the GE Plant Area,

including, but not limited to

                     (A)        any direct or indirect claim for reimbursement from the

Hazardous Substance Superfund (established pursuant to the Internal Revenue Code,

26 U S C § 9507) through CERCLA Sections 106(b)(2), 107, 111, 112, 113 or any

other provision of law,

                     (B)    any direct or indirect claim for recovery, reimbursement,

contribution or equitable share of response costs, Natural Resource Damages, or

property damage pursuant to M G L c 21E,

                     (C)   any claims under Sections 107 or 113 of CERCLA, Section

7002 of RCRA, Section 504 of the Clean Water Act, and/or Sections 1002, 1005, 1008,

1009 or 1015 of the Oil Pollution Act,

                     (D)   any claims arising out of the Removal Actions and on-plant

consolidation activities that are the subject of this Paragraph, including claims based on

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the United States', the State's and Connecticut's selection of oversight or approval of

plans for sueh Removal Actions and on-plant consolidation activities;

                     (E)    any claim under the Fifth Amendment to the United States

Constitution or under the Massachusetts Constitution for "takings"; and

                     (F)   any claim under the Tucker Act, 28 U.S.C. § 1491, or at

common law, arising out of or relating to such Removal Actions and on-plant

consolidation activities or access to, or land use restrictions on, the areas subject to

such Removal Actions and on-plant consolidation activities.

              (ii) The covenant not to sue set forth in this Paragraph 16 h extends only

to the extent that Settling Defendant performs the Removal Actions and on-plant

consolidation activities that are the subject of this Paragraph 16 and only to the extent

that the covenants by the United States, Massachusetts, and Connecticut set forth in

Paragraphs 16.b, 16.c, and 16.d apply Upon the effective date of this Consent Decree,

the provisions of Section XXVII of this Consent Decree shall apply in lieu of the

covenants in this Paragraph 16 h However, if the Court denies entry of this Consent

Decree or the United States, the State or Connecticut withdraws from this Consent

Decree pursuant to Section XXXVIII of this Consent Decree or the United States or

Settling Defendant withdraws from this Consent Decree pursuant to Paragraph 10 c,

and Settling Defendant suspends work pursuant to Paragraph 16 a, then the scope of

the covenant not to sue in this Paragraph 16 h shall be limited to the work that has

been completed as of the date that Settling Defendant suspends the work, and Settling

Defendant reserves the right to assert any and all claims or causes of action against the

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United States, the State, and/or Connecticut with respect to any matters whatsoever

other than that completed work

                 (in) Nothing in this Paragraph shall be construed to preclude Settling

Defendant from pursuing dispute resolution under Section XXIV of this Consent

Decree, defending against a claim by the United States or the State in accordance with

Paragraph 16 m of this Consent Decree, challenging a settlement under Paragraph 125

of this Consent Decree, applying to the Court for relief under Paragraph 211 of this

Decree, submitting comments to any government agency, submitting and pursuing

claims regarding requests for information relating to the Removal Actions and on-plant

consolidation activities that are the subject of this Paragraph under 5 U S C § 552

(Freedom of Information Act) or M G L c 66 (Public Records Act) or Connecticut

General Statutes, Title 1, Chapter 14, Sections 1-200 et seq (Connecticut Freedom of

Information Act), or challenging rules, regulations or permits issued by any government

agency, provided, however, that any challenge to issuance of the Reissued RCRA

Permit shall be in accordance with Paragraph 10 of this Consent Decree

              i        Retention of Response Authority Subject to the other provisions

of this Consent Decree, the United States, Connecticut and the State retain all authority

and reserve all rights to take any and all response actions authorized by law

             j         Contribution Protection The Parties agree that the Settling

Defendant is entitled, as of the date of lodging of this Consent Decree, to protection

from contribution actions or claims to the extent provided by CERCLA Section 113(f)(2),

42 U S C § 9613(f)(2), for matters addressed in this Paragraph "Matters addressed in

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this Paragraph" shall mean all Work to be performed by Settling Defendant pursuant to

this Paragraph and all Restoration Work-activities to be completed pursuant to this

Paragraph. The Parties do not intend for this provision to affect in any way the rights of

persons with actual or potential claims against Settling Defendant with respect to any

portion of the Site for causes of action other than those described in this subparagraph

16.J

              k.      Other Requirements      The Parties agree, as a contractual matter,

that the other provisions of this Consent Decree, including but not limited to Paragraph

177 (Issuance of Administrative Orders), shall apply to the activities to be performed by

Settling Defendant pursuant to this Paragraph 16 until the effective date of this Consent

Decree, but only with respect to and insofar as relevant to such activities, provided,

however, that the following provisions shall not apply to such activities- SectionsX

(Review of Response Actions), XIII (Access and Land/Water Use Restrictions) (except

as applicable to the Upper V2 Mile Reach), XVII (Assurance of Ability To Complete

Work), XXI (Natural Resource Damages) (except Paragraph 118.a), XXV (Stipulated

Penalties), XXVI (Covenants Not to Sue by Plaintiffs) (except Paragraph 177), XXVII

(Covenants by Settling Defendant), Paragraph 192 of Section XXIX (Effect of

Settlement, Contribution Protection); XXXIII (Effective Date); and XL (Final Judgment)

             I.     Transition to Effective Consent Decree. Upon the effective date of

this Consent Decree, the other provisions of this Consent Decree shall govern the

performance of the Work by Settling Defendant in lieu of the provisions contained in this

Paragraph, and all ongoing obligations existing from the date of lodging of this Consent

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Decree will continue without interruption and shall be enforceable obligations under this

ConsentDecree. Upon the effective date of this Consent Decree, all executory

obligations, duties, burdens and sanctions arising under this^Paragraph will be subject

to enforcement pursuant to the other provisions of this Consent Decree, including but

not limited to stipulated penalties (but only for violations occurring after the date of entry

of this Consent Decree); however, no obligation or duty already performed or imposed

under this Paragraph shall be required or imposed a second time under the Consent

Decree, and the provisions of the Consent Decree and this Paragraph shall be

construed accordingly.

              m      In the event EPA, after reasonable opportunity for review and

comment by the State, determines that Settling Defendant has ceased implementation

of all or any portion of the Work required by this Paragraph 16, is late or seriously

deficient in its performance of the Work required under this Paragraph 16 (including

compliance with deadlines), or is implementing the Work under this Paragraph 16 in a

manner which may cause an endangerment to human health or the environment, the

United States may, notwithstanding any other dispute resolution provision in this

Consent Decree, file a motion in this action seeking the grant of immediate injunctive

relief and/or specific performance relating to Settling Defendant's obligations under this

Paragraph 16. The State may join the United States' motion or file a response. Settling

Defendant may file a response to the United States' and/or the State's motion Settling

Defendant may raise, in opposition to the United States' and/or State's motion, any

issue relevant to the motion that otherwise could have been raised in dispute resolution

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under this Consent Decree, provided that Settling Defendant will then not pursue such

issue in any other dispute resolution proceedingf The United States, the State and

Settling Defendant stipulate that they will jointly request an expedited hearing of any

such motion. In the event the United States files its motion based on a determination

that Settling Defendant has ceased implementation of all or any portion of the Work

required by this Paragraph 16, or is late or seriously deficient in its performance of the

Work required under this Paragraph 16, then upon the United States proving that

Settling Defendant has ceased implementation or is late or seriously deficient in its

performance of the Work under this Paragraph, Settling Defendant shall stipulate to

entry of an order for immediate injunctive relief or for specific performance to enforce

Settling Defendant's obligations under this Paragraph 16; provided, however, that any

findings by the Court shall not be binding in any proceeding other than the one

referenced in this subparagraph seeking an injunction or order of specific performance

or any subsequent proceeding to enforce such injunction or order.

      17.    Selection of Supervising Contractor(s).

             a.     All aspects of the Work to be performed by Settling Defendant

pursuant to Sections VI (Performance of the Work by Settling Defendant), VII (Removal

Actions Outside the River), VIII (River Response Actions), IX (Performance Standards),

X (Remedy Review), XI (Sampling Protocols), XII (Quality Assurance, Sampling and

Data Analysis), XIX (Emergency Response) of this Consent Decree, and the

Restoration Work and other natural resource protection and restoration actions

pursuant to Section XXI (Natural Resource Damages) of this Consent Decree shall be

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 under the direction and supervision of the Supervising Contractor(s), the selection of

which shall be subject to disapproval by EPA after a reasonable opportunity for review

 and comment by the State. Within 10 days after the lodging of this Consent Decree,

 Settling Defendant shall notify EPA and the State in writing of the name, title, and

qualifications of the contractor(s) proposed to be the Supervising Contractor(s)         EPA

will issue a notice of disapproval or an authorization to proceed. If at any time

thereafter, Settling Defendant proposes to change a Supervising Contractor, Settling

Defendant shall give such notice to EPA and the State and must obtain an authorization

to proceed from EPA, after a reasonable opportunity for review and comment by the

State, before the new Supervising Contractor performs, directs, or supervises any Work

under this Consent Decree

              b       If EPA disapproves a proposed Supervising Contractor, EPA will

notify Settling Defendant in writing Settling Defendant shall submit to EPA and the

State a list of contractors, including the qualifications of each contractor, that would be

acceptable to it within 30 days of receipt of EPA's disapproval of the contractor

previously proposed EPA will provide written notice of the names of any contractor(s)

that it disapproves and an authorization to proceed with respect to any of the other

contractors Settling Defendant may select any contractor from that list that is not

disapproved and shall notify EPA and the State of the name of the contractor selected

within 21 days of EPA's authorization to proceed

                  c     If EPA fails to provide written notice of its authorization to

proceed or disapproval as provided in this Paragraph and this failure prevents Settling

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Defendant from meeting one or more deadlines in this Consent Decree, or in a plan

approved by EPA pursuant to this Consent Decree, Settling Defendant may seek relief

under the provisions of Section XXIII (Force Majeure) hereof

                   VII   REMOVAL ACTIONS OUTSIDE THE RIVER

       18    Except as specified herein, Settling Defendant shall implement the

following requirements in accordance with the SOW, for each Removal Action Outside

the River required under this Consent Decree

             a      Following EPA's issuance of an authorization to proceed pursuant

to Paragraph 17 and in accordance with the schedule in Attachment A to the SOW,

Settling Defendant shall submit to EPA and the State a work plan for the pre-design

investigation ("Pre-design Investigation Work Plan") for each Removal Action Outside

the River except for the Allendale School Removal Action, the Hill 78 Consolidation

Area Removal Action, and the Building 71 Consolidation Area Removal Action (which

Work Plans have already been submitted), and the Groundwater Removal Actions

(which shall require the submittals set forth in Paragraph 18 f) Upon request, Settling

Defendant shall also provide a copy of any Pre-Design Investigation Work Plan to

Connecticut and the City The Pre-design Investigation Work Plan shall propose the

additional sampling and other investigations necessary to design and implement the

Removal Action, including any associated Restoration Work, to achieve the

Performance Standards, taking into account existing data, and shall include a schedule

for the performance of such investigations, as provided in the SOW Upon the later of



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its approval by EPA or entry of this Consent Decree, the Pre-destgn Investigation Work

Plan shall be incorporated into and become enforceable under this Consent Decree

              b         Within 7 days after EPA's approval of the Pre-design

Investigation Work Plan for each Removal Action subject to Paragraph 18 a (or, for the

Pre-Design Investigation Work Plans referenced in Paragraph 16 a(4), following entry of

this Consent Decree and in accordance with a schedule approved by EPA), Settling

Defendant shall initiate performance of the obligations in that Pre-design Investigation

Work Plan In accordance with the schedule set forth in the Pre-design Investigation

Work Plan, as approved by EPA, Settling Defendant shall submit to EPA and the State,

with a copy to Connecticut and the City, if requested, a report on its pre-design

investigation activities ("Pre-design Investigation Report"), as specified more fully in the

SOW The Pre-design Investigation Report shall provide results of all investigations

undertaken pursuant to the Pre-design Investigation Work Plan, in a format as specified

in the Pre-design Investigation Work Plan, as approved It shall also include a schedule

for submission of a Conceptual Removal Design/Action Work Plan or, for the

Housatonic River Floodplain Removal Actions, for submission of a Removal

Design/Action Work Plan for those Removal Actions Upon its approval by EPA, the

Pre-design Investigation Report shall be incorporated into and become enforceable

under this Consent Decree

             c        For all Removal Actions subject to Paragraph 18 a except the

Housatonic River Floodplain Removal Actions, following EPA's approval of the Pre­

design Investigation Report for each such Removal Action and in accordance with the

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schedule set forth in that report as approved, Settling Defendant shall submit to EPA,

and the State, with a copy to Connecticut and the City, if requested, a conceptual work

plan for the design and implementation of the Removal Action ("Conceptual Removal

Design/Action Work Plan"). The Conceptual Removal Design/Action Work Plan shall

provide Settling Defendant's conceptual proposal for design and implementation of the

Removal Action in accordance with the SOW and for achievement of the Performance

Standards and other requirements set forth in this Consent Decree and the SOW It

shall also include a schedule for submission of a Removal Design/Action Work Plan for

the Removal Action. Upon its approval by EPA, the Conceptual Removal Design/Action

Work Plan shall be incorporated into and become enforceable under this Consent

Decree

             d         Following EPA's approval of the Conceptual Removal

Design/Action Work Plan for each Removal Action subject to Paragraph 18.a, and in

accordance with the schedule set forth in that plan as approved, or for the Housatonic

River Floodplain Removal Actions, following EPA's approval of the Pre-Design

Investigation Report and in accordance with the schedule set forth in that report as

approved, Settling Defendant shall submit to EPA and the State, with a copy to

Connecticut and the City, if requested, a work plan for the design and implementation of

the Removal Action ("Removal Design/Action Work Plan"). The Removal Design/Action

Work Plan shall provide for design and implementation of the Removal Action in

accordance with the SOW and for achievement of the Performance Standards and

other requirements set forth in this Consent Decree and the SOW. The Removal

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 Design/Action Work Plan shall include plans and schedules for implementation of all

 design and implementation tasks identified in the SOW

              e            For each Removal Action Outside the River, upon approval of the

 Removal Design/Action Work Plan by EPA, Settling Defendant shall implement the

 activities required under the Removal Design/Action Work Plan       Settling Defendant

 shall submit to EPA and the State, with a copy to Connecticut and the City, if requested,

 all plans, submittals, or other dehverables required under the approved Removal

 Design/Action Work Plan in accordance with the approved schedule for review and

 approval pursuant to Section XV (EPA Approval of Plans and Other Submissions)

 Unless otherwise directed by EPA in writing Settling Defendant shall not commence

physical Removal Action activities at the Site prior to approval of the Removal

Design/Action Work Plan

              f      For the Groundwater Removal Actions, Settling Defendant shall

for each Groundwater Management Area, submit the following documents and perform

the following activities, as described in Attachment H to the SOW, in accordance with

the schedule set forth in Attachment H to the SOW

                     (i)     Baseline Monitoring Program Proposal,

                     (n)     Baseline monitoring program activities and Baseline

Assessment Interim Reports,

                     (in)     Baseline Assessment Final Report and Long-Term Monitoring

Program Proposal,



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                    (iv)   Long-term monitoring program activities and event-specific

Monitoring Event Evaluation Reports, and

                    (v)    Long-Term Trend Evaluation Reports

               g      For each Removal Action Outside the River, Settling Defendant

shall continue to implement such Removal Action, including any Post-Removal Site

Control required, until the Performance Standards for such Removal Action are

achieved and for so long thereafter as is otherwise required under this Consent Decree

Settling Defendant shall have the right to invoke dispute resolution pursuant to Section

XXIV of this Consent Decree with respect to any determination by EPA under this

subparagraph

                           VIII   RIVER RESPONSE ACTIONS

      19     Except as specified herein, Settling Defendant shall implement the

following requirements with respect to each River Response Action required under this

Consent Decree

      20     Upper V£ Mile Reach Settling Defendant shall implement the Work for the

Upper Yi Mile Reach in accordance with the schedules and requirements of the Removal

Action Work Plan for the Upper !4 Mile Reach, as approved by EPA in its letter dated

August 5, 1999 (included in Appendix F hereto), and achieve and maintain the

Performance Standards for the Upper Vz Mile Reach The Removal Action Work Plan for

the Upper V2 Mile Reach is attached hereto as Appendix F and is enforceable under this

Consent Decree



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        21    1 Vi Mile Reach €PA intends to implement a removal action in the 1 Vz

Mile Reach upon its completion of an Engineenng Evaluation/Cost Analysis ("EE/CA")

and selection of such removal action EPA and Settling Defendant shall fund the 1 14

Mile Reach Removal Action in accordance with Paragraphs 103-111 Selection of the 1

Vz Mile Reach Removal Action shall incorporate the following procedures

             a      In connection with its activities related to the 1 Yt Mile Reach, EPA

shall

                    (i)    have technical consultation with Settling Defendant

throughout the process, including discussions of the alternatives under consideration by

EPA prior to the EPA National Remedy Review Board ("Remedy Review Board")

Meeting

                    (n)    have technical consultation with the Citizens' Coordinating

Council which may have independent technical advisors,

                    (in)   seek review by the Remedy Review Board of the draft EE/CA

and draft Fact Sheet prior to issuance of the EE/CA and final Fact Sheet,

                    (iv)   provide Settling Defendant with the opportunity to provide a

position paper to the Remedy Review Board for the Remedy Review Board's

consideration Settling Defendant shall summarize its position in no more than 10

pages Settling Defendant may submit additional material, if necessary to support its

position, but not to exceed-arvadOrtiona115 pages,

                    (v)    provide a period of public comment in excess of 30 days on

the draft EE/CA and Fact Sheet, and

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                    (vi)   provide Settling Defendant with an opportunity to provide

comments to the Citizens Coordinating Council's independent technical experts as well

as to submit its own comments for the administrative record.

              b.   EPA shall obtain all access necessary to implement the 1 !4 Mile

Reach Removal Action, with the costs thereof to be shared as provided in Paragraphs

103 -111 of this Consent Decree. At the time it seeks to obtain such access, EPA will

attempt to obtain, with no additional compensation to property owners, the EREs (rf any)

necessary to implement the 1 V£ Mile Reach Removal Action. If EPA is unable to obtain

such EREs with no additional compensation to property owners, EPA will so notify

Settling Defendant, and the provisions of Paragraphs 56, 57 and 60 of this Consent

Decree shall apply. After the completion of the 1 Vz Mile Reach Removal Action,

Settling Defendant shall undertake any Post-Removal Site Control activities required in

connection with that Removal Action. Any costs incurred by Settling Defendant in (i)

obtaining EREs for properties or portions of properties subject to the 1 Vz Mile Reach

Removal Action, (ii) reimbursing the State for any costs Incurred^y the State in seeking

to obtain such EREs, (iii) implementing Post-Removal Site Control activities associated

with the 1 !4 Mile Reach Removal Action, and/or (iv) conducting other activities pursuant

to any requirement of this Consent Decree for implementation of the 1 !4 Mile Reach

Removal Action shall be subject to cost sharing with EPA in accordance with

Paragraphs 103-111 of this Consent Decree.




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       22     Rest of the River     Additional studies of the Rest of the River and the

selection of a Remedial Action for the Rest of the River shall be conducted in

accordance with the Reissued RCRA Permit and the following provisions

              a      Upon EPA's notification to Settling Defendant to move forward with

completion of the RCRA Facility Investigation ("RFI") Report, as provided in the

Reissued RCRA Permit, Settling Defendant shall complete and submit to EPA an RFI

Report on the Rest of the River in accordance with, and on the schedule provided in, the

Reissued RCRA Permit Settling Defendant shall submit copies of that RFI Report to

the Trustees, the State and Connecticut

              b     EPA will conduct the human health and ecological risk assessments

of the Rest of the River EPA has provided a scope of work for the risk assessments

and supporting activities to Settling Defendant and other interested persons for review

and discussion

             c      EPA's human health risk assessment will be subject to peer review

by a panel of independent risk assessment experts, in accordance with the EPA Science

Policy Council January 1998 Peer Review Handbook, EPA 100-B-98-001, and the

Protocols set forth in Appendix J

                     (i)   The human health risk assessment peer review panel will be

selected by a Selection Contractor in accordance with the following procedures A

neutral contractor ("the Selection Contractor") will be selected by agreement between

EPA and Settling Defendant within 30 days of initiation of discussions relating to such

peer review If EPA and Settling Defendant do not reach agreement within 30 days of

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initiation of discussions, EPA shall seek the decision of the Chair of EPA's Science

~Artv]sory Board or other ggreed<ipon scientific body-or-experk—EPA's decision to seek

the decision of the Chair of EPA's Science Advisory Board or other agreed-upon

scientific body or expert and the selection of the Selection Contractor by the Chair or

other agreed-upon scientific body or expert, shall not be subject to dispute resolution

The Selection Contractor shall accept nominations for participants in the peer review

panel from any interested person for a period of 30 days The Selection Contractor shall

thereafter evaluate the nominations of all interested persons (including Settling

Defendant) and other candidates it identifies for the peer review panel as it sees fit

against the criteria identified in the charge for review, and select peer review panel

members with the required technical expertise, free from direct and substantial conflict of

interest The affiliation of nominations will remain "blind" to the Selection Contractor

                     (n)   The human health risk assessment peer review panel will

review EPA's human health risk assessment to evaluate (1) consistency with EPA

policy and guidance, (2) the exposure scenarios and parameters used, (3) the toxicity

assessment, (4) the risk calculations, and (5) the report conclusions Settling Defendant

and other interested persons will be provided an opportunity to submit written comments

and make an oral presentation to the peer review panel in accordance with the Protocols

set forth in Appendix J

             d       EPA's ecological risk assessment will be subject to peer review by a

panel of independent risk assessment experts, in accordance with the EPA Science

Policy Council January 1998 Peer Review Handbook, EPA 100-B-98-001, and the

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Protocols set forth in Appendix J The ecological risk assessment peer review panel will

be selected by a Selection Contractor following the same selection procedures

described in Paragraph 22.c.(i) The ecological nsk assessment peer review panel will

review EPA's ecological risk assessment to evaluate (1) consistency with EPA policy

and guidance, (2) the protocols applied in the studies used in the risk assessment, (3)

interpretation of information generated from the studies included in the nsk assessment,

and (4) the report conclusions   Settling Defendant and other interested persons will be

provided an opportunity to submit written comments and make an oral presentation to

the peer review panel in accordance with the Protocols set forth in Appendix J

              e     Nothing herein shall prohibit Settling Defendant from conducting its

own human health and/or ecological risk assessments and submitting reports thereon as

a component of its comments to EPA on EPA's human health and ecological risk

assessments

              f     Following EPA's approval of the RFI Report and EPA's

determination that the peer review processes for both the human health and the

ecological risk assessments have been completed, Settling Defendant shall develop and

submit to EPA an Interim Media Protection Goals ("IMPG") Proposal, proposing IMPGs,

in accordance with, and on the schedule provided in, the Reissued RCRA Permit

Settling Defendant shall submit copies of that IMPG Proposal to the Trustees, the State

and Connecticut

              g     EPA will conduct modeling of the fate, transport, and

bioaccumulation of PCBs in the Rest of the River The models used will include a

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hydrodynamics component, a sediment transport component, a PCB fate and transport

component, and a bioaccumulation component. EPA and Settling Defendant will share

with each other critical components of all working tools and data collected and/or used in

modeling activities. A working group of technical staff and contractors from EPA and

Settling Defendant has been assembled to have an ongoing dialogue on the technical

aspects of model construction to simulate the Housatonic River, collection of information

for input to the models, model calibration, model validation, and the types of questions

and uncertainties that will be addressed by the model. EPA has provided draft sampling

plans and will provide draft modeling frameworks to the working group members, the

State, Connecticut and the Trustees for review and discussion.

              h.     EPA's modeling activities will be subject to peer review by a panel of

independent modeling experts, in accordance with the EPA Science Policy Council

January 1998 Peer Review Handbook, EPA 100-B-98-001, and the Protocols set forth in

Appendix J. The modeling peer review panel will be selected by a Selection Contractor

following the same procedures described in Paragraph 22.c.(i). The modeling peer

review panel will review EPA's modeling activities at appropriate intervals during the

modeling process, which will include review of at least the following EPA documents (1)

draft modeling frameworks and description of data needs; (2) model calibration report,

and (3) model validation report. In this multi-staged review, the modeling peer review

panel will address a number of questions, including but not limited to the following

                    (i)     Do the modeling frameworks include the significant

processes affecting PCB fate, transport, and bioaccumulation in the Housatonic River,

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and are the descriptions of those processes sufficiently accurate to represent the

hydrodynamics, sediment transport, PCB fate and transport, and PCB bioaccumulation

in the Housatonic River?

                     (ii)    Are the available data sufficient for the development of

acceptable models of hydrodynamics, sediment transport, PCB fate and transport, and

PCB bioaccumulation in the Housatonic River?

                     (lii)   Are the processes in the final models calibrated and validated

to the extent necessary for accurately predicting future conditions?

                     (iv)    How sensitive are the models to uncertainties in the

descriptions of the relevant processes, and are the methodologies employed to evaluate

the sensitivity of the model to descriptions of the relevant processes and to evaluate the

uncertainties of model predictions sufficient?

       In addition, the working group of technical staff and contractors from EPA and

Settling Defendant, described in Paragraph 22 g above, may suggest additional

questions to be posed to the modeling peer review panel, for consideration by EPA in

developing any subsequent changes to the model        Settling Defendant and other

interested persons will be provided an opportunity to submit written comments and to

make an oral presentation to the modeling peer review panel, in accordance with the

Protocols set forth in Appendix J at each stage of the peer review process

             i.     Nothing herein shall prohibit Settling Defendant from conducting its

own modeling or other studies of the Rest of the River and submitting reports thereon as

a component of its comments to EPA on EPA's modeling activities

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              j      Following EPA's approval of IMPGs, EPA's determination of the

completion of the peer review processes on validation of EPA's model, and receipt by

Settling Defendant of EPA's model (including its equations and results) from EPA,

Settling Defendant shall develop and submit to EPA a Corrective Measures Study

("CMS") Proposal in accordance with, and on the schedule provided in, the Reissued

RCRA Permit Settling Defendant shall submit copies of that CMS Proposal to the

Trustees, the State and Connecticut.

              k      Following EPA's approval of the CMS Proposal, Settling Defendant

shall carry out the CMS and shall develop and submit to EPA a CMS Report in

accordance with, and on the schedule provided in, the Reissued RCRA Permit, or on an

alternative schedule provided in the approved, conditionally approved or modified CMS

Proposal Settling Defendant shall submit a copy of that CMS Report to the State, the

Trustees and Connecticut

              I      EPA expressly reserves the right to undertake any studies it deems

necessary for the Rest of the River to shadow or supplement studies undertaken by

Settling Defendant

             m       The RFI Report, IMPG Proposal, CMS Report, EPA's report(s)

containing the human health and ecological risk assessments and EPA's modeling

activities, the reports of the peer review panels on the human health and ecological risk

assessments and on modeling, all comments submitted to EPA and those panels, and

other documents considered or relied on by EPA will become part of the administrative

record for the Rest of the River Remedial Action

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               n     Upon satisfactory completion of the CMS Report in accordance with

the Reissued RCRA Permit, EPA will issue a Statement of Basis and a draft modification

to the Reissued RCRA Permit, which will set forth the proposed Remedial Action for the

Rest of the River and O&M, to be implemented by Settling Defendant pursuantto

CERCLA and this Consent Decree         EPA will propose this draft permit modification

pursuant to the Reissued RCRA Permit and EPA's regulations on RCRA permit

modifications (40 C F R § 270 41 and Part 124), including the provisions requiring

public notice and an opportunity for public comment on the draft permit modification

               o      Following the close of the public comment period, EPA will notify

Settling Defendant of its intended final decision on the modification of the Reissued

RCRA Permit Settling Defendant shall have the right, within 30 days of such

notification to invoke administrative dispute resolution pursuant to Paragraph 135 of

Section XXIV (Dispute Resolution) of this Consent Decree with respect to such

notification

               p     Upon completion of such dispute resolution process (if invoked) or

after the 30 day period from EPA's notification referred to in Paragraph 22 o (if Settling

Defendant does not invoke dispute resolution), EPA will issue a modification of the

Reissued RCRA Permit, obligating Settling Defendant to perform the selected Rest of

the River Remedial Action and O&M, which performance shall be pursuant to CERCLA

and this Consent Decree

               q     Settling Defendant shall perform the selected Rest of the River

Remedial Action and O&M set forth in EPA's permit modification decision referred to in

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Paragraph 22 p unless Settling Defendant files a petition for review of such permit

modification decision in the EPA Environmental Appeals Board pursuant to 40 C F R

§ 124 19 and Paragraph 141.b of Section XXIV (Dispute Resolution) of this Consent

Decree, or unless EPA's permit modification decision is otherwise stayed pursuant to 40

C F.R Part 124     The decision of the EPA Environmental Appeals Board on such a

petition for review shall be subject to appeal by Settling Defendant to the United States

Court of Appeals for the First Circuit pursuant to Section 7006(b) of RCRA Any

proceedings in the EPA Environmental Appeals Board and the United States Court of

Appeals for the First Circuit shall be governed by applicable law, the rules of such Board

and Court, and the provisions of Paragraph 141 b of Section XXIV of this Consent

Decree, except that, for work subject to such dispute, the United States stipulates to a

stay of the effectiveness of the modified permit for those portions subject to the dispute

through the conclusion of the initial appeal referenced in this subparagraph 22 q by

Settling Defendant to the United States Court of Appeals for the First Circuit pursuant to

Section 7006(b) of RCRA The United States and Settling Defendant shall jointly move

the Court of Appeals for an expedited briefing schedule and expedited consideration of

the petition for review

              r       In the event that Settling Defendant invokes dispute resolution as

provided in Paragraph 22.q, EPA may proceed with design work on the selected Rest of

River Remedial Action during the pendency of such appeals Pnor to proceeding with

design work under this subparagraph, EPA shall give written notice to Settling

Defendant and give Settling Defendant the opportunity to implement such design work

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If Settling Defendant does not notify EPA of its intent to perform such design work within

30 days of EPA's notification, EPA may proceed with design At the conclusion of such

dispute resolution, if the Rest of River Remedial Action and O&M is upheld and EPA

was performing the design work, EPA shall provide Settling Defendant with the results of

its design work and return the performance of design work to Settling Defendant, and

Settling Defendant shall pay EPA's costs of such work as U S Future Response Costs

in accordance with Paragraph 95 a (Future Response Costs) of Section XX

(Reimbursement of Costs) of this Consent Decree If only a portion of the Rest of River

Remedial Action and O&M is upheld or if the Rest of the River Remedial Action and

O&M is not upheld in any part and EPA was performing design work, EPA will provide

Settling Defendant with the results of its design work on the Rest of River Remedial

Action and return the performance of design work to Settling Defendant, and Settling

Defendant shall pay EPA's costs of such work relating to the portion (if any) of the Rest

of River Remedial Action and O&M that was upheld, as U S Future Response Costs in

accordance with Paragraph 95 a (Future Response Costs) of Section XX

(Reimbursement of Costs) of this Consent Decree If a portion of the Rest of River

Remedial Action and O&M is not upheld or if the Rest of River Remedial Action and

O&M is not upheld in any part, Settling Defendant shall not be required to pay EPA's

costs of any portion of the design work related thereto that will have to be materially

changed in substance in light of the decision of the Environmental Appeals Board or the

Court of Appeals (as applicable) Further, «n the event that Settling Defendant invokes

dispute resolution as provided in Paragraph 22 q, Settling Defendant shall perform all

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severable work not subject to such dispute in accordance with EPA's final permit

modification decision referred to in Paragraph 22.p and a Rest of River SOW developed

in accordance with that decision and Paragraph 22.x below.

              s      If the EPA permit modification decision referred to in Paragraph

22.p. is upheld in whole or in part by the Environmental Appeals Board and, if appealed,

by the United States Court of Appeals for the First Circuit, Settling Defendant shall

perform the selected Rest of the River Remedial Action and O&M, as upheld in whole or

in part, as a CERCLA remedial action pursuant to this Consent Decree

              t      In the event that the Environmental Appeals Board or the United

States Court of Appeals for the First Circuit vacates or remands all or part of the EPA

permit modification decision referred to in Paragraph 22 p for further EPA action, EPA

may revise its permit modification decision referred to in Paragraph 22.p
                                                                                j


              u    Second Appeal

                     (i) Upon EPA's issuance of a revised permit modification decision

referred to in Paragraph 22 t pursuant to a remand from the Environmental Appeals

Board or the United States Court of Appeals for the First Circuit, Settling Defendant shall

perform the selected Rest of the River Remedial Action and O&M set forth in EPA's

revised permit modification decision unless Settling Defendant timely files a petition for

review of such revised permit modification decision Settling Defendant shall file its

petition for review before the Environmental Appeals Board pursuant to 40 C.F.R

§124 19 unless otherwise approved by the United States Court of Appeals for the First

Circuit

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                      (n) If Settling Defendant seeks review before the Environmental

Appeals Board, the disputed portions of the revised permit modification decision shall be

stayed pending the decision of the Environmental Appeals Board Settling Defendant

may appeal the decision of the Environmental Appeals Board by filing a petition for

review in the United States Court of Appeals for the First Circuit pursuant to Section

7006(b) of RCRA

                     (in) In the event that Settling Defendant files a petition for review

with the Environmental Appeals Board or the United States Court of Appeals for the First

Circuit, Settling Defendant shall perform all severable work

                                (A) which is not subject to dispute, or

                                (B) for which EPA's original permit modification decision was

upheld previously in the Environmental Appeals Board and, if there had been an appeal
                                                                                 j


of the Environmental Appeals Board's previous decision, by the United States Court of

Appeals for the First Circuit

Settling Defendant shall perform such severable work in accordance with EPA's revised

permit modification decision and a Rest of River SOW to be developed in accordance

with that decision and Paragraph 22 x below

                     (iv) Any proceedings before the United States Court of Appeals for

the First Circuit under subparagraph 22 u(i) or (n) shall be governed by applicable law,

the rules of the Court of Appeals for the First Circuit, and the provisions of Paragraph

141 b(iv)-(vi) of this Consent Decree, except as follows The United States and Settling

Defendant shall jointly move the Court of Appeals for an expedited briefing schedule and

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expedited consideration of the petition for review Further, the United States and

Settling Defendant shall stipulate to a stay of the effectiveness of the disputed portions

of the revised permit modification decision for a 12-month period or until the Court of

Appeals issues its decision (whichever occurs first), provided, however, that (A) at or

near the end of the first six months of the stay penod, EPA may apply to the Court to lift

the stay at the end of the 6-month period and shall have the burden of making the

necessary showing to support such application, and (B) at or near the end of the 12­

month period of the stay (if the Court has not yet issued its decision or the stay has not

previously been lifted), Settling Defendant may apply to the Court to extend the stay for

an additional period or until the Court issues its decision and shall have the burden of

making the necessary showing to support such application

                    (v) During any stay pursuant to this subparagraph 22 u , Settling

Defendant shall proceed with design work on the selected revised Rest of the River

Remedial Action and O&M If design work is completed prior to the lifting of any stay,

Settling Defendant shall implement work on any non-disputed portions of the selected

revised Rest of the River Remedial Action and O&M If design work is completed prior

to the lifting of any stay and EPA decides to move forward with implementation of the

Rest of the River Remedial Action, EPA will so notify Settling Defendant in writing and

give Settling Defendant the opportunity to implement work on the disputed portions of

the selected revised Rest of the River Remedial Action If Settling Defendant does not

notify EPA of its intent to perform the Remedial Action within 30 days of EPA's

notification, EPA may commence implementation of the Rest of the River Remedial

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Action If Settling Defendant does not agree to perform the Rest of River Remedial

Action, EPA retains the right to list the Site on the CERCLA National Priorities List in

accordance with and subject to Paragraph 200 b of this Consent Decree Except as

otherwise provided in the Consent Decree, if EPA proceeds with listing, Settling

Defendant retains all rights to oppose or challenge such listing

                     (vi) Upon the lifting or end of any stay pursuant to this

subparagraph 22 u prior to the conclusion of dispute resolution, Settling Defendant shall

perform all Rest of River Remedial Design and Remedial Action and O&M            If EPA was

performing the work, EPA will provide Settling Defendant with the results of its work on

the Rest of the River Remedial Action and O&M and return the performance of work to

Settling Defendant

                     (vu) At the conclusion of dispute resolution, if the Rest of the River

Remedial Action and O&M is upheld and EPA was performing work, EPA shall provide

Settling Defendant with any results of its work and return the performance of work to

Settling Defendant, and Settling Defendant shall pay EPA's costs of such work as U S

Future Response Costs in accordance with Paragraph 95 a of Section XX

(Reimbursement of Costs) of this Consent Decree      If only a portion of the Rest of the

River Remedial Action and O&M is upheld or if the Rest of River Remedial Action and

O&M is not upheld in any part, and EPA was performing work, EPA will provide Settling

Defendant with any results of its work on the Rest of the River Remedial Action and

O&M and return the performance of work to Settling Defendant In addition, if only a

portion of the Rest of the River Remedial Action and O&M is upheld or if the Rest of the

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River Remedial Action and O&M is not upheld in any part, and EPA was performing

work, Settling Defendant shall pay EPA's costs of the implementation work that EPA

performed, as U S Future Response Costs in accordance with Paragraph 95 a , but

only to the extent that such work was performed to implement any portion of the Rest of

the River Remedial Action and O&M upheld by the Court of Appeals or was incorporated

into a subsequent further revised permit modification decision that is not appealed or (if

appealed) is upheld on appeal Nothing in this subparagraph 22 u(vn) shall be deemed

to affect the provisions of Paragraph 200 b of this Consent Decree

              v Subsequent Appeals

                     (i) In the event that the Environmental Appeals Board or the United

States Court of Appeals for the First Circuit vacates or remands all or part of EPA's

revised permit modification decision pursuant to subparagraph 22 u or in a subsequent

appeal under this subparagraph 22 v , EPA may again revise its permit modification

decision Settling Defendant shall perform such Rest of the River Remedial Action and

O&M in accordance with such further revised permit modification unless Settling

Defendant timely files a petition for review of such further revised permit modification

decision In the event Settling Defendant files a petition, the provisions of subparagraph

22 u shall apply, except for subparagraph 22 u (iv)

                    (u) -Any proceedings before the United States Court of Appeals for

the First Circuit under subparagraph 22 v (i) shall be governed by applicable law, the

rules of the Court of Appeals for the First Circuit, and the provisions of Paragraph 141 b

of this Consent Decree, except the United States and Settling Defendant shall jointly

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 move the Court of Appeals for an expedited briefing schedule and expedited

 consideration of the petition for review. Settling Defendant may apply to the Court for a

 stay of the further revised permit modification decision pending review by the United

States Court of Appeals for the First Circuit. The United States may oppose such

application for a stay.

              w. In the event that Settling Defendant invokes dispute resolution pursuant

to Paragraphs 22.u or 22.v and 141.b (Dispute Resolution) and EPA's revised permit

modification decision is upheld in whole or in part by the Environmental Appeals Board

and, if appealed, by the United States Court of Appeals for the First Circuit, Settling

Defendant shall perform the selected Rest of the River Remedial Action and O&M, as

upheld in whole or in part, as a CERCLA remedial action pursuant to this Consent

Decree.

              x.   Whenever Settling Defendant is required to design and implement the

Rest of the River Remedial Action or a portion thereof pursuant to this Paragraph 22,

Settling Defendant shall develop and submit to EPA for review and approval a Rest of

River SOW in accordance with the following provisions: Within 7 days after the date

upon which the modification of the Reissued RCRA Permit, or portion thereof, requiring

such action becomes effective pursuant to this Paragraph 22, Settling Defendant shall

propose to EPA for review and approval a schedule for the subsequent submission of a

Rest of River SOW for implementation of such Remedial Action or portion thereof. That

proposed schedule will be discussed by EPA and Settling Defendant and shall be

subject to final EPA approval, which in no event shall require submission of the Rest of

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River SOW sooner than 90 days after the effective date of such Permit modification or

portion thereof. In accordance with the schedule approved by EPA, Settling Defendant

shall submit to EPA for review and approval a Rest of River SOW for the Rest of River

Remedial Action or effective portion thereof. Such Rest of River SOW shall include

provisions and schedules for the subsequent development of a Remedial Design Work

Plan, a Remedial Action Work Plan, and/or other appropriate associated plans to

achieve the Performance Standards and other requirements set forth in the effective

modification of the Reissued RCRA Permit and the Rest of River SOW and (if

applicable) reflecting the outcome of any completed dispute resolution proceeding

              y   Following EPA approval of the Rest of the River SOW, Settling

Defendant shall submit the necessary Remedial Design and Remedial Action Work

Plans to EPA for review and approval in accordance with the Rest of River SOW and

Section XV (EPA Approval of Plans and Other Submissions) of this Consent Decree and

subject to Paragraph 39 (Modification of SOW, Rest of River SOW, or Work Plans) of

this Consent Decree

              z   Settling Defendant shall design and implement the Rest of River

Remedial Action, and any required O&M, as a CERCLA remedial action pursuant to this

Consent Decree, in accordance with EPA's final RCRA permit modification decision, the

final outcome of any dispute resolution proceedings, the Rest of the River SOW, and

any approved Work Plans thereunder For purposes of the Rest of River Remedial

Action and O&M, EPA's modification of the Reissued RCRA Permit to select such

Remedial Action and O&M that is effective at the time of initiation of the Rest of River

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 Remedial Design/Remedial Action shall be considered to be the final remedy selection

 decision pursuant to Section 121 of CERCLA and Section 300 430 of the NCR (40

 C F R § 300 430) If such modification is changed by appeals and/or remands, the

 subsequent modification of the Reissued RCRA Permit shall be considered the final

 remedy selection decision pursuant to Section 121 of CERCLA and Section 300 430 of

 the NCR (40 C F R § 300 430)

               aa    In the event that both the Reissued RCRA Permit and this Consent

 Decree require performance of a given action by Settling Defendant, enforcement of

 such requirement shall be pursuant to this Consent Decree, rather than pursuant to

 RCRA and the Reissued RCRA Permit In the event that a given action by Settling

 Defendant is required only by the Reissued RCRA Permit, enforcement of such

 requirement shall be pursuant to RCRA and the Reissued RCRA Permit

              bb     Challenges by State to EPA Determination to Waive an ARAR In

 the event that the State petitions for review of EPA's permit modification decision

 referred to in Paragraph 22 p or EPA's revised or further revised permit modification

 decisions referred to in Paragraphs 22 t and 22 v(i), respectively, in the EPA

 Environmental Appeals Board pursuant to 40 C F R § 124 19 and/or in the United

 States Court of Appeals for the First Circuit pursuant to Section 7006(b) of RCRA, and in

 such proceeding challenges EPA's determination, in such permit modification decision,

to waive an ARAR for the Rest of the River Remedial Action or O&M, the following

provisions shall apply



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              (i)    The United States, the State, and Settling Defendant (if a party) shall

stipulate that the standard of review of the State's challenge to EPA's ARAR waiver

determination shall be as provided in Section 121(f)(2)(B) of CERCLA

              (n)    During any such proceeding in the Environmental Appeal Board, the

permit modification decision challenged by the State shall be stayed in accordance with

the provisions of 40 C F R §§ 124 15(b)(2) 124 16(a) and 124 19(f)(1)

              (in)   If the State appeals to the Court of Appeals from a decision of the

Environmental Appeals Board upholding, in whole or in part, EPA's determination to

waive an ARAR in EPA's initial permit modification decision referred to in Paragraph

22 p, the following provisions shall apply with respect to such appeal

                      (A)   During the pendency of such appeal, Settling Defendant shall

not be required to proceed with any design work on the selected Rest of the River

Remedial Action or O&M for which resolution of the State's challenge is necessary to be

decided prior to undertaking such design work EPA may proceed with such design

work during the pendency of the State's appeal However, prior to proceeding with

design work under this subparagraph, EPA shall give written notice to Settling

Defendant and give Settling Defendant the opportunity to implement such design work

If Settling Defendant does not notify EPA of its intent to perform such design work within

30 days of EPA's notification, EPA may proceed with such design work At the

conclusion of the State's appeal, if EPA's ARAR waiver determination is upheld and

EPA was performing the design work, EPA shall provide Settling Defendant with the

results of its design work relating thereto and return the performance of such design

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work to Settling Defendant, and Settling Defendant shall pay EPA's costs of such work

as U.S. Future Response Costs in accordance with Paragraph 95 a of this Consent

Decree    If only a portion of EPA's ARAR waiver determination is upheld or if EPA's

ARAR waiver determination is not upheld in any part, and EPA was performing the

design work relating to the ARAR waiver determination, EPA will provide Settling

Defendant with the results of its design work and return the performance of design work

to Settling Defendant If only a portion of EPA's ARAR waiver determination is upheld,

Settling Defendant shall pay EPA's costs of such work relating to the portion that was

upheld as U S Future Response Costs in accordance with Paragraph 95 a of this

Consent Decree If a portion of EPA's ARAR waiver determination is not upheld, or if

EPA's ARAR waiver determination is not upheld in any part, Settling Defendant shall not

be required to pay EPA's costs of any portion of the design work related thereto that in

light of the Court's decision would have to be materially changed in substance in the

remedial design for any revised permit modification decision which is not appealed or is

upheld on appeal

                      (B)   If Settling Defendant has also appealed to the Court of

Appeals pursuant to Paragraph 22 q and if the work subject to Settling Defendant's

appeal is not severable from the work subject to the State's challenge, the United States

will stipulate to a stay of the effectiveness of the modified permit, insofar as it applies to

such work, during the pendency of the State's appeal, and neither Settling Defendant

nor EPA shall proceed with the implementation of such work during the pendency of

such appeal

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                     (C)   If Settling Defendant does not appeal to the Court of Appeals

pursuant to Paragraph 22 q or if the work subject to the State's challenge is severable

from the work subject to an appeal by Settling Defendant, either the State or Settling

Defendant may move the Court of Appeals for a stay of the effectiveness of the modified

permit insofar as it requires Settling Defendant to perform, or for an order precluding

performance of, any implementation work on the Rest of the River Remedial Action or

O&M for which resolution of the State's challenge is necessary to be decided prior to

undertaking such work In connection with such motion, the parties shall stipulate that

the Court of Appeals may consider the provisions of subparagraph 22 bb(m)(D) below in

considering the applicable stay factors

                    (D)    If, due to the absence, denial, or expiration of any stay, either

Settling Defendant or EPA proceeds, during the pendency of the State's challenge, with

any implementation work that is subject to the State's challenge, and if the Court of

Appeals thereafter holds that EPA improperly waived an ARAR, then neither Settling

Defendant nor EPA shall be required to undo or re-do any implementation work that has

previously been completed, so as to comply with such ARAR However, Settling

Defendant shall comply with such ARAR, in accordance with the Court of Appeals'

decision, in implementing all future work In the event of a dispute regarding the scope

of Settling Defendant's obligations pursuant to this subparagraph to implement the Court

of Appeals' decision regarding the State's challenge, such dispute shall be resolved

under the Dispute Resolution provisions of Paragraphs 133 through 139 of this Consent

Decree, provided, however, that the State shall also have the right to invoke dispute

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resolution with respect to such issue in accordance with the same procedures set forth

in those paragraphs, and provided further that if the State does so, stipulated penalties

or any other penalties or sanctions shall not accrue against Settling Defendant, during

the pendency of such dispute resolution proceeding, for any failure by Settling

Defendant to perform work which the State believes is required by the Court of Appeals'

decision but which EPA has not required Settling Defendant to perform

                     (E)   Following the conclusion of the State's appeal to the Court of

Appeals, if EPA's ARAR waiver determination is upheld and EPA was performing

implementation work relating thereto, EPA will return the performance of such work to

Settling Defendant, and Settling Defendant shall pay EPA's costs of such work as U S

Future Response Costs in accordance with Paragraph 95 a of this Consent Decree If

only a portion of EPA's ARAR waiver determination is upheld or if EPA's ARAR waiver

determination is not upheld in any part, and EPA was performing implementation work

relating to the ARAR waiver determination, EPA will return the performance of work to

Settling Defendant, and Settling Defendant shall pay EPA's costs of the implementation

work relating to the ARAR waiver determination, as U.S Future Response Costs in

accordance with Paragraph 95 a, but only to the extent that such work was performed to

implement any portion of the permit modification decision upheld by the Court of

Appeals or was incorporated into work performed to implement a subsequent revised

permit modification decision that is not appealed or (if appealed) is upheld on appeal

             (iv)   If the State appeals to the Court of Appeals from a decision by the

Environmental Appeals Board upholding, in whole or in part, EPA's determination to

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waive an ARAR in EPA's revised or further revised permit modification decision referred

to in Paragraphs 221 or 22 v(»), the following provisions shall apply with respect to such

appeal

                     (A)    Notwithstanding the provisions of Paragraph 22 u(v), Settling

 Defendant or the State may move the Court of Appeals for a stay, pending the Court's

decision, of any design work on the selected revised Rest of the River Remedial Action

or O&M for which resolution of the State's challenge is necessary to be decided prior to

undertaking such design work If Settling Defendant or the State does not seek such a

.stay or if any motion for a stay is denied, Settling Defendant shall proceed with such

design work during the pendency of the State's appeal If such a stay is granted EPA

may proceed with such design work during the pendency of the State's appeal

However, prior to proceeding with design work under this subparagraph, EPA shall give

written notice to Settling Defendant and give Settling Defendant the opportunity to

implement such design work If Settling Defendant does not notify EPA of its intent to

perform such design work within 30 days of EPA's notification, EPA may proceed with

such design work At the conclusion of the State's appeal, if EPA's ARAR waiver

determination is upheld and EPA was performing the design work, EPA will provide

Settling Defendant with the results of its design work relating thereto and return the

performance of such design work to Settling Defendant, and Settling Defendant shall

pay EPA's cost of such work as U S Future Response Costs in accordance with

Paragraph 95 a of this Consent Decree      If only a portion of EPA's ARAR waiver

determination is upheld or if EPA's ARAR waiver determination is not upheld in any part,

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and EPA was performing the design work relating to the ARAR waiver determination,

EPA will provide Settling Defendant with the results of its design work and return the

performance of design work to Settling Defendant. If only a portion of EPA's ARAR

waiver determination is upheld, Settling Defendant shall pay EPA's costs of such work

relating to the portion that was upheld as U.S. Future Response Costs in accordance

with Paragraph 95.a of this Consent Decree. If a portion of EPA's ARAR waiver

determination is not upheld or if EPA's ARAR waiver determination is not upheld in any

part, Settling Defendant shall not be required to pay EPA's costs of any portion of the

design work related thereto that in light of the Court's decision would have to be

materially changed in substance in the remedial design for any further revised permit

modification decision which is not appealed or is upheld on appeal.

                     (B)    If Settling Defendant has also appealed to the Court of
                                                                                A-



Appeals pursuant to Paragraph 22.u or 22.v (as applicable) and if the work subject to

Settling Defendant's appeal is not severable from tne work subject to the State's

challenge, the provisions of Paragraphs 22.u(iv) or 22.v(ii) (as applicable) relating to a

stay of the effectiveness of EPA's revised or further revised permit modification decision

shall apply to the implementation of such work; provided, however, that the State may

also seek a stay of implementation of such work in accordance with the same

procedures set forth in Paragraph 22.bb(iv)(C).

                     (C)   If Settling Defendant does not appeal to the Court of Appeals

pursuant to Paragraph 22.u or 22.v (if applicable) or if the work subject to the State's

challenge is severable from the work subject to an appeal by Settling Defendant, either

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the State orSettling Defendant may move the Court of Appeals for a stay of the

effectiveness of the revised or further revised modified permit insofar as it requires

Settling Defendant to perform, or for an order precluding the performance of, any

implementation work on the Rest of the River Remedial Action or O&M for which

resolution of the State's challenge is necessary to be decided prior to undertaking such

work In connection with such motion, the parties shall stipulate that the Court of

Appeals may consider the provisions of subparagraph 22 bb(iv)(D) below in considering

the applicable stay factors

                     (D)      If, due to the absence, denial, or expiration of any stay, either

Settling Defendant or EPA proceeds, during the pendency of the State's challenge, with

any implementation work that is subject to the State's challenge, and if the Court of

Appeals thereafter holds that EPA improperly waived an ARAR, then neither Settling

Defendant nor EPA shall be required to undo or re-do any implementation work that has

previously been completed, so as to comply with such ARAR However, Settling

Defendant shall comply with such ARAR, in accordance with the Court of Appeals'

decision, in implementing all future work In the event of a dispute regarding the scope

of Settling Defendant's obligations pursuant to this subparagraph to implement the Court

of Appeals' decision regarding the State's challenge, such dispute shall be resolved

under the Dispute Resolution provisions of Paragraphs 133 through 139 of this Consent

Decree, provided, however, that the State shall also have the right to invoke dispute

resolution with respect to such issue in accordance with the same procedures set forth

in those paragraphs, and provided further that if the State does so, stipulated penalties

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 or any other penalties or sanctions shall not accrue against Settling Defendant during

the pendency of such djspute resolution proceeding, for any failure by Settling

 Defendant to perform work which the State believes is required by the Court of Appeals'

decision but which EPA has not required Settling Defendant to perform

              (E)   Following the conclusion of the State's appeal to the Court of

Appeals, if EPA's ARAR waiver determination is upheld and EPA was performing

implementation work relating thereto, EPA will return the performance of such work to

Settling Defendant, and Settling Defendant shall pay EPA's costs of such work as U S

Future Response Costs in accordance with Paragraph 95 a of this Consent Decree If

only a portion of EPA's ARAR waiver determination is upheld or if EPA's ARAR waiver

determination is not upheld in any part, and EPA was performing implementation work

relating to the ARAR waiver determination, EPA will return the performance of work to

Settling Defendant, and Settling Defendant shall pay EPA's costs of the implementation

work relating to the ARAR waiver determination, as U S Future Response Costs in

accordance with Paragraph 95 a, but only to the extent that such work was performed to

implement any portion of the revised permit modification decision upheld by the Court of

Appeals or was incorporated into work performed to implement a subsequent further

revised permit modification decision that is not appealed or (if appealed) is upheld on

appeal

              (v)   In any appeal by the State to the Court of Appeals challenging a

decision by EPA to waive an ARAR for the Rest of the River Remedial Action or O&M,

the United States, the State, and Settling Defendant (if a party) shall jointly move the

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Court of Appeals for an expedited briefing schedule and expedited consideration of the

State's petition for review.

              (vi)    For any work conducted by Settling Defendant during the

pendency of a State challenge to a determination by EPA to waive an ARAR for

the Rest of the River Remedial Action or O&M, Settling Defendant shall not be deemed

to be in noncompliance with this Consent Decree for failure to comply with such ARAR

unless and until the Court of Appeals determines that EPA improperly waived such

ARAR and Settling Defendant fails to comply with such ARAR in accordance with the

applicable schedule as determined by the Court or as approved by EPA (after

reasonable opportunity for review and comment by the State) following the Court's

decision.

              (vii)   In the event that Settling Defendant or EPA performs work

during the pendency of a State challenge to a determination by EPA to waive an ARAR

for the Rest of the River Remedial Action or O&M, and if the Court of Appeals thereafter

holds that EPA improperly waived such ARAR, EPA shall not withhold issuance of the

Certifications of Completion described in Paragraphs 88 and 89 of this Consent Decree

on the ground that the work performed by Settling Defendant or EPA prior to the date

when compliance with such ARAR is required under the Court's decision did hot meet or

comply with such ARAR.

              (viii) " The provisions of this Paragraph 22.bb shall not apply to any

work that is severable from work subject to the State's challenge to a determination by

EPA to waive an ARAR for the Rest of the River Remedial Action or O&M.


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              cc     Challenges by Connecticut to EPA Determination to Waive an

ARAR Paragraph 22.bb is incorporated in this subparagraph by reference except that

each reference to "the State" shall be read as a reference to "Connecticut."

         IX. PERFORMANCE STANDARDS AND RELATED REQUIREMENTS

       23.    Settling Defendant shall perform the response actions required under this

Consent Decree to achieve and maintain the Performance Standards as described in

this Section IX and in the SOW (Appendix E to this Consent Decree), the Upper 1/2 Mile

Reach Removal Action Work Plan (Appendix F to this Consent Decree), and the Rest of

the River SOW (to be developed pursuant to this Consent Decree).

       24     The following general Performance Standards shall apply to the response

actions undertaken pursuant to this Consent Decree

              a      For each Settling Defendant Property that is subject to a Removal

Action Outside the River or the Upper 1/2 Mile Reach Removal Action pursuant to this

Consent Decree, Settling Defendant shall execute and record a Grant of Environmental

Restrictions and Easements ("ERE") in accordance with the applicable provisions of

Section XIII of this Consent Decree

              b      For each Non-Settling Defendant Property that is not in residential

use, and that is subject to a Removal Action Outside the River (except for the Allendale

School Property) or the Upper Vz Mile Reach Removal Action pursuant to this Consent

Decree, Settling Defendant shall make best efforts to obtain the execution and

recordation of an ERE (or a Notice ERE for such property that is State-owned and

subject to Article 49 of the State Constitution) in accordance with the applicable


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provisions of Section XIII of this Consent Decree (unless the Performance Standards for

residential use, as described herein and in the SOW, are achieved at such property) If

an ERE cannot be obtained for any such property in accordance with Section XIII ofjhis

Consent Decree, Settling Defendant shall implement a Conditional Solution at such

property in accordance with Paragraphs 34-38 of this Consent Decree

              c       For the nverbank portions of properties located in the 1 Vz Mile

Reach, to the extent that EREs are required pursuant to the 1 V* Mile Reach Removal

Action for such nverbanks that are not relatively inaccessible, Settling Defendant shall

execute and record EREs for such nverbanks at Settling Defendant Property in

accordance with the applicable provisions of Section XIII of this Consent Decree     In

addition, for such nverbanks at Non-Settling Defendant Property, if EPA is unable to

obtain EREs without compensation to the property owners pursuant to Paragraph 21 b,

Settling Defendant shall make best efforts to obtain the execution and recordation of

EREs for such nverbanks in accordance with the applicable provisions of Section XIII of

this Consent Decree

             d      For properties located in the Rest of the River, to the extent that

EREs are required at such properties pursuant to the Rest of the River Remedial Action,

Settling Defendant shall execute and record an ERE at each such Settling Defendant

Property in accordance with the applicable provisions of Section XIII of this Consent

Decree, and shall make best efforts to obtain the execution and recordation of an ERE

at each such Non-Settling Defendant Property (or a Notice ERE for such property that is




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State-owned and subject to Article 49 of the State Constitution) in accordance with the

applicable provisions of Section XIII of this Consent Decree.

               e.   ~T6~rlhe RerobvaTActTonTOulsicielhe River, -except~s&_specified irv~

this Section IX or in the SOW, the extent of response actions to address PCBs in soil

shall be determined by spatial averaging methods, as described in Attachment E to the

SOW. Such spatial averaging methods shall be applied to the averaging areas

described, or determined in accordance with the specifications and procedures set forth,

in Sections 2.2, 2.3, 2.5, and 2.6 and Attachment E of the SOW. For certain areas

subject to the Removal Actions Outside the River, the SOW provides for Settling

Defendant to select one of three options for determining averaging areas for the top foot

of soil at a property (i) consideration of the overall property as an averaging area, or,

for the GE Plant Area, use of the pre-established averaging areas identified in

Attachment E to the SOW, provided that Settling Defendant achieves certain not-to­

exceed ("NTE") PCB concentrations in the top foot of soil in unpaved areas and any

other conditions set forth in Attachment E to the SOW are met; (ii) establishment of

averaging areas which do not exceed 1.0 acre for GE-owned industrial portions of the

GE Plant Area, 0.5 acre for other commercial/industrial properties or recreational

properties, or 0.25 acre for residential properties, or (iii) proposal of other specific

averaging areas to EPA for approval. If Settling Defendant selects the first of these

options for a given property or area, Settling Defendant shall, in addition to achieving the

other applicable Performance Standards, remove and replace all soils in the top foot in

unpaved portions of such property or area in which PCBs have been detected in excess


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of the following NTE concentrations: 125 ppm at a commercial/industrial property or

area, 50 ppm at a recreational property or area, or 10 ppm at a residential property

              f     For the areas subject to Removal Actions Outside the River, Settling

Defendant shall evaluate the non-PCB Appendix IX+3 constituents in soils and

sediments in each averaging area in accordance with the procedures set forth in

Sections 2.2 through 2 6 and Attachment F of the SOW for evaluating such constituents

Based upon such evaluation, Settling Defendant shall conduct additional response

actions, rf any, to achieve the applicable Performance Standards for such non-PCB

constituents as set forth in Sections 2 2 through 2 6 and Attachment F of the SOW

             g      For the Removal Actions that relate to groundwater and NAPL ­

namely, the Plant Site 1 Groundwater Management Area Removal Action, the Former

Oxbows J and K Groundwater Management Area Removal Action, the Plant Site 2

Groundwater Management Area Removal Actions, the Plant Site 3 Groundwater

Management Area Removal Action, and the Former Oxbows A and C Groundwater

Management Area Removal Action - Settling Defendant shall implement and operate

the groundwater/NAPL monitoring, assessment and response programs described in

Attachment H to the SOW for each Groundwater Management Area described in

Attachment H to the SOW, and shall achieve the Performance Standards for

groundwater quality and for NAPL set forth in Section 2 7, Attachment H, and (where

applicable) Annex 2 of the SOW




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        25       The Performance Standards for the Removal Actions at the GE Plant Area

shall include all requirements for the GE Plant Area identified as Performance Standards

in the SOW attached to this ConsenLDecree, and the following requirements                 —

                 a     Settling Defendant shall perform soil remediation to address PCBs

at the GE Plant Area (excluding the on-plant consolidation areas) as follows

                       (i) In an approximate 200-foot wide strip along the north side of the

River, located in the area from the former Thermal Oxidizer location downstream to the

GE Plant Area boundary, as depicted generally on Figures 2-1 and E-1 of the SOW,

Settling Defendant shall remove all paved surfaces, gravel, buildings/structures (except

for the 64W oil/water separator), and underlying soil to a total depth of one foot, and

shall replace that pavement/soil with a one-foot vegetative Engineered Barrier, as

described in Attachment G to the SOW, provided, however, that such barrier need not

be installed in any discrete portion of this strip where the average PCB concentrations

do not exceed 10 ppm in the top foot, 15 ppm in the 1-3 foot depth, and 100 ppm in the

top 15 feet, so long as the effectiveness of the barrier is not impaired by discontinuities

in the barrier

                       (n) In a portion of East Street Area 2 - South that has been

proposed for use as a City recreational area, as generally depicted on Figures 2-1 and

E-1 of the SOW, Settling Defendant shall install a one-foot-thick soil cover, as described

in Attachment G to the SOW, and shall remove and replace soils in the next two feet

below that cover as necessary to achieve a PCB average of 15 ppm in that depth

increment


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                     (iii) Except at the areas described in Paragraph 25.a(i) and 25.a(ii)

above and in Paragraph 25.d below, Settling Defendant shall take the following

response-actions for the top one foot of soil in each averaging area at thejSE Plant

Area: (A) For unpaved portions of such an averaging area that are located within the

100-year floodplain of the Housatonic River or Unkamet Brook, Settling Defendant shall

remove and replace soils to achieve a PCB average of 25 ppm or below in the top one

foot. (B) For unpaved portions of such an averaging area that are located outside that

100-year floodplain, Settling Defendant shall either (at its option) remove and replace

soils in the top foot or place a soil cap over soils in the top foot to achieve a PCB

average of 25 ppm or below in the top one foot. Specifications for such soil cap are

described in Attachment G to the SOW. (C) For any averaging area where the average

PCB concentration in the top one foot exceeds 25 ppm in the entire area (paved and

unpaved portions combined), Settling Defendant shall recalculate the average PCB

concentration after incorporating the anticipated performance of the response actions

described in clause (A) or (B) above (as applicable). If that recalculated average PCB

concentration still exceeds 25 ppm, Settling Defendant shall either (at its option) remove

pavement/soils in the top foot to achieve a PCB average of 25 ppm in the top foot of the

averaging area or maintain and enhance existing pavement/concrete surfaces in those

paved areas determined to cause the exceedance of the 25 ppm average in the top foot,

in accordance with the specifications for pavement enhancement in Attachment G to the

SOW. Where such pavement enhancement is undertaken within the 100-year floodplain




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of the Housatonic River or Unkamet Brook, Settling Defendant shall provide Flood

Storage Compensation

                     (iv) Except at the areas described in Paragraph 25 d below, if the

PCB average in the soil at the 1-6 foot depth increment exceeds 200 ppm in any

averaging area at the GE Plant Area, Settling Defendant shall perform the following

activities (A) In any such area located within the 100-year floodplam of the Housatonic

River or Unkamet Brook, Settling Defendant shall remove and replace soils as

necessary to achieve a PCB average of 200 ppm in the 1-6 foot depth (B) In any such

area located outside the 100-year floodplam, Settling Defendant shall undertake a

combination of soil removal/replacement in unpaved areas and either (at its option) soil

removal/replacement or enhancement of existing pavement/concrete surfaces in paved

areas as necessary to ensure that the PCB concentrations causing the average to

exceed 200 ppm are removed or covered by enhanced pavement

                     (v) If any averaging area at the GE Plant Area containing utilities

has a PCB average exceeding 200 ppm in the 1-6 foot depth in the utility comdor(s),

Settling Defendant shall submit to EPA for review and approval an evaluation of the

need for any additional response actions in such area and shall implement any such

actions as approved by EPA In addition, in the event that a new subgrade utility is

installed or an existing subgrade utility is repaired or replaced in the future at the GE

Plant Area, Settling Defendant shall ensure that the average PCB concentration in the

backfill material does not exceed 25 ppm (or, for areas described in Paragraphs 25 a(u)

and 25 d(vi), 10 ppm in the top three feet and 25 ppm for soils at greater depth)


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                      (vi) At each averaging area (paved and unpaved portions

combined) in which the PCB average exceeds 100 ppm in the top 15 feet after taking

into account any response actions for soils in the top six feet, Settling Defendant shall

install Engineered Barriers in accordance with the specifications for such barriers in

Attachment G to the SOW. Where such Engineered Barriers are installed within the

100-year floodplain of the Housatonic River or Unkamet Brook, Settling Defendant shall

provide Flood Storage Compensation.

              b.      Settling Defendant shall cap the Hill 78 Consolidation Area and

other on-plant consolidation areas after use of these areas for on-plant consolidation of

excavated materials and building demolition debris. The caps for these areas shall

comply with the specifications set forth in Attachment G to the SOW for consolidation

area/landfill caps.

               c.     Settling Defendant shall complete the installation of sheetpiling and

other NAPL/groundwater containment/recovery controls in the East Street Area 2-South

former seep areas and the Building 68 Area, and shall continue to operate and maintain

those systems, in accordance with the Work Plans and EPA conditional approval letters

contained in Annex 2 to the SOW, and as necessary to achieve the applicable

Performance Standards set forth in those Work Plans and EPA conditional approval

letters and in Attachment H to the SOW. If other similar seep areas are identified,

Settling Defendant shall implement similar NAPL/groundwater containment/recovery

systems as proposed to and approved by EPA.
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               d.     In addition to the other Performance Standards applicable to the GE

Plant Area, Settling Defendant shall perform the following in the Unkamet Brook Area:

                    . -(i) Settling Defendant shall reroute-Unkamet Brook to its _ _ _ _ _

approximate former channel, as specified in Section 2.2.2 of the SOW.

                      (ii) Settling Defendant shall cap the former Unkamet Brook landfill

with a consolidation area/landfill cap in the unpaved portion and an asphalt Engineered

Barrier in the currently paved portion, in accordance with the specifications in

Attachment G to the SOW.

                     (iii) Following rerouting of Unkamet Brook, Settling Defendant shall

remove and replace brook sediments to achieve a 1 ppm PCB average in the surface

sediments (i.e., the top one foot of sediments) in each of three reaches of the brook, as

specified in Section 2.2.2 of the SOW. In addition, Settling Defendant shall (at its option)

either remove and replace sediments or install a soil cover over the inundated wetlands

that are not subject to the former landfill cap to achieve a 1 ppm PCB average in the top

foot of each such inundated wetland, as specified in Section 2.2.2 of the SOW Any loss

of wetlands shall be mitigated through the payment that Settling Defendant will make in

accordance with Paragraph 114.b of Section XXI of this Consent Decree (Natural

Resource Damages).

                     (iv) In the non-industrial area owned by Settling Defendant to the

east of the former Unkamet Brook landfill (as generally depicted on Figures 2-3 and E-1

of the SOW), Settling Defendant shall remove and replace soils to achieve a 10 ppm

PCB average in the top foot and a 15 ppm PCB average in the 1-3 foot depth, and shall


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install a vegetative Engineered Barrier if the PCB average in the top 15 feet (after taking

into account any soil removal/replacement in the top three feet) exceeds 1 00 ppm

     .—     ——r_-^-t(v) Setting Defendant shall evaluate the potential changes to flood

storage capacity of the Unkamet Brook floodplain due to the performance of the

response actions described in Paragraphs 25 d(i) through 25 d(iv), and shall provide

Flood Storage Compensation However, to obtain such compensation, Settling

Defendant shall not be required to remove soils from the former Unkamet Brook landfill

prior to placement of the cap/bamer

                     (vi) For non-industrial recreational areas in the Unkamet Brook

floodplain that are not owned by Settling Defendant (as generally depicted on Figures 2­

3 and E-1 of the SOW), if an ERE is obtained at a property in accordance with Section

XIII of this Consent Decree, Settling Defendant shall remove and replace soils to

achieve a 10 ppm PCB average in the top foot and a 15 ppm PCB average in the 1-3

foot depth at each averaging area, and Settling Defendant shall install an Engineered

Barrier in any averaging area with a PCB average exceeding 100 ppm in the top 15 feet

(after taking into account any soil removals for the top three feet) and shall provide Flood

Storage Compensation For any property in such areas for which an ERE is not

obtained, Settling Defendant shall implement a Conditional Solution in accordance with

Paragraphs 34-38 of this Consent Decree

                    (vu) For commercial/industrial areas that are not owned by Settling

Defendant (as generally depicted on Figures 2-3 and E-1 of the SOW), if an ERE is

obtained at a property in accordance with Section XIII of this Consent Decree, Settling


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Defendant shall achieve at such property the same Performance Standards set forth in

Paragraphs 26.c(i)-(iv) and 26.e. For any such property for which an ERE is not

otrtained, Settling Defendant shall implement-a Conditional Sokrtion-in accofdaoce-wrth

Paragraphs 34-38 of this Consent Decree.

                e. For the portion of the commercial/industrial property within East Street

Area 1-North that is not owned by Settling Defendant (Parcel K10-14-1), if an ERE is

obtained in accordance with Section XIII, Settling Defendant shall achieve the same

Performance Standards set out in Paragraphs 26.c(i)-(iv) and 26.e. If an ERE is not

obtained for such portion, Settling Defendant shall implement a Conditional Solution in

accordance with Paragraphs 34-38 of this Consent Decree.

       26.    The Performance Standards for the Removal Actions at the Former Oxbow

Areas shall include all requirements for the Former Oxbow Areas identified as

Performance Standards in the SOW attached to this Consent Decree, and the following

requirements:

              a.      At the Lyman Street and Newell Street parking lots owned by

Settling Defendant (as generally depicted on Figure 2-4 of the SOW), Settling Defendant

shall remove the top one foot of pavement/soil and replace such pavement/soil with a

one-foot vegetative Engineered Barrier, as described in Attachment G to the SOW,

except as follows: (i) In lieu of removal of the top foot of pavement/soil, Settling

Defendant may propose to EPA the installation of a one-foot vegetative Engineered

Barrier over the existing pavement/soil, and may implement that approach provided that

EPA approves such approach (based on consideration of PCB levels, impacts on


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drainage, and other relevant factors) and that Flood Storage Compensation is provided

(ii) An Engineered Barrier need not be installed in any discrete portion of either parking

lot where the average PCB concentrations do not exceed 10 ppm in the top foot, 15 ppm

in the 1-3 foot depth, and 100 ppm in the top 15 feet, so long as the effectiveness of

such barrier is not impaired by discontinuities in the barrier.

              b.     For the wooded area at Newell Street Area II and the riparian strip

at Newell Street Area I which are owned by Settling Defendant (as generally depicted on

Figure 2-4 of the SOW), Settling Defendant shall either (at its option): (i) remove and

replace soils to achieve PCB averages of 10 ppm in the top foot and 15 ppm in the 1-3

foot depth, and install a vegetative Engineered Barrier if the PCB average in the top 15

feet (after taking into account any soil removal/replacement in the top three feet)

exceeds 100 ppm; or (ii) remove the top foot of soil and install a vegetative Engineered

Barrier over portions of the area until the average PCB concentrations in the remainder

of the area do not exceed 10 ppm in the top foot and 15 ppm in the 1-3 foot depth, and

also install a vegetative Engineered Barrier in any other portions of the area where the

PCB average exceeds 100 ppm in the top 15 feet. For any Engineered Barrier installed,

Settling Defendant shall provide Flood Storage Compensation.

              c.     For commercial/industrial properties, if an ERE is obtained for a

property in accordance with Section XIII of this Consent Decree, Settling Defendant ~

shall, at each such property:

                     (i)    remove and replace soils in the top one foot in the unpaved

      portion of each averaging area to achieve a 25 ppm PCB average in such portion;


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                     (ii)    in the paved portion of each averaging area, if the PCB

       average in the top one foot exceeds 25 ppm, either (at Settling Defendant's

       option) remove and replace soils to achieve a 25 ppm PCB average in the top

       foot or enhance existing pavement in such portion and provide Flood Storage

       Compensation,

                     (in)   remove and replace subsurface soils in the 1 to 6 foot depth

       interval to achieve a 200 ppm PCB average in such interval at the property

       (considering paved and unpaved portions combined); and

                     (iv)   install an Engineered Barrier if the PCB average in the top 15

       feet at the property (considering paved and unpaved portions combined) exceeds

       100 ppm (after taking into account any soil removals for the top six feet), and

       provide Flood Storage Compensation

              d      For recreational properties (other than those described in

Paragraphs 26 a and 26 b), if an ERE is obtained for a property in accordance with

Section XIII of this Consent Decree, Settling Defendant shall, for each averaging area,

remove and replace soils to achieve a 10 ppm PCB average in the top one foot and a 15

ppm PCB average at a depth of 1-3 feet In addition, Settling Defendant shall install an

Engineered Barrier if the PCB average in the top 15 feet at such a property (considering

paved and unpaved portions combined) exceeds 100 ppm (after taking into account any

soil removals for the top three feet), and provide Flood Storage Compensation

              e      At commercial/industrial or recreational properties where subgrade

utilities are present and the average PCB concentration in soils in the utility corndor(s)


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exceeds 200 ppm, Settling Defendant shall submit to EPA for review and approval an

evaluation of the need for any additional response actions in such area, and shall

implement any such actions as approved by EPA In addition, in the event that a new

subgrade utility is installed or an existing subgrade utility is repaired or replaced at such

a property in the future, Settling Defendant shall ensure that the average PCB

concentration in the backfill material does not exceed 25 ppm at a commercial/industrial

property or 10 ppm in the top three feet and 25 ppm for soils at greater depth at a

recreational property.

             f.      At current residential properties, Settling Defendant shall achieve a

2 ppm PCB average to a depth of one foot at each averaging area, using an

approximate 25-foot sampling grid, and shall achieve a 2 ppm PCB average at a depth

of one foot to the depth at which PCBs have been detected (up to a maximum of 15

feet), based on averaging procedures described more fully in the SOW

             g       Settling Defendant shall complete the installation of sheetpihng and

other NAPL/groundwater controls in the Lyman Street Area former seep area and the

installation of a dense non-aqueous phase liquid ("DNAPL") recovery system at Newell

Street Area II, and shall continue to operate and maintain those systems, in accordance

with the Work Plans contained in Annex 2 to the SOW, as approved or conditionally

approved by EPA, and as necessary to achieve the applicable Performance-Standards

set forth in those Work Plans and EPA approval/conditional approval letters and in

Attachment H to the SOW. If other similar seep areas are identified, Settling Defendant




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shall implement similar NAPL/groundwater containment/recovery systems as proposed

to and approved by EPA

               h      If an ERE is not obtained at a non-residential property not owned by

Settling Defendant at the Former Oxbow Areas, Settling Defendant shall implement a

Conditional Solution at such property in accordance with Paragraphs 34-38 of this

Consent Decree

       27      The Performance Standards for the Allendale School Removal Action shall

include all requirements for the Allendale School Property identified as Performance

Standards in the SOW attached to this Consent Decree and in the Removal

Design/Removal Action Work Plan for the Allendale School Property (contained in

Annex 3 to the SOW), as approved or conditionally approved by EPA, and the following

requirements

               a     Settling Defendant shall remove all soils (including soils under the

existing cap) in which PCBs have been detected at concentrations exceeding 2 ppm

except within an approximate 25-foot wide strip along the rear portions of the school

building where (due to constructabihty issues) Settling Defendant shall remove soils to

achieve a PCB average of less than 2 ppm

               b     Settling Defendant shall replace removed soils with clean soil and

restore the area in accordance with the Work Plan and EPA conditional approval letter

contained in Annex 3 to the SOW

      28       The Performance Standards for the Removal Actions at the Housatonic

River Floodplain - Current Residential Properties shall include all requirements for the


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Housatonic River Floodplain - Current Residential Properties identified as Performance

Standards in the SOW attached to this Consent Decree, and the following requirements

              a.     For current residential properties adjacent to the 1V£fttile Reach,

Settling Defendant shall remove and replace soils in Actual/Potential Lawns to achieve,

at each averaging area, a 2 ppm PCB average in the top one foot and a 2 ppm PCB

average from one foot to the depth at which PCBs have been detected (up to a

maximum of 15 feet), based on averaging procedures described more fully in the SOW

Other portions of these properties shall be addressed in the 1 Vz Mile Reach Removal

Action as described below in Paragraph 32.

              b.    For current residential properties downstream of the Upper 2-Mile

Reach, Settling Defendant shall perform the following:

                    (i) remove and replace soils in Actual/Potential Lawns on current

residential properties to achieve, at each averaging area, a 2 ppm PCB average in the

top foot and from one foot to the depth at which PCBs have been detected (up to a

maximum of 15 feet), based on averaging procedures described more fully in the SOW,

                    (ii) implement appropriate short-term measures, approved by EPA,

for portions of such properties that do not constitute Actual/Potential Lawns, where PCB

levels exceed MADEP's short term measure ("STM") trigger levels, as specified in the

SOW, and

                    (iii) address final remediation of the portions of such properties that

do not constitute Actual/Potential Lawns in the Remedial Action for the Rest of the River,

described in Paragraph 33 below.


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       29.    The Performance Standards for the Removal Action for the Housatonic

 River Floodplam - Non-Residential Properties (which are located adjacent to the 114 Mile

 Reach) shall include all requirements forjthe Housatonic River Floodplam - Non-

 Residential Properties identified as Performance Standards in the SOW attached to this

 Consent Decree, and the following requirements

              a      At recreational properties (other than nverbank portions), if an ERE

is obtained for such a property in accordance with Section XIII of this Consent Decree,

Settling Defendant shall remove and replace soils to achieve PCB averages of 10 ppm

in the top one foot and 15 ppm in the 1-3 foot depth increment at each averaging area,

and shall install an Engineered Barrier on such property if the average PCB

concentration exceeds 100 ppm in the top 15 feet (after taking into account any soil

removals for the top 3 feet) and provide Flood Storage Compensation      In addition,

Settling Defendant shall comply with the requirements of Paragraph 26 e If an ERE is

not obtained for such a property, Settling Defendant shall implement a Conditional

Solution at such property in accordance with Paragraphs 34-38 of this Consent Decree

              b     At commercial/industrial properties (other than nverbank portions), if

an ERE is obtained for such a property in accordance with Section XIII of this Consent

Decree, Settling Defendant shall undertake the same response actions and achieve the

same Performance Standards described in Paragraphs 26 c(i)-(iv) and 26 e, for the non­

nverbank averaging areas at these floodplain properties   If an ERE is not obtained for

such a property, Settling Defendant shall implement a Conditional Solution at such

property in accordance with Paragraphs 34-38 of this Consent Decree


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       30.    The Performance Standards for the Silver Lake Area Removal Action shall

include all requirements for the Silver Lake Area identified as Performance Standards in

the .SOW attached to this Consent Decree, and the following requirements:

              a.     Settling Defendant shall remove and replace bank soils in

accordance with the following:

                     (i)    At the currently residential properties that are subject to this

Removal Action (as described in Section 2.6.2 of the SOW and generally depicted on

Figure 2-25 of the SOW), Settling Defendant shall either: (A) remove and replace bank

soils to achieve a PCB average of 2 ppm in the top foot and in the depth from one foot to

the depth at which PCBs have been detected (up to a maximum of 15 feet) in the bank

soils; or (B) if the rest of a property will be remediated at the same time as the bank

soils, remove and replace soils to achieve a PCB average of 2 ppm in the top foot and in

the depth from one foot to the depth at which PCBs have been detected (up to a

maximum of 15 feet) at the overall property (or designated averaging areas if less than

the entire property). •

                     (ii)   For each remaining bank soil averaging area (as described in

Section 2.6.2 and Attachment E of the SOW and generally depicted on Figure 2-25 of

the SOW), if an ERE is obtained in accordance with Section XIII of this Consent Decree,

Settling Defendant shall remove and replace bank soils to achieve PCB averages of 10

ppm in the top foot and 15 ppm in the 1-3 foot depth increment. If an.ERE is not

obtained for such'an area, Settling Defendant shall implement a Conditional Solution at

such bank soil area in accordance with Paragraphs 34-38 of this Consent Decree.


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              b.     Settling Defendant shall remove approximately 400 in situ cubic

yards of sediments from an area of Silver Lake near the outfall from the GE Plant Area,

as specified in Section 2.6.2 and Attachment K to the SOW and as generally depicted

on Figure 2-25 of the SOW. Settling Defendant shall replace such removed sediments

with clean soil and restore and vegetate the portion of the affected area that is not under

water, in coordination with the installation of the sediment cap described in Paragraph

30.c and consistent with the requirements of Paragraph 118.c (Restoration Work) of

Section XXI (Natural Resource Damages) of this Consent Decree.

             c.     Settling Defendant shall install a cap and armoring system in Silver

Lake, which shall include a cap over the entire lake bottom (approximately 26 acres) and

armoring over the cap around the perimeter of the lake, and which shall meet the design

standards set forth in Section 2.6.2 and Attachment K to the SOW.

             d      Settling Defendant shall conduct periodic inspections and

monitoring of the Silver Lake cap and armor system in accordance with the

specifications in Attachment K to the SOW To the extent that the conditions specified in

Attachment K to the SOW for further evaluation or corrective actions for components of

this cap and armor system are met, Settling Defendant shall conduct such further

evaluations and/or corrective actions subject to and in accordance with EPA approval.

In the absence of those conditions, no further response actions shall be required for this

system (except as otherwise required pursuant to Section XIX (Emergency Response)

or Paragraphs 162, 163, 167 and/or 168 (Pre- and Post-Certification Reservations) of

this Consent Decree).


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       31.    The Performance Standards for the Upper 14 Mile Reach Removal Action

shall consist of those-requirements identified as Performance Standards Numbers 1, 2,

4, 5, 7, 8, 9, 10, and 12 in Section 2.2 of the Removal Action Work Plan for the Upper V2

Mile Reach as approved by EPA, which is set forth in Appendix F to this Consent

Decree. (The other numbered Performance Standards in that Work Plan relate to

Restoration Work, which is covered by Section XXI of this Consent Decree.)

       32.    For the 1 14 Mile Reach Removal Action, Performance Standards will be

developed through the Engineering Evaluation/Cost Analysis being performed by EPA

and will be set forth in the 1 Y2 Mile Reach Removal Action Memo. EPA intends to

implement the selected 1 Yi Mile Reach Removal Action for sediments and riverbanks,

including attainment of Performance Standards developed, with costs of the 1 14 Mile

Reach Removal Action to be shared pursuant to the provisions of Paragraphs 103-111

of Section XX of this Consent Decree (Reimbursement of Costs). EPA and Settling

Defendant agree to coordinate and cooperate, and to have their respective contractors

coordinate and cooperate, with each other in the performance of activities at the

properties in and adjacent to the 1 14 Mile Reach.

       33.    For the Housatonic River - Rest of the River Remedial Action,

Performance Standards will be developed through the processes specified in Paragraph

22. and will be set forth in the final modification to the Reissued RCRA Permit and the

Rest of River SOW as provided in Paragraph 22 of this Consent Decree. Settling

Defendant shall perform the Rest of River Remedial Action and achieve such

Performance Standards, as provided in Paragraph 22 of this Consent Decree.
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       34.    The Performance Standards for a Conditional Solution shall include all

requirements identified as Performance Standards for a Conditional Solution in the SOW

attached to this Con^Rt-Decree, and that may be identified as Performance Standards

for a Conditional Solution in the Rest of River SOW, and the following requirements:

              a. (i) If Settling Defendant has made best efforts but has failed to obtain a

property owner's agreement to record and/or register an ERE, or otherwise failed to

record and/or register an ERE, pursuant to Section XIII of this Consent Decree, then

Settling Defendant shall use best efforts to obtain the property owner's consent for

access to the property for sampling and implementation of a Conditional Solution, as

described in subparagraph 34.c. of this Paragraph. If Settling Defendant has used best

efforts but consent for access for sampling and/or for implementation of a Conditional

Solution cannot be obtained, the United States and the State will assist Settling

Defendant in obtaining such access, including, but not limited to, use, as appropriate, of

their statutory and regulatory authorities to secure such access.

                 (ii) Until such consent for access for sampling and for implementation

of a Conditional Solution is obtained, Settling Defendant shall, on an annual basis, after

the initial attempt to obtain access, determine whether there has been a change in

ownership of such property. No less frequently than every fifth year after such initial

attempt, and at any time there has been a change in ownership of such property,

Settling Defendant shall make best efforts to obtain from the property owner either (A)

an ERE, including access to perform related response actions, in accordance with

Section XIII of this Consent Decree, or (B) consent for access for sampling and for


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implementation of a Conditional Solution. If Settling Defendant, after using best efforts,

cannot obtain either of these, the provisions of Paragraphs 60.f through 60 h relating to

governmental assistance in obtainjng EREs and consent for access for sampling and

implementation of a Conditional Solution will apply. Settling Defendant shall implement

a Conditional Solution whenever access is granted.

              b. If consent for access for sampling is obtained, Settling Defendant shall

conduct tightened grid soil sampling, in accordance with the SOW, to the extent

determined by EPA to be necessary to implement the obligations set forth in

subparagraph 34.c. of this Consent Decree

              c. If consent for access to implement a Conditional Solution is obtained,

Settling Defendant shall implement the following response actions, in accordance with

the SOW

                 (i) For each averaging area at properties in commercial/industrial use

(except riverbanks and the banks of Silver Lake), Settling Defendant shall remove and

replace soils as necessary to achieve an average PCB concentration of 25 ppm in the

top foot and 0-3 foot depth increments, and 200 ppm in the 1-6 foot depth increment

(after taking into account any soil removals for the top 3 feet), and shall install an

Engineered Barrier if the average PCB concentration in the top 15 feet exceeds 100

ppm (after taking into account any soil removals for the top 6 feet). In addition, Settling

Defendant shall comply with the requirements of Paragraph 26.e.

                 (ii) For each averaging area at properties in recreational use (except

riverbanks and the banks of Silver Lake), Settling Defendant shall remove and replace


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soils as necessary to achieve an average PCB concentration of 10 ppm in both the top

foot and 0-3 foot depth increments, and shall install an Engineered Barrier rf the average

PCB concentration in the top 15 feet exceeds 100 ppm (after taking into account any soil

removals for the top 3 feet) In addition, Settling Defendant shall comply with the

requirements of Paragraph 26 e

                  (in) For each averaging area at riverbanks and the banks of Silver

Lake (where Conditional Solutions apply), Settling Defendant shall remove and replace

soils as necessary to achieve an average PCB concentration of 10 ppm in both the top

foot and the 0-3 foot depth increment

              d After a Conditional Solution as described above has been implemented

Settling Defendant shall conduct further response actions as set forth in this Paragraph

34 d (i)-(in) to be protective of any legally permissible future use, as approved by EPA

after reasonable opportunity for review and comment by the State if and when the

property owner or the owner's successors and assigns (1) has submitted a plan to the

appropriate governmental authority(ies) to authorize any legally permissible future use (if

such plan or authorization is necessary) and such plan (if required) has been approved

by the governmental authonty(ies), and (2) provides to EPA and to Settling Defendant

(directly or through EPA) other documented evidence of a commitment to such use (for

example, such evidence may include evidence of financing or other financial assurance

for the project, other plans for implementing the project (such as architectural plans,

contracts for performance of the project, or other similar plans), or an affidavit that the

owner intends to go forward with the project or other change in use rf the necessary


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response actions are taken) In such event, Settling Defendant shall conduct additional
                                                                •

response actions at the property as necessary to achieve the following Performance

Standards

                 (i) For any change from commercial/mdustnal or recreational uses to

residential, daycare, or school (children under 18 years old) uses, Settling Defendant

shall achieve

                    (A) for properties located in the floodplam of the Housatonic River,

the same Performance Standards set forth in Paragraph 28 this Consent Decree and

Section 2.5.2 of the SOW for current residential properties in the Housatonic River

floodplam, or

                    (B) for properties in any other location at the Site, the same

Performance Standards set forth in Paragraph 26 f of this Consent Decree and Section

2 3 2 of the SOW for current residential properties at the Former Oxbow Areas

                (ii) For any change from commercial/industrial uses to recreational

uses Settling Defendant shall achieve the same Performance Standards set forth in

Paragraph 34 c (n) above

                (in) Settling Defendant shall conduct the following additional response

actions necessary to be protective of the legally permissible future use referenced above

in this Paragraph 34.d, as approved by EPA after reasonable opportunity for review and

comment by the State

                    (A) any additional response actions necessary to achieve

applicable Performance Standards in this Consent Decree or in the SOW for the legally


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permissible future use, including but not limited to adding new GW-2 sentinel wells

and/or other response actions if necessary to address any potential indoor air issues for

new buildings, and deriving and achieving applicable Performance Standards for

Appendix IX+3 constituents in accordance with the SOW based on the new uses;

                      (B) rf there are no Performance Standards in this Consent Decree

or the SOW for a legally permissible future use (i.e., the use of the property is not

industrial/commercial, recreational or residential), Settling Defendant shall propose and

EPA will approve performance standards and response actions for such use as

appropriate, and Settling Defendant shall implement such response actions to achieve

any such performance standards; and

                      (C) for any activities that would involve any off-property disposition

of soils or excavation of soils, response actions to ensure the proper excavation,

management and disposition of such soils and the protection of workers and other

individuals during such excavation activities, in accordance with applicable laws and

regulations.

       35      Within 30 days from the date that EPA notifies Settling Defendant in writing

that EPA has determined that the property owner has satisfied the criteria in Paragraph

34.d.(1) and (2) of this Consent Decree, Settling Defendant shall (subject to its rights to

seek dispute resolution regarding such determination under Section XXIV of this

Consent Decree) submit to EPA for approval a Work Plan for pre-design activities (if

any) for the additional response actions described in subparagraph 34.d.(i)-(iii), and a

proposed schedule for the subsequent submission of Work Plans for any other pre­


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design activities and for design and implementation of the additional response actions

described in subparagraph 34.d.(i)-(iii) Following receipt of EPA's approval of the pre­

design Work Plan and schedule, Settling Defendant shall submit the required Work

Plans and implement the additional response actions in accordance with EPA's

approval, including the approved schedule

       36.    Settling Defendant shall, on an annual basis, after completion of physical

on-site construction of any Conditional Solution under subparagraphs 34 c or 34 d,

determine whether there has been a change in ownership of such property. Within 30

days of completion of physical on-site construction of any such Conditional Solution, and

at any time there has been a change in ownership of such property, Settling Defendant

shall provide notice to the owner (for the initial notice, notice shall also be sent to any

holders of easements), with copies to EPA and MADEP, of

              a. the requirements set forth in subparagraph 34.d. for implementing any

further response actions to be protective of any legally permissible future use (including

providing such owner with notice of contact persons at Settling Defendant, EPA and

MADEP), and

              b. the residual contamination on the property where the Conditional

Solution has been implemented.

       37.    Within seven days of a request from an owner of property where a

Conditional Solution has been implemented, Settling Defendant shall provide to such

owner a written certification of Settling Defendant's commitment to conduct further

response actions on such property in accordance with subparagraph 34.d.


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        38.    Following the implementation of any Conditional Solution under

 subparagraph 34.c or 34.d, Settling Defendant shall, on an annual basis, conduct an

 inspection of such property not then owned by the United States or the State to

 determine whether there has been any change in activities or uses in the property since

 the date of implementation of such Conditional Solution where such changes in activities

 or uses would involve exposure to soil greater than three feet in depth from the original

 grade or would be inconsistent with the land use for which such Conditional Solution

 was implemented. Such inspection shall be conducted in accordance with Appendix Q,

 including the criteria set forth therein Within 30 days of such inspection, Settling

 Defendant shall submit a report to EPA and MADEP based on an evaluation of the

 criteria set forth in Appendix Q, together with the appropriate supporting information, and

 otherwise in accordance with Appendix Q

       39     Modification of the SOW Rest of the River SOW. Upper 1/a Mile Reach

Removal Action Work Plan or Work Plans

              a     For each Removal or Remedial Action required under this Consent

Decree, if EPA determines that modification to the work specified in the SOW, the Upper

Vz Mile Reach Removal Action Work Plan, the Rest of the River SOW, and/or in work

plans developed pursuant to the SOW, the Rest of the River SOW, and/or this Consent

Decree is necessary to achieve and maintain the Performance Standards or to carry out

and maintain the effectiveness of-a particular Removal or Remedial Action, EPA may

require that such modification be incorporated in the SOW, the Upper 14 Mile Reach

Removal Action Work Plan, the Rest of the River SOW, and/or such other work plans,


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provided, however, that a modification may only be required pursuant to this Paragraph

to the extent that it is consistent with the scope of the response action for which the

modification is required and does not modify the Performance Standards (except as

provided in Paragraph 217 (Modification) of this Consent Decree).

              b.   If Settling Defendant objects to any modification determined by EPA

to be necessary pursuant to this Paragraph, it may seek dispute resolution pursuant to

XXIV (Dispute Resolution), Paragraph 136 (record review). The SOW, the Upper Y2 Mile

Reach Removal Action Work Plan, Rest of the River SOW, and/or other work plans shall

be modified in accordance with final resolution of the dispute.

              c    Settling Defendant shall implement any work required by any

modifications incorporated in the SOW, the Upper V* Mile Reach Removal Action Work

Plan, the Rest of the River SOW, and/or in work plans developed pursuant to the SOW,

the Rest of the River SOW, and/or this Consent Decree in accordance with this

Paragraph

             d.    Nothing in this Paragraph shall be construed to affect any other

authority or right EPA or the State has under other paragraphs of this Consent Decree to

require performance of further response actions

      40     Nothing in this Consent Decree, the SOW, the Rest of the River SOW, the

Upper Va Mile Reach Removal Action Work Plan, or any of the Work Plans developed

pursuant to this Consent Decree, the SOW or the Rest of the River SOW constitutes a       ­

warranty or representation of any kind by Plaintiffs that compliance with the work

requirements set forth in the SOW, the Rest of the River SOW, the Upper Va Mile Reach


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 Removal Action Work Plan and/or other Work Plans, which requirements are not part of

 or included within the Performance Standards, will achieve the Performance Standards

        41      Settling Defendant shall, prior to any off-Site shipment of Waste Material

 from the Site to an out-of-state waste management facility, provide written notification to

 the appropriate state environmental official in the receiving facility's state and to the EPA

 Project Coordinator of such shipment of Waste Material However, this notification

 requirement shall not apply to any off-Site shipments when the total volume of non-liquid

 Waste Materials of all such shipments will not exceed 10 cubic yards

               a    Settling Defendant shall include in the written notification the following

 information, where available (i) the name and location of the facility to which the Waste

Material are to be shipped, (n) the type and quantity of the Waste Material to be shipped,

(in) the expected schedule for the shipment of the Waste Material, and (iv) the method of

transportation Settling Defendant shall notify the state in which the planned receiving

faculty is located of major changes in the shipment plan, such as a decision to ship the

Waste Material to another facility within the same state, or to a facility in another state

               b    The identity of the receiving facility and state will be determined by

Settling Defendant following the award of the contract for construction of the Removal

or Remedial Action in which the shipment of Waste Materials is to be undertaken

Settling Defendant shall provide the information required by Paragraph 41 a as soon as

practicable after the award of the contract and before the Waste Material is actually

shipped




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       42.    Information from Future Sampling and Studies. For purposes of

Paragraphs 162 and 163 (United States Pre- and Post-CertificationJReservalions),

Paragraphs 167 and 168 (State's Pre-and Post-Certification Reservations), and

Paragraphs 171 and 172 (Connecticut's Pre- and Post-Certification Reservations), EPA,

the State, and Connecticut agree that neither of the following conditions or information

will be a sufficient basis to determine that a Removal Action or Remedial Action

performed in accordance with this Consent Decree is not protective of human health or

the environment:

              a.     Sampling results or other information demonstrating the presence of

PCBs in a given medium and a given area at the Site where such results or information

show concentrations that are generally consistent with concentrations that are known to

remain or would be expected in such medium and area following completion of such

Removal or Remedial Action and achievement of the Performance Standards for such

Removal or Remedial Action; provided, however, that this subparagraph 42.a does not

apply to discovery of drums, barrels, tanks, transformers, capacitors, impoundments or

other containers of PCBs not known to EPA. MADEP, or CTDEP (as applicable) at the

time of lodging of this Consent Decree, or to any sampling resdtts or other information

demonstrating the presence of PCBs that EPA, MADEP, or CTDEP (as applicable)

determines is the result of leaks from containers or spills that occur after the lodging of

this Consent Decree.

              b. ' Studies regarding the effects of PCBs that are: (i) not relevant, or (ii)

not reliable based on scientifically valid principles. In determining whether such studies


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are reliable based on scientifically valid principles, EPA, MADEP, or CTDEP (as

applicable) will take into consideration, where applicable, whether the theory or

technique can be or has been tested, whether the theory or technique and conclusions

drawn therefrom have been subjected to publication and peer review (for purposes of

this subparagraph, "peer review" shall mean review by other professionals in the

relevant field), the known or potential rate of error, and the degree of acceptance of the

theory or technique and conclusions drawn therefrom in the relevant scientific

community, including, but not limited to, the degree to which the conclusions of such

studies have been replicated by other studies (if appropriate)

                         X   REVIEW OF RESPONSE ACTIONS

       43     Periodic Review In accordance with the following provisions, Settling

Defendant shall conduct studies and investigations as requested by EPA to permit EPA

to conduct periodic reviews, consistent with Section 121(c) of CERCLA and any

applicable regulations, of whether the Removal and Remedial Actions undertaken

pursuant to this Consent Decree are protective of human health and the environment

              a      For the Removal Actions Outside the River, EPA may conduct such

periodic reviews commencing no earlier than five years after the initiation of construction

on whichever of those Removal Actions is the last one on which construction is

commenced, and Settling Defendant shall conduct studies and investigations as

requested by EPA in connection with such reviews

             b       For the Upper 14 Mile Reach Removal Action, EPA may conduct

such periodic reviews commencing no earlier than five years after completion of


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construction on that Removal Action, and Settling Defendant shall conduct studies and

investigations as requested by EPA in connection with such reviews, consistent with

Sections 2.2 (Performance Standard 7) and 11.5.4 of the final Removal Action Work

Plan for the Upper Vz Mile Reach, as approved by EPA (Appendix F hereto).

              c.     For the Rest of the River Remedial Action, EPA will conduct such

periodic reviews in accordance with Section 121(c) of CERCLA and any applicable

regulations and guidance.

       44.    EPA Selection of Further Response Actions. If EPA determines, at any

time, that any one of the response actions required pursuant to this Consent Decree is

not protective of human health and the environment, EPA may select further response

actions for the Site in accordance with the requirements of CERCLA and the NCR.

       45.    Opportunity To Comment. Settling Defendant, the State, Connecticut, and,

if required by Sections 113(k)(2) or 117 of CERCLA, the City and the public, will be

provided with an opportunity to comment on any further response actions proposed by

EPA as a result of a review conducted pursuant to Section 121(c) of CERCLA and to

submit written comments for the record during the comment period. PEDA shall be

provided an opportunity to comment on any further response actions proposed by EPA

as to property that has been or will be transferred to it by Settling Defendant pursuant to

the Definitive Economic Development Agreement.

      46.     Settling "Defendant's Obligation To Perform Further Response Actions. If

EPA selects further response actions for the Site pursuant to this Section, Settling

Defendant shall undertake or fund such further response actions to the extent that the


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reopener conditions in Paragraph 162 or Paragraph 163 (United States' Pre- and Post-

Certification Reservations) are satisfied Settling Defendant and/or PEDA (as to

property that has been or will be transferred to PEDA pursuant to the Definitive

Economic Development Agreement and for which it has assumed liability) may invoke

the procedures set forth in Section XXIV (Dispute Resolution) to dispute (i) EPA's

determination that the reopener conditions of Paragraph 162 or Paragraph 163 of

Section XXVI (Covenants Not To Sue by Plaintiffs) are satisfied, (ii) EPA's determination

that the response action is not protective of human health and the environment, and/or

(3) EPA's selection of the further response actions Disputes pertaining to whether the

response action is protective or to EPA's selection of further response actions shall be

resolved pursuant to Paragraph 136 (record review).

       47.   Submissions of Plans If Settling Defendant is required to perform the

further response actions pursuant to Paragraph 46, it shall submit a plan for such work

to EPA for approval in accordance with the applicable procedures set forth in Section VI

(Performance of the Work by Settling Defendant), Section VII (Removal Actions Outside

the River), and Section VIII (River Response Actions) and shall implement the plan

approved by EPA in accordance with the provisions of this Decree.

                             XI. SAMPLING PROTOCOLS

      48     The Parties agree on the following sampling protocols in addition to those

set forth in the SOW, Rest of River SOW and the Upper 1/2 Mile Reach Work Plan with

respect to Settling Defendant's performance of the Work at the Site.




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              a.     The extent of soil remediationjo achieve the Performance

Standards relating to PCBsin soils in the Upper !4 Mile Reach and in the areas subject

to the Removal Actions Outside the River will be determined by spatial averaging

methodology, except as expressly specified herein or in the SOW. Spatial averaging is

a method of using computer software to draw perpendicular bisector lines between

adjacent sample locations, and thus create two-dimensional, sample-specific polygon

areas called Thiessen polygons. Using the concentrations of the sampling points and

areas within the polygons, area-weighted averages are calculated. The areas to which

spatial averaging calculations will apply are described in Attachment E to the SOW. The

protocols to be used for spatial averaging are also set forth in Attachment E to the SOW.

Data to be included in spatial averaging will include appropriate existing data, new data

provided by Settling Defendant (including data required to be collected pursuant to this

Consent Decree), and new data provided by the Agencies.

             b.     The Agencies reserve the right to conduct additional sampling in the

areas subject to Removal Actions Outside the River. Results from the Agencies'

sampling will be included in spatial averaging. The Agencies shall recover costs of such

sampling from Settling Defendant as U.S. Future Additional Sampling Costs and

Massachusetts Future Response Costs in accordance with Paragraphs 97 and 95.d,

respectively, of Section XX of this Consent Decree (Reimbursement of Costs). PEDA

reserve_s the right to conduct sampling on property to be transferred to it. Such sampling

shall comply with the requirements of Section XII (Quality Assurance), and if completed




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and submitted to Settling Defendant in a timely manner will be included -in the spatial

averaging.                               _         _                       _                _

              c.     Settling Defendant shall perform additional sampling in the areas

subject to the Removal Actions Outside the River in accordance with the SOW, including

Attachments C and D to the SOW, and the Pre-design Investigation Work Plans

developed pursuant to this Consent Decree. For purposes of any Conditional Solution

to be performed pursuant to Paragraph 34.c of this Consent Decree, EPA may require

additional grid soil sampling to the extent necessary to design and implement a

Conditional Solution in accordance with the Performance Standards for Conditional

Solutions, as described in the SOW. In addition, Settling Defendant shall install and

operate groundwater monitoring detection systems as described in Attachment H to the

SOW.

             d.    Nothing in this Paragraph 48 or this Consent Decree shall be deemed

to require EPA to use spatial averaging in selecting or implementing the 1 !4 Mile Reach

Removal Action, or to determine or control whether spatial averaging should be used in

selecting or implementing the Rest^jf the River Remedial Action. Nor shall anything in

this Paragraph 48 orthis Consent Decree be deemed to preclude Settling Defendant

from challenging, in any dispute resolution proceeding relating to the Rest of the River,

any decision by EPA not to use or approve spatial averaging in connection with the Rest

of the River Remedial Action, or from commenting on any decision by EPA not to use

spatial averaging in connection with the 1 Vz Mile Reach Removal Action.




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             XII. QUALITY ASSURANCE. SAMPLING, and DATA ANALYSIS

       49.    Settling Defendant shall use quality assurance, quality control, and chain

of custody procedures for all samples in accordance with its Quality Assurance Project

Plan ("QAPP") as approved by EPA and any subsequent amendments thereto as

approved by EPA. The QAPP shall incorporate "EPA Requirements for Quality

Assurance Project Plans for Environmental Data Operation" (EPA QA/R5) and

"Preparing Perfect Project Plans" (EPA /600/9-88/087). The QAPP shall be modified to

incorporate subsequent amendments to such guidelines upon written notification by EPA

to Settling Defendant of such amendment. Amended guidelines shall apply only to

procedures conducted after such notification. If relevant to the proceeding, the Parties

agree that validated sampling data generated in accordance with the QAPP(s) and

reviewed and approved by EPA, as well as validated sampling data generated by EPA in

accordance with similar quality assurance procedures, shall be admissible as evidence,

without objection, in any proceeding under this Decree. Settling Defendant shall ensure

that EPA and State personnel and their authorized representatives are allowed access

at reasonable times to all laboratories utilized by Settling Defendant in implementing this

Consent Decree. In addition, Settling Defendant shall ensure that such laboratories

shall analyze all samples submitted by EPA pursuant to the QAPP for quality assurance

monitoring. Settling Defendant shall ensure that the laboratories it utilizes for the

analysis of samples taken pursuant to this Decree perform all analyses according to

accepted EPA methods. Accepted EPA methods consist of those methods which are

documented in the "Contract Lab Program Statement of Work for Inorganic Analysis"


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 and the "Contract Lab Program Statement of Work for Organic Analysis," dated

 February 1988, and any amendments made thereto during the course of the

 implementation of this Decree of which Settling Defendant has notice, or other methods

 approved in the QAPP Settling Defendant shall ensure that all laboratories it uses for

 analysis of samples taken pursuant to this Consent Decree participate in an EPA or

 EPA-equivalent QA/QC program Settling Defendant shall ensure that all field

 methodologies utilized in collecting samples for subsequent analysis pursuant to this

 Decree will be conducted in accordance with the procedures set forth in the QAPP

 approved by EPA

        50     Upon request, the Settling Defendant shall allow split or duplicate samples

to be taken by EPA and the State or their authorized representatives Upon request,

 and to the extent feasible given the size of the sample and the request for split or

duplicate samples by EPA and the State Settling Defendant shall allow split or duplicate

samples to be taken by PEDA on property which has been or will be transferred to

PEDA by Settling Defendant Settling Defendant shall notify EPA and the State and

PEDA (for any property which has been or will be transferred to PEDA by Settling

Defendant) not less than 7 days in advance of any sample collection activity unless

shorter notice is agreed to by EPA In addition, EPA and the State shall have the right

to take any additional samples that EPA or the State deem necessary Upon request,

EPA and the State shall provide to Settling Defendant, or allow the Settling Defendant to

take, split or duplicate samples of any samples they take as part of the Plaintiffs'

oversight of Settling Defendant's implementation of the Work or as part of any


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investigations or other work performed by EPA or the State to select or implement the 1

V* Mile Reach Removal Action.

       51     Settling Defendant shall submit to EPA 5 copies and to the State 4 copies

of the results of all sampling and/or tests or other data obtained or generated by or on

behalf of Settling Defendant with respect to the Site and/or the implementation of this

Consent Decree unless the Agencies agree otherwise. Settling Defendant shall submit

one copy each of the results of all sampling and/or tests or other data to DO I, NOAA,

Connecticut, the City (for the GE Plant Area), and PEDA (for property that has been or

will be transferred to PEDA by Settling Defendant) upon request

       52     Notwithstanding any provision of this Consent Decree, the United States

and the State hereby retain all of their information gathering and inspection authorities

and rights, including enforcement actions related thereto, under CERCLA, RCRA and

any other applicable statutes or regulations, provided, however, that nothing in this

Paragraph shall modify the limitations on Settling Defendant's obligations to reimburse

the United States or the State under Section XX (Reimbursement of Costs)

               XIII. ACCESS AND LAND/WATER USE RESTRICTIONS

      53.    General Obligations for Settling Defendant Property.

             a Commencing on the date of lodging of this Consent Decree, Settling

Defendant shall provide the United States, the State, Connecticut, and their respective

representatives, including EPA, MADEP, DOI, NOAA, EOEA, and their agents,

contractors, subcontractors and employees, with access at all reasonable times to, over,

on, in, and under Settling Defendant Property - except (1) property used by GE Plastics


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 as shown on the map attached hereto as Appendix A-8 and (2) property transferred to

 PEDA pursuant to Paragraph 12 of this Consent Decree, as to which PEDA shall

 provide such access in accordance with Paragraphs 12 and 65 - for the purpose of

 conducting any activity pursuant to this Consent Decree, including, but not limited to, the

 following activities:

                         (i) Monitoring the Work;

                         (ii) Verifying any data or information submitted to the United States

 or the State,

                         (iii) Conducting investigations relating to contamination at or near

 the Site;

                         (iv) Obtaining samples,

                         (v) Assessing the need for, planning, or implementing additional

 response actions at or near the Site;

                         (vi) Implementing the Work pursuant to the conditions set forth in

 Paragraph 178 (Work Takeover) of this Consent Decree,

                         (vii) Inspecting and copying records, operating logs, contracts, or

other documents maintained or generated by Settling Defendant or its agents, in

accordance with Section XXX (Access to Information) of this Consent Decree,

                         (viii) Assessing Settling Defendant's compliance with this Consent

Decree; and




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                      (ix) Determining whether the Site or other property is being used in

a manner that is prohibited or restricted, or that may need to be prohibited or restricted,

by or pursuant to this Consent Decree

                b. With respect to Settling Defendant Property used by GE Plastics as

shown on the map attached hereto as Appendix A-8, commencing on the date of lodging

of this Consent Decree, Settling Defendant shall provide the United States, the State,

Connecticut, and their respective representatives, including EPA, MADEP, DOI, NOAA,

EOEA, and their agents, contractors, subcontractors and employees, with access at all

reasonable times, and upon reasonable notice, to, over, on, in and under all locations at

such property where Work is being performed, or as necessary to conduct any activity

pursuant to this Consent Decree, including, but not limited to, the following activities

                      (i) Monitoring the Work,

                      (n) Verifying any data or information submitted to the United States

or the State,

                      (in) Conducting investigations relating to contamination at or near

the Site,

                      (iv) Obtaining samples,

                      (v) Assessing the need for, planning, or implementing additional

response actions at or near the Site,

                      (vi) Implementing the Work pursuant to the conditions set forth in

Paragraph 178 (Work Takeover) of this Consent Decree,




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                     (vii) Inspecting and copying records, operating logs, contracts, or

other documents maintained or generated by Settling Defendant or its agents, in

accordance with Section XXX (Access to Information) of this Consent Decree;

                     (viii) Assessing Settling Defendant's compliance with this Consent

Decree; and

                     (ix) Determining whether the Site or other property is being used in

a manner that is prohibited or restricted, or may need to be prohibited or restricted, by or

pursuant to this Consent Decree.

              c. In addition to the access rights set forth in Paragraph 53. a and provided

by any ERE or CER, for purposes of the 1 VS Mile Reach Removal Action, Settling

Defendant shall grant EPA, and its agents, contractors, subcontractors, and employees,

certain services and access to the "Site Access and Services Area," as that term is

defined in the Access and Services Agreement attached to this Consent Decree as

Appendix K ("A&S Agreement"), for activities associated with the 1 Yz Mile Reach

Removal Action (e.g., dewatering, storage, permanent consolidation of excavated

sediments and bank soils, and use of Settling Defendant's water treatment facilities) in

accordance with the provisions of the A&S Agreement.

              d. Commencing on the date of lodging of this Consent Decree, Settling

Defendant shall not use, nor shall Settling Defendant allow any of its employees, agents,

independent contractors, lessees, sublessees, or assigns to use, Settling Defendant

Property in any manner that would interfere with or adversely affect the implementation,




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integrity or protectiveness of the response actions or Restoration Work implemented or

to be implemented pursuant to this Consent Decree.

              e. EPA and MAGEP agree, consistent with their responsibilities under

applicable law, to use reasonable efforts to minimize any interference with Settling

Defendant's operations through entry onto Settling Defendant Property pursuant to this

Consent Decree.

       54.    EREs for Settling Defendant Property. Where EREs are required under

this Consent Decree for any Settling Defendant Property in Massachusetts to

implement, monitor, and/or protect the integrity of the response actions required by or

pursuant to this Consent Decree and/or the SOW, Settling Defendant shall execute and

record and/or register in the appropriate Registry of Deeds or Land Registration Office

EREs for such Settling Defendant Property according to the following schedule and

process:

             a. For Settling Defendant Property, Settling Defendant shall submit to EPA

and MADEP fully executed EREs, including, without limitation, subordination

agreements as required by subparagraph 54.c, title work as required by subparagraph

54.e, and legal descriptions and surveyed plans of the affected properties and/or

restricted areas established therein, in accordance with the following schedule:

                    (i) For Settling-Defendant Property within each area subject to a

Removal Action Outside the River, as part of the submission of the Final Completion

Report for such Removal Action, or on a schedule proposed by Settling Defendant and

approved by EPA, after a reasonable opportunity for review and comment by the State;


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                     (n) For the nverbank portions of Settling Defendant Property within

 the area subject to the Upper 14 Mile Reach Removal Action, as part of the submission

 of the Final Completion Report for the Removal Action Outside the River which covers

 the non-nverbank portion of the property, or on a schedule proposed by Settling

 Defendant and approved by EPA, after a reasonable opportunity for review and

 comment by the State,

                     (in) For the nverbank portions of Settling Defendant Property within

 the area subject to the 1 V£ Mile Reach Removal Action, excluding any non-accessible

 nverbank portions of such property, on a schedule to be determined in connection with

 the 1 1/2 Mile Reach Removal Action, and

                     (iv) For Settling Defendant Property within the area to be addressed

by the Rest of River Remedial Action, on a schedule to be determined in connection with

the Rest of River Remedial Action or Rest of River SOW, if EREs are a component of

the Rest of River Remedial Action

       Settling Defendant, EPA and the State agree that, in an effort to reduce the

number of EREs for the GE Plant Area, it is in their mutual interest to develop a

schedule for establishing the EREs for Settling Defendant Property at the GE Plant Area

so that each such ERE covers multiple Removal Actions and multiple parcels of Settling

Defendant Property, where practicable, provided, however, that Settling Defendant

retains the right to submit an ERE for any specific portion of such property at which an

individual Removal Action is otherwise completed




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              b    As determined by EPA, after reasonable opportunity for review and

comment by MADEP, and following written notice from EPA to Settling Defendant (with

a copy to MADEP) of EPA's preferred grantee, the ERE shall be granted to (i) MADEP,

(ii) the City, (MI) EPA (for the Rest of River Remedial Action, if applicable), (iv) another

state or federal agency with at least statewide jurisdiction that has statutory authority to

hold property interests and to administer or to enforce property restrictions such as

EREs on behalf of the State or the United States, or (v) any other entity if Settling

Defendant gives its prior consent, provided, however, that nothing in this subparagraph

shall require the State, any of its agencies or the City to accept an ERE which EPA has

approved In the event the State or the City will not accept an ERE approved by EPA

pursuant to this Paragraph, and such ERE is not granted to any of the other foregoing

entities, then, pursuant to this subparagraph, Settling Defendant shall be bound by the

terms of such ERE, as modified by EPA, after reasonable opportunity for review and

comment by MADEP and consultation with the LAT (if appropriate) If Settling

Defendant conveys any interest in the property subject to such ERE, then Settling

Defendant shall, unless otherwise directed by EPA, after reasonable opportunity for

review and comment by MADEP, reserve to itself and otherwise establish in the

instrument effecting such conveyance the restrictions, covenants, easements,

obligations and conditions set forth in such ERE, as modified by EPA to take into

account such reservation to Settling Defendant, after a reasonable opportunity for review

and comment by MADEP, at the time of the conveyance of the interest in the property

subject to such ERE In the event that an entity other than MADEP or EPA will be the


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grantee of an ERE, the ERE shall be modified as appropriate by EPA, after a reasonable

opportunity for review and comment by MADEP, and in consultation with the LAT, if

appropnate, to reflect the fact that MADEP and EPA are not the grantees; provided,

however that the modified ERE shall not impose additional substantive restrictions on

the property.

                c. All EREs granted pursuant to this Paragraph 64 shall be substantially in

the form attached hereto as Appendix L, except: (i) as proposed by Settling Defendant

and approved by EPA, after a reasonable opportunity for review and comment by

MADEP, and (ii) if EREs for Settling Defendant Property are a component of the Rest of

the River Remedial Action, EPA, MADEP, and Settling Defendant shall discuss and EPA

will approve (after a reasonable opportunity for review and comment by MADEP) any

appropriate modifications to the model ERE attached hereto as Appendix L (including

protocols) to reflect the Rest of the River Remedial Action. All EREs granted pursuant to

this Paragraph 54 shall be enforceable under the laws of the State, including Mass Gen

Laws Ch. 164 and, as applicable, Mass. Gen. Laws Ch. 21E Except as requested by

Settling Defendant and approved by EPA, after reasonable opportunity for review and

comment by MADEP, each ERE shall be granted free and clear of all prior liens and

encumbrances and (i) if the ERE is granted to EPA, the ERE shall be acceptable under

the Attorney General's Title Regulations promulgated pursuant to 40 U.S.C. § 255, or (ii)

if the ERE is granted to an entity other than EPA, the ERE shall be acceptable under the

conveyancing laws, standards, and practices of the State. If there are prior liens,

encumbrances, or similar interests on the property, Settling Defendant shall use "best


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efforts" (as defined in Paragraph 60.b or 60.d, as applicable) to obtain, and submit

concurrently with the executed ERE, executed subordination agreements, in

substantially the form attached hereto as Appendix M, from holders of such prior liens,

encumbrances, and interests (except as requested by Settling Defendant and approved

by EPA, after a reasonable opportunity for review and comment by MADEP). For such

liens, encumbrances, or similar interests as are held by the City, the City shall execute

such subordination agreements without charge to Settling Defendant. For easements or

similar non-fee property interests held by the State on Settling Defendant Property for

which Settling Defendant is obligated to impose an ERE pursuant to this Consent

Decree, the State shall not unreasonably withhold consent to subordinate such interests

to the ERE without compensation from Settling Defendant so long as such subordination

does not interfere with the use and purpose of such interest.

              d. If Settling Defendant, after having used best efforts (as defined by

Paragraph 60.b or 60.d, as applicable), is unable to obtain and record or register an

agreement, pursuant to Paragraph 54.c, with the holder of an easement or other

encumbrance (including, but not limited to, a contract right to acquire property) at

Settling Defendant Property at the GE Plant Area to subordinate such interest to an ERE

on that property, Settling Defendant shall ensure that, with respect to any such interest

other than an interest held by the United States, the State, or the City:

                     (i) any work conducted at the area subject to and pursuant to that

interest complies with the Health and Safety and Soil Management Protocols that are




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exhibits to the ERE for that property, in the form attached to this Consent Decree as

Exhibits C and D to Appendix L;

                     (ii) any work by the interest holder in any portion of such interest

containing an Engineered Barrier, a Landfill/Consolidation Area Cap, or a building

foundation used for disposition of building demolition debris (as described in the SOW)

shall only be conducted after the approval of EPA or the State (if the State is the grantee

of an ERE on the property containing the interest), except in an emergency;

                     (iii) for any emergency work by the interest holder in any portion of

such interest, the interest holder complies with the provisions of paragraph 8

(Emergency Excavation) of the ERE attached to this Consent Decree as Appendix L;

and

                    (iv) such interest holder, or any successor or assignee of such

interest, or Settling Defendant provides advance written notice of the interest holder's

intent to perform work at any portion of such interest to EPA and MADEP, and the

interest holder and any successor or assignee of such interest allows Settling Defendant

to comply with the provisions of this subparagraph 54.d; provided, however, that Settling

Defendant shall not be responsible for any failure of any such interest holder to provide

the two-hour notice of an emergency excavation required by Paragraph 8 of the ERE

attached to this Consent Decree as Appendix L of which emergency Settling Defendant

has no knowledge. However, Settling Defendant shall provide such notice in

accordance with that provision of the ERE within two hours of the time that Settling

Defendant first gains knowledge of such emergency.


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       The enforcement of the obligations set forth in the foregoing subparagraphs (i)­

(iv) shall be a requirement of Settling Defendant hereunder. Except as provided in

Paragraph t2, Settling Defendant's obligations under this Paragraph 54 d shall remain in

effect after any conveyance of a fee interest in the property, provided, however, that

should PEDA cease to exist or otherwise will not or cannot perform the requirements in

subparagraphs 54 d(i)-(iv) on property transferred to PEDA, Settling Defendant shall

ensure that any interest holders with interests that are not subordinate to the ERE

comply with such requirements.

              e      (i) For an ERE granted to the United States (in the Rest of the

River), Settling Defendant shall obtain a current title insurance commitment or report

prepared in accordance with the U S Department of Justice Standards for the

Preparation of Title Evidence in Land Acquisitions by the United States (1970)

                     (ii) For an ERE granted to a grantee other than the United States,

Settling Defendant shall obtain a current title insurance commitment or certification of

title conducted in accordance with the conveyancing laws, standards and practices of

the State, running to grantee, insuring or certifying, respectively, that Settling Defendant

holds good, clear and marketable title to Settling Defendant Property affected by the

ERE, and listing any encumbrances of record, with a copy of any such encumbrances to

be provided to grantee, along with the associated subordination agreement(s)       If

Settling Defendant elects to provide a title insurance commitment, the commitment shall

be provided by a recognized title insurance company acceptable to grantee, and

coverage shall be in an amount to be agreed upon with grantee. If Settling Defendant


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elects to provide a certification of title, the certification shall be provided by an insured

title examiner.

       tf such title insurance commitment, certification, or report described in     ­

subparagraph (i) or (ii) above reveals a defect in title, Settling Defendant shall correct

such defect (except as otherwise proposed by Settling Defendant and approved by EPA,

after reasonable opportunity for review and comment by MADEP).

              f    EPA will determine, after a reasonable opportunity for review and

comment by the State and consultation with the LAT (if appropriate), whether the ERE

as executed, title and any necessary subordination agreements are acceptable.

Nothing herein shall require the City, or the State, or any of its agencies, including

without limitation MADEP, to accept any interest in an ERE approved by EPA After

approving an ERE, title, and subordination agreements, EPA shall make a request to

MADEP to accept a grant of the ERE for any ERE where MADEP is the proposed

grantee. If MADEP agrees to accept such a grant of an ERE, Settling Defendant shall,

within 10 working days of MADEP's written acceptance and return thereof to Settling

Defendant, record and/or register said ERE with the appropriate registry of deeds and/or

land registration office, at Settling Defendant's sole cost and expense

              g Within 30 days of recording and/or registering the ERE, Settling

Defendant shall submit to the grantee of such ERE. with a copy to EPA and MADEP (if

MADEP is not the grantee), a final title insurance policy or title certification updated

through the time of recording and/or registering the ERE. If EPA determines, after a

reasonable opportunity for review and comment by MADEP, that there has been an


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occurrence since the effective date of the original commitment or certification to impair

the title, Settling Defendant shall (except as otherwise proposed by Settling Defendant

and approved by EPA, after reasonable opportunity for review and comment by MADEP)

ensure that the record title is good, clear and marketable and that all interest holders are

bound by and subject to the ERE in accordance with (i) the Attorney General's Title

Regulations promulgated pursuant to 40 U S C § 255, if EPA is the grantee, or (11) the

conveyancing laws, standards and practices of the State, if EPA is not the grantee

Nothing herein shall obligate MADEP to continue to hold an ERE for which EPA has

approved said final title policy or updated title certification, provided that MADEP notifies

EPA within 120 days of receiving written notification from EPA of such final title policy

approval or updated title certification approval that MADEP no longer desires to hold

such ERE, except that MADEP may assign such ERE at any time pursuant to the terms

of the ERE, and provided further that the foregoing limitations on MADEP's rights to

discharge or release such ERE shall be null and void upon Certification of Completion of

the Removal Action affected by such ERE

              h Within 60 days of recording and/or registering the ERE, or as soon as it

is available thereafter, Settling Defendant shall provide EPA and MADEP a certified

copy of the original recorded and/or registered ERE showing the clerk's recording

stamps

             i. If EPA is not the grantee of the ERE, for the time period prior to

Certification of Completion of the response action for the area in which the property

subject to the ERE ts located, the grantee may approve conditional exceptions from the


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 ERE restrictions or require or approve amendments to or release the ERE only in

accordance with the terms of the duly recorded and/or registered ERE and only upon the

consent of EPA; provided, however, that the foregoing shall not modify MADEP's rights

and obligations pursuant to subparagraph 54.g.

              j. For any Settling Defendant Property for which an ERE is required under

this Consent Decree or the SOW, Settling Defendant shall not sell, transfer, assign or

otherwise convey any interest in such property, or portion thereof, unless prior to such

sale, transfer, or assignment:

                     (i) Settling Defendant has recorded and/or registered an ERE,

according to the process set forth in this Paragraph, on such property, or portion thereof,

which is the subject of the sale, transfer, or assignment; and

                     (ii) Settling Defendant obtains from such purchaser, transferee, or

assignee the Access and Interim Non-interference Agreements described in Paragraph

59;

       Provided, however, that nothing in this subparagraph shall govern the sale,

transfer, or assignment of any such property to PEDA.

             k. Settling Defendant shall notify local officials and the public of the

original recording and/or registering of, and of any amendments to and/or releases of, in

whole or in part, an ERE on Settling Defendant Property, in accordance with the

requirements set forth in 310 C.M.R. 40.1403(7), as amended.

      55.    CERs for Settling Defendant Property. Settling Defendant shall execute

and record and/or register in the appropriate Registry of Deeds and/or Land Registration


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Office, a CER for the 10 acres of wetlands east of the Unkamet Brook landfill ("Unkamet

Brook Protected Area"), as described in Paragraph 123.b of this Consent Decree

Settling Defendant shall execute and record and/or register such CER according to the

following process

              a   The CER shall be granted to the State acting through the

Massachusetts Department of Environmental Management

              b     Settling Defendant shall submit to the LAT with respect to the Unkamet

Brook Protected Area, as part of the submission of the Final Completion Report for the

Unkamet Brook Area Removal Action, a fully executed CER, including, without limitation,

subordination agreements as required by subparagraph 55 c, title work as required by

subparagraph 55 d, and a legal description and surveyed plan of the Protected Area, in

substantially the form attached hereto as Appendix N (except as proposed by Settling

Defendant and approved by the LAT, after a reasonable opportunity for review and

comment by EPA and MADEP) and in a form enforceable under the laws of the State,

including Mass Gen Laws Ch 184 and, as applicable, Mass Gen Laws Ch 21E

             c    Except as requested by Settling Defendant and approved by the LAT,

after reasonable opportunity for review and comment by the State, the CER shall be

granted free and clear of all prior liens and encumbrances and shall be acceptable under

the conveyancing laws, standards, and practices of the State. If there are prior liens or

encumbrances on the property, Settling Defendant shall use "best efforts" (as defined in

Paragraph 60 b or 60 d, as applicable) to obtain, and submit concurrently with the

executed CER, executed subordination agreements, in substantially the form attached


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hereto as Appendix M, from holders of such prior liens and encumbrances (except as

requested by Settling Defendant and approved by the LAT, after a reasonable

opportunity for review and comment by EPA and MADEP). —                       —      —

              d. Settling Defendant shall obtain a current title insurance commitment or

certification of title prepared in accordance with conveyancing laws, standards and

practices of the State, running to grantee, insuring or certifying, respectively, that

Settling Defendant holds good, clear and marketable title to the Unkamet Brook

Protected Area, and listing any encumbrances of record, with a copy of such

encumbrances to be provided to grantee, along with associated subordination

agreement(s). If Settling Defendant elects to provide a title insurance commitment, the

commitment shall be provided by a recognized title insurance company acceptable to

grantee, and coverage shall be in an amount to be agreed upon with grantee. If Settling

Defendant elects to provide a certification of title, the certification shall be provided by an

insured title examiner. If such title insurance commitment or title certification reveals a

defect in title, Settling Defendant shall correct such defect (except as otherwise

proposed by Settling Defendant and approved by the LAT, after reasonable opportunity

for review and comment by EPA and MADEP).

              e. The LAT will determine, after a reasonable opportunity for review and

comment by EPA and MADEP, whether the CER as executed, title and any necessary

subordination agreements are acceptable; provided, however, that the LAT will not

unreasonably withhold its approval if the CER is substantially in the same form as and

contains substantially the same terms as the form attached to this Consent Decree as


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Appendix N Within 21 days of Settling Defendant's receipt of the LAT's written approval

of the CER, title, and subordination agreements, Settling Defendant shall record and/or

register said CER with the appropriate registry of deeds and/or land registration office,

at Settling Defendant's sole cost and expense

              f Within 30 days of recording and/or registering the CER, Settling

Defendant shall submit to the LAT, EPA, and MADEP a final title insurance policy or title

certification updated through the date of recording and/or registering the CER If the

LAT determines, after a reasonable opportunity for review and comment by EPA and

MADEP, that there has been an occurrence since the effective date of the original

commitment or report to impair the title, Settling Defendant shall (except as otherwise

proposed by Settling Defendant and approved by the LAT, after reasonable opportunity

for review and comment by EPA and MADEP) ensure that the record title is good, clear

and marketable and that all interest holders are bound by and subject to the CER in

accordance with the conveyancing laws standards and practices of the State

              g Within 60 days of recording and/or registering the CER, or as soon as it

is available thereafter, Settling Defendant shall provide the LAT with a certified copy of

the original recorded and/or registered CER showing the clerk's recording stamps

              h Settling Defendant shall not sell, transfer, assign, or otherwise convey

any interest in the property subject to the CER, or portion thereof, unless prior to such

sale, transfer, or assignment




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                     (i) Settling Defendant has recorded and/or registered a CER,

according to the process set forth in this Paragraph, on such property, or portion thereof,

which is the subject of-the sale, transfer, or assignment,-and

                    (ii) Settling Defendant obtains from such purchaser, transferee, or

assignee the Access and Intenm Non-interference Agreements described in Paragraph

59.

       56     Non-Settling Defendant Property

       a Where access to, and/or land and/or water use restrictions for, any Non-

Settling Defendant Property in Massachusetts is required to implement, monitor, and/or

protect the integrity of the response actions or Restoration Work required by this

Consent Decree and the SOW, Settling Defendant shall use "best efforts", as defined in

Paragraph 60, to secure from any persons who own or control such Non-Settling

Defendant Property EREs, a CER, Access Agreements and/or Intenm Non-interference

Agreements (as applicable) in accordance with Paragraphs 57, 58, and 59, respectively,

subject to Paragraphs 61 and 62 of this Consent Decree.

      b For each Removal Action Outside the River, Settling Defendant shall submit to

EPA and MADEP, at the deadline for submittal of the Pre-Design Work Plan for such

Removal Action, or within such other time as is proposed by Settling Defendant and

approved by EPA, a written notice, in accordance with the requirements of Paragraph

60 e, stating whether each person who owns or controls Non-Settling Defendant

Property which is located within the area subject to that Removal Action agrees, after

Settling Defendant has used "best efforts," to execute and record an ERE thereon. If


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such person agrees to do so, such notice shall also include a statement as to whether

any necessary subordination agreements for such property can be obtained, or if that

has not yet been determined.-* description of the status of Settling Defendant's efforts to

obtain such subordination agreements. Settling Defendant shall provide final notice

regarding whether such subordination agreements have been obtained no later than the

deadline specified in Paragraph 57.a(i) for submittal of executed EREs and related

documentationrincluding subordination agreements. If the person who owns or controls

the property does not agree to execute and record an ERE thereon, after Settling

Defendant has used "best efforts" to obtain such ERE, then Settling Defendant shall

implement a Conditional Solution on such property, unless, within 30 days of Settling

Defendant's above-mentioned written notice (or such later time as is approved by EPA,

after reasonable opportunity for review and comment by MADEP), the State notifies

Settling Defendant in writing that the State is undertaking efforts to obtain an ERE from

such person. In the latter event, upon written notification from the State that the State

has terminated such efforts without obtaining an ERE, then Settling Defendant shall

implement a Conditional Solution on such property.

       c. For the Upper V£ Mile Reach Removal Action, Settling Defendant shall submit

to EPA and MADEP a written notice, in accordance with the requirements of Paragraph

60.e, stating whether each person who owns or controls the bank portion of-Non-Settling

Defendant Property which is located within the Upper % Mile Reach agrees to impose

an ERE thereon. Such submittal shall be made at the time Settling Defendant is

required to submit a written notice stating whether such person agrees, after Settling


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Defendant has used "best efforts," to execute and record an ERE on the non-bank

portions of the property pursuant to subparagraph 56 b above, or within such other time

as is proposed by Settling Defendant and approved by EPA If such person agrees to

do so, such notice shall also include a statement as to whether any necessary

subordination agreements for such property can be obtained, or rf that has not yet been

determined, a description of the status of Settling Defendant's efforts to obtain such

subordination agreements Settling Defendant shall provide final notice regarding

whether such subordination agreements have been obtained no later than the deadline

specified in Paragraph 57 a(n) for submittal of executed EREs and related

documentation, including subordination agreements If the person who owns or controls

the property does not agree to execute and record an ERE thereon, after Settling

Defendant has used "best efforts" to obtain such ERE, then Settling Defendant shall

implement a Conditional Solution on such property, unless, within 30 days of Settling

Defendant's above-mentioned written notice (or such later time as is approved by EPA,

after reasonable opportunity for review and pomment by MADEP), the State notifies

Settling Defendant in writing that the State is undertaking efforts to obtain an ERE from

such person    In the latter event, upon written notification from the State that the State

has terminated such efforts without obtaining an ERE, then Settling Defendant shall

implement a Conditional Solution on such property

      d For the 1 V* Mile Reach Removal Action, to the extent that EPA is unable to

obtain EREs pursuant to Paragraph 21.b, Settling Defendant shall submit to EPA and

MADEP. on a schedule to be approved by EPA in connection with the 1 Vz Mile Reach


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 Removal Action, a written notice, in accordance with the requirements of Paragraph

 60.e., stating whether each person who owns or controls the bank portion of Non-

 Settling Defendant Property which is located within the 1 14 Mile Reach Removal Action

 agrees to execute and record an ERE thereon. If such person agrees to do so, such

 notice shall also include a statement as to whether any necessary subordination

 agreements for such property can be obtained, or if that has not yet been determined, a

 description of the status of Settling Defendant's efforts to obtain such subordination

 agreements. Settling Defendant shall provide final notice regarding whether such

 subordination agreements have been obtained no later than the deadline established

 pursuant to Paragraph 57.a(iii) for submittal of executed EREs and related

 documentation, including subordination agreements.

       e. If EREs are a component of the Rest of River Remedial Action for any Non-

 Settling Defendant Property, Settling Defendant shall submit to EPA and MADEP, on a

 schedule to be approved by EPA in connection with that Remedial Action (after a

• reasonable opportunity for review and comment by MADEP), a written notice, in

accordance with the requirements of Paragraph 60.e, stating whether each person who

owns such Non-Settling Defendant Property agrees, after Settling Defendant has used

"best efforts," to execute and record an ERE thereon. If such person agrees to do so,

such notice shall also include a statement as to whether any necessary subordination

agreements for such property can be obtained, or if that has not yet been determined, a

description of the status of Settling Defendant's efforts to obtain such subordination

agreements. Settling Defendant shall provide final notice regarding whether such


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subordination agreements have been obtained no later than the deadline established

-pursuant to Paragraph 57.a(iv) for submrttal of executed EREs and related

documentation, including subordination agreements. If the person who owns or controls

the property does not agree to execute and record an ERE thereon, after Settling

Defendant has used "best efforts" to obtain such ERE, then Settling Defendant shall

implement a Conditional Solution on such property (if a Conditional Solution is a

component of the Rest of River Remedial Action), unless, within 30 days of Settling

Defendant's above-mentioned written notice (or such later time as is approved by EPA,

after reasonable opportunity for review and comment by MADEP), the State and/or the

United States notifies Settling Defendant in writing that the State and/or the United

States (as applicable) is undertaking efforts to obtain an ERE from such person. In the

latter event, upon written notification from the State and/or the United States that the

State and/or the United States (as applicable) has terminated such efforts without

obtaining an ERE, then Settling Defendant shall implement a Conditional Solution on

such property.

      f. (i) A Notice ERE may be substituted for an ERE only at State-owned property

that is subject to Article 49 of the State Constitution. A Notice ERE shall be in a form

that is consistent with the form attached to this Consent Decree as Appendix P, as it

may be modified to be consistent with CERCLA response actions pursuant to this

Consent Decree. The prohibited and permitted activities and uses and the conditions

and obligations in a Notice ERE shall be substantially the same as set forth in the model




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ERE attached to this Consent Decree as Appendix O, for property in similar use (eg.,

industrial/commercial use, recreational use).

          (ii) (A) Withtrr96 days from the date of entry of this Consent Decree, Settling

Defendant shall submit a draft template for a Notice ERE to EPA for approval after

reasonable opportunity for review and comment by MADEP.

              (B) By the deadlines indicated in Paragraph 57.a. for submittal of a fully

executed ERE, Settling Defendant shall submit a fully executed Notice ERE that

satisfies the requirements of subparagraphs (f)(i) and (f)(ii)(A) above for any State-

owned property subject to Article 49 of the State Constitution, for approval by EPA after

reasonable opportunity for review and comment by MADEP.

             (C) Within 10 working days of EPA's approval of the Notice ERE (or any

amendment thereto, pursuant to subparagraph (f)(iii), below), Settling Defendant shall

effect the recordation and/or registration of said Notice ERE (or said amendment if

applicable), with the appropriate registry of deeds and/or land registration office, and, if

the property is unregistered land, shall ensure that such Notice ERE (and said

amendment, if applicable) is marginally referenced on the deed to the owner of the

subject property.

             (D) Within 60 days after the recordation and/or registration of the Notice

ERE (or said amendment) with the appropriate registry of deeds and/or land registration

office, Settling Defendant shall submit to EPA and MADEP a certified registry copy of

the Notice ERE (or said amendment). If the land is registered land, the certified registry




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copy shall include a document number       If the land is unregistered land, the certified

copy shall include an instrument number and/or book and page number

                 (in) A Notice ERE may be amended by the property owner by

submitting a proposed amendment to EPA and MADEP for approval by EPA, after

reasonable opportunity for review and comment by MADEP, and then, upon approval,

filing the approved amendment for recording and/or registration, in compliance with

subparagraphs (n)(C ) and (n)(D) above in this Paragraph 56 f, provided, however,

nothing in this subparagraph shall affect the provisions of Paragraph 62 b of this

Consent Decree

                 (iv) Settling Defendant shall notify local officials and the public of the

original recordation and/or registration of, and of any amendments to and/or terminations

of, in whole or in part, a Notice ERE on Non-Settling Defendant Property, in accordance

with the requirements set forth in 310 C M R 40 1403(7), as amended

      57     EREs for Non-Settling Defendant Property Subject to Paragraphs 61 and

62 of this Consent Decree, Settling Defendant shall satisfy the following requirements for

Non-Settling Defendant Property in Massachusetts

             a   For each Non-Settling Defendant Property for which the owner(s) have

agreed to impose EREs, Settling Defendant shall use "best efforts" (as defined in

Paragraph 60) to obtain and submit to EPA and MADEP a fully executed ERE that

meets the requirements of this Paragraph, together with supporting documentation,

including, without limitation, subordination agreements as required by subparagraph

57 d , title work as required by subparagraph 57 e , and legal descriptions and surveyed


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plans of the affected properties and/or restricted areas established therein   Such

documents shall be submitted to EPA and MADEP in accordance with the following

schedule:                         ~~

                    (i) For Non-Settling Defendant Property within each area subject to

             a Removal Action Outside the River, as part of the submission of the

             Conceptual Removal Design/Action Work Plan for such Removal Action

             (or, for any of the Housatonic River Floodplain Removal Actions, as part of

             the submission of the Removal Design/Action Work Plan);

                    (ii) For the riverbank portions of Non-Settling Defendant Property

             within the area subject to the Upper 14 Mile Reach Removal Action, as part

             of the submission of the Conceptual Removal Design/Action Work Plan for

             the Removal Action Outside the River which covers the non-riverbank

             portion of the property;

                    (iii) For the riverbank portions of Non-Settling Defendant Property

             within the area subject to the Upper 1 14 Mile Reach Removal Action,

             excluding any non-accessible riverbank portions of such property, on a

             schedule to be determined in connection with the 1 14 Mile Reach Removal

             Action, but prior to the commencement of on-site construction work; and

                    (iv) For Non-Settling Defendant Property within the area to be

             addressed by the Rest of River Remedial Action, If EREs are a component

             of the Rest of River Remedial Action, on a schedule to be determined in




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               connection with the Rest of River Remedial Action or Rest of River SOW,

               but prior to the commencement of on-site construction work

               b    As determined by EPA, after reasonable opportunity for review and

 comment by MADEP, and following written notice from EPA to Settling Defendant (with

 a copy to MADEP) of EPA's preferred grantee, the ERE shall be granted to (i) MADEP,

 (n) the City, (in) Settling Defendant, (iv) EPA (for the Rest of River Remedial Action, if

 applicable), (v) another state or federal agency with at least statewide jurisdiction that

 has statutory authority to hold property interests and to administer or to enforce property

 restrictions such as EREs on behalf of the State or the United States, or (vi) any other

entity if Settling Defendant and the property owner give their prior consent, provided,

however, that nothing in this subparagraph shall require the State, or any of its agencies,

or the City to accept an ERE which EPA has approved In the event the State, or any of

its agencies, or the City will not accept an ERE approved by EPA pursuant to this

Paragraph, and such ERE is not granted to any of the other foregoing entities, then,

pursuant to this subparagraph, Settling Defendant shall be grantee of such ERE, as

modified by, and/or unless otherwise directed by, EPA, after reasonable opportunity for

review and comment by MADEP, and consultation with the LAT (rf appropriate) In the

event that an entity other than MADEP or EPA is the grantee of an ERE, the ERE shall

be modified as appropriate by EPA, after a reasonable opportunity for review and

comment by MADEP, and in consultation with the LAT, if appropriate, to reflect the fact

that MADEP and EPA are not the grantees, provided, however, that such modified ERE

shall not impose additional substantive restrictions on the property


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              c    If EPA is not the grantee of the ERE, for the time period prior to

Certification of Completion of the response action for the area in which the property

subject to the ERE is located, the grantee may approve conditional exceptions from the

ERE restrictions or require or approve amendments to or release the ERE only in

accordance with the terms of the duly recorded and/or registered ERE and only upon the

consent of EPA, provided, however, that the foregoing shall not modify MADEP's rights

and obligations pursuant to subparagraphs 57 g and 57 m

              d    All EREs granted pursuant to this Paragraph 57 shall be substantially

in the form attached hereto as Appendix O, except (i) as proposed by Settling

Defendant and approved by EPA, after a reasonable opportunity for review and

comment by MADEP, and (n) if EREs, for Non-Settling Defendant Property are a

component of the Rest of the River Remedial Action, EPA, MADEP, and Settling

Defendant shall discuss and EPA will approve (after a reasonable opportunity for review

and comment by MADEP) any appropriate modifications to the model ERE attached

hereto as Appendix 0 (including protocols) to reflect the Rest of the River Remedial

Action Except as noted above, all EREs granted pursuant to this Paragraph 57 shall

include provisions assenting to Settling Defendant's subsequent recordation and/or

registration of (1) a Notice of Completion (as such Notice is defined in the model ERE

for Non-Settling Defendant Property, attached hereto as Appendix O, which Notice of

Completion shall not be deemed a Certification of Completion under this Consent

Decree), and (2), if applicable, a revised Plan of Restricted Area in connection therewith,

and (3) except as otherwise provided in subparagraph 59 c, and if applicable, a revised


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 Plan of Restricted Area to show the location of any Groundwater Response Action

 Component Area (as such term is defined in the aforesaid model ERE) and associated

 notice In addition, Settling Defendant shall use "best efforts" (as defined in Paragraph

 60.b or 60 d, as applicable) to ensure that such EREs satisfy the other requirements of

 Paragraph 54.c, including (but not limited to) the obtaining of subordination agreements

 for prior liens and encumbrances on the property, in substantially the form attached

 hereto as Appendix M (including therein an express assent to Settling Defendant's

 subsequent recordation and/or registration of said Notice of Completion or said other

 notice and, if applicable, said revised Plan(s)) For easements or similar non-fee

 property interests held by the State on Non-Settling Defendant Property for which

 Settling Defendant is obligated to use "best efforts" to obtain such subordination

 agreements, the State shall not unreasonably withhold consent to subordinate such

 interests to the ERE without compensation from Settling Defendant so long as such

 subordination does not interfere with the use and purpose of such interest Further,

 Settling Defendant shall use "best efforts" (as defined in Paragraph 60 d) to obtain the

property owner's written agreement that if such property owner conveys any interest in

the property prior to the recordation and/or registration of the above-referenced Notice of

Completion, other notice and revised Plan(s), such property owner will include in the

instrument effecting such conveyance a provision by which the transferee of such

interest expressly consents to Settling Defendant's subsequent recordation and/or

registration of said Notice of Completion, said other notice, and said revised Plan(s) A




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copy of such written agreement, if obtained, shall be submitted to EPA and MADEP

along with the executed ERE and other documentation described in Paragraph 57.a.

            - e.-Settling Defendant shall also use "best efforts" (as defined in Paragraph

60.d) to satisfy the requirements of Paragraph 54.e, modified as appropriate to apply to

Non-Settling Defendant Property EREs.

              f. EPA will determine, after a reasonable opportunity for review and

comment by MADEP and consultation with the LAT (if appropriate), whether the ERE as

executed, title and any necessary subordination agreements are acceptable; provided,

however, that EPA will not unreasonably withhold its approval if the ERE is substantially

in the same form as, and contains substantially the same terms as, the form attached to

this Consent Decree as Appendix O (or, for the Rest of the River, any modifications to

the ERE form approved by EPA pursuant to Paragraph 57.d(ii), after reasonable

opportunity for review and comment by MADEP). Nothing herein shall require the City,

or the State, or any of its agencies, including without limitation MADEP, to accept any

interest in an ERE approved by EPA. After approving an ERE, title, and subordination

agreements, EPA shall make a request to MADEP to accept a grant of the ERE for any

ERE where MADEP is the proposed grantee. If MADEP agrees to accept such a grant

of an ERE, Settling Defendant shall, within 10 working days of MADEP's written

acceptance and return thereof to Settling Defendant, effect the recordation and/or

registration of said ERE with the appropriate registry of deeds and/or land registration

office, at Settling Defendant's sole cost and expense.




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              g Within 30 days of the recordation and/or registration of the ERE,

Settling Defendant shall submit to EPA and MADEP a final title insurance policy or title

certification updated through the time of recording and/or registering the ERE If EPA

determines, after a reasonable opportunity for review and comment by MADEP, that

there has been an occurrence since the effective date of the original commitment or

report to impair the title, Settling Defendant shall use "best efforts" (as defined in

Paragraph 60 d) to ensure that the record title is good, clear and marketable, that the

current owner is or will be bound by the ERE, and that the ERE is granted free and clear

of all prior liens and encumbrances and in accordance with (i) the Attorney General's

Title Regulations promulgated pursuant to 40 U S C § 255, if EPA is the grantee, or (n)

the conveyancing laws, standards and practices of the State, if EPAjs-noJ^ie grantee

Nothing herein shall obligate MADEP to continue to hold an ERE for which EPA has

approved said final title policy or updated title certification, provided that MADEP notifies

EPA within 120 days of receiving written notification from EPA of such final title policy

approval or updated title certification approval that MADEP no longer desires to hold

such ERE, except that MADEP may assign such ERE at any time pursuant to the terms

of the ERE, and provided further that the foregoing limitation on MADEP's rights to

discharge or release such ERE shall be null and void upon Certification of Completion of

the Removal Action affected by such ERE If Settling Defendant is unable to satisfy all

of the conditions set forth in subparagraphs 57 a through 57.g of this Paragraph, as

determined by EPA (after reasonable opportunity for review and comment by MADEP)

prior to EPA's approval for Settling Defendant's commencement of response actions at


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the property, then Settling Defendant shall implement a Conditional Solution pursuant to

Paragraphs 34-38 of this Consent Decree, unless the State (or EPA, for the Rest of

River), within 30 days of EPA's determination, notifies Settling Defendant in writing that ~

the State (or EPA for the Rest of River) is undertaking efforts to obtain any necessary

subordination agreements. In the latter event, upon written notification from the State

(or EPA, for the Rest of River) that the State (or EPA, for the Rest of River) has

terminated such efforts without obtaining such subordination agreements, then Settling

Defendant shall implement a Conditional Solution at such property pursuant to

Paragraphs 34-38 of this Consent Decree

              h Within 60 days of recordation and/or registration of the ERE, or as soon

as it is available thereafter, Settling Defendant shall provide EPA, MADEP, and the

property owner with a certified copy of the original recorded and/or registered ERE

showing the clerk's recording stamps

              i      Following the completion of response actions at Non-Settling

Defendant Property on which an ERE was recorded and/or registered, on a schedule to

be proposed by Settling Defendant and approved by EPA, after a reasonable

opportunity for review and comment by MADEP (which schedule, for properties subject

to a Removal Action Outside the River, shall be no later than submission of the Final

Completion Report for such Removal Action), Settling Defendant shall submit to EPA

and MADEP a Notice of Completion for such ERE and, if applicable, a revised Plan of

Restricted Area Such Notice shall specify that the restrictions and other provisions of

the ERE that were not previously applicable to activities at the property will become


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 applicable to such activities, and, if relevant, shall specify that said revised Plan will

 replace the previously recorded and/or registered Plan. If EPA (after a reasonable

 opportunity for review and comment by MADEP, if MADEP is not the grantee) approves

 said Notice and revised Plan, EPA shall thereafter provide the original Notice to the

 grantee of the affected ERE and request said grantee's signature thereon. If the

 grantee agrees to sign said Notice, grantee shall return said executed Notice to Settling

 Defendant for recordation and/or registration.

               j.     Within 10 working days of the grantee's signing said Notice and

 return thereof to Settling Defendant, Settling Defendant shall record and/or register such

 Notice and, if applicable, revised Plan with the appropriate registry of deeds and/or land

 registration office, at Settling Defendant's sole cost and expense. If the affected

 property is unregistered land, Settling Defendant shall ensure that a marginal reference

 to both said Notice and said revised Plan is made on the affected ERE.

               k.     Within 30 days of such recordation and/or registration, Settling

 Defendant shall submit to EPA and MADEP an updated final title insurance policy or title

 certification, updated through the time of recordation and/or registration of said Notice.

               I.     Within 60 days of recordation and/or registration of the Notice of

Completion and revised Plan (or as soon thereafter as it is available), Settling Defendant

shall provide EPA, MADEP, and the property owner with a certified copy of the original

recorded and/or registered Notice and, if applicable, revised Plan showing the clerk's

recording stamps.




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              m       If the updated final title insurance policy or updated title certification

reveals, or EPA determines, after reasonable opportunity for review and comment by

MADEP, that due to an expansion of or addition to the Restncted Area (as defined in the

affected ERE) or any other occurrence since the recordation and/or registration of the

affected ERE, there are liens, encumbrances, or other interests in the property that are

not subordinate to the ERE as affected by the Notice of Completion and, if applicable,

the revised Plan of Restricted Area, then upon written notice from EPA, Settling

Defendant shall use "best efforts" (as defined in Paragraph 60 b or 60 d, as applicable)

to obtain subordination agreements from all such interest holders (including, without

limitation, any such interest holders who may have previously subordinated their

respective interests to the affected ERE) Within 60 days of receipt of such notice from

EPA, Settling Defendant shall obtain, record and/or register, and submit a copy of each

such subordination agreement to EPA and MADEP, and, if applicable, shall notify EPA

and MADEP in writing of any such subordination agreements that it has not been able to

obtain Nothing herein shall obligate MADEP to continue to hold an ERE for which EPA

has approved said updated final title policy or updated title certification, provided that

MADEP notifies EPA within 120 days of receiving written notification from EPA of such

updated final title policy approval or updated title certification approval that MADEP no

longer desires to hold such ERE, except that MADEP may assign such ERE at any time

pursuant to the terms of the ERE, and provided further that the foregoing limitation on

MADEP's rights to discharge or release such ERE shall be null and void upon

Certification of Completion of the Removal Action affected by such ERE


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              n      If Settling Defendant cannot, despite using "best efforts," obtain

subordination agreements from the interest holders referred to in Paragraph 57 m (if

any), or if EPA otherwise determines, after reasonable opportunity for review and

comment by the State (or, in the event that a Certification of Completion has already

been issued for the Removal Action that addressed such property, MADEP determines)

that the ERE or any provision thereof is unenforceable or otherwise invalid as against

the owner of such property or any other holder of an interest in such property,

notwithstanding the recordation and/or registration of the Notice of Completion and

revised Plan of Restricted Area, assent, subordination agreement, or other

documentation, as applicable, then

                     (i)    For property in recreational use, the response actions

completed at the property shall be deemed a Conditional Solution and Settling

Defendant shall comply with the obligations set forth in Paragraphs 34 d and 35-38,

provided, however, that Settling Defendant shall not be required to conduct additional

response actions at the property except as set forth in Paragraphs 34 d and 35-38, and

in Section XIX (Emergency Response) or Paragraphs 162, 163, 167, and/or 168 (Pre­

and Post-Certification Reservations) of this Consent Decree, or

                     (n)   For property in commercial/industrial use, Settling Defendant

shall evaluate the need for further response actions to be protective of human health

and the environment for property in such use, shall submit the results of that evaluation,

together with a proposal for any such further response actions, to EPA for approval, with

a copy to MADEP, and shall implement such response actions (rf any) upon EPA


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approval, after reasonable opportunity for review and comment by MADEP, provided,

however, that Settling Defendant shall not be required to conduct additional response

actions beyond those described in Paragraph 34 c(i) Upon completion of any such

additional response actions, such response actions shall be deemed a Conditional

Solution and Settling Defendant shall comply with the obligations set forth in Paragraphs

34 d and 35-38 Nothing in this subparagraph shall affect Settling Defendant's

obligations under Section XIX (Emergency Response) or Paragraphs 162, 163, 167, and

168 (Pre- and Post-Certification Reservations) of this Consent Decree

             o     Following the recordation and/or registration of an ERE on Non-

Settling Defendant Property not then owned by the United States or the State, and any

Settling Defendant Property transferred to PEDA, Settling Defendant shall, on an annual

basis, conduct an inspection of the property to assess compliance with the ERE during

the preceding year, in accordance with Appendix Q, including the criteria set forth

therein Within 30 days of such inspection, Settling Defendant shall submit a report to

EPA, MADEP, and the grantee (if it is an entity other than EPA or MADEP), identifying

any instances of non-compliance based on evaluation of the criteria set forth in

Appendix Q. together with the appropriate supporting information, and otherwise in

accordance with Appendix Q

             p     Settling Defendant shall notify local officials and the public of the

original recordation and/or registration of, and of any amendments to and/or terminations

of, in whole or in part, an ERE on Non-Settling Defendant Property (including the Notice




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of Completion and other notice, if any, both as described in subparagraph 57.d), in

accordance with the requirements set forth in 310 C.M.R. 40.1403(7), as amended.

       58.    CER for Non-Settling Defendant Property. In the event that Settling

Defendant elects to use Former Oxbows A and C for the implementation of Restoration

Work consisting of the creation of forested/wetland habitat, as provided in Paragraph

118.e of this Consent Decree, Settling Defendant shall use "best efforts" (as defined in

Paragraph 60.c) to effect the recordation and/or registration of a CER on the portion of

Former Oxbows A and C where such Restoration Work will be conducted. In doing so,

Settling Defendant shall use "best efforts" (as defined in the applicable subparagraphs of

Paragraph 60) to ensure compliance with the same process and requirements set forth

in Paragraph 55, modified as appropriate to apply to Former Oxbows A and C. If such a

CER is recorded and/or registered, Settling Defendant shall, on an annual basis

thereafter, conduct an inspection of Former Oxbows A and C to assess compliance with

the CER during the preceding year, in accordance with Appendix Q, including the criteria

set forth therein. Within 30 days of such inspection, Settling Defendant shall submit a

report to the grantee and the LAT identifying any instances of non-compliance based on

evaluation of the criteria set forth in Appendix Q, together with appropriate supporting

information, and otherwise in accordance with Appendix Q.

      59.    Access and Interim Non-interference Agreements for Non-Settling

Defendant Property.

                      a. Settling Defendant shall use "best efforts" (as defined in

Paragraph 60.c) to obtain written access agreements from any persons who own or


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control Non-Settling Defendant Property for purposes of conducting any activity pursuant

to this Consent Decree ("Access Agreements"), except as provided in Paragraph 21.b.

of this Consent Decree. The Access Agreements shall be in substantially the form

attached hereto as Appendix R (except as proposed by Settling Defendant and

approved by EPA, after a reasonable opportunity for review and comment by MADEP).

Settling Defendant shall use such "best efforts" to obtain any such Access Agreement

within 45 days of any written request from the United States or the State for any such

Access Agreement. The Access Agreements shall provide such access rights to

Settling Defendant, the United States, and/or the State, and their representatives

(including contractors), rf Settling Defendant, the State, and/or the United States do not

already have such access rights pursuant to a duly recorded and/or registered ERE or

CER.

              b. Prior to recording or registering an ERE and/or a CER for any Non-

Settling Defendant Property at which an ERE and/or CER is required under this Consent

Decree, Settling Defendant shall use "best efforts" (as defined in Paragraph 60.c) to

obtain or secure an agreement from any persons who own or control such Non-Settling

Defendant Property that such persons shall not take any action, or allow any employees,

agents, independent contractors, lessees, sublessees, or assigns to take any action, at

the property that would interfere with or adversely affect the implementation, integrity or

protectiveness of the response actions or Restoration Work to be implemented pursuant

to this Consent Decree ("Interim Non-interference Agreement"). The Interim Non­




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 Interference Agreements shall expire If and when an ERE and/or CER (if applicable) is

recorded and/or registered for such property

              c   At any Non-Settling Defendant Property for which Settling Defendant is

required (pursuant to Paragraph 24) to make "best efforts" (as defined in Paragraph

60 a) to execute and record an ERE, if the property owner would agree to execute and

record an ERE only if provisions pertaining specifically to non-interference with

groundwater-related response actions are struck from the ERE, then the ERE may be

submitted to EPA for approval absent such provisions. If such ERE is executed and

recorded in accordance with this Consent Decree, and if groundwater-related response

actions are later determined by EPA to entail the use of any such property, Settling

Defendant shall make "best efforts" (as defined in Paragraph 60 d) to obtain from the

property owner an ERE amendment re-instituting said struck provisions, preferably, or in

the alternative, an Interim Non-interference Agreement, to ensure non-interference with

groundwater-related response actions If such property is thereafter sold to a new

owner, and if the ERE was not amended to re-institute said struck provisions, Settling

Defendant shall make "best efforts" (as defined in Paragraph 60 d) to obtain from the

new property owner an Interim Non-interference Agreement to be protective of and

ensure non-interference with the groundwater-related response actions Any such

Interim Non-interference Agreement shall terminate upon Certification of Completion of

the groundwater response action

             d    At any Non-Settling Defendant property for which Settling Defendant is

not required (pursuant to paragraph 24) to make "best efforts" (as defined in Paragraph


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60.a) to execute and record an ERE, if groundwater-related response actions are

determined by EPA to be necessary on any such property, Settling Defendant shall

make "best efforts" (as defined in Paragraph 60.d) to obtain from the property owner an

Interim Non-interference Agreement to be protective of and ensure non-interference with

groundwater-related response actions. If such property is thereafter sold to a new

owner, Settling Defendant shall make "best efforts" (as defined in Paragraph 60 d) to

obtain from the new property owner an Interim Non-interference Agreement to be

protective of and ensure non-interference with the groundwater-related response

actions Any such Interim Non-interference Agreement shall terminate upon

Certification of Completion of the groundwater response action.

       60     For purposes of Paragraphs 54 through 59 of this Consent Decree, except

as otherwise provided in Paragraphs 61 and 62, "best efforts" to obtain EREs,

subordination agreements, CERs, Access Agreements, and Interim Non-interference

Agreements for Non-Settling Defendant Property located in areas of the Site other than

the Rest of the River, or to obtain subordination agreements for Settling Defendant

Property located in areas of the Site other than the Rest of the River, shall be

determined in accordance with Paragraphs 60.a, 60.b, 60.c, and 60.d below. For

properties located in the Rest of the River, to the extent that EREs, CERs, subordination

agreements, Access Agreements, and/or Interim Non-interference Agreements are

required by or pursuant to the Rest of the River Remedial Action, the Parties agree to

negotiate in good faith a definition of the meaning of "best efforts" after a final decision is

made on the Rest of the River Remedial Action.


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       a. For Non-Settling Defendant Properties located in areas outside the Rest of the

River, "best efforts" to obtain EREs shall include offering reasonable monetary

compensation in consideration for EREs. For this purpose, "reasonable monetary

compensation in consideration for EREs" shall mean that Settling Defendant offers to

pay the landowner: (1) all transaction costs associated with obtaining and recording the

ERE, including, but not limited to, obtaining any appraisals, but excluding the payment of

the landowner's attorney fees prior to executing the ERE or the landowner's attorney

fees in connection with any eminent domain proceeding; and (2) either of the following

values, at the choice of Settling Defendant:

              (i) the value of the difference between: (A) the fair market value of the

property, taking into account the property's current use, any applicable zoning and

statutory or regulatory restrictions on use, and any other relevant factors relied upon by

appraisers, but without regard to the environmental contamination (if any) on the

property, and without the imposition of any new restrictions on use resulting from an

ERE; and (B) the fair market value of the property, taking into account the property's

current use, any applicable zoning and statutory or regulatory restrictions on use, and

any other relevant factors relied upon by appraisers, without regard to the

environmental contamination (if any) on the property, but with the imposition of the new

restrictions set forth in the proposed ERE. These estimates shall be undertaken

substantially in accordance with the most current edition of the Uniform Standards of

Professional Appraisal Practice by a currently certified general real estate appraiser in

the State. If only one appraiser undertakes the estimates, such appraiser shall be


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selected by mutual agreement between the landowner and Settling Defendant.

Otherwise, three appraisers shall undertake the estimates according to the following

process: Settling Defendant and the landowner will each select an appraiser and those

two appraisers will select a third appraiser, and the average of the three estimated

values as determined by the three appraisers shall be offered to the landowner. Settling

Defendant shall pay all costs of appraisals. This calculation is hereinafter referred to as

the "FMV Prong";

              or

                       (ii) 18% of the total value of the most recent assessed value by the

City of Pittsfield Tax Assessor's Office plus 18% of the value of any prior abatement

awarded by such Tax Assessor's Office based upon property-specific contamination.

This calculation is hereinafter referred to as the "Assessment Prong," and may be

restated as follows:

              18% x [(assessed value) + (abatement credit, if any)].

              b. For purposes of this Consent Decree, "best efforts" to obtain a

subordination agreement for encumbrances such as liens, mortgages, or similar

interests at properties located in areas outside the Rest of River shall mean the

following:

                       (i) Settling Defendant shall negotiate in good faith directly with the

interest holder, including permitting the landowner, at the landowner's option, to

participate in such negotiations with such interest holder. Upon request, Settling




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Defendant shall provide any relevant non-privileged information to the interest holder,

and

                     (ii) If such negotiations are unsuccessful, Settling Defendant, in

good faith, will contact at least three (but will not be required to contact more than three)

lending and other appropriate financial institutions or entities, including at least one such

local institution or entity, to inform the same of the opportunity to take over or buy out the

prior interest on condition that the new institution or entity subordinate such interest to

the ERE Settling Defendant shall offer to pay the property owner the transaction costs

of refinancing or otherwise obtaining the subordination agreement, provided, however,

that Settling Defendant shall not be obligated to compensate such property owner for

any difference in interest rates or any points charged by the lending or financial

institution for either refinancing at a lower interest rate or for executing a subordination

agreement Nothing in this Paragraph 60 b shall be construed to require Settling

Defendant to buy out the prior interest.

              c. For purposes of Paragraphs 56, 58, and 59, "best efforts" to obtain

CERs, Access Agreements and Interim Non-interference Agreements for Non-Settling

Defendant Property located in areas outside the Rest of the River shall include the offer

of reasonable compensation, if any, as appropriate, to be determined on a case-by-case

basis.

              d. For any other activity for which "best efforts" are required under this

Consent Decree, insofar as they relate to EREs, CERs, Access Agreements or Interim

Non-interference Agreements for properties located in areas outside the Rest of the


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River, and for which "best efforts" is not specifically defined, "best efforts" shall be

determined on a case-by-case basis

              e If Settling Defendant uses "best efforts" but fails to obtain EREs,

subordination agreements, Access Agreements, and/or Interim Non-interference

Agreements for Non-Settling Defendant Properties, Settling Defendant shall notify EPA

and MADEP as required by Paragraphs 56 b-56 e for EREs and subordination

agreements or within 14 days after failing to obtain an Access Agreement or Interim

Non-interference Agreement Such notice shall be in wnting, and shall include a

summary of the steps that Settling Defendant has taken to comply with this Paragraph,

including, but not limited to, Settling Defendant's last compensation offer (if applicable)

in consideration of obtaining the EREs, subordination agreements, Access Agreements,

and/or Interim Non-interference Agreements, any information that is supportive of such

last compensation offer (if applicable), and a statement of any other outstanding issues

to be resolved If Settling Defendant uses "best efforts" but fails to obtain subordination

agreements for Settling Defendant Property, Settling Defendant shall submit a similar

notice to EPA and MADEP at the times specified in Paragraph 54 a(i)-(iv)

              f (i) In the case of Access Agreements or Interim Non-interference

Agreements, the United States and the State will assist Settling Defendant in obtaining

such agreements, including, but not limited to, use, as appropriate, of their statutory and

regulatory authorities to secure access to the property in question and/or non­

interference with the response action in question




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              (n) In the case of EREs, the State may, in its sole discretion, assist Settling

Defendant in obtaining EREs, including through use of its statutory and regulatory

authority Upon request from Settling Defendant, the State will meet with Settling

Defendant to discuss what form such assistance to obtain EREs should take, prior to

providing any such assistance If it is determined that EREs are a component of the

Rest of the River Remedial Action, the United States or the State may, in their sole

discretion, assist Settling Defendant in obtaining EREs, including through use of their

statutory and regulatory authorities   Upon request from Settling Defendant, the United

States or the State will meet with Settling Defendant to discuss what form such

assistance to obtain EREs should take, prior to providing any such assistance Before

the United States takes or acquires an ERE in the Rest of River, the United States will

request that the State take or acquire such ERE If the State, in its sole discretion,

declines to take or acquire such ERE, or if, after a reasonable period of time following

such request from the United States, the State is unsuccessful in obtaining such ERE,

then the United States may take or acquire such ERE

               g   Settling Defendant shall reimburse the United States in accordance

with the procedures in Section XX (Reimbursement of Costs) for all costs, direct or

indirect, Incurred by the United States in obtaining such Access Agreements, Interim

Non-interference Agreements, or EREs (in the Rest of River, if EREs are a component

of the Rest of River Remedial Action), including, but not limited to, the cost of attorney

time to secure or obtain the same and the amount of monetary consideration paid or

other just compensation paid to secure or obtain the same Such costs shall be

considered U S Future Response Costs and shall be recoverable in accordance with

Paragraph 95 a

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               h. Settling Defendant shall reimburse the State in accordance with the

procedures in Section XX and subject to the provision of Paragraph 95.d(iv), for the

costs incurred by the State in obtaining Access Agreements or Interim Non-interference

Agreements. With respect to EREs, if Settling Defendant has made "best efforts" but

has failed to obtain an ERE, including any necessary subordination of prior interests,

pursuant to the process set forth in this Section XIII for a property for which Settling

Defendant is required pursuant to this Consent Decree to use "best efforts" to obtain an

ERE, and the State has thereafter Incurred costs in obtaining or seeking to obtain such

an ERE or any necessary subordination agreements, Settling Defendant shall reimburse

the State such costs, not inconsistent with the MCP, as follows:

              (i) With respect to those costs Incurred by the State in obtaining or

seeking to obtain such ERE, other than those costs Incurred in paying to the owner of

such property compensation for such ERE, Settling Defendant shall reimburse the State

all such costs, including, but not limited to, attorney and other staff time and resources,

the costs of outside appraisals, and litigation expenses.

              (ii) With respect to those costs that the State Incurs in paying to the owner

of such property compensation for such ERE, Settling Defendant shall reimburse the

State such costs as follows:

                     (A) In the event that the State obtains an ERE through a voluntary

purchase (including the settlement of any eminent domain proceeding) for a price to

which the Setting Defendant has provided prior consent, Settling Defendant shall

reimburse the State such purchase price.


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                     (B) In the event that the State, without having conducted its own

appraisal, obtains an ERE through a voluntary purchase for a price to which Settling

Defendant has not provided prior consent, Settling Defendant shall reimburse the State

such purchase price, but not to exceed 18% of the sum of the most recent assessed

value of the property by the City of Pittsfield's Tax Assessor's Office and the value of

any prior abatement based on property-specific contamination.

                     (C) In the event that the State, having conducted its own appraisal

of the fair market value of the ERE in accordance with the standards set forth in

Paragraph 60.a(i) (FMV Prong), obtains an ERE through a voluntary purchase (including

the settlement of any eminent domain proceeding) for a price to which Settling

Defendant has not provided prior consent in writing, Settling Defendant shall reimburse

the State such purchase price, but not exceeding the amount of such appraisal;

provided, however, that Settling Defendant may seek dispute resolution pursuant to

Section XXIV of this Consent Decree without reference to the procedures set forth in

310 C.M.R. 40.1220(3).

                    (D) In the event that the State obtains an ERE through an eminent

domain taking pursuant to which the property owner has accepted the award offered by

the State, Settling Defendant shall reimburse the State the amount of such award if

Settling Defendant has given its prior consent to the amount of such award, and

otherwise Settling Defendant shall reimburse the State in accordance with subparagraph

60.h(ii)(C) above; provided, however, that the State shall provide 30 days notice to

Settling Defendant before exercising its eminent domain authority.


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                       (E) In the event that the State obtains an ERE through an eminent

 domain proceeding in which the property owner has rejected the award offered by the

 State and has initiated a proceeding to contest the value of the ERE taken and that

 proceeding has gone to final judgment, Settling Defendant shall reimburse the State the

 amount of such judgment; provided, however, that the State shall provide 30 days notice

 to Settling Defendant before exercising its eminent domain authority and shall consent to

 any request that Settling Defendant makes to file a brief as amicus curiae in such

 proceeding.

               (iii)   With respect to those costs Incurred by the State in obtaining or

 seeking to obtain any necessary agreements to subordinate interests in the property to

 an ERE (including, without limitation, an ERE for Non-Settling Defendant Property as

 such ERE may be affected by a Notice of Completion and, if applicable, a revised

 Plan(s) of Restricted Area or other notice described in subparagraph 57.d), Settling

 Defendant shall reimburse the State for: (A) costs Incurred by the State in undertaking

• the same activities required of Settling Defendant by Paragraph 60.b(i) and (ii); (B) costs

 of staff time resources, attorney time, and related expenses in undertaking other efforts

 seeking to obtain the necessary subordination agreements; and (C) costs of any other

 activities to which Settling Defendant has given prior written consent; provided, however,

that in no event shall Settling Defendant be required to reimburse the State for costs

 Incurred in paying to the holder of such interests compensation for the subordination

agreements or in buying out such interests, in the absence of Settling Defendant's prior

written consent.


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       61.    EREs at Western Massachusetts Electric Company Properties:

Notwithstanding the provisions of Paragraphs 56, 57, and 60 or any other provision of

this Consent Decree, Settling Defendant shall not be required to make "best efforts'1 to

obtain EREs at properties owned by Western Massachusetts Electric Company or its

parent Northeast Utilities, provided that Settling Defendant demonstrates (e.g., by title

evidence), subject to approval by EPA (after reasonable opportunity for review and

comment by MADEP), that such properties are encumbered by a mortgage that includes

numerous properties owned by Northeast Utilities (including properties outside the Site),

and that hence it would not be practical to obtain subordination agreements for the

encumbrances on the specific properties in question without eliminating or restructuring

much or all of the bonded debt of Northeast Utilities or posting an asset equal to the fair

market value of the properties in question.    If EPA, after reasonable opportunity for

review and comment by MADEP, approves such demonstration, Settling Defendant shall

implement a Conditional Solution at such properties in accordance with Paragraphs 34­

38 of this Consent Decree.

      62.    Access and EREs at State-Owned Properties

             a.     Settling Defendant and the State agree to negotiate a written

umbrella access agreement for sampling and reconnaissance, as well as property-

specific written access agreements, for State-owned property within the Site in

accordance with the following provisions:

                    (i)      The State will provide access to, over, on, in and under

State-owned property within the Site at reasonable times and places to allow Settling


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Defendant and its contractors to perform the response actions required by this Consent

Decree on such property. In addition, the State shall not unreasonably withhold access

to, over, on, in and under State-owned property within the Site at reasonable times and

places as necessary to allow Settling Defendant and its contractors to perform the

response actions required by this Consent Decree at other properties within the Site.

                     (ii)    Before exercising access allowed by a property-specific

access agreement, Settling Defendant shall provide reasonable notice to the appropriate

designated State official with responsibility for the State-owned property that is subject to

such agreement, in the manner specified in, and by the deadlines included in, such

agreement. Before exercising access allowed by the umbrella access agreement for

sampling and reconnaissance, Settling Defendant shall provide reasonable notice as

provided in that agreement.

                     (iii)   In exercising its access rights pursuant to a property-specific

access agreement, Settling Defendant shall not damage, or interfere with the use of,

State-owned property, except to the extent necessary to perform response actions

required by this Consent Decree. Settling Defendant shall restore such property, to the

extent technically practicable, to a substantially equivalent condition as existed prior to

Settling Defendant's performance of the response actions required by this Consent

Decree. The State shall not interfere with EPA's or Settling Defendant's implementation

of response actions performed in accordance with the Consent Decree.

                     (iv)    The State agrees that it will provide access to Settling

Defendant, in accordance with the terms and conditions of this subparagraph 62.a, to


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perform the response actions required by this Consent Decree on State-owned property

within the Site, without compensation other than performance of the obligations to which

Settling Defendant has committed in this Consent Decree The State further agrees that

it will provide access to Settling Defendant, in accordance with the terms and conditions

of this subparagraph 62.a, to use State-owned property within the Site to perform the

response actions required by this Consent Decree on other property within the Site,

without compensation other than the obligations to which Settling Defendant has

committed in this Consent Decree, but only to the extent that there is no reasonable

alternative to such access.

                     (v)      Disputes arising between Settling Defendant and the State

regarding access to State-owned property shall be subject to the dispute resolution

process set forth in Paragraph 140 (Disputes Solely Between Settling Defendant and the

State).

              b.     For any State-owned property for which Settling Defendant is

obligated to use "best efforts" to obtain an ERE pursuant to this Consent Decree, the

State shall not unreasonably withhold consent to the placement of an ERE or, for State-

owned property subject to Article 49 of the State Constitution, a Notice ERE (as

described in Paragraph 56.f of this Consent Decree) on such property without further

compensation, so long as such ERE or Notice ERE (i) does not interfere with

recreational use of such property and with any other use that is made of such property

as of the date of lodging of this Consent Decree, and (ii) comports with the applicable

requirements of this Section XIII of the Consent Decree for such EREs or Notice EREs,


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including, but not limited to, the requirements regarding consistency between such ERE

or Notice ERE with the model ERE attached to this Consent Decree as Appendix O or,

as applicable, the Notice ERE form attached to this Consent Decree as Appendix P (as

it may be modified as described in Paragraph 56.f) and the Notice ERE template

described in Paragraph 56 f(ii)(A) and (B), provided, however, that the placement of

EREs (but not Notice EREs) on State-owned property shall be subject to any applicable

requirements of state law regarding the disposition of state property.

              c.     Nothing in this Paragraph 62 should be interpreted as the State

consenting to allow Settling Defendant to use State-owned property for the disposal of

Waste Materials that, in Settling Defendant's performance of the Work, have been

moved from where they have come to be located

              d.     Within 60 days of entry of this Consent Decree, Settling Defendant

shall pay $100,000 to the State, for deposit into the Inland Fisheries and Game Fund

established by M.G.L. c 131, § 2. Settling Defendant shall forward a check in this

amount, made payable to the Commonwealth of Massachusetts Special Fund 114 to

              Chief, Environmental Protection Division
              Office of the Attorney General
             200 Portland Street
              Boston, MA 02114
       63.    Groundwater EREs. In the event that a Removal Action to address

groundwater contamination pursuant to this Consent Decree and/or the SOW entails the

placement of structures, including without limitation groundwater wells, slurry walls

and/or sheetpiling, in, on, under or through any Settling Defendant Property or Non­


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Settling Defendant Property, then for each such affected property for which an ERE has

been recorded and/or registered, and where such ERE provides for a revised Plan of

Restricted Area and associated notice to be recorded and/or registered to show areas to

be subject to restrictions relating to response actions for groundwater, Settling

Defendant shall:

              a. prepare a revised Plan of Restricted Area and associated notice for

each such ERE such that the area within which each such structure is situated is clearly

delineated by metes and bounds; each such area shall be identified on said Plan as a

"Groundwater Response Action Component Area";

              b. record and/or register with the appropriate registry of deeds and/or land

registration office the revised Plan of Restricted Areas and associated notice; and, for

EREs on unregistered land, ensure that said Plan and associated notice are marginally

referenced on the recorded ERE for each affected property; and

              c. submit a copy of said Plan and associated notice, as recorded, and a

copy of the ERE bearing the marginal reference, to the Grantor and Grantee of the ERE

and to EPA and/or MADEP (if not already the grantee).

       64.    Connecticut. For any EREs for properties located in Connecticut, if EREs

are a component of the Rest of River Remedial Action, Settling Defendant shall comply

with the obligations, if any, set forth in the Rest of River Remedial Action or the Rest of

River SOW regarding EREs. After a final decision is made on the Rest of the River

Remedial Action, Settling Defendant, EPA, and Connecticut will negotiate in good faith

the requirements for and form of EREs for properties in Connecticut (if such EREs are a


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 component of such Remedial Action); provided, however, that such EREs shall be

 enforceable under the laws of the State of Connecticut, including Connecticut General

 Statutes § 22a-133n through § 22a-133r and R.C.S.A. § 22a-133q-1.

       65.     PEDA. For any property transferred to PEDA, Paragraph 53 is

 incorporated in this Paragraph by reference (and Paragraph 54 is also incorporated in

 this Paragraph by reference if, pursuant to Paragraph 12, Settling Defendant, PEDA,

 EPA, and MADEP agree that Settling Defendant Property may be transferred to PEDA

 prior to recording and/or registering an ERE) except that each reference to "Settling

 Defendant" shall be read as a reference to "PEDA"; provided, however, that

 subaragraphs 53.b and 53.c are not incorporated in this Paragraph by reference, and

 provided further that nothing in this Paragraph 65 shall affect Settling Defendant's

obligations pursuant to Paragraph 12 or 57.n of this Consent Decree.

       66.    The City. For any property owned by the City, Paragraphs 53 and 54 are

incorporated in this Paragraph by reference except that each reference to "Settling

. Defendant" shall be read as a reference to "the City"; provided, however, that

subparagraphs 53.b and 53.c are not incorporated in this Paragraph by reference.

                           XIV. REPORTING REQUIREMENTS

       67.    In addition to any other requirement of this Consent Decree, Settling

Defendant shall submit to EPA 5 copies, to Connecticut 1 copy, and to the State 4

copies of written monthly progress reports that: (a) describe the actions which have

been taken toward achieving compliance with this Consent Decree during the previous

month; (b) include a summary, including electronic transmission of data to EPA and


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MADEP, of all results of sampling and tests and all other data received or generated by

Settling Defendant or its contractors relating to the Site under this Consent Decree in the

previous month (except for sampling results and other data provided to Settling

Defendant by Plaintiffs), (c) identify all work plans, plans and other deliverables required

by this Consent Decree completed and submitted during the previous month, (d)

describe relevant actions to be taken by Settling Defendant or its contractors, including,

but not limited to, data collection and implementation of work plans, which are scheduled

for the next six weeks, provide other information relating to the progress of construction,

and provide additional information on the progress of construction to EPA upon request,

(e) include information regarding general progress, unresolved delays encountered or

anticipated that may affect the future schedule for implementation of the Work, and a

description of efforts made to mitigate those delays or anticipated delays, and (f) include

any modifications to the work plans or other schedules that Settling Defendant has

proposed to EPA or that have been approved by EPA Settling Defendant shall also

submit one copy each of the monthly progress reports to NOAA, DOI, EOEA and the

City, as well as to PEDA for property to be transferred to PEDA Settling Defendant

shall submit these progress reports to EPA, NOAA, DOI, EOEA, Connecticut, the State,

the City, and (where applicable) PEDA, by the tenth day of every month following the

lodging of this Consent Decree until EPA notifies the Settling Defendant pursuant to

Paragraph 89.b of Section XVIII (Certification of Completion) If requested by EPA or

the State, Settling Defendant shall also provide briefings for EPA and the State to




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discuss the progress of the Work in addition to the briefings and meetings of the

Management Groups described in Section V of this Consent Decree.

       68.    Settling Defendant shall notify EPA, Connecticut, and the State of any

material change in the schedule described in the monthly progress report for the

performance of any activity, including, but not limited to, data collection and

implementation of work plans. Such notification shall be provided no later than seven

days, unless impracticable, prior to the performance of the activity. Settling Defendant

shall notify NOAA, DOI and EOEA of any material change in the schedule described in

the monthly progress report for the performance of any activity related to the Restoration

Work or other natural resource protection and restoration activities no later than seven

days, unless impracticable, prior to the performance of the activity.

      69.     Upon the occurrence of any event during performance of the Work that

Settling Defendant is required to report pursuant to Section 103 of CERCLA or Section

304 of the Emergency Planning and Community Right-to-know Act (EPCRA), Settling

Defendant shall within 24 hours of the onset of such event or immediately upon

obtaining knowledge of such event, whichever is later, orally notify the EPA Project

Coordinator or the Alternate EPA Project Coordinator (in the event of the unavailability of

the EPA Project Coordinator), or, in the event that neither the EPA Project Coordinator

or Alternate EPA Project Coordinator is available, the Emergency Response Section,

Region I, United States Environmental Protection Agency. In addition, Settling

Defendant shall also notify the State Project Coordinator and/or the CTDEP, as

appropriate, within the same time frame. These reporting requirements are in addition to


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the reporting required by CERCLA Section 103 or EPCRA Section 304, and applicable

state law.

       70.    Within 20 days of the onset of such an event, Settling Defendant shall

furnish to Plaintiffs a written report, signed by Settling Defendant's Project Coordinator,

setting forth the events which occurred and the measures taken, and to be taken, in

response thereto. Within 30 days of the conclusion of such an event, Settling Defendant

shall submit to the Plaintiffs a report setting forth all actions taken in response thereto

       71.    Settling Defendant shall submit 6 copies of all plans, reports (other than

monthly progress reports), and data required by the SOW, the Upper V* Mile Reach

Removal Action Work Plan, the Rest of the River SOW, or any other approved plans to

EPA in accordance with the schedules set forth in such plans Settling Defendant shall

simultaneously submit 4 copies of all such plans, reports and data to the State, and one

copy of all such plans, reports and data to Connecticut, EOEA, DOI and NOAA Settling

Defendant shall also submit one copy of all such plans, reports and data to PEDA (for

property to be transferred to PEDA by Settling Defendant) and to the City.

       72.    All reports and other documents submitted by Settling Defendant to any of

the Plaintiffs (other than the monthly progress reports referred to above) which purport to

document Settling Defendant's compliance with the terms of this Consent Decree shall

be signed by an authorized representative of Settling Defendant.




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            XV. EPA APPROVAL OF PLANS AND OTHER SUBMISSIONS

       73     Except as provided in Paragraph 22 and the Reissued RCRA Permit

regarding the Rest of the River, after review of any plan, report or other item which is

required to be submitted for approval pursuant to this Consent Decree, EPA, after

reasonable opportunity for review and comment by the State and Connecticut, as

applicable, shall: (a) approve, in whole or in part, the submission; (b) approve the

submission upon specified conditions; (c) modify the submission to cure the deficiencies,

(d) disapprove, in whole or in part, the submission, directing that Settling Defendant

modify the submission, or (e) any combination of the above However, EPA shall not

modify a submission without first providing Settling Defendant at least one notice of

deficiency and an opportunity to cure within 30 days or such longer time as is specified

by EPA, except where to do so would cause serious disruption to the Work or where

previous submission(s) have been disapproved due to material defects and the

deficiencies in the submission under consideration indicate a bad faith lack of effort to

submit an acceptable deliverable.

       74     In the event of approval, approval upon conditions, or modification by EPA

pursuant to Paragraph 73.a, b, or c, Settling Defendant shall proceed to take any action

required by the plan, report, or other item, as approved or modified by EPA subject only

to its right to invoke the Dispute Resolution procedures set forth in Section XXIV

(Dispute Resolution) with respect to such modifications or conditions.    In the event that

EPA modifies the submission to cure the deficiencies pursuant to Paragraph 73 c and




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the submission has a material defect, EPA retains its right to seek stipulated penalties,

as provided in Section XXV (Stipulated Penalties).

       75.    a. Upon receipt of a notice of disapproval pursuant to Paragraph 73 d,

Settling Defendant shall, within 30 days or such longer time as specified by EPA, correct

the deficiencies and resubmit the plan, report, or other rtem for approval. Any stipulated

penalties applicable to the submission, as provided in Section XXV, shall accrue during

the 30-day period or otherwise specified period but shall not be payable unless the

resubmission is disapproved or modified due to a material defect as provided in

Paragraphs 76 and 77.

              b. Notwithstanding the receipt of a notice of disapproval pursuant to

Paragraph 73 d, Settling Defendant shall proceed, at the direction of EPA, to take any

action required by any non-deficient portion of the submission Implementation of any

non-deficient portion of a submission shall not relieve Settling Defendant of any liability

for stipulated penalties under Section XXV (Stipulated Penalties).

       76     In the event that a resubmitted plan, report or other item, or portion thereof,

is disapproved by EPA, EPA may again require Settling Defendant to correct the

deficiencies, in accordance with the preceding Paragraphs. EPA also retains the right to

modify or develop the plan, report or other item in accordance with this Consent Decree.

Settling Defendant shall implement any such plan, report, or item as modified or

developed by EPA, subject only to its right to invoke the procedures set forth in Section

XXIV (Dispute Resolution).




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       77.     If upon resubmission, a plan, report, or Hem is disapproved or modified by

EPA due to a material defect, Settling Defendant shall be deemed to have failed to

submit such plan, report, or item timely and adequately unless Settling Defendant

invokes the dispute resolution procedures set forth in Section XXIV (Dispute Resolution)

and EPA's action is overturned pursuant to that Section. The provisions of Section XXIV

(Dispute Resolution) and Section XXV (Stipulated Penalties) shall govern the

implementation of the Work and accrual and payment of any stipulated penalties during

Dispute Resolution. If EPA's disapproval or modification is upheld, stipulated penalties

shall accrue for such violation from the date on which the initial submission was

originally required, as provided in Section XXV.

       78.    All plans, reports, and other items required to be submitted to EPA under

this Consent Decree shall, upon approval or modification by EPA, be enforceable under

this Consent Decree. In the event EPA approves or modifies a portion of a plan, report,

or other item required to be submitted to EPA under this Consent Decree, the approved

or modified portion shall be enforceable under this Consent Decree.

       79.    For any plan, report or other item which is required to be submitted for

approval by the Trustees pursuant to this Consent Decree, the provisions of Paragraphs

73 to 78 shall apply, except that each reference to EPA shall be read as a reference to

the Trustees and the reference to the reasonable opportunity for review and comment by

the State shall be deleted.

       80.    For any plan, report or other item which is required to be submitted for

approval with regard to the Rest of the River prior to the initial modification of the


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 Reissued RCRA Permit pursuant to Paragraph 22.p of this Consent Decree, approval

 procedures shall be in accordance with the Reissued RCRA Permit. After the initial

 modification of the Reissued RCRA Permit, the approval procedures shall be in

 accordance with this Section.

                             XVI. PROJECT COORDINATORS

        81.    Within 20 days of lodging this Consent Decree, Settling Defendant, the

 State and EPA will notify each other, in writing, of the name, address and telephone

number of their respective designated Project Coordinators and Alternate Project

 Coordinators. If a Project Coordinator or Alternate Project Coordinator initially

designated is changed, the identity of the successor will be given to the other Parties at

least 5 working days before the changes occur, unless impracticable, but in no event

later than the actual day the change is made. Settling Defendant's Project Coordinator

shall be subject to disapproval by EPA and shall have the technical expertise sufficient

to adequately oversee all aspects of the Work. Settling Defendant's Project Coordinator

shall not be an attorney for Settling Defendant in this matter. He or she may assign

other representatives, including other contractors, to serve as a Site representative for

oversight of performance of daily operations during remedial activities.

       82.    Plaintiffs may designate other representatives, including, but not limited to,

EPA and State employees, and federal and State contractors and consultants, to

observe and monitor the progress of any activity undertaken pursuant to this Consent

Decree. EPA's Project Coordinator and Alternate Project Coordinator shall have the

authority lawfully vested in a Remedial Project Manager ("RPM") and an On-Scene


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Coordinator ("OSC") by the National Contingency Plan, 40 C.F.R. Part 300. In addition,

EPA's Project Coordinator or Alternate Project Coordinator shall have authority,

consistent with the National Contingency Plan, to halt any Work required by this Consent

Decree and to take any necessary response action when s/he determines that

conditions at the Site constitute an emergency situation or may present an immediate

threat to public health or welfare or the environment due to release or threatened

release of Waste Material consistent with Section XIX (Emergency Response).

       83.    EPA's Project Coordinator, the State's Project Coordinator, and the

Settling Defendant's Project Coordinator will meet, at a minimum, on a monthly basis,

and will participate in the Management Group established pursuant to Paragraph 13 of

this Consent Decree. As appropriate, the project coordinators will advise the Trustees of

such meetings and invite the Trustees to participate.

                XVII. ASSURANCE OF ABILITY TO COMPLETE WORK

      84.    Within 30 days of entry of this Consent Decree, Settling Defendant shall

demonstrate its ability to complete the Work by submitting to EPA, the State and

Connecticut its most recent Annual Report. Each year thereafter until the completion of

the Work, Settling Defendant shall submit its most recent Annual Report to EPA, the

State and Connecticut within thirty (30) days of publication of such report. In the event

that EPA, after a reasonable opportunity for review and comment by the State,

determines at any time that the financial assurances provided by the Annual Report do

not demonstrate Settling Defendant's ability to complete the Work, Settling Defendant




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shall establish and maintain financial security in the amount of $150,000,000 in one or

more of the following forms:

              a. A surety bond guaranteeing performance of the Work;

              b. One or more irrevocable letters of credit equalling $150,000,000 ;

              c. A trust fund;

              d. A guarantee to perform the Work by one or more parent corporations or

subsidiaries, or by one or more unrelated corporations that have a substantial business

relationship with the Settling Defendant; or

              e. A demonstration that the Settling Defendant satisfies the requirements

of 40 C.F.R. Part 264.143(0­

If EPA determines pursuant to this Paragraph 84 that Settling Defendant must establish

and maintain financial security in a form other than the Annual Report, then Paragraphs

85 and 86 shall apply.

       85.    If Settling Defendant seeks to demonstrate the ability to complete the Work

through a guarantee by a third party pursuant to Paragraph 84.d of this Consent Decree,

Settling Defendant shall demonstrate that the guarantor satisfies the requirements of 40

C.F.R. § 264.143(f). If Settling Defendant seeks to demonstrate its ability to complete

the Work by means of the financial test or the corporate guarantee pursuant to

Paragraph 84.d or 84.e, it shall resubmit sworn statements conveying the information

required by 40 C.F.R. § 264.143(f) annually, on the anniversary of the effective date of

this Consent Decree. In the event that EPA, after a reasonable opportunity for review

and comment by the State, determines at any time that the financial assurances


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provided pursuant to this Section are inadequate, Settling Defendant shall, within 30

days of receipt of notice of EPA's determination, obtain and present to EPA for approval

one of the other forms of financial assurance lasted in Paragraph 84 of this Consent     ­

Decree Settling Defendant's inability to demonstrate financial ability to complete the

Work shall not excuse performance of any activities required under this Consent Decree

       86     If EPA has exercised its right under Paragraph 84 to obtain financial

assurance in a form other than the Annual Report, and Settling Defendant can show that

the estimated cost to complete the remaining Work has diminished below the amount

set forth in Paragraph 84 above after entry of this Consent Decree, Settling Defendant

may, upon completion of the Removal Actions Outside the River, reduce the amount of

the financial security provided under this Section to the estimated cost of the remaining

work to be performed Settling Defendant shall submit a proposal for such reduction to

EPA, in accordance with the requirements of this Section, and may reduce the amount

of the security upon approval by EPA In the event of a dispute, Settling Defendant may

reduce the amount of the security in accordance with the final administrative or judicial

decision resolving the dispute

       87     Settling Defendant may change the form of financial assurance provided

under this Section at any time, upon notice to and approval by EPA, provided that the

new form of assurance meets the requirements of this Section In the event of a

dispute, Settling Defendant may change the form of the financial assurance only in

accordance with the final administrative or judicial decision resolving the dispute




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                        XVIII. CERTIFICATION OF COMPLETION

       88.    Completion of Each Response Action

              a.   Within 90 days after Settling Defendant concludes that a particular

Removal Action required by this Consent Decree (excluding Post-Removal Site Control)

or the Rest of River Remedial Action (excluding Operation and Maintenance) has been

fully performed and that the Performance Standards for such Removal or Remedial

Action have been attained, Settling Defendant shall schedule and conduct a pre­

certification inspection to be attended by Settling Defendant, EPA, the Trustees (as

appropriate), and the State. The City shall be invited to participate in inspections relating

to the GE Plant Area Removal Actions and the Allendale School Removal Action PEDA

shall be invited to participate in inspections relating to property that will be transferred to

PEDA by Settling Defendant. If, after the pre-certification inspection, Settling Defendant

still believes that such Removal or Remedial Action (excluding Post-Removal Site Control

or Operation and Maintenance) has been fully performed and that the Performance

Standards for such Removal or Remedial Action have been attained, it shall submit a

written report requesting certification to EPA for approval, with a copy to the Trustees, the

State, and the City and PEDA (as applicable), pursuant to Section XV (EPA Approval of

Plans and Other Submissions) within 30 days of the inspection. In the report, a

registered professional engineer and Settling Defendant's Project Coordinator shall state

that the particular Removal or Remedial Action (excluding Post-Removal Site Control or

Operation and Maintenance) has been completed in full satisfaction of the requirements

of this Consent Decree. The written report shall include as-built drawings signed and


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 stamped by a professional engineer. The report shall contain the following statement,

 signed by a responsible corporate official of Settling Defendant or Settling Defendant's

 Project Coordinator

        I certify under penalty of law that this document and all attachments were

        prepared under my direction or supervision in accordance with a system

        designed to assure that qualified personnel properly gather and evaluate

        the information submitted. Based on my inquiry of the person or persons

        who manage the system, or those persons directly responsible for gathering

        the information, the information submitted is, to the best of my knowledge

        and belief, true, accurate, and complete. I am aware that there are

        significant penalties for submitting false information, including the possibility

        of fine and imprisonment for knowing violations.

 If, after completion of the pre-certification inspection and receipt and review of the written

report, EPA, after reasonable opportunity to review and comment by the State,

• determines that the particular Removal Action or Remedial Action (excluding Post-

Removal Site Control or Operation and Maintenance) referenced above, or any portion

thereof, has not been completed in accordance with this Consent Decree or that the

Performance Standards for such Removal or Remedial Action have not been achieved,

EPA will notify Settling Defendant in writing of the activities that must be undertaken by

Settling Defendant pursuant to this Consent Decree to complete the Removal Action or

Remedial Action (excluding Post-Removal Site Control or Operation and Maintenance)

and achieve the Performance Standards therefor; provided, however, that EPA may only


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 require Settling Defendant to perform such activities pursuant to this Paragraph to the

 extent that such activities are consistent with the scope of the response action and do not

 modify the Performance Standards (except as provided in Paragraph 217 (Modification)

 of this Consent Decree). EPA will set forth in the notice a schedule for performance of

 such activities consistent with the Consent Decree and the SOW or require the Settling

 Defendant to submit a schedule to EPA for approval pursuant to Section XV (EPA

 Approval of Plans and Other Submissions). Settling Defendant shall perform all activities

 described in the notice in accordance with the specifications and schedules established

 pursuant to this Paragraph, subject to its right to invoke the dispute resolution procedures

 set forth in Section XXIV (Dispute Resolution).

              b.     If EPA concludes, based on the initial or any subsequent report

 requesting Certification of Completion and after a reasonable opportunity for review and

 comment by the State, that the particular Removal Action (excluding Post-Removal Site

 Control) or the Rest of River Remedial Action (excluding Operation and Maintenance)

 has been performed in accordance with this Consent Decree and that the Performance

 Standards for such Removal or Remedial Action have been achieved, EPA will so certify

 in writing to Settling Defendant. Settling Defendant may contest EPA's failure to respond

to Settling Defendant's request for certification pursuant to Section XXIV (Dispute

Resolution), Paragraph 136 (record review) of this Consent Decree. This certification

shall constitute the Certification of Completion of the response action for purposes of this

Consent Decree, including, but not limited to, Section XXVI (Covenants Not to Sue by




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Plaintiffs) Certification of Completion of the response action shall not affect Settling

Defendant's remaining obligations under this Consent Decree

              c      For each Removal Action Outside the River for which one or more

Conditional Solutions are a component, Settling Defendant may seek a Certification of

Completion of such Removal Action, including the Conditional Solution(s) EPA will

evaluate such request pursuant to the provisions in this Paragraph, and if it determines

that the Removal Action has been performed in accordance with this Consent Decree

and that the Performance Standards for such Removal Action have been achieved

(excluding Post-Removal Site Control), EPA will issue a Certification of Completion of

such Removal Action, including the Conditional Solution(s), provided, however, that

insofar as such Certification relates to the Conditional Solution(s), it will be contingent on

Settling Defendant's compliance with the obligations relating to Conditional Solutions, as

set forth in Paragraphs 34 d and 35-37 of this Consent Decree Such Certification

relating to a property with a Conditional Solution shall terminate if and when EPA

determines and notifies Settling Defendant that Settling Defendant has not complied with

the conditions of Paragraphs 34 d and 35-37 with respect to such property Settling

Defendant shall have the right to seek dispute resolution of such determination by EPA in

accordance with Section XXIV of the Consent Decree.

             d       For any Removal or Remedial Action for an area that contains a

Non-Settling Defendant Property to or at which the owner of such property has refused to

allow access for implementation of the required response actions after Settling Defendant

has used "best efforts" to obtain such access and to implement the response actions in


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accordance with Section XIII of this Consent Decree, and after any efforts by EPA or the

State to obtain access for the implementation of the response actions, Settling Defendant

may seek a Certification of Completion of such Removal or Remedial Action except for

the portion relating to such property. EPA will evaluate such a request pursuant to the

provisions in this Paragraph, and if it determines that the Removal or Remedial Action

has otherwise been performed in accordance with this Consent Decree and that the

Performance Standards for such Removal or Remedial Action have otherwise been

achieved (excluding Post-Removal Site Control or Operation and Maintenance), EPA will

issue a Certification of Completion of such Removal or Remedial Action, subject to any

contingencies set forth above in Paragraph 88.c, except for the portion relating to the

property where the owner refused access. Settling Defendant shall continue to make

best efforts to obtain access to such property to perform the required response actions in

accordance with the same procedures set forth in Paragraph 34.a(ii) of this Consent

Decree, and shall implement the required response action whenever such access is

granted.

             e.     The Trustees shall determine that the Restoration Work that is part of

a particular Removal Action has been fully performed in accordance with Paragraphs 120

and 121 of Section XXI (Natural Resource Damages).

      89.    Completion of the Work for the Site

             a. Within 90 days after Settling Defendant concludes that all phases of the

Work (including Post-Removal Site Control and Operation and Maintenance) have been

fully performed for all Removal and Remedial Actions and Restoration Work required by


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this Consent Decree, Settling Defendant shall schedule and conduct a pre-certification

inspection to be attended by Settling Defendant, EPA, the Trustees and the State If,

after the pre-certification inspection, Settling Defendant still believes that the Work has

been fully performed, Settling Defendant shall submit to EPA, the Trustees and the State

a written report by a registered professional engineer stating that the Work has been

completed in full satisfaction of the requirements of this Consent Decree. A copy of the

Report shall be sent at the same time to the City and PEDA. The report shall contain the

following statement, signed by a responsible corporate official of Settling Defendant or

Settling Defendant's Project Coordinator:

       I certify under penalty of law that this document and all attachments were

       prepared under my direction or supervision in accordance with a system

       designed to assure that qualified personnel properly gather and evaluate

       the information submitted. Based on my inquiry of the person or persons

       who manage the system, or those persons directly responsible for gathering

      the information, the information submitted is, to the best of my knowledge

       and belief, true, accurate, and complete. I am aware that there are

      significant penalties for submitting false information, including the possibility

      of fine and imprisonment for knowing violations.

If, after review of the written report, EPA, after reasonable opportunity for review and

comment by the State and the Trustees, determines that any portion of the Work has not

been completed in accordance with this Consent Decree, EPA will notify Settling

Defendant in writing of the activities that must be undertaken by Settling Defendant


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  pursuant to this Consent Decree to complete the Work; provided, however, that EPA may"

  only require Settling Defendant to perform such activities pursuant to this Paragraph to

  the extent that such activities are consistent with the scope of the response action and do

  not modify the Performance Standards (except as provided in Paragraph 217

  (Modification) of this Consent Decree). EPA will set forth in the notice a schedule for

  performance of such activities consistent with the Consent Decree and the SOW or

  require the Settling Defendant to submit a schedule to EPA for approval pursuant to

  Section XV (EPA Approval of Plans and Other Submissions). Settling Defendant shall

  perform all activities described in the notice in accordance with the specifications and

  schedules established therein, subject to its right to invoke the dispute resolution

  procedures set forth in Section XXIV (Dispute Resolution).

               b.      If EPA concludes, based on the initial or any subsequent request for

  Certification of Completion by Settling Defendant and after a reasonable opportunity for

  review and comment by the State and the Trustees, that the Work has been performed in""

  accordance with this Consent Decree, EPA will so notify Settling Defendant in writing

  Settling Defendant may contest EPA's failure to respond to Settling Defendant's request

 for certification pursuant to Section XXIV (Dispute Resolution), Paragraph 136 (record

 review) of this Consent Decree.

               c.     To the extent that one or more Conditional Solutions are a

 component of the Work at the Site, Settling Defendant may seek a Certification of

 Completion of Work, including the Conditional Solution(s). EPA will evaluate such

 request pursuant to the provisions in this Paragraph, and if it determines that the Work


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has been performed in accordance wrth this Consent Decree, EPA will issue a

Certification of Completion of the Work at the Site, including the Conditional Solution(s);

provided, however, that insofar as such Certification relates to the Conditional

Solution(s), it will be contingent on Settling Defendant's compliance with the obligations

relating to Conditional Solutions, as set forth in Paragraphs 34.d and 35-37 of this

Consent Decree. Such Certification relating to a property with a Conditional Solution

shall terminate if and when EPA determines and notifies Settling Defendant that Settling

Defendant has not complied with the conditions of Paragraphs 34.d and 35-37 with

respect to such property. Settling Defendant shall have the right to seek dispute

resolution of such determination by EPA in accordance with Section XXIV of this Consent

Decree.

             d.     If the owner of a Non-Settling Defendant Property at the Site has

refused to allow access for implementation of the required response actions after Settling

Defendant has used "best efforts" to obtain such access and to implement the response

actions in accordance with Section XIII of this Consent Decree, and after any efforts by

EPA or the State to obtain access for the implementation of the response actions,

Settling Defendant may seek a Certification of Completion of Work at the Site except for

the portion relating to such properly. EPA will evaluate such a request pursuant to the

provisions in this Paragraph, and if it determines that the Work has otherwise been

performed in accordance with this Consent Decree, EPA will issue a Certification of

Completion of the Work, subject to any contingencies set forth above in Paragraph 89.c,

except for the portion relating to the property where the owner has refused access.


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Settling Defendant shall continue to make best efforts to obtain access to such property

to perform the required response actions in accordance with the same procedures set

forth in Paragraph 34 a(ii) of this Consent Decree, and shall implement the required

response actions whenever such access is granted

              e.    The Trustees shall determine that the Restoration Work that is part of

a particular Removal Action has been fully performed in accordance with Paragraphs 120

and 121 of Section XXI (Natural Resource Damages)

                            XIX EMERGENCY RESPONSE

       90     In the event of any action or occurrence during the performance of the Work

which causes or threatens a release of Waste Material from the Site that constitutes an

emergency situation or may present an immediate threat to public health or welfare or the

environment, Settling Defendant shall immediately notify EPA's Project Coordinator, or, if

the Project Coordinator is unavailable, EPA's Alternate Project Coordinator   If neither of

these persons is available, Settling Defendant shall notify the EPA Emergency Response

Unit, Region I Settling Defendant shall also immediately notify the State Project

Coordinator, and CTDEP if appropriate For purposes of this Section XIX, the phrase

"constitutes an emergency situation or may present an immediate threat to public health

or welfare or the environment" shall mean an unforeseen combination of circumstances,

or the conditions resulting from such circumstances, not normally anticipated to occur as

part of the Work, that require immediate action to avoid harm or an immediate threat of

harm to human health, welfare or the environment




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       91     In the event of any action or occurrence during the performance of the Work

which causes or threatens a release of Waste Material from the Site that constitutes an

emergency situation or may present an immediate threat to public health or welfare or the

environment, and that arises (a) at the GE Plant Area (excluding the portions of the

Unkamet Brook Area that are not owned or controlled by Settling Defendant, other than

the area immediately surrounding Building OP-3), (b) at any other property at the Site

owned or controlled by Settling Defendant, or (c) at any property at the Site not owned or

controlled by Settling Defendant but cue, in whole or in part, to Settling Defendant's

performance of the Work, Settling De-andant shall immediately take all appropriate action

to prevent, abate, or minimize such release or threat of release Settling Defendant shall

take such actions in consultation with EPA's Project Coordinator or other available

authorized EPA officer and in accordance with all applicable provisions of the Health and

Safety Plans, the Contingency Plans, and any other applicable plans or documents

developed pursuant to the Consent Decree, the SOW, the Upper V2 Mile Reach Removal

Action Work Plan and/or the Rest of the River SOW In the event that Settling Defendant

fails to take appropriate response action as required by this Paragraph, and EPA or, as

appropriate, the State takes such action instead, Settling Defendant shall reimburse EPA

and the State all costs of the response action not inconsistent with the NCP pursuant to

Section XX (Reimbursement of Costs) Such costs shall be reimbursed as U S Future

Response Costs or Massachusetts Future Response Costs, as applicable, and shall be

recoverable in accordance with Paragraphs 95 a or 95 d, as applicable




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       92.    a.    In the event of any action or occurrence during the performance of the

Work which causes or threatens a release of Settling Defendant's Waste Material from

the Site that constitutes an emergency situation or may present an immediate threat to

public health or welfare or the environment and that arises at any property at the Site not

owned or controlled by Settling Defendant, if such release or threatened release is not

attributable to Settling Defendant's performance of the Work as set forth in Paragraph

91.c, then Settling Defendant shall immediately notify EPA and MADEP whether it will

take all appropriate action to prevent, abate or minimize such release or threat of release.

              b.    If Settling Defendant notifies EPA and MADEP pursuant to Paragraph

92.a that it will take all appropriate action referred to in Paragraph 91, Settling Defendant

shall take all such action in consultation with EPA's Project Coordinator or other available

authorized EPA officer and in accordance with all applicable provisions of the Health and

Safety Plans, the Contingency Plans, and in any other applicable plans or documents

developed pursuant to the Consent Decree, the SOW, the Upper 14 Mile Reach Removal

Action Work Plan and/or the Rest of River SOW.

              c.    If Settling Defendant notifies EPA and MADEP pursuant to Paragraph

92.a that it does not intend to take all appropriate action referred to in Paragraph 92.b,

then EPA, or as applicable, the State may take such action and send a demand for

payment of the costs of such action to Settling Defendant. EPA, or as applicable the

State, shall send such demand within 18 months of completion of the response action. If

Settling Defendant intends to seek reimbursement for payment of such costs from a




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potentially responsible third party who has caused EPA's or the State's incurrence of

such costs, then Settling Defendant shall so notify EPA, or as applicable the State, within

120 days of receiving a demand for payment of such costs. Within 120 days of receiving

such notice, EPA, or as applicable the State, shall notify Settling Defendant whether it is

willing to agree not to enter into a judicial or administrative settlement of claims it may

have against such third party in a manner that would terminate Settling Defendant's rights

to seek reimbursement from such party. In the event that EPA, or as applicable the

State, is willing to so agree, and/or in the event that Settling Defendant fails to provide

notice pursuant to this subparagraph of its intent to seek reimbursement from such third

party, Settling Defendant shall reimburse EPA and the State all costs of the response

action not inconsistent with the NCP pursuant to Section XX (Reimbursement of Costs)

Such costs shall be reimbursed as U.S. Future Response Costs or Massachusetts Future

Response Costs, as applicable, and shall be recoverable in accordance with Paragraph

95 a or 95 d, as applicable, provided, however, that Settling Defendant reserves its rights

and defenses consistent with other provisions of this Consent Decree to obtain from any

other person reimbursement of costs paid under this subparagraph. In the event that

EPA, or as applicable the State, is unwilling to agree not to enter into a judicial or

administrative settlement of claims it may have against such third party in a manner that

would terminate Settling Defendant's rights to seek reimbursement from such party, or

has already entered into such a settlement, then Settling Defendant retains its right to

challenge any such settlement and shall have no obligation to make payment pursuant to

this subparagraph or Section XX, but EPA, or as applicable the State, may seek


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reimbursement of such costs pursuant to CERCLA § 107, M.G.L. c 21E, § 5, or any

other applicable law outside the scope of this Consent Decree. In such an independent

action, Settling Defendant may raise any rights and defenses it may have, including any

rights to seek reimbursement from third parties:

       93.    Subject to Section XXVI of this Consent Decree (Covenants Not To Sue by

Plaintiffs), and except as otherwise specifically provided in this Consent Decree, nothing

in the preceding Paragraphs or in this Consent Decree shall be deemed to limit any

authority of the United States, Connecticut or the State: (a) to take all appropriate action

To protect human health and the environment or to prevent, abate, respond to, or

minimize an actual or threatened release of Waste Material on, at, or from the Site, or (b)

to direct or order such action, or seek an order from the Court, to protect human health

and the environment or to prevent, abate, respond to, or minimize an actual or

threatened release of Waste Material on, at, or from the Site

                       XX. REIMBURSEMENT OF COSTS

       94.    Past Response Costs. Within 30 days of the effective date of this Consent

Decree (except as provided in Paragraph 94.d(ii) below), Settling Defendant shall:

             a. Pay to a GE-Pittsfield/Housatonic River Special Account ("Special

Account") to be established by EPA within the Hazardous Substances Superfund

pursuant to this Consent Decree, $13,459,738.00 plus Interest, in reimbursement of U.S.

Past Response Costs and costs Incurred and paid by EPA for Designated Fill Properties

through March 31, 199S, by FedWire Electronic Funds Transfer ("EFT or wire transfer) to

the U.S. Department of Justice account in accordance with current electronic funds


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transfer procedures, referencing the U.S.A.O. file number, the GE-Pittsfield/Housatonic

River Special Account, the EPA Region and Site/Spill ID #01-67 and DOJ case number

90-11-3-1479. Interest on the payment shall accrue from the date of lodging of this

Consent Decree until the date of payment. Payment shall be made in accordance with

the instructions provided to the Settling Defendant. Any payments received by the

Department of Justice after 4:00 P.M. (Eastern Time) will be credited on the next

business day. Settling Defendant shall send notice that such payment has been made to

the United States as specified in Section XXXII (Notices and Submissions) and to

Michael Manlogon, Financial Management Officer, EPA Region I, One Congress Street,

Suite 1100, Boston, MA 02114-2023.

             b.     Pay to DOI a total of $365,948.00, plus Interest on $240,948.00 of

that amount, in reimbursement of DOI Past Assessment Costs and DOI Oversight Costs.

Payment shall be by FedWire Electronic Funds Transfer to the U.S. Department of

Justice account in accordance with current electronic funds transfer procedures, and

referencing Account Number 14X5198 (NRDAR), DOJ number 90-11-3-1479z, the USAO

number, and the name of the Site, the GE-Pittsfield/Housatonic River Site. Interest shall

accrue from the date of lodging of this Consent Decree until the date of payment.

Settling Defendant shall send notice of payment to:

                    Bruce Nesslage
                    DOI Restoration Fund
                    Mail Stop 4449
                    1849 C Street, N.W.
                    Washington, D.C. 20240




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with a copy to
                    Mark Barash
                    Office of the Regional Solicitor
                    U S. Department of Interior
                    One Gateway Center, Suite 612
                    Newton Comer, MA 02158-2868

and shall reference the Account Number 14X5198(NRDAR), and note that the payment is

for DOI Past Assessment Costs and a portion of DOI Oversight Costs for resources

under the trusteeship of DOI in connection with the GE-Pittsfield/Housatonic River Site

Any payments received after 4-00 p.m. Eastern Time shall be credited on the next

business day Notice that payments have been made, including copies of electronic

transfer forms and any accompanying transmittal letters, also shall be sent to the United

States as provided in Section XXXII (Notices and Submissions)

             c      Pay to NOAA a total of $643,676 00, plus Interest on $518,676 00 of

that amount, in reimbursement of NOAA Past Assessment Costs and "NOAA Oversight

Costs Payment shall be by FedWire Electronic Funds Transfer to the U S Department

of Justice account in accordance with current electronic funds transfer procedures, and

referencing the U S A 0 file number, the GE-Pittfield/Housatonic River Site, and DOJ

number 90-11-3-1479z, and shall note that the payment is for NOAA Past Assessment

Costs and a portion of NOAA Oversight Costs for resources under the trusteeship of

NOAA in connection with the GE-Pittsfield/Housatonic River Site. Interest shall accrue

from the date of lodging of this Consent Decree until the date of payment Settling

Defendant shall send notice of the payment to:




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                      NOAA/NOS/OR&R
                      Attn Kathy Salter, DARRF Manager
                      1305 East West Highway
                      SSMC 4, Room 9331
                      Silver Spring, Maryland 20910-3281


with a copy to

                      DARP Program Attorney
                      GE-Pittsfield/Housatonic River Site
                      NOAA Office of General Counsel
                      Northeast Region
                      One Blackburn Drive
                      Gloucester, Massachusetts 01930-2298

              d (i)   Pay to the State the amount of $1,745,000 plus Interest (as defined

in Section IV) for reimbursement of Massachusetts Past Response Costs, which Interest

shall accrue from the date of lodging of this Consent Decree until the date of payment

              (li) Pay to the State up to but not to exceed $115,000, plus Interest (as

defined in Section IV), as billed by MADEP, for State Interim Response Costs Incurred by

the State on or after June 21, 1999, with such payment to be made within 30 days of the

effective date of this Consent Decree or 60 days of billing, whichever is later For State

Interim Response Costs Incurred and billed prior to lodging of the Consent Decree,

Interest shall accrue from the date of lodging of the Consent Decree For State Interim

Response Costs billed after the Consent Decree has been lodged, Interest shall accrue

from the date of billing, if not paid by the due date specified above Billing, costs

summaries and supporting documentation for State Interim Response Costs shall be as

provided in Paragraph 95 d(v) of this Consent Decree




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              (iii)   Unless otherwise instructed by the State, in writing, at any time after

lodging of this Consent Decree, the checks shall be payable to the Commonwealth of

Massachusetts and shall reference the General Electric case Settling Defendant shall

forward the checks to:

                      Chief, Environmental Protection Division
                      Office of Attorney General
                      200 Portland Street
                      Boston, Massachusetts 02114

Copies of the checks shall also be sent to

                      Robert Kalaghan
                      Director, Fiscal Management/Cost Recovery and Administration
                      DEP/BWSC
                      1 Winter Street
                      Boston, Massachusetts 02108

For purposes of this Paragraph only, copies of the checks shall also be sent to

                      Thomas LaRosa
                      Assistant General Counsel
                      Executive Office of Environmental Affairs
                      100 Cambridge Street, 20th Floor
                      Boston, Massachusetts 02108

             e        Pay to the State of Connecticut $115,194 02 plus Interest (as defined

in Section IV) in reimbursement of Connecticut Past Response Costs. Interest on such

payment shall accrue from the date of lodging of this Consent Decree until the date of

payment Such payment shall be made by electronic funds transfer to Fleet Bank NA,

Hartford, Connecticut 06115, referencing ABA #011 -900-571, for State of Connecticut

Treasury - Regular A/C, Account #000-005-4673, F.B.O. Agency #1501/Attomey

General Settling Defendant shall send notice that such payment has been made to

Connecticut as .specified in Section XXXII (Notices and Submissions).

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         95.   Future Response Costs.

               a.    U.S. Future Response Costs. Settling Defendant shall reimburse the

EPA Hazardous Substance Superfund for all U.S. Future Response Costs and any costs

Incurred or paid in connection with the Designated Fill Properties listed in Category 2 in

Appendix T after March 31, 1999 not inconsistent with the National Contingency Plan.

The Settling Defendant shall make all payments required by this Paragraph in

accordance with the procedures set forth in Paragraph 94.a or in the form of a certified or

cashier's check or checks made payable to "EPA Hazardous Substance Superfund" and

referencing the GE-Pittsfield/Housatonic River Special Account, EPA Region I and

Site/Spill ID #01-67, the DOJ case number 90-11-3-1479, and the name and address of

the party making payment. If check(s) are used, Settling Defendant shall send the

check(s) to EPA Region I, Attn: Superfund Accounting, P.O. Box 360197M, Pittsburgh,

PA 15251 and shall send copies of the check(s) to the United States as specified in

Section XXXII (Notices and Submissions) and Michael Manlogon, Financial Management

Officer, EPA Region I, One Congress Street, Suite 1100, Boston, MA 02114-2023.

               b.    DPI Future Costs. Settling Defendant shall reimburse DOI for all

DOI Future Costs not inconsistent with the National Contingency Plan. DOI will send

Settling Defendant a bill requiring payment. The bill shall include

                    (i)    For any DOI employee labor, employee travel, and indirect

costs:

                           (A) a cost summary which lists labor costs by employee and

                    the number of hours charged for each relevant pay period;


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                            (B) a listing of the total indirect costs charged, if any, and the

                     indirect cost rate(s) applied, and documents describing the basis for

                    such rate, if it is not a published rate; and

                            (C) an explanation as to why the costs demanded are

                    claimed to be DOI Future Costs, as defined by this Consent Decree

                    (ii)    For any contractor or Interagency or Intergovernmental

Agreement costs:

                            (A) a cost summary listing the contractor(s) and the costs

                    incurred for each contractor;

                            (B) an explanation as to why the costs demanded are claimed

                    to be DOI Future Costs, as defined by this Consent Decree,

                            (C) a copy of each relevant progress report or comparable

                    document (if any) that describes the work performed, or if DOI has

                    no such documents, a description of the work performed.

                    (iii)   A statement that the costs included on the bill are compiled

from the DOI accounting system and represent only DOI Future Costs, as defined by this

Consent Decree, that have not been previously billed (except for any unpaid balance).

                    (iv)    DOI will use best efforts to send Settling Defendant a bill for

DOI Future Costs on an annual basis. Settling Defendant shall make all payments within

60 days of Settling Defendant's receipt of each bill requiring payment (or such longer

period specified by DOI in the bill) except as otherwise provided in Paragraph 101. If DOI

sends Settling Defendant a bill that demands payment for costs (other than past due


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amounts from a previous bill) that DOI Incurred over a period of time greater than twelve

months, and Settling Defendant, before the time in which payment must be made

expires, requests an extension of the time to pay, DOI shall not unreasonably refuse

consent to a reasonable extension of time Settling Defendant shall make all payments

to DOI required by this Paragraph in accordance with instructions to be provided by DOI

             c      NOAA Future Costs Settling Defendant shall reimburse NOAA for

all NOAA Future Costs not inconsistent with the National Contingency Plan NOAA will

send Settling Defendant a bill requiring payment The bill shall include

                    (i) For NOAA employee labor, employee travel, and indirect costs

                        (A) a cost summary which lists labor costs by employee and the

                    number of hours charged for each relevant pay period,

                        (B) a listing of the total indirect costs charged, if any, and the

                     indirect cost rate(s) applied, and documents describing the basis for

                     such rate, if it is not a published rate, and

                        (C) an explanation as to why the costs demanded are claimed

                    to be NOAA Future Costs, as defined by this Consent Decree

                    (n) For any contractor or Interagency or Intergovernmental

Agreement costs

                        (A) a cost summary listing the contractors) and the costs

                    incurred for each contractor,

                        (B) an explanation as to why the costs demanded are claimed

                   to be NOAA Future Costs, as defined by this Consent Decree,


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                          (C) a copy of each relevant progress report or comparable

                    document (if any), that describes the work performed, or if NOAA has

                    no such documents, a description of the work performed,

                    (iii) A statement that the costs included on the bill are compiled from

the NOAA accounting system and represent only NOAA Future Costs, as defined by this

Consent Decree, that have not been previously billed (except for any unpaid balance).

                    (iv) NOAA will use best efforts to send Settling Defendant a bill for

NOAA Future Costs on an annual basis. Settling Defendant shall make all payments

within 60 days of Settling Defendant's receipt of each bill requiring payment (or such

longer period specified by NOAA in the bill) except as otherwise provided in Paragraph

101. If NOAA sends Settling Defendant a bill that demands payment for costs (other

than past due amounts from a previous bill) that NOAA Incurred over a period of time

greater than twelve months, and Settling Defendant, before the time in which payment

must be made expires, requests an extension of the time to pay, NOAA shall not

unreasonably refuse consent to a reasonable extension of time. Settling Defendant shall

make all payments to NOAA required by this Paragraph in accordance with instructions

to be provided by NOAA.

             d.     Massachusetts Future Response Costs. Settling Defendant shall

reimburse the State for all Massachusetts Future Response Costs not inconsistent with

the National Contingency Plan or the Massachusetts Contingency Plan, as applicable, as

follows:




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              (i) For such costs of obtaining EREs, in accordance with Paragraph 60 h of

this Consent Decree;

              (ii) For all such costs Incurred in enforcing the Consent Decree and in

participating in dispute resolution under this Consent Decree,

              (iii) For all such costs Incurred by the State in fulfilling its mandatory

statutory obligations under Section 104(c)(3) of CERCLA in the event of a Work Takeover

pursuant to Paragraph 178, and

              (iv) Up to, but not exceeding $350,000, for all other Massachusetts Future

Response Costs.

              (v) The Commonwealth will send Settling Defendant a bill requiring

payment that includes a State-prepared cost summary, which includes direct and indirect

costs Incurred by the State and its contractors on a periodic basis The State will use

best efforts to send Settling Defendant a bill for Massachusetts Future Response Costs

on an annual basis. Each bill shall also include a detailed spreadsheet, or document with

comparable information, listing each employee, the appropriate site/location code, the

hours worked during each pay period charged for each cost category (including codes

differentiating between capped and uncapped costs), and indirect

costs/benefits/overhead rate charged for the employees, and contractor reports or other

documents which describe the work performed, hours billed, and other expenses charged

by those contractors whose costs do not appear on the detailed spreadsheets In

addition, each billing package shall include a certification that the costs included

represent only costs Incurred in connection with the Site, and that the costs detailed on


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 the spreadsheet, or comparable document, were Incurred for the appropriate cost

 category, and do not include costs previously or separately billed to Settling Defendant.    _

 Settling Defendant shall make all payments within 60 days of Settling Defendant's receipt

 of each bill (with supporting documentation) requiring payment (or such longer period

 specified by the State in the bill), except as otherwise provided in Paragraph 101. If the    ­

 State sends Settling Defendant a bill that demands payment for costs (other than past

 due amounts from a previous bill) that the State Incurred over a period of time greater

 than twelve months, and Settling Defendant, before the time in which payment must be         ~~

 made expires, requests an extension of time to pay, the State shall not unreasonably         _

 refuse consent to a reasonable extension of time. Settling Defendant shall make all

 payments to the Commonwealth required by this Paragraph in the manner described in

 Paragraph 94.d(iii).                                                                         —

               e.   Massachusetts Trustee Future Response Costs. Settling Defendant

 shall reimburse the State for all Massachusetts Trustee Future Response Costs not

 inconsistent with the National Contingency Plan or the Massachusetts Contingency Plan, ­

 as applicable. The State will send Settling Defendant a bill requiring payment. Billing,

 cost summaries, and supporting documentation for Massachusetts Trustee Future

 Response Costs, and payment shall be as provided in Paragraph 95.d(v), except that for

purposes of this provision:

              (i) Copies of the check shall only be sent to:

              Thomas LaRosa
              Assistant General Counsel
              Executive Office of Environmental Affairs
              100 Cambridge Street, 20th Floor
              Boston, MA 02108
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              (ii) Each bill shall only be required to include a detailed spreadsheet, or

document with comparable information, listing each employee, the hours worked during

each pay period charged, and indirect costs/benefits/overhead rate charged for the

employees; and contractor reports or other documents which describe the work

performed, hours billed, and other expenses charged by those contractors whose costs

do not appear on the detailed spreadsheets In addition, each billing package shall

include a certification that the costs included represent only costs Incurred in connection

with the Site, and that the costs detailed on the spreadsheet, or comparable document,

were Incurred as Massachusetts Trustee Future Response Costs, and do not include

costs previously or separately billed to Settling Defendant.

              f.   Connecticut Future Costs In full settlement of all Connecticut Future

Costs, Settling Defendant shall pay to the State of Connecticut $90,000 Such payment

shall be made within 30 days of the effective date of this Consent Decree by electronic

funds transfer to Fleet Bank as specified in Paragraph 94.e of this Consent Decree

       96.    U.S Future Rest of River Capped Response Costs. Settling Defendant

shall reimburse the EPA Hazardous Substance Superfund for U.S. Future Rest of River

Capped Response Costs as follows:

              a.     For all such costs not exceeding $11 million, Settling Defendant

shall pay 100 percent of such costs.

              b.     For all such costs greater than $11 million and not exceeding $18

million, Settling Defendant shall pay 50 percent of such costs.



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       Settling Defendant shall have no obligation to pay any portion of U S Future Rest

of River Capped Response Costs that exceed $18 million Payment of U S Future Rest

of River Capped Response Costs shall be made to the GE-Pittsfield/Housatonic River ­

Special Account in accordance with the procedures in Paragraph 95 a (U S Future

Response Costs) and Paragraph 100

       97     U S Future Additional Sampling Costs Settling Defendant shall reimburse

the EPA Hazardous Substance Superfund for all U S Future Additional Sampling Costs

until Settling Defendant's payments equal $400,000. Thereafter, Settling Defendant shall

have no further obligation to pay any portion of U S Future Additional Sampling Costs

Payment shall be made to the GE-Pittsfield/Housatonic River Special Account in

accordance with the procedures in Paragraph 95 a (U S Future Response Costs) and

Paragraph 100

      98     Oversight Costs    In addition to its obligation to pay the costs set forth in

Paragraphs 94-97, Settling Defendant shall pay EPA, the Trustees, and the State's

Oversight Costs in the amounts set forth herein Settling Defendant's obligation to

reimburse EPA, the Trustees, or the State's Oversight Costs shall be up to, and shall not

exceed, the following

             a      U S Oversight Costs Settling Defendant shall reimburse U S

Oversight Costs as follows

             (i) For all such costs not exceeding $7 million, Settling Defendant shall pay

100 percent of such costs




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              (ii) For all such costs greater than $7 million and not exceeding $9 million,

Settling Defendant shall pay 75 percent of the costs greater than $7 million.

              (iii) For all such costs greater than $9 million and not exceeding $12 million,

Settling Defendant shall pay 50 percent of the costs greater than $9 million.

              (iv) For all such costs greater than $12 million and not exceeding $15

million, Settling Defendant shall pay 33 1/3 percent of the costs greater than $12 million.

       Settling Defendant shall have no obligation to pay any portion of U.S. Oversight

Costs that exceed $15 million (which costs shall not be recoverable from Settling

Defendant). Payment shall be made to the GE-Pittsfield/Housatonic River Special

Account in accordance with the procedures in Paragraphs 95.a (U.S. Future Response

Costs) and 100.

             b.     U.S Rest of River Oversight Costs. Settling Defendant shall

reimburse U.S. Rest of River Oversight Costs as follows.

             (i) If the estimated cost of the Rest of River Remedial Action (as set forth in

the final modification of the Reissued RCRA Permit following all appeals and remands as

provided in Paragraph 22) is less than or equal to $100 million, Settling Defendant shall

pay 100% of the U.S. Rest of River Oversight Costs as Incurred until its total payments

equal 12.5% of the estimated Rest of River Remedial Action costs.

             (ii) If the estimated cost of the Rest of River Remedial Action (as set forth in

the final modification of the Reissued RCRA Permit following all appeals and remands as

provided in Paragraph 22) is greater than $100 million, Settling Defendant shall pay: (A)

100% of the U.S. Rest of River Oversight Costs as Incurred until its total payments equal


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$125 million; plus (B) 7 5% of the estimated costs of the U S Rest of River Remedial

Action costs over $100 million, as such costs are Incurred Settling Defendant shall have

no further obligation to pay any portion of U S Rest of River Oversight Costs after it has

made cumulative payments for such costs of up to $25 million

              (in) Within 30 days after EPA issues the final modification of the Reissued

RCRA Permit following all appeals and remands as provided in Paragraph 22, GE may

invoke the provisions of Section XXIV (Dispute Resolution) to dispute the estimated cost

of the Rest of River Remedial Action for purposes of this Paragraph The provisions of

Paragraph 136 of Section XXIV (Dispute Resolution) shall apply to any such dispute

             (iv) Payment shall be made to the GE-Pittsfield/Housatonic River Special

Account in accordance with the procedures in Paragraphs 95 a (U S Future Response

Costs) and 100

             c      DPI Oversight Costs In addition to the payment made pursuant to

Paragraph 94 b (DOI Past Assessment Costs/DOl Oversight Costs), Settling Defendant

shall pay DOI for DOI Oversight Costs in two additional payments totaling $275,000 00

No later than one year from the date that this Consent Decree is entered, Settling

Defendant shall remit $150,000 00 to DOI in the manner set forth in Paragraph 95 b (DOI

Future Costs) No later than two years from the date that this Consent Decree is

entered, Settling Defendant shall remit $125,000 00 to DOI in the manner set forth in

Paragraph 95.b (DOI Future Costs)

             d      NOAA Oversight Costs In addition to the payment made pursuant

to Paragraph 94 c (NOAA Past Assessment Costs/NOAA Oversight Costs), Settling


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Defendant shall pay NOAA for NOAA Oversight Costs in two additional payments totaling

$250,000.00. No later than one year from the date that this Consent Decree is entered,

Settling Defendant shall remit $125,000.00 to NOAA in the manner set forth in Paragraph

95.c ( NOAA Future Costs). No later than two years from the date that this Consent

Decree is entered, Settling Defendant shall remit $125,000.00 to NOAA in the manner set

forth in Paragraph 95.c (NOAA Future Costs).

              e.     State Oversight Costs. Settling Defendant shall reimburse the State

100% of Massachusetts Oversight Costs, Incurred on and after June 21, 1999, until

Settling Defendant's payment of such Massachusetts Oversight Costs equals

$4,550,000. Settling Defendant shall have no further obligation to pay Massachusetts

Oversight Costs after that time. Settling Defendant's annual payments to the State for

Massachusetts Oversight Costs shall not exceed $562,500. The foregoing limitations in

this subparagraph 98.e shall not apply to costs (if any) Incurred by MADEP in conducting

informal reviews specifically requested by Settling Defendant (in Settling Defendant's

sole discretion) of draft EREs and/or related documents voluntarily provided by Settling

Defendant to MADEP for such informal review, but shall apply to all costs Incurred by the

State in reviewing proposed EREs and/or related documents required to be submitted to

EPA and/or the State for review pursuant to Section XIII of this Consent Decree. Billing,

costs summaries and supporting documentation for Massachusetts Oversight Costs and

payment procedures shall be as provided in Paragraph 95.d(v), except that no later than

thirty (30) days after the date of entry of this Consent Decree, Settling Defendant shall

pay to the Commonwealth $100,000 as an advance payment toward State Oversight


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 Costs otherwise payable under this subparagraph 98.e. The State shall provide an

 account of the expenditure of such advance payment concurrently with its submission of

 its first bill pursuant to Paragraph 95(d)(v). Settling Defendant may contest the

 expenditure of such $100,000 within 120 days of receipt of such bill pursuant to the

 procedures in Paragraph 101, and the amount of any such expenditures found to be

 made inconsistent with the terms of this Consent Decree shall be applied as a credit

 towards subsequent bills for State Oversight Costs.

               f.     Massachusetts Trustee Oversight Costs. Settling Defendant shall

 pay to the State $516,666 for Massachusetts Trustee Oversight Costs which shall be

 paid in three installments as follows: (i) $166,667.00 within 30 days of entry of this

 Consent Decree; (ii) $166,666.00 within 1 year from the effective date of this Consent

 Decree; and (iii) $183,333.00 within 2 years from the effective date of this Consent

 Decree. Payment shall be by check and shall be forwarded to the State as provided in

Paragraph 94.d(iii) except that for purposes of this provision copies of the check shall

only be sent to:

              Thomas LaRosa
              Assistant General Counsel
              Executive Office of Environmental Affairs
              100 Cambridge Street, 20th Floor
              Boston, MA 02108

       99.    Settling Defendant shall pay U.S. Post-Removal/Groundwater Monitoring

Costs Incurred by EPA as follows. Settling Defendant shall pay 100% of such costs

Incurred in each twelve month period beginning on the date of the last Certification of

Completion issued for the non-groundwater/NAPL-related Removal Actions Outside the


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River or the date of the Certification of Completion for the Upper 1/2 Mile Reach Removal

Action, whichever is later, but in no event more than $250,000 of such costs for any such

twelve month period Payment shall be made to the GE-Pittsfield/Housatonic River

Special Account in accordance with the procedures in Paragraphs 95 a (U S Future

Response Costs) and 100

       100   The United States will send Settling Defendant on a periodic basis a bill

requiring payment of any amounts due to the United States under Paragraphs 95 through

99 for payment of U S Future Response Costs, U S Future Rest of River Capped

Response Costs, U S Future Additional Sampling Costs, U S Oversight Costs, U S

Rest of River Oversight Costs, and U S Post-Removal/Groundwater Monitoring Costs

The United States will use best efforts to send Settling Defendant a bill at least annually

Such bill shall list separately the amounts due for each category of costs identified in

Paragraphs 95 through 99, and for each such category, shall include the following,

provided that confidential business information protected by law shall be released only

subject to an appropriate confidentiality agreement or order to the extent allowed by law

             a For EPA extramural costs (e g contractor, state cooperative agreement,

and miscellaneous/purchase order costs), except for interagency agreement costs

                    (i)    an itemized cost summary report, listing, for each contractor

                           or other payee, the date and amount of each payment

                           (including any allocated amount), the date and number (if any)

                           of each invoice, voucher or comparable billing document, and




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                          the number of the work assignment or comparable task order

                          (if any) for which each payment was made; and

                  (ii)    a copy of the technical component(s) of each relevant work

                          assignment, technical directive document, technical instruction

                          document, or comparable task order to each contractor or

                          other payee, except that if such document has been provided

                          with a previous bill, reference to such document by number

                          shall be sufficient; and

                  (iii)   a copy of each relevant progress report or comparable

                          document received by EPA (if any) for the work billed that

                          describes the work performed or, if EPA has no such

                          documents, a description of the work performed,

            b For EPA extramural costs incurred pursuant to an interagency

 agreement with ACOE:

                  (i)     an itemized cost summary report, listing the date and amount

                          of each payment by EPA to ACOE; the date and number (if

                          any) of each invoice, voucher or comparable billing document;

                          and the number of the work assignment or comparable task

                          order issued to ACOE (if any) for which each payment was

                          made; and

                  (ii)    a copy of the technical component(s) of each relevant work

                          assignment, technical directive document, technical instruction


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                          document, or comparable task order issued by EPA to ACOE

                          or by ACOE to a contractor under direct contract to ACOE for

                          work performed pursuant to an interagency agreement

                          between EPA and ACOE, except that if such document has

                          been provided with a previous bill, reference to such

                          document by number shall be sufficient; and

                  (iii)   a copy of each relevant progress report or comparable

                          document prepared by ACOE (or by a contractor under direct

                          contract to ACOE for work performed pursuant to an

                          interagency agreement between EPA and ACOE) and

                          received by EPA (if any) for the work billed, that describes the

                          work performed, or if EPA and ACOE have no such

                          documents, a description of the work performed,

            c. For EPA extramural costs incurred pursuant to an interagency

agreement between EPA and any other United States agency except for ACOE and

DOJ

                  (i)     an itemized cost summary report, listing the date and amount

                          of each payment by EPA to the relevant agency; the date and

                          number (if any) of each invoice, voucher or comparable billing

                          document; and the number of the work assignment or

                          comparable task order issued to the relevant agency (if any)

                          for which each payment was made; and


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                      (ii)   work assignments, technical instruction documents, technical

                             directive documents, progress reports, or comparable

                             documents describing the work performed by the relevant

                             agency for which the costs were incurred, or if neither EPA

                             nor the relevant agency can locate such documents after

                             reasonable inquiry, a description of the work performed

              d. For EPA intramural costs (i.e. employee labor, employee travel, and

 indirect costs), cost summary reports, including:

                     (i)     an itemized listing of labor costs by employee, including for

                             each relevant pay period the number of hours charged and

                             the hourly rate; and

                     (ii)    a list of action codes included in labor charges for each cost

                             category, or a brief explanation of any other method used to

                             assign labor hours to each cost category, and

                     (iii)   a statement of the indirect cost rate(s) applied and an itemized

                             listing of indirect costs; and

                     (iv)    an itemized listing of travel costs including for each travel

                             voucher the amount, the name of the travelling employee, and

                             the travel voucher number.

              e. A summary listing direct labor, other direct costs, and indirect costs

Incurred by the Department of Justice (if any).




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              f. If applicable, a brief explanation of any allocation methodology used to

allocate costs Incurred in support of tasks included in more than one cost category. If the

United States incurs such costs (for example, costs of renting a field office that is used for

tasks included in more than one cost category), the United States may allocate such

costs among cost categories using any reasonable allocation method consistent with

general cost accounting standards.

              g. A statement that the costs included on the bill are compiled from the

EPA or DOJ accounting system and represent only costs incurred in connection with the

Site, for the appropriate cost category, that have not been previously billed (except for

any listing of an unpaid balance from a previous bill).

              h. No additional documentation, beyond that specified in subparagraphs a.

through g. above, shall be required to establish the amounts Incurred. Settling

Defendant shall make all payments within 60 days (or such longer period specified by

EPA in the bill) of Settling Defendant's receipt of each bill requiring payment, except as

otherwise provided in Paragraph 101. If the United States sends Settling Defendant a bill

that demands payment for costs (other than past due amounts from a previous bill) that

the United States Incurred over a period of time greater than twelve months, and Settling

Defendant, before the time in which payment must be made expires, requests an

extension of the time to pay, the United States shall not unreasonably refuse consent to a

reasonable extension of time.

      101.   Settling Defendant may contest payment of any costs under Paragraphs

95-99 (excluding Paragraph 98.c, d, and f) if Settling Defendant determines that the


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United States, the Trustees, or the State has made an accounting error or if Settling

Defendant alleges that a cost item that is included represents costs that are inconsistent

with the NCR or MCP, as applicable. Settling Defendant may not contest payment of 1 V

Mile Reach Removal Action Costs on the basis that a cost item that is included

represents costs that are inconsistent with the NCP. Settling Defendant may contest

payment of its share of 1 Vz Mile Reach Removal Action Costs as follows:

              a.   For response costs, Settling Defendant may contest payment of such

       costs if it determines that EPA has made an accounting error (including whether a

       cost item is not a 1 Vi Mile Reach Removal Action Cost).

              b.   For costs of Restoration Work in the 1 V* Mile Reach, as described in

       Paragraph 118.b, Settling Defendant may contest payment of such costs if it

       determines that EPA has made an accounting error (including whether a cost item

       is not a 1 V* Mile Reach Removal Action Cost) or if Settling Defendant alleges that

       a cost item is for work that goes beyond the scope (including both the nature and

       extent) of the Restoration Work described in Paragraph 118.b of this Consent

       Decree and any applicable Work Plans.

       Settling Defendant also may contest payment of costs on the basis that the

amount billed exceeds the amount to be paid by Settling Defendant pursuant to the

relevant provision of Paragraphs 95-99. Settling Defendant also may contest payment

on the basis that an amount billed was not allocated to the correct cost category under

Paragraphs 95-99; provided, however, that if the United States, the State, or the court

(as applicable) agrees that such a misallocation occurred, the cost may be re-billed


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pursuant to the correct provision of Paragraphs 95-99, if any. Settling Defendant also

may contest payment on the basis that an amount billed was not within the definition of

any cost category for which payment is required under Paragraphs 95-99. Any objection

to costs shall be made in writing no later than the date on which payment of the bill is

required under this Section XX and must be sent to the United States (if the United

States' costs are being disputed), the Trustee(s) (if the Trustee(s)' costs are being

disputed), or the State (if the State's costs are being disputed) pursuant to Section XXXII

(Notices and Submissions). Any such objection shall specifically identify the contested

costs and the basis for objection In the event of an objection, Settling Defendant shall,

within the time specified in Paragraphs 100 h, 95.b(iv), 95.c(iv), or 95.d(v) (as

applicable), pay all uncontested costs to the United States, the Trustees, or the State in

the manner described in Paragraphs 95-100 Settling Defendant shall send to the United

States, the Trustees, and Massachusetts (as applicable), as provided in Section XXXII

(Notices and Submissions), a copy of the transmittal letter and check paying the

uncontested costs. To contest payment of any costs, the Settling Defendant shall initiate

the Dispute Resolution procedures in Section XXIV (Dispute Resolution). If the United

States, the Trustees, or Massachusetts prevails in the dispute, within 15 days of the

resolution of the dispute, the Settling Defendant shall pay the sums due (with accrued

Interest) to the United States, the Trustees, or Massachusetts, in the manner described in

Paragraphs 95-100. If Settling Defendant prevails concerning any aspect of the

contested costs, Settling Defendant shall pay that portion of the costs (plus associated

accrued Interest) for which it did not prevail to the United States, the Trustees, or


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Massachusetts The dispute resolution procedures set forth in this Paragraph in

conjunction with the procedures set forth in Section XXIV (Dispute Resolution) shall be

the exclusive mechanisms for resolving disputes regarding Settling Defendant's

obligation to reimburse the United States, the Trustees, and Massachusetts for the costs

set forth in Paragraphs 95-99

       102    a For payments required to be made by Settling Defendant pursuant to

this Consent Decree, where Interest is not specified in the particular provision, no interest

from the date of lodging or entry of this Consent Decree shall accrue or be owing on the

amount specified

              b In the event that the payments required by Paragraph 94 (other than

94 d(n)) are not made within 30 days of the effective date of this Consent Decree, or the

payment required by Paragraph 94 d(n) (State Interim Costs) is not made within 60 days

of receipt of a bill or 30 days of the effective date of this Consent Decree (whichever is

later), or the payments required by Paragraphs 95-99 are not made within 60 days of

Settling Defendant's receipt of the bill (or such longer time as is provided for pursuant to

those Paragraphs), Settling Defendant shall pay Interest on the unpaid balance Such

Interest shall begin to accrue on the date of the bill The Interest shall accrue through the

date of Settling Defendant's payment Payments of Interest made under this Paragraph

shall be in addition to such other remedies or sanctions available to Plaintiffs by virtue of

Settling Defendant's failure to make timely payments under this Section      Settling

Defendant shall make all payments required by this Paragraph in the manner described

in Paragraph 95


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         103      Settling Defendant shall pay the following 1 V£ Mile Reach Removal Action

 Costs

                  a      For all such costs not exceeding $15 million, Settling Defendant shall

 pay 100 percent of such costs.

                  b.     For the increment of such costs greater than $15 million and not

 exceeding $25 million, Settling Defendant shall pay 70 percent of the costs greater than

 $15 million.

                  c.     For the increment of such costs greater than $25 million and not

 exceeding $32.5 million, Settling Defendant shall pay 60 percent of the costs greater than

 $25 million.

                  d.     For the increment of such costs greater than $32.5 million and not

 exceeding $40 million, Settling Defendant shall pay 50 percent of the costs greater than

 $32.5 million.

                  e      For the increment of such costs greater than $40 million and not

. exceeding $50 million, Settling Defendant shall pay 40 percent of the costs greater than

$40 million

                  f.    For the increment of such costs exceeding $50 million, Settling

Defendant shall pay 30 percent of the costs greater than $50 million.

         104.     EPA and Settling Defendant intend that Settling Defendant will pay its share

of the 1 Va Mile Reach Removal Action Costs through Settling Defendant's advance

payment, in accordance with Paragraphs 105 through 110 of this Consent Decree, from




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 which EPA will draw down upon Incurrence of costs, rather than relying on

 reimbursement from Settling Defendant after Incurrence of costs by EPA.

        105.   The United States shall establish a Special Account for the 1 Vz Mile Reach

 Removal Action ("the 1 Va Mile Special Account"). The amounts paid to the 1 Va Mile

 Special Account shall accrue Interest and shall be used by the United States in

 accordance with Section 122(b)(3) of CERCLA, 42 U.S.C. § 9622(b)(3), solely to pay for

 Settling Defendant's share of the 1 Va Mile Reach Removal Action Costs, except as

 otherwise provided by Paragraph 111 of this Consent Decree. Payments by Settling

 Defendant to the 1 V* Mile Special Account shall be made in accordance with the

 procedures in Paragraph 110

        106.   Settling Defendant shall pay its share of the 1 Va Mile Reach Removal

 Action Costs in accordance with the following procedures:

               a.     Within 90 days after entry of this Consent Decree, Settling Defendant

 shall deposit $1 million to the 1 Vz Mile Special Account. •

               b.     Settling Defendant shall deposit to the 1 Va Mile Special Account the

 balance of Settling Defendant's share of the estimated U.S. 1 Va Mile Reach Removal

 Action Costs. Settling Defendant shall deposit such monies in four payments, to be

 made on the first working days following January 1, 2001 (or 30 days after entry of this

 Consent Decree, whichever is later), January 1, 2002, January 1, 2003, and January 1,

 2004. The amount of each of the four payments shall be preliminarily calculated by

 Settling Defendant and submitted to EPA within 30 days of the issuance of the 1 Va Mile




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Reach Removal Action Memo. The amount of each payment shall be calculated as

follows:

                     (i) subtract $1 million from the estimated costs for the design and

       implementation of the 1 !4 Mile Reach Removal Action, as set forth in the 1 >2 Mile

       Reach Removal Action Memo;

                     (ii) multiply the remainder by 25% (.25);

                     (Hi) determine Settling Defendant's share of the product thereof in

       accordance with Paragraph 103 of this Consent Decree.

The amount of each of the four payments shall be adjusted by subtracting Settling

Defendant's share of 1 !4 Mile Reach Removal Action Costs incurred by Settling

Defendant, if any, as determined in accordance with Paragraph 107 and the interest that

has accrued in the 1 V* Mile Special Account since the date of Settling Defendant's

previous payment under Paragraph 106.a or b, as applicable.

              c.    Notwithstanding the foregoing payment provisions, if at any time

during implementation of the 1 Vz Mile Reach Removal Action EPA determines that the

amounts present in the 1 14 Mile Special Account are insufficient to fund Settling

Defendant's share, as set forth in Paragraph 103 of this Consent Decree, of the costs of

ongoing work relating to the segment of the 1 Vz Mile Reach Removal Action, or rf EPA

determines that additional funds are needed because EPA has decided to implement the

1 !4 Mile Reach Removal Action in fewer than four segments, EPA may notify Settling

Defendant of additional monies that EPA determines are necessary to fund Settling

Defendant's share of the anticipated shortfall. EPA shall include with such notification a


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description of the basis for requesting such monies. Settling Defendant shall, within 30

days of receipt by Settling Defendant of such notification, deposit to the 1 14 Mile Special

Account the amount set forth in such notification.

              d.     If, at any time during implementation of the 1 Vz Mile Reach Removal

Action, Settling Defendant determines that the costs to implement that Removal Action

will be less than the estimated costs set forth in the 1 V* Mile Reach Removal Action

Memo, Settling Defendant may submit a written request to the United States to reduce

Settling Defendant's next payment to the 1 Va Mile Special Account accordingly Settling

Defendant shall include with such request appropriate documentation of the basis for

requesting such reduction. The United States' approval of any such request shall not be

unreasonably withheld.

             e.     In the event that Settling Defendant invokes dispute resolution

pursuant to Section XXIV of this Consent Decree with respect to payments of 1 Vz Mile

Reach Removal Action Costs under this Paragraph 106, the invocation of dispute

resolution shall not extend, postpone or affect Settling Defendant's obligation to make the

payments described in this Paragraph; provided, however, that if Settling Defendant

prevails in such dispute resolution proceeding, Settling Defendant shall receive a credit

for the amount of the disputed payment as to which Settling Defendant prevailed. Such

credit shall be used and applied against Settling Defendant's next payment or payments

under this Paragraph, or, if no such payments remain, against Settling Defendant's

payments under Paragraphs 95.a, 98.a or 98.b of this Consent Decree for U.S. Future

Response Costs, U.S. Oversight Costs or U.S. Rest of River Oversight Costs.


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        107.   Settling Defendant's share, as set forth in Paragraph 103 of this Consent

 Decree, of any 1 V£ Mile Reach Removal Action Costs incurred by Settling Defendant

 shall be used and applied as a credit against Settling Defendant's next payment or

 payments to the 1 V* Mile Special Account under Paragraph 106 of this Consent Decree

 or, if no such payments remain, as a credit against Settling Defendant's obligations under

 Paragraphs 95.a, 98.a or 98.b of this Consent Decree for U.S. Future Response Costs,

 U.S. Oversight Costs or U.S. Rest of River Oversight Costs. Settling Defendant shall

. provide appropriate documentation to support Settling Defendant's claim that it is entitled

 to such a credit and the amount of such credit.

        108.   Prior to EPA's closeout of the interagency agreement with ACOE for the 1

 !4 Mile Reach Removal Action, EPA may draw down funds deposited in the 1 Vz Mile

 Special Account to fund Settling Defendant's share of the 1 V£ Mile Reach Removal

 Action Costs. Prior to such closeout, funds retained in the 1 Vz Mile Special Account shall

 not be used to pay for reimbursement of any other costs, including DOI Oversight Costs,

 NOAA Oversight Costs, Massachusetts Oversight Costs, costs associated with the

 EE/CA for the 1 14 Mile Reach, or preparation or issuance of the 1 V£ Mile Reach

Removal Action Memo, and attachments to that Action Memorandum.

       109.    a.   On a periodic basis, the United States will submit to Settling Defendant

information on the U.S. 1 Va Mile Reach Removal Action Costs. The United,States will

use its best efforts to submit such information no less often than every six months. Such

information shall include the documentation set forth in Paragraphs 100.a through 100.e

and shall also include a statement showing cumulative U.S. 1 V£ Mile Reach Removal


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Action Costs and identifying the increment(s) into which costs reflected on the statement

fall and Settling Defendant's corresponding percentage share of such costs. Additional

documentation shall not be required to establish the am&unts or recoverability of the

costs Incurred.

               b.        Upon request from Settling Defendant, EPA shall provide to Settling

Defendant statements showing deposits to and withdrawals from the 1 Va Mile Special

Account.

               c.        Within 90 days following EPA's closeout of the interagency

agreement with the ACOE for the 1 Vt Mile Reach Removal Action, EPA shall provide to

Settling Defendant a final accounting containing the information specified in Paragraph

109.a, and setting forth the amounts, if any, remaining in the 1 Yz Mile Special Account,

inclusive of Interest.

       110.   Settling Defendant shall make the payments required by Paragraph 106 of

this Consent Decree in the form of a wire transfer or check or checks made payable to

"EPA Hazardous Substance Superfund" and referencing the 1 % Mile Special Account,

EPA Region and Site/Spill ID #01-67, the DOJ case number 90-11-3-1479, and Settling

Defendant's name and address. For payment by wire transfer, Settling Defendant shall

provide payment in accordance with Paragraph 94.a of this Consent Decree. For

payment by check, Settling Defendant shall send the check(s) to EPA Region I, Attn:

Superfund Accounting, P.O. Box 360197M, Pittsburgh, PA 15251 and shall send copies

of the check(s) to the United States as specified in Section XXXII (Notices and




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Submissions) and Michael Manlogon, Financial Management Officer, EPA Region I, One

Congress Street, Suite 1100, Boston, MA 02114-2023.

       111.      To the extent that funds, including interest, remain in the 1 Va Mile Special

Account following EPA's closeout of the interagency agreement with the ACOE for the 1

Va Mile Reach Removal Action, such funds shall be used and applied as a credit against

Settling Defendant's obligations under Paragraphs 95.a, 98.a or 98.b of this Consent

Decree for U.S. Future Response Costs, U.S. Oversight Costs or U.S. Rest of River

Oversight Costs until the monies in the 1 Va Mile Special Account have been fully

depleted.

                           XXI. NATURAL RESOURCE DAMAGES

       112.     Satisfaction of the Plaintiffs' claims for Natural Resource Damages shall

consist of:

                a.   Performance of the response actions required under this Consent

Decree.

                b.   The payment of cash to the Trustees by Settling Defendant for Natural

Resource Damages as set forth in Paragraph 114 of this Section;

                c.   The performance of Restoration Work as set forth in Paragraph 118 of

this Section;

                d.   Other natural resource protection and restoration actions to be

undertaken by Settling Defendant as set forth in Paragraph 123 of this Section;

                e.   Performance by PEDA of the obligations set forth in Paragraph 124 of

this Section (for which Settling Defendant shall not be liable); and


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              f   The payment of DO! Past Assessment Costs, DOI Future Costs, DOl

Oversight Costs, NOAA Past Assessment Costs, NOAA Future Costs, NOAA Oversight

Costs, Massachusetts Trustee Future Response Costs, Massachusetts Trustee

Oversight Costs, and, to the extent they include costs Incurred or to be Incurred by the

Trustees, Massachusetts Past Response Costs, Connecticut Past Response Costs, and

Connecticut Future Costs, all in accordance with Section XX of this Consent Decree

       113    Notification of Lead Administrative Trustee ("LAT") Within 30 days of the

effective date of this Consent Decree, the Trustees will notify Settling Defendant, EPA,

MADEP and CTDEP of the designation of a Lead Administrative Trustee ("LAT') The

LAT will serve as the contact representative for the Trustees for all meetings and other

interactions with Settling Defendant, EPA, MADEP and CTDEP on all Trustee-related

matters under this Consent Decree, unless otherwise specified in this Consent Decree

The LAT will only serve as the contact representative of the Trustees and will not

exercise trusteeship authority on behalf of the Trustees

       114    Payment of Natural Resource Damages by Settling Defendant Within 30

days of the effective date of this Consent Decree, Settling Defendant shall make the

following payments

             a       $15,000,000 for Natural Resource Damages, plus Interest from the

date of lodging of this Consent Decree,

             b       $600,000 as mitigation for wetlands impacts associated with PCB

contamination and with response actions at the Site, plus Interest from the date of

lodging of this Consent Decree,


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              c      $60,000 as mitigation for additional habitat impacts associated with

PCB contamination and Removal Actions at the Site; and

              d     $75,000 for Restoration Work to be performed by the Trustees in

Silver Lake

      115     Settling Defendant shall pay to the Trustees the amounts set forth in

Paragraphs 114.a, b, c and d of this Consent Decree using the U.S Treasury's

Remittance Express program, or, in the event said program is not available to Settling

Defendant, then via Federal Wire Transfer Payment shall be made in accordance with

instructions provided by the Department of the Interior. Any payments received after 4 00

p m Eastern Time shall be credited on the next business day Settling Defendant's

notice that such payment has been made shall be sent to

                    Bruce Nesslage
                    DOI Restoration Fund
                    Mail Stop 4449
                    1849CSt NW
                    Washington, D C 20240

                    Executive Office of Environmental Affairs
                    Attn. Thomas LaRosa
                    100 Cambridge Street, Room 2000
                    Boston, Massachusetts 02202

                    Edward Parker
                    Bureau Chief, Bureau of Natural Resources
                    Department of Environmental Protection
                    79 Elm Street
                    Hartford, Connecticut 06103

                    Mark Barash
                  • Office of the Regional Solicitor
                    U.S. Department of the Interior
                    One Gateway Center, Suite 612
                    Newton Comer, MA 02158-2868

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                     DARP Program Attorney
                     GE-Pittsfield /Housatonic River Site
                     NOAA Office of General Counsel
                     Northeast Region
                     One Blackburn Drive
                     Gloucester, MA 01930-2298

                     Chief, Environmental Enforcement Section
                     U.S. Department of Justice
                     Environment and Natural Resources Division
                     P.O. Box 7611
                     Ben Franklin Station
                     Washington, D.C. 20044
                     DOJ# 90-11-3-1479Z

                    Office of Attorney General
                    Attn: Chief, Environmental Protection Division
                    200 Portland Street
                    Boston, Massachusetts 02114

                    John Looney
                    Office of Attorney General
                    55 Elm Street
                    Hartford, Connecticut 06103

and shall reference Account Number 14X5198 (NRDAR), and state that the payments

are for Natural Resource Damages for natural resources under the trusteeship of EOEA,

CTDEP, DOI and NOAA, with respect to the GE-Pittsfield/Housatonic River Site and are

being made by the General Electric Company.

       116.   The amounts set forth in Paragraphs 114.a, b, c and d of this Consent

Decree, together with all interest accrued thereon, shall be administered by the Trustees

and only be spent for restoration, including restoration planning, and other allowable

expenditures associated with the Site, consistent with the Natural Resource Damages

provisions of CERCLA, M.G.L. c. 21E and Conn. Gen. Stat. § 22a-6a. Any and all costs

Incurred or to be Incurred by the United States, the State, and/or Connecticut in

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determining how to spend the funds paid pursuant to Paragraph 114 shall not be

recoverable from Settling Defendant.

       117.   The trusteeships of EOEA, CTDEP, DOI and NOAA, for Natural Resources

affected by the GE-Pittsfield/Housatonic River Site overlap. Accordingly, all monies

recovered for Natural Resource Damages from Settling Defendant and PEDA shall be

held by DOI in an interest-bearing account on behalf of EOEA, CTDEP, DOI and NOAA.

All expenditures, disbursements or other dispositions of such monies together with all

interest accrued thereon shall be pursuant to the terms of a Memorandum of Agreement

to be entered into among EOEA, CTDEP, DOI and NOAA.

       118.   Restoration Work to be Performed or Funded by Settling Defendant.

Settling Defendant shall perform and complete or fund the Restoration Work generally

described below, in connection with and as part of the individual Removal Actions, in

order to restore, replace and/or enhance natural resources and in accordance with the

Removal Action Work Plan for the Upper 7z Mile Reach and Section 2.8 and Attachment I

of the SOW. Such Restoration Work shall achieve the Performance Standards for

Restoration Work set forth in the Upper 7* Mile Reach Removal Action Work Plan and in

Attachment I of the SOW.

              a.    As part of the Work to be performed for the Upper !4 Mile Reach

Removal Action, provided for in this Consent Decree, Settling Defendant shall perform

habitat enhancements, including the installation of certain in-stream structures to

increase variability in water flow and depth and enhance in-stream cover, and the




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 restoration and enhancement of vegetation on the banks of the river in the Upper Yz Mile

 Reach, in accordance with the Upper Va Mile Reach Removal Action Work Plan.

               b.     EPA intends, as part of the 1 !4 Mile Reach Removal Action, to

perform Restoration Work in the 1 !4 Mile Reach similar to that described in

subparagraph 118.a above, as well as the installation of other structures to create pools

and riffles (consistent with the Removal Action), and such work shall be funded in

accordance with the cost-sharing provisions for the 1 !4 Mile Reach Removal Action as

set forth in Paragraphs 103-111.

               c.     As part of the Silver Lake Area Removal Action, provided for in this

Consent Decree, Settling Defendant shall perform habitat and recreational

enhancements, including physical enhancement of the submerged shallow shelf in the

lake adjacent to the shoreline, capping and vegetating an "island" located near the

discharge outfall to the lake, planting of trees and other vegetation on the northern and

eastern banks of the lake, planting of herbaceous vegetation on the remaining banks of

the lake (as part of response activities at those banks), and installation of public access

and use areas consisting of walking paths and picnic areas on the northern and eastern

sides of the lake, all in accordance with Attachment I of the SOW. Settling Defendant

shall also pay $75,000 to the Trustees in accordance with Paragraph 114.d for the

Trustees to perform aquatic habitat and fish restoration in Silver Lake, and shall have no

further obligation relating to those aquatic habitat and fish restoration activities.




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              d      As part of the pertinent Removal Actions at the GE Plant Area and

Former Oxbow Areas, Settling Defendant shall perform the following Restoration Work at

property owned by Settling Defendant

                     (i) As part of the Unkamet Brook Area Removal Action, Settling

Defendant shall reroute the brook to its approximate former channel, plant vegetation

along the western banks and disturbed eastern banks of the rerouted channel, remove

the existing stand of phragmites located in an approximate 2-acre wetland area east of

Unkamet Brook, plant herbaceous vegetation on the surface of the landfill/consolidation

area cap to be installed over the unpaved portion of the former Unkamet Brook interior

landfill and control nuisance species in the Unkamet Brook Removal Action area, all in

accordance with Attachment I of the SOW

                     (n) In the 200-foot-wide riparian strip located in East Street Area 2­

South between the former Thermal Oxidizer location and the downstream boundary of

the GE Plant Area (as depicted on Figure 1-1 of Attachment I of the SOW), to enhance

stormwater retention capacity and habitat quality, Settling Defendant shall create a

vegetated buffer through the planting of an herbaceous native grassland community and

installation of other habitat enhancements in accordance with Attachment I of the SOW

                    (lii) At the former Hill 78 Consolidation Area (after completion of use

for on-plant consolidation of excavated material), Settling Defendant shall plant an

herbaceous native grassland community and install other habitat enhancements in

accordance with Attachment I of the SOW




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                     (iv) At the Newell Street and Lyman Street parking lots, Settling

 Defendant shall plant an herbaceous native grassland community and install other habitat

enhancements in accordance with Attachment I of the SOW.

              e.     To encourage increased wildlife use, Settling Defendant shall install

and monitor a total of 12 acres, or the equivalent of 12 acres, of forested/wetland habitat,

consisting of approximately 9.75 acres of floodplam forest habitat and approximately 2.25

acres of freshwater palustrine wetlands, at either:   (1) an off-site non-contaminated

riparian area within the Housatonic River watershed outside the Site ("Off-Site

Restoration Area") designated by the Trustees and mutually agreed upon with Settling

Defendant, or (2) a combination of the Off-Site Restoration Area and Former Oxbows A

and C, in accordance with Attachment I of the SOW and the following provisions

                    (i) Settling Defendant shall notify the LAT within 24 months from the

entry of this Consent Decree whether it intends to use Former Oxbows A and C for the

installation of forested/wetland habitat. If Settling Defendant decides to use Former

Oxbows A and C for this purpose, Settling Defendant shall install a minimum of six acres

of forested/wetland habitat at Former Oxbows A and C. Settling Defendant shall install

the forested/wetland habitat in areas of Former Oxbows A and C that have average PCB

concentrations at or below 10 ppm in the top foot and 15 ppm in the top three feet and

where an Engineered Barrier will not be installed. Settling Defendant shall obtain an

appropriate CER for such area in accordance with Paragraph 58 of this Consent Decree.

If Settling Defendant elects to use Former Oxbows A and C for this purpose and can

satisfy the above conditions and all of the requirements and Performance Standards set


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forth in Attachment I of the SOW, then Settling Defendant shall install the remainder of

the required 12 acres, or the equivalent of the remainder of the required 12 acres, of

forested/wetland habitat at the Off-Site Restoration Area.             ~ ~

                     (ii) If, within 24 months of entry of this Consent Decree, Settling

Defendant notifies the LAT that it does not intend to use Former Oxbows A and C for the

installation of forested/wetland habitat or is unable to demonstrate to the Trustees, prior

to the installation of forested/wetland habitat, that the conditions in subparagraph (i)

above and the requirements and Performance Standards set forth in Attachment I of the

SOW will be satisfied at Former Oxbows A and C, then Settling Defendant shall install

the entire 12 acres, or the equivalent of 12 acres, of forested/wetland habitat at the Off-

Site Restoration Area

                     (iii) The location of the Off-Site Restoration Area shall be designated

by the Trustees, subject to mutual agreement with Settling Defendant on the area

selected The Off-Site Restoration Area will consist of a non-contaminated riparian area

outside of the Site. Settling Defendant shall not incur any costs or have any

responsibility for obtaining access agreements for, or securing any kind of property

interest in, the Off-Site Restoration Area, including, but not limited to, ownership,

easements or restrictions Settling Defendant's sole obligations with respect to the Off-

Site Restoration Area shall be to install and monitor (for a period not to exceed 5 years)

the forested habitat/wetland in accordance with the requirements and Performance

Standards set forth in Attachment I of the SOW after consultation with the Trustees

Based on consultation with, and approval from, the Trustees, the planting densities and


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 other specific requirements and Performance Standards set forth in Attachment I of the

 SOW for the Off-Site Restoration Area may be modified to accommodate any unique

 features presented by that area, provided, however, that Settling Defendant's obligations

 to install and monitor the forested/ wetland habitat for the Off-Site Restoration Area shall

 not exceed the equivalent of 12 acres (if Former Oxbows A and C are not used) or the

 number of acres not installed at Former Oxbows A and C (if Former Oxbows A and C are

 used)

                      (iv) If Settling Defendant does not use Former Oxbows A and C for

 the installation of forested/wetland habitat, Settling Defendant shall pay to the Trustees

 the sum of $60,000 (in addition to the payments specified in Paragraph 114) for habitat

 and wetlands impacts associated with PCB contamination and with Removal Actions at

 the Site This payment shall be made using the same procedures described in

 Paragraph 115

                f     Settling Defendant acknowledges that the Restoration Work in this

 Paragraph may be in addition to work that otherwise might be required to implement the

 Removal Actions, provided, however, that nothing in this Paragraph 118 shall be

 construed to require, or to allow the Trustees to require, Settling Defendant to perform

 additional restoration activities beyond those generally described in this Paragraph 118

 and in Paragraph 123 of this Consent Decree and as specified in the Upper V4 Mile

 Reach Removal Action Work Plan and in the SOW

         119.   Work Plans for Restoration Work Components For the Restoration Work

 component generally described in Paragraph 118 a, Settling Defendant shall perform


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such component in accordance with the design details set forth in the Upper V£ Mile

Reach Removal Action Work Plan (Appendix F to this Consent Decree), as approved by

EPA"aho'!he"Trustee~s. Tor each of the Restoration Work components generally

described in Paragraphs 118.c through 118.e and in Attachment I of the SOW, Settling

Defendant shall include specific plans for design and implementation of such component

as part of its Removal Design/Removal Action ("RD/RA") Work Plan for the individual

Removal Action for the area in which such Restoration Work component will be

conducted and, for the Off-Site Restoration Area, in a separate Restoration

Design/Restoration Action Work Plan. In addition, Settling Defendant shall develop and

include in each such RD/RA Work Plan a detailed Restoration Project Monitoring and

Maintenance Plan for the pertinent Restoration Work component, which shall be

designed to achieve the monitoring and maintenance Performance Standards set forth in

Attachment I of the SOW. The portions of the RD/RA Work Plans relating to the

Restoration Work shall, in addition to the review and approval by EPA, after reasonable

opportunity for review and comment by the State, pursuant to Section XV, also be subject

to the review and approval of the Trustees, in accordance with Paragraph 79.

       120.   Certification of Completion of Installation of Restoration Work. Upon

completion of installation of each Restoration Work component generally described in

Paragraph 118.a, c, d, and e, including the achievement of applicable Performance

Standards for installation of such component as set forth in the Removal Action Work

Plan for the Upper Va Mile Reach or in Attachment I of the SOW (as applicable), Settling

Defendant shall submit to the LAT four copies of a Completion of Installation of


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Restoration Work Report Such report shall describe the activities undertaken by Settling

Defendant and how the applicable Performance Standards for the installation of the

Restoration Work component have been achieved After submittal of the Completion of

Installation of Restoration Work Report to the LAT, Settling Defendant shall schedule and

conduct an installation inspection and meeting to be attended by Settling Defendant, EPA

and the Trustees Within 30 days of completion of the installation inspection, the

Trustees, through the LAT, will notify Settling Defendant in writing as to whether the

Restoration Work component has been installed in accordance with this Consent Decree

and whether the applicable Performance Standards for the installation of the Restoration

Work component have been achieved The monitoring and maintenance portions of a

Restoration Work component will not be required to be completed before the Trustees

may issue such a notification or before EPA issues a Certification of Completion of the

particular Removal Action for the area where such Restoration Work component was

installed If the Trustees determine that installation of the Restoration Work component

has not been completed in accordance with this Consent Decree or that the applicable

Performance Standards for the installation of the Restoration Work component have not

been achieved, the LAT will notify Settling Defendant in writing of the activities that must

be undertaken to complete the installation of the Restoration Work component, provided,

however, that the Trustees may not modify the applicable Performance Standards

(except as provided in Paragraph 217 (Modification) of this Consent Decree) Settling

Defendant shall perform all activities described in the notice subject to its right to invoke

the dispute resolution procedures set forth in Section XXIV Settling Defendant shall


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submit the Certification of Installation of Restoration Work and conduct the installation

inspection and meeting with the Trustees no less than 30 days prior to seeking

Certification of Completion of the individual Removal Action from EPA. Once the

Trustees have determined that a Restoration Work component has been installed in

accordance with this Consent Decree and that the applicable Performance Standards for

installation of such component have been achieved, the Trustees will so notify Settling

Defendant and EPA. Settling Defendant may contest the Trustees' failure to respond to

a request by Settling Defendant for such notification, pursuant to Section XXIV (Dispute

Resolution) of this Consent Decree.

       121    Certification of Completion for Restoration Work. Upon completion of each

Restoration Work component generally described in Paragraph 118.a, c, d and e and the

achievement of-all of the Performance Standards, including those for monitoring and

maintenance, as set forth in the Removal Action Work Plan for the Upper 1/2 Mile Reach

or in Attachment I of the SOW (as applicable), Settling Defendant shall submit to the LAT

four copies of a Completion of Restoration Work Report. Such report shall describe the

activities undertaken by Settling Defendant and how all of the Performance Standards for

the Restoration Work component have been achieved. After submittal of the Completion

of Restoration Work Report to the LAT, Settling Defendant shall schedule and conduct a

pre-certification inspection and meeting to be attended by Settling Defendant, EPA and

the Trustees. Within 30 days of completion of the pre-certification inspection, the

Trustees, through the LAT, will notify the Settling Defendant in writing as to whether the

Restoration Work project has been completed in accordance with this Decree and


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whether all of the Performance Standards for the Restoration Work component, including

those for monitoring and maintenance, have been achieved. If the Trustees determine

that the Restoration Work component has not been completed in accordance with this

Consent Decree or that ail of the Performance Standards for the Restoration Work

component have not been achieved, the LAT will notify the Settling Defendant in writing

of the activities that must be undertaken to complete the Restoration Work component;

provided, however, that the Trustees may not modify the applicable Performance

Standards (except as provided in Paragraph 217 (Modification) of this Consent Decree).

Settling Defendant shall perform all activities described in the notice subject to its right to

invoke the dispute resolution procedures set forth in Section XXIV. Once the Trustees

have determined that a Restoration Work component has been completed in accordance

with this Consent Decree and that the Performance Standards for such component,

including those relating to monitoring and maintenance, have been achieved, the

Trustees will so notify Settling Defendant and EPA. Settling Defendant may contest the

Trustees' failure to respond to a request by Settling Defendant for such notification,

pursuant to Section XXIV (Dispute Resolution) of this Consent Decree.

       122.   Non-interference With Restoration Work at Settling Defendant Property.

This Paragraph applies to the following areas of Settling Defendant Property where

Restoration Work is to be performed by Settling Defendant ("Settling Defendant

Restoration Areas"): (1) the portions of the riverbanks in the Upper Yz Mile Reach owned

by Settling Defendant where Restoration Work shall be performed pursuant to Paragraph

118.a; (2) the banks of the rerouted Unkamet Brook and the surface of the unpaved


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portion of the former Unkamet Brook landfill, where Restoration Work shall be performed

pursuant to Paragraph 118 d(i), and (3) the 200-foot-wide riparian strip in East Street

Area 2-South (between the former Thermal Oxidizer location and the downstream

boundary of the GE Plant Area), the Newell Street and Lyman Street parking lots, and

the surface of the Hill 78 Consolidation Area, where Restoration Work shall be performed

pursuant to Paragraphs 118 d(n)-(iv) Upon completion of installation of the Restoration

Work at each of these areas, Settling Defendant shall prepare and submit to the LAT,

with the Completion of Installation of Restoration Work Report under Paragraph 120, for

the Trustees' approval, maps showing the final delineation of the Settling Defendant

Restoration Areas subject to this Paragraph The Trustees' approval of the final

delineation of the Settling Defendant Restoration Areas subject to this Paragraph shall be

in conjunction with and pursuant to the same procedures for the Trustees' Certification of

Completion of Installation of Restoration Work under Paragraph 120

              a      Subject to the exceptions set forth in Paragraph 122 b below,

commencing upon receipt from the Trustees of (1) Certification of Completion of

Installation of Restoration Work under Paragraph 120, and (2) approval of the final

delineation of the Settling Defendant Restoration Areas subject to this Paragraph for

each area, Settling Defendant shall not take, and shall not allow its employees, agents,

representatives, contractors, or lessees to take, any of the following actions within such

Settling Defendant Restoration Areas




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                       (i) Construction or placement within such Restoration Areas of any

 structure, pavement, or other types of materials or items that would materially impact the

 habitat created by the Restoration Work;

                       (ii) Removal or destruction of any vegetation installed within such

 Restoration Areas; or

                       (iii) Any other activity within, or use of, such Restoration Areas that

 would materially impair or have material adverse impacts on the habitat created by the

 Restoration Work in such Restoration Areas.

               b.     The restrictions and prohibitions set forth in Paragraph 122.a

 (above) shall not apply to prohibit or restrict the following:

                      (i) Any response actions undertaken by Settling Defendant, EPA,

 MADEP or their employees, agents, representatives, or contractors pursuant to this

 Consent Decree;

                      (ii) Any monitoring and maintenance activities undertaken by Settling

 Defendant or its employees, agents, representatives, or contractors as part of the

Restoration Work component pursuant to this Consent Decree;

                      (iii) The destruction, removal, or cutting of vegetation as part of

maintenance of such vegetation, or as necessary to implement disease prevention

measures, to eliminate a threat to public safety, or to remove invasive nuisance species;

                      (iv) Activities necessary to respond to an emergency at or near the

Settling Defendant Restoration Area, such as fire, flood, or other situation that poses a

danger to public health, welfare or the environment;


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                      (v) Actions, activities or work permitted or approved by the Trustees;

and/or

                      (vi) Any other activities or uses not otherwise prohibited by

Paragraph 122.a.

                c.    Settling Defendant shall not sell, transfer, mortgage, assign or

otherwise dispose of any Settling Defendant Restoration Area unless, prior to such sale,

transfer, mortgage, assignment or other property disposition, Settling Defendant: (i)

obtains an agreement from such purchaser, mortgagee, transferee, assignee, or other

property interest transferee to impose upon such Restoration Area a legally enforceable

Conservation Easement and Restriction that embodies the same restrictions set forth in

this Paragraph and that will run with the land; and (ii) notifies the LAT of the proposed

conveyance and the terms of the Conservation Easement and Restriction at least 60

days prior to the proposed conveyance.

                d.    Nothing in this Paragraph 122 shall be deemed to affect the actions

of Settling Defendant outside the Settling Defendant Restoration Areas or to authorize

the imposition of any restrictions on Settling Defendant's activities at or use of its property

outside such Restoration Areas.

         123.   Other Natural Resource Protection and Restoration Actions.

                a.    Dam Integrity Studies. Within 60 days after entry of this Consent

Decree, Settling Defendant shall conduct an assessment of the integrity of Woods Pond

Dam and Rising Pond Dam. The assessment shall identify and evaluate conditions and

circumstances affecting dam integrity including those that could lead to catastrophic


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failure of the dams and/or substantial release of PCBs. Following such assessment, but

no later than 90 days after entry of this Decree (unless an extension is approved by the

Trustees, after reasonable opportunity for review and comment by EPA and MADEP),

Settling Defendant shall submit a report on the assessment to the LAT, EPA and

MADEP. Settling Defendant shall discuss with the Trustees, EPA and MADEP the need

for and type of appropriate interim measures, if any, necessary to ensure dam integrity so

as to prevent catastrophic failure and/or substantial release of PCBs at or from Woods

Pond Dam and/or Rising Pond Dam. To the extent that the Trustees, EPA and MADEP

believe that measures other than Settling Defendant's existing dam inspection and

maintenance program and other measures (if any) proposed by Settling Defendant in its

report are necessary to ensure dam integrity so as to prevent catastrophic failure and/or

substantial release of PCBs at these dams, they will provide the technical information

underlying their position to Settling Defendant for discussion. If, based on these

discussions, Settling Defendant, the Trustees, EPA and MADEP agree on the need for

and type of such interim measures, Settling Defendant shall undertake the agreed-upon

interim measures in accordance with good engineering principles. If Settling Defendant,

the Trustees, EPA and MADEP do not agree on the need for or type of interim

measures, the Trustees, after consultation with EPA and MADEP, shall provide to

Settling Defendant a written determination as to the measures that the Trustees, EPA

and MADEP deem necessary to ensure dam integrity so as to prevent catastrophic

failure and/or substantial release of PCBs at these dams. Within 21 days of receipt of

that determination, Settling Defendant may initiate dispute resolution by serving on the


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LAT, EPA and MADEP a written Statement of Position consistent with Paragraph 135

(Dispute Resolution). If it does not do so, Settling Defendant shall undertake the interim

measures determined to be necessary by the Trustee, EPA and MADEP. If Settling

Defendant invokes dispute resolution, such dispute resolution proceeding shall proceed

initially pursuant to Paragraphs 137 and 142 of this Consent Decree, with an

administrative decision by the Trustee Secretaries. If, after receipt of the Trustee

Secretaries' decision, Settling Defendant wishes to pursue judicial resolution of the

dispute, it shall file with the Court, within 21 days of receipt of the Trustee Secretaries'

decision, a motion for judicial review of that decision in accordance with Paragraph 137 of

this Consent Decree. Such proceeding shall be conducted in accordance with Paragraph

137 of this Consent Decree, under which judicial review is not limited to the

administrative record. In that proceeding, any party to the dispute may request an

evidentiary hearing before the Court. Upon the conclusion of the dispute resolution

process, Settling Defendant shall undertake all interim measures determined pursuant to

such process to be necessary to ensure dam integrity so as to prevent catastrophic

failure and/or substantial release of PCBs at Woods Pond Dam and/or Rising Pond Dam

      The requirements of this Paragraph are in addition to any other investigations and

response actions that may be required by EPA pursuant to the final modification of the

Reissued RCRA Permit or the Rest of River Remedial Action. Subject to Paragraph

166.h (Massachusetts Covenants) of this Consent Decree, nothing in this provision or

Consent Decree shall be deemed to limit any obligations or responsibilities for Woods




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 Pond Dam that Settling Defendant may have under current law, as amended as the

 owner of Woods Pond Dam

               b      Conservation Easement Settling Defendant shall, in accordance

 with the procedures and schedule set forth in Paragraph 55 of Section XIII (Access and

 Institutional Controls), execute and record in the Registry of Deeds of Berkshire County a

 CER, in substantially the form set forth in Appendix N, on 10 acres of wetlands located in

 the GE Plant Area to the east of the Unkamet Brook landfill, as depicted on a figure

attached as Appendix A-5 to this Consent Decree

               c    Greenwav/Walkwav Projects Settling Defendant agrees to discuss

with the Trustees, EPA, and the City at a later time potential greenway/walkway projects

in the vicinity of the river at or near the GE Plant Area, provided, however, that Settling

Defendant shall not be subject to any stipulated penalties, liquidated damages, or other

enforcement actions relating to any activities under this subparagraph 123 c

       124    PEDA Obligations PEDA shall pay to the Trustees a total of $4,000,000 00

consisting of in-kind services and/or a percentage of Net Revenues PEDA intends to

use good faith efforts to satisfy this obligation as soon as feasible

              a In-Kind Services The Trustees may accept in-kind services of any type

that may be offered by or through PEDA, by the City of Pittsfield or by other entities,

including those who may be involved in the redevelopment at the GE Plant Area PEDA

shall make good faith efforts to actively assist and support the Trustees in securing in-

kind services from the City of Pittsfield and other appropriate entities   Such in-kind

services may include, but are not limited to, building space for use by the Trustees (for


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restoration, coordination, administration and public information) and habitat

enhancements at the portions of the GE Plant Area to be re-developed under the

Definitive Economic Development Agreement The Trustees may credit the value of

such additional in-kind services toward PEDA's $4,000,000 NRD obligation to the

Trustees The amount of the credit for any in-kind services shall be based on

documented reasonable costs (or as appropriate, the fair market value of building space

or other in-kind services) incurred by PEDA for providing in-kind services accepted by the

Trustees or pursuant to another appropriate method acceptable to the Trustees

              b Annual Net Revenues

              (i)    For purposes of this Paragraph 124, "Net Revenues" means all

amounts received by PEDA in the form of rent, sales of property, grants or

appropriations, or from any other sources, less the costs of operating and maintaining

PEDA, its properties, paying debt service and other such expenditures necessary in

PEDA's reasonable discretion for PEDA to successfully accomplish its objectives

              (ii)   PEDA shall pay to the Trustees on an annual basis the first $500,000

plus fifty percent (50%) of any amounts in excess of $500,000 of any Net Revenues

received by PEDA PEDA shall make such payments to the Trustees through DO I in

accordance with the procedures set out in Paragraph 115. PEDA shall indicate that

such payment is in partial satisfaction of its obligations to the Trustees under this

Paragraph 124 PEDA shall send notice of such payments to the LAT and the Trustees

as provided in Paragraph 115 PEDA shall continue to make annual payments until the




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 amount of such payments plus the value of credit given to PEDA by the Trustees for in-

 kind services provided by PEDA under Paragraph 124 a above equals $4,000,000

              (in)   After five (5J years from the effective date of the Definitive Economic

Development Agreement, PEDA and the Trustees agree to discuss the feasibility of

PEDA making annual fixed payments or other types of mutually acceptable payments to

the Trustees toward PEDA's $4,000,000 obligation If PEDA and the Trustees determine

that annual fixed or other types of payments are feasible at such time, PEDA shall make

the agreed upon payments until the amount of such payments plus the value of credit

given to PEDA by the Trustees for in-kind services under Paragraph 124 a above plus

the amount of annual payments made by PEDA to the Trustees under Paragraph

124 b(n) above equals $4,000,000

             (iv)    PEDA shall provide to the LAT on an annual basis a report ("annual

report") documenting all amounts received by PEDA in the form of rents, sales of

property, grants or appropriations, or from any other sources The annual report shall

also include a reasonably detailed accounting of the costs of operating and maintaining

PEDA, its properties, paying debt service and other such expenditures The annual report

shall specify and explain PEDA's calculation of Net Revenues accrued during the annual

reporting period For any costs or expenditures identified by the Trustees, PEDA shall,

within 14 days of such request, provide responsive records (subject to appropriate

confidentiality standards and procedures) and a brief written explanation as to the basis

for deciding that each such cost or expenditure was necessary in PEDA's reasonable

discretion for PEDA to successfully accomplish its objectives Within six weeks of


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providing the LAT with each annual report PEDA shall meet with the Trustees to discuss

and answer questions on the annual report PEDA shall make available to the Trustees

personnel who have detailed knowledge and understanding of the details in the annual

report and the documentation supporting its calculations of Net Revenues

                       XXII. INDEMNIFICATION AND INSURANCE

       125.   Indemnification.

               a.   The United States, Connecticut and the State do not assume any

liability by entering into this agreement or by virtue of any designation of Settling

Defendant as EPA's authorized representatives under Section 104(e) of CERCLA

Settling Defendant shall indemnify, save and hold harmless the United States,

Connecticut and the State, and their officials, agents, employees, contractors,

subcontractors, or representatives, for or from any and all claims or causes of action

arising from, or on account of, negligent or other tortious acts or omissions of Settling

Defendant, its officers, directors, employees, agents, contractors and subcontractors, and

any persons acting on its behalf or under its control, in performing the Work pursuant to

this Consent Decree, including, but not limited to, any claims arising from any designation

of Settling Defendant as EPA's authorized representative under Section 104(e) of

CERCLA. In addition, Settling Defendant shall indemnify and hold harmless the United

States, Connecticut and the State with respect to any and all claims for damages or

reimbursement arising from, or on account of, any contract, agreement, or arrangement

between Settling Defendant and any person for performance of Work on or relating to the

Site, including, but not limited to, claims on account of construction delays. Further,


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 subject to the dispute resolution provisions of this Paragraph, Settling Defendant agrees

 to pay the United States, Connecticut and the State all costs they incur, including but not

 limited to, attorneys fees and other expenses of litigation and settlement, arising from or

on account of (1) claims made against the United States, Connecticut or the State based

on negligent or other tortious acts or omissions of Settling Defendant, its officers,

directors, employees, agents, contractors and subcontractors, and any persons acting on

its behalf or under its control, in performing the Work pursuant to this Consent Decree, or

(2) claims made against the United States, Connecticut or the State for damages or

reimbursement arising from or on account of any contract, agreement, or arrangement

between Settling Defendant and any person for performance of Work on or relating to the

Site, including, but not limited to, claims on account of construction delays Such costs

shall be paid in accordance with the payment procedures in Paragraphs 94.a, 94 d(iii) or

94 e, as applicable, within the time periods specified in Paragraph 100.h of this Consent

Decree The United States, Connecticut and the State shall not be held out as a party to

any contract, agreement or arrangement entered into by or on behalf of Settling

Defendant in carrying out activities pursuant to this Consent Decree Neither Settling

Defendant nor any such contractor shall be considered an employee or agent of the

United States, Connecticut or the State

              b   The United States, Connecticut and the State shall give Settling

Defendant timely notice of receipt of any claim for which the United States, Connecticut

or the State plan to seek indemnification pursuant to this Paragraph. Settling Defendant

will notify the United States, Connecticut and the State of any insurers who may be


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responsible for the defense or indemnification of the United States, Connecticut the

State or Settling Defendant. The United States, Connecticut and the State agree to

consult and cooperate with Settling Defendant and any applicable insurers in both the

defense and settlement negotiations of any such claim, provided, however, that the

United States, Connecticut, and the State each shall control the conduct of its own

defense. The United States, Connecticut, and/or the State shall notify and seek the

consent of Settling Defendant and any insurers who have sought to associate in the

defense of the claim, at least 30 days prior to entering into a settlement of such claim,

which consent shall not be unreasonably withheld. In the event Settling Defendant or

any such insurer withholds its consent and the United States, Connecticut and/or the

State still intends to settle any such claim, such party shall notify Settling Defendant and

such insurer of its intent and the reasons therefor at least 15 days prior to entering into

any such settlement. Settling Defendant may thereafter initiate dispute resolution

pursuant to this Paragraph by filing with the Court a petition within 15 days of such notice

Within 30 days of the petition, Settling Defendant shall file a brief and any supporting

documents setting forth the reasons why such settlement should not be entered into

Within 30 days thereafter, the United States, Connecticut and/or the State may file

responsive briefs and any supporting documents. After briefs have been filed, the Court

may, if appropriate, hold an oral argument or an evidentiary hearing if there are disputed

issues of material fact. The Court shall determine if the proposed settlement is

reasonable, not collusive, and entered into in good faith. Settling Defendant shall not be

required to pay the portion of any of the United States', Connecticut's or the State's


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 expenses, litigation costs or settlement payment which the Court determines is

 unreasonable, collusive, or entered into in bad faith. For purposes of this dispute

 resolution process the decision of this Court shall be binding on each of the parties

without right of appeal. This Paragraph shall provide the exclusive mechanism for

Settling Defendant and its insurers to challenge any such settlement.

               c.     Notwithstanding the above subparagraph, Settling Defendant retains

the right to settle any such claim at any time on any basis acceptable to it, so long as

such settlement imposes no liability on the United States, Connecticut or the State, does

not commit the United States, Connecticut or the State to any legal position, or, except

for ministerial actions necessary to effectuate any such settlement, imposes no other

obligations on the United States, Connecticut and/or the State.

       126.   Settling Defendant waives all claims against the United States, Connecticut,

and the State for damages or reimbursement or for set-off of any payments made or to

be made to the United States, Connecticut, or the State, arising from or on account of

any contract, agreement, or arrangement between Settling Defendant and any person for

performance of Work, including, but not limited to, claims on account of construction

delays except as otherwise reserved in this Consent Decree.

       127.   No later than 15 days before commencing any on-site Work, Settling

Defendant shall secure, and shall maintain until the first anniversary of EPA's Certification

of Completion of the Work for the Site pursuant to Paragraph 89.b of Section XVIII

(Certification of Completion), comprehensive general liability insurance with limits of $10

million dollars, combined single limit, and automobile liability insurance with limits of $5


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million dollars, combined single limit, naming the United States, Connecticut and the

State as additional insureds. In addition, for the duration of this Consent Decree, Settling

Defendant shall satisfy, or shall ensure that their contractors or subcontractors satisfy, all

applicable laws and regulations regarding the provision of worker's compensation

insurance for all persons performing the Work on behalf of Settling Defendant in

furtherance of this Consent Decree. Prior to commencement of the Work under this

Consent Decree, Settling Defendant shall provide to EPA and the State certificates of

such insurance and a copy of each insurance policy. Settling Defendant shall resubmit

such certificates and copies of policies each year on the anniversary of the effective date

of this Consent Decree. If Settling Defendant demonstrates by evidence satisfactory to

EPA and the State that any contractor or subcontractor maintains insurance equivalent to

that described above, or insurance covering the same risks but in a lesser amount, then,

with respect to that contractor or subcontractor, Settling Defendant need provide only that

portion of the insurance described above which is not maintained by the contractor or

subcontractor.

                                  XXIII. FORCE MAJEURE

       128.   "Force majeure," for purposes of this Consent Decree, is defined as any

event arising from causes beyond the control of Settling Defendant, of any entity

controlled by Settling Defendant, or of Settling Defendant's contractors, that delays or

prevents the performance of any obligation under this Consent Decree despite Settling

Defendant's best efforts to fulfill the obligation. The requirement that Settling Defendant

exercise "best efforts to fulfill the obligation" includes using best efforts to anticipate any


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 potential force majeure event and best efforts to address the effects of any potential force

majeure event (1) as it is occurring and (2) following the potential force majeure event

such that the delay is minimized to the greatest extent possible "Force Majeure" does

not include financial inability to complete the Work or a failure to attain the Performance

Standards.

       129    If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, whether or not caused by a force majeure event,

Settling Defendant shall orally notify EPA's Project Coordinator or, in his or her absence,

EPA's Alternate Project Coordinator or, in the event both of EPA's designated

representatives are unavailable, the Director of the Office of Site Remediation and

Restoration, EPA Region I, within 2 Working Days of when Settling Defendant first knew

or if applicable, within 5 Working Days of when Settling Defendant's contractors first

knew that the event might cause a delay. Settling Defendant shall also orally notify the

State Project Coordinator within the same timeframe as EPA. Within 10 days thereafter,

Settling Defendant shall provide in writing to EPA and the State an explanation and

description of the reasons for the delay; the anticipated duration of the delay, all actions

taken or to be taken to prevent or minimize the delay, a schedule for implementation of

any measures to be taken to prevent or mitigate the delay or the effect of the delay,

Settling Defendant's rationale for attributing such delay to a force majeure event if it

intends to assert such a claim; and a statement as to whether, in the opinion of Settling

Defendant, such event may cause or contribute to an endangerment to public health,

welfare or the environment. To the extent the delay might affect Settling Defendant's


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obligations relating to Restoration Work, Settling Defendant shall also provide the written

notice to the Trustees To the extent the delay might affect Settling Defendant's

obligations relating to the GE Plant Area Removal Actions or the Allendale School

Removal Action, Settling Defendant shall also provide written notice to the City and/or

PEDA, as appropriate. Settling Defendant shall include with any notice all available

documentation supporting its claim that the delay was attributable to a force majeure.

Failure to comply with the above requirements shall preclude Settling Defendant from

asserting any claim of force majeure for that event for the period of time of such failure to

comply, and for any additional delay caused by such failure. For purposes of this

Section, Settling Defendant shall be deemed to know of any circumstance of which

Settling Defendant, any entity controlled by Settling Defendant, or Settling Defendant's

contractors knew or should have known; provided, however, that such imputation of a

contractor's knowledge to Settling Defendant shall not shorten the 5 day oral notification

requirement of this Paragraph.

       130.   If EPA, after a reasonable opportunity for review and comment by the State,

and Connecticut and the Federal Trustees as appropriate, agrees that the delay or

anticipated delay is attributable to a force majeure event, the time for performance of the

obligations under this Consent Decree that are affected by the force majeure event will

be extended by EPA, after a reasonable opportunity for review and comment by the

State, and Connecticut and the Federal Trustees as appropriate, for such time as is

necessary to complete those obligations. An extension of the time for performance of the

obligations affected by the force majeure event shall not, of itself, extend the time for


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performance of any other obligation If EPA, after a reasonable opportunity for review

and comment by the State, and Connecticut and the Federal Trustees as appropriate

does not agree that the delay or anticipated delay has been or will be caused by a force

majeure event, EPA will notify Settling Defendant in writing of its decision. If EPA, after a

reasonable opportunity for review and comment by the State, and Connecticut and the

Federal Trustees as appropriate, agrees that the delay is attributable to a force majeure

event, EPA will notify Settling Defendant in writing of the length of the extension, if any,

for performance of the obligations affected by the force majeure event.

       131.   If Settling Defendant elects to invoke the dispute resolution procedures set

forth in Section XXIV (Dispute Resolution), it shall do so no later than 15 days after

receipt of EPA's notice In any such proceeding, Settling Defendant shall have the

burden of demonstrating by a preponderance of the evidence that the delay or

anticipated delay has been or will be caused by a force majeure event, that the duration

of the delay or the extension sought was or will be warranted under the circumstances,

that best efforts were exercised to avoid and mitigate the effects of the delay, and that

Settling Defendant complied with the requirements of Paragraphs 128 and 129 above If

Settling Defendant carries this burden, the delay at issue shall be deemed not to be a

violation by Settling Defendant of the affected obligation of this Consent Decree identified

to EPA and the Court

                             XXIV DISPUTE RESOLUTION

       132.   Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive.mechanism to resolve


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disputes between EPA and Settling Defendant, between the Trustees and Settling

Defendant, between Connecticut and Settling Defendant, between the State and Settling

Defendant, between the Trustees and PEDA, between EPA and PEDA, between EPA

and the City, or between the State and PEDA and/or the City arising under or with

respect to this Consent Decree. The procedure for resolution of disputes which involve

EPA are governed by Paragraphs 133-139 and 141. The State may participate in such

dispute resolution proceedings to the extent specified in those Paragraphs      Disputes

exclusively between the State and Settling Defendant are governed by Paragraph 140

Disputes exclusively between the Trustees and Settling Defendant are governed by

Paragraph 142 Disputes exclusively between Connecticut and Settling Defendant are

governed by Paragraph 143 Disputes between the Trustees and PEDA are governed by

Paragraph 144 Disputes between EPA and PEDA are governed by Paragraph 145 a

Disputes between EPA and the City are governed by Paragraph 145.b Disputes

between the State and PEDA and/or the City are governed by Paragraphs 145.C and

145 d. However, the procedures set forth in this Section shall not apply to actions by the

United States, the Trustees, Connecticut or the State to enforce obligations of Settling

Defendant that have not been disputed in accordance with this Section.

       133.   Any dispute which arises under or with respect to this Consent Decree shall

in the first instance be the subject of informal negotiations between the parties to the

dispute. The period for informal negotiations shall not exceed 20 days from the time the

dispute arises, unless it is modified by written agreement of the parties to the dispute.




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The dispute shall be considered to have arisen when one party sends the other parties a

written Notice of Dispute.

          134     Mediation

       a.        Initiation of ADR. At any time during the informal dispute resolution period,

any party to the dispute may propose the use of a mediator to assist in resolving the

dispute. Upon the written agreement of the parties to the dispute, the period for informal

dispute resolution may be extended for the purpose of mediating the dispute Formal

dispute resolution, as governed by the procedures set forth in Paragraphs 135 to 137,

shall commence immediately upon the termination of the informal dispute resolution

period.

       b.       Decision to Continue ADR. The decision to continue mediation shall be in the

sole discretion of each party.

       c.       Costs of ADR. The parties agree that they will share equitably the costs of

mediation, subject to the availability of United States, Connecticut or State funds for this

purpose. The ability of the United States, Connecticut and the State to share the costs of

mediation will be determined by each agency in its sole discretion and shall not be

subject to dispute resolution or judicial review. If an agency determines that no mediation

funding is available, Settling Defendant shall have the option to cover all of the mediation

costs or to request the services of a trained mediator from EPA's in-house ADR program

or any other dispute resolution professional whose services may be available to the

parties at no cost or to withdraw from or not pursue mediation.




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       d.    Mediator List. The Parties agree that they shall, after this Consent Decree is

lodged, prepare a list of mediators agreeable to the Parties from which a mediator may

be selected This list shall not preclude any Party from proposing to add a mediator or

mediators to the list or from proposing a different mediator for a specific dispute

       e.    Confidentiality. The Parties agree that participants in mediated discussions

pursuant to this Section shall execute a confidentiality agreement in the form attached as

Appendix S to this Consent Decree.

       135    a.   In the event that the Parties cannot resolve a dispute by informal

negotiations or mediation under the preceding Paragraphs of this Section, then the

position advanced by EPA, after reasonable opportunity for review and comment by the

State, shall be considered binding unless, within 14 days after the conclusion of the

informal negotiation period, Settling Defendant invokes the formal dispute resolution

procedures of this Section by serving on the United States and the State a written

Statement of Position on the matter in dispute, including, but not limited to, any factual

data, analysis or opinion supporting that position and any supporting documentation

relied upon by the Settling Defendant. Settling Defendant may request EPA to grant an

extension of this 14-day period to serve its Statement of Position. If such request is for

an additional seven days or less, EPA shall not unreasonably withhold approval of such

request. The granting of any request for a longer extension of time to file the Statement

of Position shall be within EPA's discretion. Settling Defendant's Statement of Position

shall specify Settling Defendant's position as to whether formal dispute resolution should

proceed under Paragraph 136 or Paragraph 137.


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       b.     Following receipt of Settling Defendant's Statement of Position, within 14 days

or such longer time period as Settling Defendant received for submittal of its Statement of

Position under Paragraph 135.a on the same dispute, EPA, after reasonable opportunity

for review and comment by the State, will serve on Settling Defendant its Statement of

Position, including, but not limited to, any factual data, analysis, or opinion supporting

that position and all supporting documentation relied upon by EPA. EPA's Statement of

Position shall include a statement as to whether formal dispute resolution should proceed

under Paragraph 136 or 137. Within 14 days after receipt of EPA's Statement of

Position, Settling Defendant may submit a Reply.

       c.     If there is disagreement between EPA and Settling Defendant as to whether

dispute resolution should proceed under Paragraph 136 or 137, the parties to the dispute

shall follow the procedures set forth in the paragraph determined by EPA to be

applicable. However, if Settling Defendant ultimately appeals to the Court to resolve the

dispute, the Court shall determine which paragraph is applicable in accordance with the

standards of applicability set forth in Paragraphs 136 and 137.

       136.    Except as otherwise provided in Paragraph 123.a, formal dispute resolution

for disputes pertaining to the selection or adequacy of any response action and all other

disputes that are accorded review on the administrative record under applicable

principles of administrative law shall be conducted pursuant to the procedures set forth in

this Paragraph. For purposes of this Paragraph, the adequacy of any response action

includes, without limitation: (1) the adequacy or appropriateness of plans, procedures to

implement plans, or any other items requiring approval by EPA under this Consent


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Decree, and (2) the adequacy of the performance of response actions taken pursuant to

this Consent Decree

       a     An administrative record of the dispute shall be maintained by EPA and shall

contain all statements of position, including supporting documentation, submitted

pursuant to this Section Where appropriate, EPA may allow submission of supplemental

statements of position by the parties to the dispute

       b     The Director of the Office of Site Remediation and Restoration, EPA Region I

(or other appropriate official in Region I, at the level of Director or Deputy Director of an

Office, as designated by the Regional Administrator), will issue, after reasonable

opportunity for review and comment by the State, a final administrative decision resolving

the dispute based on the administrative record described in Paragraph 136 a This

decision shall be binding upon the Settling Defendant, subject only to the right to seek

judicial review pursuant to Paragraph 136 c and d

       c    Any administrative decision made by EPA pursuant to Paragraph 136 b shall

be reviewable by this Court, provided that a motion for judicial review of the decision is

filed by Settling Defendant with the Court and served on all Parties within 21 days of

receipt of EPA's decision The motion shall include a descnption of the matter in dispute,

the eff irts made by the parties to resolve it, the relief requested, and the schedule, if any,

within which the dispute must be resolved to ensure orderly implementation of this

Consent Decree The United States may file a response to Settling Defendant's motion

within thirty days after receipt of such motion    Settling Defendant may file a reply to the

United States' response within 10 days of receipt of such response All deadlines set


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forth in this subparagraph for filings with the Court may be extended by stipulation of

Settling Defendant and the United States or by the Court for good cause shown

       d.     In proceedings on any dispute governed by this Paragraph, Settling

Defendant shall have the burden of demonstrating that the decision of the Office of Site

Remediation and Restoration Director (or other designated official in Region I, as

specified in Paragraph 136.b) is arbitrary and capricious or otherwise not in accordance

with law. Judicial review of EPA's decision shall be on the administrative record compiled

pursuant to Paragraph 136.a.

       137.    Formal dispute resolution for disputes that neither pertain to the selection or

adequacy of any response action nor are otherwise accorded review on the

administrative record under applicable principles of administrative law, shall be governed

by this Paragraph.

       a.     Following receipt of Settling Defendant's Statement of Position submitted

pursuant to Paragraph 135.a, the Director of the Office of Site Remediation and

Restoration, EPA Region I (or other appropriate official in Region I, at the level of Director

or Deputy Director of an office, as designated by the Regional Administrator), after

reasonable opportunity for review and comment by the State, will issue a final decision

resolving the dispute. This decision shall be binding on Settling Defendant unless, within

21 days of receipt of the decision, Settling Defendant files with the Court and serves on

the parties a motion for judicial review of the decision setting forth the matter in dispute,

the efforts made by the parties to resolve it, the relief requested, and the schedule, if any,

within which the dispute must be resolved to ensure orderly implementation of the


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Consent Decree. The United States may file a response to Settling Defendant's motion

within thirty days after receipt of such motion   Settling Defendant may file a reply to the

United States' response within 10 days of receipt of such response. All deadlines set

forth in this subparagraph for filings with the Court may be extended by stipulation of

Settling Defendant and the United States or by the Court for good cause shown

       b.     Notwithstanding Paragraph R of Section I (Background) of this Consent

Decree, judicial review of any dispute governed by this Paragraph shall be governed by

applicable principles of law.

       138.    Nothing in this Consent Decree shall be construed to allow Settling

Defendant to seek dispute resolution under this Section XXIV regarding

       a.      EPA's Action Memorandum regarding the Upper 2-Mile Reach or EPA's

Action Memorandum for the Removal Actions Outside the River; provided, however, that

nothing in this subparagraph shall preclude Settling Defendant from raising any issue

with respect to the underlying assumptions or other bases set forth in those memoranda

in connection with: (i) a challenge to EPA's selection of the Rest of the River Remedial

Action pursuant to Paragraphs 22 and 141 .b of this Consent Decree; (ii) dispute

resolution regarding a determination by EPA, the State, or Connecticut that the criteria

described in Paragraphs 162, 163, 167, 168, 171 and/or 172 (Pre- and Post-Certification

Reservations) of this Consent Decree have been satisfied; or (iii) dispute resolution

relating to the establishment of spatial averaging areas or the evaluation of non-PCB

Appendix IX+3 constituents in accordance with the SOW;




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         b      the Action Memorandum to be issued by EPA regarding the 1 Va Mile Reach

 upon completion of the EE/CA and EPA's selection of the 1 V£ Mile Reach Removal

Action in accordance with Paragraph 21 of this Consent Decree; provided, however, that

nothing in this subparagraph shall preclude Settling Defendant from: (i) submitting a

position paper to the National Remedy Review Board regarding EPA's EE/CA for the 1 Vi

Mile Reach as provided in Paragraph 21.a(iii) of this Consent Decree, or (ii) raising any

issue with respect to the underlying assumptions or other bases set forth in the above-

described Action Memorandum or other selection documents for the 1 % Mile Reach

Removal Action in connection with a challenge to EPA's selection of the Rest of the River

Remedial Action pursuant to Paragraphs 22 and 141.b of this Consent Decree or in

connection with dispute resolution regarding a determination by EPA, the State, or

Connecticut that the criteria described in Paragraphs 162, 163, 167, 168, 171 and/or 172

(Pre- and Post-Certification Reservations) of this Consent Decree have been satisfied,

and/or

     c.      the modification of the Reissued RCRA Permit to select the Rest of the River

Remedial Action in accordance with Paragraph 22, except as provided in the Reissued

RCRA Permit and Paragraphs 22 and 141.b of this Consent Decree.

         139.    The invocation of formal dispute resolution procedures under this Section

shall not extend, postpone or affect in any way any obligation of Settling Defendant under

this Consent Decree, not directly in dispute, unless EPA, after reasonable opportunity for

review and comment by the State, or the Court agrees otherwise. Stipulated penalties

with respect to the disputed matter shall continue to accrue but payment shall be stayed


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pending resolution of the dispute as provided in Paragraph 157 Notwithstanding the

stay of payment, stipulated penalties shall accrue from the first day of noncomphance

with any applicable provision of this Consent Decree, and shall continue to accrue in

accordance with the provisions of Paragraph 153. In the event that Settling Defendant

does not prevail on the disputed issue, stipulated penalties shall be assessed and paid

as provided in Section XXV (Stipulated Penalties).

       140    Disputes Solely between the State and Settling Defendant Disputes

arising under or with respect to this Consent Decree solely between the State and

Settling Defendant that relate to Massachusetts Past Response Costs, Massachusetts

Future Response Costs, Massachusetts Intenm Response Costs, Massachusetts

Oversight Costs, assessment of stipulated penalties by the State, Massachusetts Pre-

Certrfication and Post-Certification Reservations, access to information by the State, the

State's right of access to Settling Defendant Property, the State's consent to

subordination agreements for EREs as provided in Paragraphs 54 c and 57 d, access to

State-owned property (as provided in Paragraph 62), emergency response actions taken

by the State pursuant to Section XIX (Emergency Response), and/or notifications to the

State pursuant to Paragraph 208 shall be governed in the following manner The

procedures for resolving the disputes mentioned in this Paragraph shall be the same as

provided for in Paragraphs 133 to 139 of this Section, except that each reference to EPA

shall read as a reference to MADEP, each reference to the Director of the Office of Site

Remediation and Restoration, EPA Region I, shall be read as a reference to the MADEP

Assistant Commissioner for the Bureau of Waste Site Cleanup, each reference to the


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United States shall be read as a reference to the State, and each reference to the State

shall be read as a reference to EPA. Dispute resolution under this Paragraph concerning

stipulated penalties that relate to Massachusetts Past Response Costs, Massachusetts

Future Response Costs, Massachusetts Interim Response Costs, or Massachusetts

Oversight Costs shall be limited to whether MADEP has properly assessed and/or

calculated such stipulated penalties. The resolution of disputes between the

Commonwealth and Settling Defendant that relate to the amount of those Massachusetts

Future Response Costs which are subject to Paragraph 95.d(iv), Massachusetts Interim

Response Costs or Massachusetts Oversight Costs owed to the Commonwealth shall

proceed in accordance with the provisions of 310 C.M.R. 40.1220(3).

       141.    Dispute Resolution Relating to the Rest of the River: Disputes between

Settling Defendant and EPA relating to the Rest of the River shall be subject to the

following dispute resolution procedures:

      a.      For disputes relating to EPA's conditional approval, disapproval, or

modification of deliverables submitted by Settling Defendant to EPA under the Reissued

RCRA Permit, or regarding other issues arising under the Reissued RCRA Permit, prior

to EPA's issuance of the permit modification selecting a Remedial Action for the Rest of

the River, as referenced in Paragraph 22.p of this Consent Decree, such disputes shall

be resolved in accordance with the Dispute Resolution provisions in Special Condition

II.N of the Reissued RCRA Permit. Settling Defendant shall not contend that EPA's

conditional approval, disapproval, or modification of any such submissions or other action

taken by EPA under the Reissued RCRA Permit (except for a permit modification


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pursuant to General Condition I.C. of the Reissued RCRA Permit) prior to EPA's

issuance of the permit modification selecting a Remedial Action for the Rest of the River

constitutes a modification of the Reissued RCRA Permit for purposes of invoking 40

C.F.R. Parts 124 and 270 or Section 7006(b) of RCRA

       b     For disputes relating to EPA's modification of the Reissued RCRA Permit to

select the Rest of the River Remedial Action, as referenced in Paragraphs 22.o, 22.p,

22.t and/or 22.v of this Consent Decree, the dispute resolution procedures shall be as

follows:

                     (i)    Upon receipt of EPA's notification of its intended permit

modification decision, as provided in Paragraph 22.o of this Consent Decree, Settling

Defendant shall have the right, within 30 days of such notification, to seek administrative

dispute resolution within EPA Region I. Such dispute resolution shall include both

informal and formal administrative dispute resolution processes in accordance with the

administrative dispute resolution provisions of Paragraphs 133-136 of this Consent

Decree; provided, however, that Settling Defendant shall not have the right to seek

judicial review of the administrative decision on EPA's notification of its intended permit

modification pursuant to this subparagraph.

                     (ii)   Upon receipt of EPA's permit modification decision, as

provided in Paragraph 22.p of this Consent Decree, Settling Defendant shall have the

right to seek review of that permit modification decision in the EPA Environmental

Appeals Board within 30 days pursuant to 40 C.F.R. § 124.19.




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                     (iii)   After issuance of a decision by the Environmental Appeals

Board, Settling Defendant shall have the right to seek review of that decision in the

United States Court of Appeals for the First Circuit pursuant to Section 7006(b) of RCRA

                     (iv)    In the event that the Environmental Appeals Board or the

United States Court of Appeals vacates or remands all or part of EPA's permit

modification decision and EPA revises and reissues that decision, as provided in

Paragraph 22.t of this Consent Decree, Settling Defendant shall have the right to seek

review of that revised permit modification decision in the Environmental Appeals Board

pursuant to 40 C.F.R. § 124.19 (except as otherwise approved or determined by the

United States Court of Appeals) and thereafter in the United States Court of Appeals for

the First Circuit, pursuant to Section 7006(b) of RCRA, as provided in Paragraph 22.u

The rights and procedures applicable to subsequent EPA permit modification decisions

shall be as provided in Paragraph 22.v.

                     (v)     Any proceedings in the EPA Environmental Appeals Board

and the United States Court of Appeals for the First Circuit shall be governed by

applicable law and the rules of such Board and Court; provided, however, that the United

States and Settling Defendant shall jointly move the Court of Appeals for expedited

briefing and consideration as provided in Paragraphs 22.q, 22.u(iv), and 22.v(ii) (as

applicable) of this Consent Decree, and provided further that the effectiveness of the

initial or a revised permit modification shall be stayed pending review to the extent

provided in Paragraphs 22 q, 22.u(iv), and 22 v(n), as applicable.




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                       (vi)   In any administrative or judicial challenge to EPA's initial or

revised permit modification decision, Settling Defendant shall not contend that EPA s

conditional approval, disapproval, or modification of a deliverable submitted by Settling

Defendant under the Reissued RCRA Permit or other action taken by EPA under the

Reissued RCRA Permit (except for a permit modification pursuant to General Condition

I.C. of the Reissued RCRA Permit) prior to EPA's initial permit modification decision

setting forth the selected Remedial Action for the Rest of the River constituted a

modification of the Permit. However, Settling Defendant shall not be precluded from

challenging EPA's decisions on such prior submissions or other such prior EPA action on

any substantive grounds. All Parties reserve their rights, during such a challenge, to

raise any arguments related to implementation of Work in the Upper 2-Mile Reach of the

River.

                c.    For any disputes which arise after a final determination has been

made on the selection of the Rest of the River Remedial Action and which relate to the

Rest of the River, such disputes shall be resolved under the Dispute Resolution

provisions of Paragraphs 133 through 139 of this Consent Decree.

         142.   Disputes Between the Trustees and Settling Defendant. Disputes arising

under this Consent Decree between the Trustees and Settling Defendant that relate to

Settling Defendant's obligations under Section XXI (Natural Resource Damages) of this

Consent Decree, costs Incurred by or required to be paid to the Trustees, and/or

assessment of liquidated damages by the Trustees shall be governed in the following

manner. The procedures for resolving the disputes mentioned in this Paragraph shall be


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the same as provided for in Paragraphs 133-139 of this Section, except that each

reference to EPA shall read as a reference to the Trustees, and each reference to the

Director of the Office of Site Remediation and Restoration, EPA Region I, shall be read"

as a reference to the Trustee Secretaries

       143.   Disputes Solely Between Connecticut and Settling Defendant Disputes

arising under or with respect to this Consent Decree solely between Connecticut and

Settling Defendant that relate to Connecticut Past Response Costs, Connecticut Future

Costs, Connecticut Pre-Certlfication and Post-Certification Reservations, assessment of

stipulated penalties by Connecticut, access to information by Connecticut, and/or

Connecticut's right of access to Settling Defendant Property shall be governed in the

following manner. The procedures for resolving the disputes mentioned in this Paragraph

shall be the same as provided for in Paragraphs 133-139 of this Section, except that

each reference to EPA shall read as a reference to CTDEP, each reference to the

Director of the Office of Site Remediation and Restoration, EPA Region I, shall be read

as a reference to the Commissioner of CTDEP, each reference to the United States shall

be read as a reference to Connecticut, and each reference to the State shall be read as a

reference to EPA. Dispute resolution under this Paragraph concerning stipulated

penalties that relate to Connecticut Past Response Costs or Connecticut Future Costs

shall be limited to whether CTDEP has properly assessed and/or calculated such

stipulated penalties.

       144.   Disputes Between Trustees and PEDA. Disputes arising under the

Consent Decree between the Trustees and PEDA that relate to PEDA's obligations as


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set forth in Paragraph 124 of Section XXI (Natural Resource Damages) shall be

governed in the following manner. The procedures for resolving the disputes mentioned

in this Paragraph shall be the same as provided for in Paragraphs 133-139 of this

Section, except that each reference to EPA shall read as a reference to the Trustees,

each reference to the Director of the Office of Site Remediation and Restoration, EPA

Region I, shall be read as a reference to the Trustee Secretaries, and each reference to

Settling Defendant shall be read as a reference to PEDA

       145    Disputes Between EPA and PEDA. Between EPA and the City and

Between the State and PEDA and/or the City

             a     Disputes between EPA and PEDA that relate to property that has

been or will be transferred to PEDA pursuant to the Definitive Economic Development

Agreement and (i) are authorized pursuant to Paragraph 46 (Settling Defendant's

Obligation to Perform Further Response Actions), or (ii) arise under Paragraph 48.b, or

(lii) arise under Paragraph 65 of this Consent Decree shall follow the procedures set forth

in Paragraphs 133-136 (record review), except that each reference to Settling Defendant

shall be read as a reference to PEDA

             b     Disputes between EPA and the City that arise under Paragraph 66 of

this Consent Decree shall follow the procedures set forth in Paragraphs 133-136 (record

review), except that each reference to Settling Defendant shall be read as a reference to

the City

             c.   -Disputes solely between the State and PEDA and/or the City,

respectively, under Paragraph 65 or Paragraph 66 of this Consent Decree, that arise


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 prior to Certification of Completion of the Response Action pursuant to which said dispute

arises shall follow the procedures set forth in Paragraphs 133-136 (record review), -except

that each reference to EPA shall be read as a reference to MADEP, each reference to

the Director of Office of Site Remediation, EPA Region I, shall be read as a reference to

the MADEP Assistant Commissioner for the Bureau of Waste Site Cleanup, and each

reference to Settling Defendant shall be read as a reference to PEDA or the City, as

appropriate.

               d.   Disputes between the State and PEDA and/or the City, respectively

under Paragraph 65 or Paragraph 66 of this Consent Decree, that arise after Certification

of Completion of the Response Action pursuant to which said dispute arises, shall follow

the procedures set forth in Paragraphs 133-136 (record review), except that each

reference to EPA shall be read as a reference to MADEP, each reference to the Director

of the Office of Site Remediation, EPA Region I shall be read as a reference to the

MADEP Assistant Commissioner for the Bureau of Waste Site Cleanup, and each

reference to Settling Defendant shall be read as a reference to PEDA or the City, as

appropriate.

                              XXV. STIPULATED PENALTIES

       146.    Settling Defendant shall be liable collectively to the United States, the State

and/or Connecticut for stipulated penalties or liquidated damages (for failures to comply

relating to the Trustees) in the amounts set forth in Paragraphs 147-152 for failure to

comply with the requirements of this Consent Decree specified below, unless excused

under Section XXIII (Force Majeure); provided, however, that Settling Defendant shall not


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be liable for both stipulated penalties and liquidated damages for violations of the same

obligation Settling Defendant shall pay 70% of stipulated penalties to the United States

and shall pay 30% of stipulated penalties to the State in accordance with Paragraph 155

of this Section. "Compliance" by Settling Defendant shall include completion of the

activities under this Consent Decree or any work plan.or other plan.approved under this

Consent Decree identified below in accordance with all applicable requirements of law,

this Consent Decree, the SOW, the Upper V£ Mile Reach Removal Action Work Plan, the

Rest of River SOW, and any plans or other documents approved by EPA or the Trustees,

or the State (for the obligations specified below in Paragraph 158 of this Section),

pursuant to this Consent Decree and within the specified time schedules established by

and approved under this Consent Decree

       147.   The following stipulated penalties shall accrue per violation per day for any

noncompliance related to performance of all Work under this Consent Decree (except for

obligations relating to the Trustees, including but not limited to those under Section XXI

(Natural Resource Damages)), including but not limited to the SOW, the Rest of River

SOW, any Work Plans developed pursuant to the SOW or Rest of River SOW, the Upper

V* Mile Reach Removal Action Work Plan, any components of such Work Plans, and all

requirements of Sections VI (Performance of the Work by Settling Defendant), VII

(Removal Actions Outside the River), VIII (River Response Actions), IX (Performance

Standards), X (Review of Response Actions), XIII (Access and Land/Water Use

Restrictions), and XX (Reimbursement of Costs):




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       Penalty Per Violation Per Day      Period of Noncompliance

              $3,000                          1 st through 7th day
              $6,000                          8th through 14th day
              $12,000                         15th day and beyond

       148.   The following liquidated damages shall accrue per violation per day for any

noncompliance related to obligations relating to the Trustees, including but not limited to,

the Restoration Work described in Section 2.8 and Attachment I of the SOW and in

Sections 9, 11.5.3, and 11.6.2 of the Removal Action Work Plan for the Upper Vz Mile

Reach, the other natural resource protection and restoration actions described in

Paragraph 123 of this Consent Decree, Restoration Work or other natural resource

protection and restoration actions conducted under Work Plans or components thereof

developed pursuant to the SOW or this Consent Decree, and any related requirements,

insofar as they apply to Restoration Work or other natural resource protection or

restoration actions of Sections VI (Performance of the Work by Settling Defendant), VII

(Removal Actions Outside the River), VIII (River Response Actions), XIII (Access and

Land/Water Use Restrictions), XX (Reimbursement of Costs) and XXI (Natural Resource

Damages):

      Penalty Per Violation Per Day       Period of Noncompliance

              $1,500                         1 st through 7th day
              $3,000                         8th through 14th day
              $6,000                         15th day and beyond

      149.    Violations of Other Requirements.

              a. The following stipulated penalties shall accrue per violation per day for

any noncompliance related to performance under this Consent Decree (except for


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obligations relating to the Trustees, including but not limited to those under Section XXI

(Natural Resource Damages)), which is not specifically referenced in Paragraph 147

above or in Paragraph 150.a below:

       Penalty Per Violation per Day        Period of Noncompliance

              $1,500                   •_     Isl.througbJZth day
              $3,000                          8th through 14th day
              $8,000                           15th day and beyond

              b. The following liquidated damages shall accrue per violation per day for

any noncompliance related to performance under this Consent Decree for obligations

relating to the Trustees, including but not limited to those under Section XXI (Natural

Resource Damages), which is not specifically referenced in Paragraph 148 above or in

Paragraph 150.b below:

       Penalty Per Violation per Day      Period of Noncompliance

              $750                           1st through 7th day
              $1,500                         8th through 14th day
              $4,000                         15th day and beyond

       150.   Violation of Report Requirements

              a. The following stipulated penalties shall accrue per violation per day for

failure to submit timely or adequate reports or other written documents pursuant to

Section XIV (Reporting Requirements) (except for obligations relating to the Trustees,

including but not limited to those under Section XXI (Natural Resource Damages)):

      Penalty Per Violation Per Day       Period of Noncompliance

              $500                            1st through 14th day
              $1,000                          15th through 30th day
              $2,500                          31 st day and beyond


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               b.   The following liquidated damages shall accrue per violation per day for

failure to submit timely or adequate reports or other written documents pursuant to

 Section XIV (Reporting Requirements) for obligations relating to the Trustees, including

but not limited to those under Section XXI (Natural Resource Damages):

       Penalty Per Violation Per Day       Period of Noncompliance

              $500                            1 st through 14th day
              $1,000                          15th through 30th day
              $2,000                          31 st day and beyond

       151.   Liquidated damages paid pursuant to Paragraphs 148, 149.b and 150.b

collectively shall not exceed an aggregate of $750,000.

       152.   In the event that EPA assumes performance of a portion or all of the

following Removal or Remedial Actions pursuant to Paragraph 178 of Section XXVI

(Covenants Not to Sue by Plaintiffs), Settling Defendant shall be liable to the United

States for stipulated penalties as set forth below. For the stipulated penalties set forth in

subparagraphs a, b, f and g of this Paragraph, the simultaneous takeover penalty for

each such subparagraph shall apply only if the United States elects to take over all of the

Removal Actions listed in that subparagraph prior to completion of the first of any one of

such Removal Actions. In addition, the prior election by the United States to take over

any of the individual Removal Actions listed in that subparagraph shall preclude the

United States from assessing a stipulated penalty for simultaneous takeover for the

Removal Actions under such subparagraph.

              a.    GE Plant Area Removal Actions

               The 30s Complex Removal Action                         $100,000
               The 40s Complex Removal Action                         $100,000

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              The 20s Complex Removal Action                    $100.000
              The East Street Area 2-South Removal Action       $250.000
              The East Street Area 2-North Removal Action       $200,000
              The East Street Area 1-North Removal Action       $100,000
              The Hill 78 Consolidation Area Removal Action     $100,000
              The Building 71 Consolidation Area Removal Action $100,000
              The Hill 78 Area-Remainder Removal Action         $100,000
              The Unkamet Brook Area Removal Actiorr            $250,000
              Simultaneous Takeover of all GE Plant Area        $1,000,000
                Removal Actions

          b.      Former Oxbow Area Removal Actions

              The Former Oxbows A and C Removal Action            $100.000
              The Lyman Street Area Removal Action                $100,000
              The Newell Street Area II Removal Action            $100,000
              The Newell Street Area I Removal Action             $100.000
              The Former Oxbows J and K Removal Action            $100,000
              Simultaneous Takeover of all Former Oxbow Area      $350,000
                Removal Actions

          c.     The Allendale School Removal Action              $300,000

          d.     The Silver Lake Area Removal Action              $300,000

          e       The Upper V* Mile Reach Removal Action

                   (i) Takeover of the Upper !4 Mile Reach       $ 600,000
                   Removal Action on or before the date on which
                   Settling Defendant has completed construction
                   of 1/4 Mile

                   (ii) Takeover of the Upper Vi Mile Reach       $300,000
                   Removal Action after the date on which
                   Settling Defendant has completed
                   construction of 1/4 Mile

         f.      Floodplain Residential Area Removal Actions

              The Removal Action for Actual/Potential Lawns       $300,000
              within Housatonic River Floodplain-Current
              Residential Properties Adjacent to 1 % Mile Reach




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               The Removal Action for Actual/Potential Lawns       $300.000
               within Housatonic River Floodplain-Current
               Residential Properties Downstream of Confluence

            Simultaneous Takeover of all Floodplain     "          "$500,000
            Residential Area Removal Actions

           g      Groundwater Removal Actions

            Plant Site 1 Groundwater Management Area               $200,000
            Removal Action

            Former Oxbows J and K Groundwater                      $100.000
            Management Area Removal Action

            Plant Site 2 Groundwater Management Area               $125,000
            Removal Action

            Plant Site 3 Groundwater Management Area               $125,000
            Removal Action

            Former Oxbows A and C Groundwater                      $100,000
            Management Area Removal Action

            Simultaneous Takeover of all Groundwater               $ 550,000
            Removal Actions

           h.     Rest of River Remedial Action

                   (i) Takeover of the Rest of River        5% of the estimated
                   Remedial Action on or before             response costs as set
                   the date on which Settling               forth in the final RCRA
                   Defendant has completed .25%             permit modification decision
                   of construction                          (after all appeals and
                                                            remands) but not to exceed
                                                            $4,000,000

                   (ii) Takeover of the Rest of River       3.75% of the estimated
                   Remedial Action after Settling           response costs as set
                   Defendant has completed 25% of           forth in the final RCRA
                   construction and on or before the        permit modification decision
                   date on which Settling Defendant         (after all appeals and
                   has completed 50% of construction        remands) but not to exceed
                                                            $3,000,000

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                      (iii) Takeover of the Rest of River        2.5% of the estimated
                      Remedial Action after Settling             response costs as set
                      Defendant has completed 50% of             forth in the final RCRA
                      construction and on or before the          permit modification decision
                      date on which Settling Defendant           (after all appeals and
                      has completed 75% of construction          remands) but not to exceed
                                                                 $2,000,000

                      (iv) Takeover of the Rest of River         1.25% of the estimated
                      Remedial Action after Settling             response costs as set
                      Defendant has completed 75% of             forth in the final RCRA
                      construction and on or before the          permit modification decision
                      date on which EPA has certified            (after all appeals and
                      completion of the Work pursuant to         remands) but not to exceed
                      Paragraph 89 (Completion of Work)          $1,000,000

       153.   All penalties and liquidated damages shall begin to accrue on the day after

the complete performance is due or the day a violation occurs, and shall continue to

accrue through the final day of the correction of the noncompliance or completion of the

activity. However, stipulated penalties and liquidated damages shall not accrue. (1) with

respect to a deficient submission under Paragraphs 67 and 68 of Section XIV (Reporting

Requirements) or under Section XV (EPA Approval of Plans and Other Submissions),

during the period, if any, beginning on the 31st day after EPA's (or the Trustees', as

applicable) receipt of such submission until the date that EPA (or the Trustees, as

applicable) notifies Settling Defendant of any deficiency; (2) with respect to a decision by

the Director of the Office of Site Remediation and Restoration, EPA Region I (or other

designated official in Region I) under Paragraph 136.b or 137.a of Section XXIV (Dispute

Resolution), during the period, If any, beginning on the 21st day after the date that

Settling Defendant's reply to EPA's Statement of Position is received until the date that

the Director (or other official) issues a final decision regarding such dispute; (3) with


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respect to a decision by the Trustee Secretaries under Paragraph 142 of Section XXIV

(Dispute Resolution), during the period, if any, beginning on the 21" day after the date

that Settling Defendant's reply to the Trustees' Statement of Position is received until the

date the Trustee Secretaries issue a final decision regarding such dispute; (4) with

respect to judicial review by this Court of any dispute under Section XXIV (Dispute

Resolution), during the period, if any, beginning on the 31st day after the Court's receipt

of the final submission regarding the dispute until the date that the Court issues a final

decision regarding such dispute; or (5) if EPA has not notified Settling Defendant of any

deficiency, during the period, if any, beginning on the 181st day after the date the violation

occurs until the date that EPA notifies Settling Defendant of such violation. Nothing

herein shall prevent the simultaneous accrual of separate penalties for separate

violations of this Consent Decree.

       154.   Following EPA's or the Trustees' (as applicable) determination that Settling

Defendant has failed to comply with a requirement of this Consent Decree, EPA or the

Trustees (as applicable) may give Settling Defendant written notification of the same and

describe the noncompliance. EPA and the State may send Settling Defendant a written

demand for the payment of the penalties. The Trustees may send Settling Defendant a

written demand for the payment of liquidated damages. However, penalties and

liquidated damages shall accrue as provided in the preceding Paragraph regardless of

whether EPA or the Trustees have notified Settling Defendant of a violation.

      155.    All penalties and damages accruing under this Section shall be due and

payable to the United States and the State within 30 days of Settling Defendant's receipt


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from EPA or the Trustees, or the State for the obligations specified below in Paragraph

158 of this Section, of a demand for payment of the penalties or damages, unless

Settling Defendant invokes the Dispute Resolution procedures under Section XXIV

(Dispute Resolution)

              a      Except as provided in subparagraph 155 b, all payments to the

United States under this Section shall be by wire transfer in accordance with the

provisions of Paragraph 94 a or paid by certified or cashier's check(s) made payable to

"EPA Hazardous Substances Superfund," which shall be mailed to EPA Region I, Attn

Superfund Accounting, P O Box 360197M, Pittsburgh, PA 15251, shall indicate that the

payment is for stipulated penalties, and shall reference the EPA Region and Site/Spill ID

# 01-67, the DOJ Case Number 90-11-3-1479, and the name and address of the party

making payment Copies of check(s) (if used) paid pursuant to this Section, and any

accompanying transmittal letter(s), shall be sent to the United States as provided in

Section XXXII (Notices and Submissions), and to Michael Manlogon, Financial

Management Officer, EPA Region I, One Congress Street, Suite 1100, Boston, MA

02114-2023

             b All payments to the Trustees for liquidated damages under this Section

for noncompliance with the apphcable provisions of Section XIII (Access and Land/Water

Use Restrictions) and Section XXI (Natural Resource Damages) shall indicate that such

payment is for liquidated damages, and shall otherwise be made in accordance with the

procedures set forth in Paragraph 115 DOI shall hold the funds recovered pursuant to

this Paragraph in an interest-bearing account in its Natural Resource Damage


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Assessment and Restoration Fund, and such monies together with all interest accrued

thereon shall only be spent for restoration and to reimburse future Trustee assessment

costs associated with the Site, which expenditures shall be made in conformity with the

provisions and procedures set forth in a Memorandum of Agreement to be entered into

among DOI, NOAA, EOEA, and Connecticut.

                c. All payments to the State under this Section shall be paid by check

made payable to the Commonwealth of Massachusetts and shall be mailed to Chief,

Environmental Protection Division, Office of Attorney General, 200 Portland Street,

Boston, Massachusetts 02114. The check shall indicate that payment is for stipulated

penalties and shall reference the General Electric case or the GE-Pittsfield/Housatonic

River Site. Copies of checks paid pursuant to this Section and any accompanying

transmitta! letter shall be sent to Robert Kalaghan, Director, Fiscal Management/Cost

Recovery and Administration, DEP/BWSC, 1 Winter Street, Boston, Massachusetts

02108.

         156.   The payment of penalties and liquidated damages shall not alter in any way

Settling Defendant's obligation to complete the performance of the Work required under

this Consent Decree.

         157.   Penalties and liquidated damages shall continue to accrue as provided in

Paragraph 153 during any dispute resolution period, but need not be paid until the

following:

                a.    If the dispute is resolved by agreement or by a decision of EPA or

the Trustees that is not appealed to this Court, accrued penalties and liquidated damages


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determined to be owing shall be paid to EPA, the Trustees and the State within 15 days

of the agreement or the receipt of EPA's or the Trustees' decision or order;

                b. - If the dispute is appealed to this Court and the United States prevails
                                                           a

in whole or in part, Settling Defendant shall pay all accrued penalties and liquidated

damages determined by the Court to be owed to EPA, the Trustees and the State within

60 days of receipt of the Court's decision or order, except as provided in subparagraph c

below;

                c.    If the District Court's decision is appealed by any Party, Settling

Defendant shall pay all accrued penalties and liquidated damages determined by the

District Court to be owing to the United States, the Trustees or the State into an interest-

bearing escrow account within 60 days of receipt of the Court's decision or order

Penalties and liquidated damages shall be paid into this account as they continue to

accrue, at least every 60 days. Within 15 days of receipt of the final appellate court

decision, the escrow agent shall pay the balance of the account to EPA, the Trustees and

the State or to Settling Defendant to the extent that such party prevails and in

accordance with the allocation provisions of this Section XXV.

         158.   State Assessment of Stipulated Penalties. Assessment of stipulated

penalties by the State shall be governed in the following manner. Following the State's

determination that Settling Defendant has failed to pay Massachusetts Past Response

Costs, Massachusetts Interim Costs, Massachusetts Oversight Costs, Massachusetts

Future Response -Costs, Massachusetts Trustee Future Response Costs or

Massachusetts Trustee Oversight Costs owed to the State as required by Section XX


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(Reimbursement of Costs), or has failed to timely submit dehverables to the State or has

failed to timely provide such written or oral notices to the State as are required by this

Consent Decree, the State may, after reasonable opportunity for review and comment by

EPA, give Settling Defendant written notification of the same and describe the

noncompha«ce The provisions for liabilrty.-assessment and payment of the stipulated

penalties for the obligations referenced in this Paragraph shall be the same as provided

in Paragraphs 146-151 and 153-157 of this Section, except that in Paragraphs 153, 154,

157.a and 157.b, each reference to EPA shall read as a reference to MADEP, each

reference to the United States shall read as a reference to the State, each reference to

the State shall be read as a reference to the United States, and each reference to the

State's reasonable opportunity for review and comment shall read as EPA's reasonable

opportunity for review and comment For penalties assessed under this Paragraph,

Settling Defendant shall pay 70% to the State and shall pay 30% to the United States in

accordance with the requirements of Paragraph 155 of this Section

       159    a    If Settling Defendant fails to pay stipulated penalties and/or liquidated

damages when due, the United States or the State may institute proceedings to collect

the penalties and/or damages, as well as Interest Settling Defendant shall pay Interest

on the unpaid balance, which shall begin to accrue on the date of demand made

pursuant to Paragraph 155.

              b   Except as otherwise expressly provided in Section XXVI (Covenants

Not to Sue by Plaintiffs) of this Consent Decree, nothing in this Consent Decree shall be

construed as prohibiting, altering, or in any way limiting the ability of the United States or


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the State to seek any other remedies or sanctions available by virtue of Settling

Defendant's violation of this Decree or of the statutes and regulations upon which it is

based, including, but not limited to, civil penalties pursuant to Sections 122(1) and 109 of

CERCLA; provided, however, that the United States shall not seek civil penalties under

Sections 122(1) and 109 of CERCLA for any violation for which a stipulated penalty has

been specifically demanded in writing hereunder, except in the case of a willful violation

of the Consent Decree If the United States seeks civil penalties for willful violations of

this Consent Decree pursuant to Section 122(1) of CERCLA, Settling Defendant may

argue that the amount of any civil penalty should be reduced by the amount of any

stipulated penalty that has been paid for the same violation. The United States may

oppose such reduction. Nothing in this Consent Decree shall prohibit the Court from

reducing the civil penalty to be assessed in such action.

       160.   Notwithstanding any other provision of this Section, the United States, the

State or Connecticut may, in its unreviewable discretion, waive any portion of stipulated

penalties that have accrued pursuant to this Consent Decree and are due and owing to

that party.

                   XXVI. COVENANTS NOT TO SUE BY PLAINTIFFS

       161.   United States' Covenant.

              a.    In consideration of the actions that will be performed and the

payments that will be made by the Settling Defendant under the terms of the Consent

Decree, and except as specifically provided in Paragraphs 162, 163, 175 and 176 of this

Section, the United States, on behalf of EPA, NOAA, DOI, ACOE, DOD, ATSDR, and any


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 other agency which may have authority to administer the statutes cited in this Paragraph

 covenants not to sue or to take administrative action against Settling Defendant pursuant

to Sections 106 or 107(a) of CERCLA, Section 7003 of RCRA, Section 7 of the Toxic

Substances Control Act ("TSCA"), and/or Section 504 of the Clean Water Act for releases

or threatened releases of Waste Materials at the Site, where such Waste Materials

originated at the GE Plant Area, for performance of the Work, or for Designated Fill

Properties

              b.     In consideration of the actions that will be performed and the

payments that will be made by Settling Defendant under the terms of this Consent

Decree, and except as specifically provided in Paragraphs 162, 163, 175, and 176 of this

Section, the United States, on behalf of EPA, NOAA, DOI, ACOE, DOD, ATSDR, and any

other agency which may have authority to administer the statutes cited in this Paragraph,

covenants not to sue or to take administrative action against Settling Defendant pursuant

to Sections 1002. 1005, 1006, 1009 and 1015 of the Oil Pollution Act, Section 113(f) of

CERCLA, Sections 3004(u) and (v) and 3008 of RCRA, Section 17 of TSCA, Sections

309, 311 and 404 of the Clean Water Act, and/or Section 10 of the Rivers and Harbors

Act for releases or threatened releases of Waste Material (regardless of the manner in

which such Waste Materials may be listed, defined, or characterized under these

statutes) at the Site, where such Waste Material originated at the GE Plant Area, for

performance of the Work, or for Designated Fill Properties. The United States' covenant

set forth in this Paragraph 161 .b with respect to such statutory provisions does not apply

to any action or claim other than an action or claim to compel Settling Defendant to


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implement, comply with, or fund response actions, corrective actions or measures or

other similar judicial or administrative response-type mjunctive relief, or for recovery

reimbursement, contribution or equitable share of response costs or Natural Resource

Damages, and specifically does not apply to any action or claim for civil penalties under

these statutory provisions, except as provided for in Paragraph 161.C

              c.    - In consideration of the actions that will be performed and the

payments that will be made by Settling Defendant under the terms of this Consent

Decree, the United States, on behalf of EPA, covenants not to sue for, or to take

administrative action to assess, civil penalties for alleged violations of the Consent Order

issued by EPA on June 30, 1981, pursuant to Sections 3007, 3013, and 7003 of RCRA

(EPA Docket No 81-164), or of the RCRA Permit that occurred at any time prior to

lodging of this Consent Decree

              d      (i)   Timing of Covenants for Removal and Remedial Actions

Except with respect to the covenants for future liability and for Designated Fill Properties,

these covenants not to sue shall take effect upon the receipt by EPA, NOAA and DOI of

the payments required by Paragraph 94.a, 94.b and 94.c of Section XX (Reimbursement

of Costs). With respect to future liability (other than for Designated Fill Properties), the

covenant not to sue shall be effective for each Removal or Remedial Action to be

performed by Settling Defendant pursuant to this Consent Decree, and for the area and

media addressed by such Removal or Remedial Action, upon EPA's Certification of

Completion for that individual Removal or Remedial Action, except for the 1 Vi Mile

Reach Removal Action, for which the covenant not to sue for future liability shall be


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effective upon EPA's completion of the 1 V* Mile Reach Removal Action referred to in

Paragraph 21 of this Consent Decree The covenant not to sue for future liability for the

Site shall be effective upon EPA's issuance of the Certification of Completion of the Work

for the Site issued pursuant to Paragraph 89 of this Consent Decree EPA's Certification

of Completion of the Work for the Site shall state that it is the final Certification for

purposes of this Paragraph.

              (ii)    Timing of Covenants for Designated Fill Properties Except with

respect to the covenants for future liability, the covenants not to sue: (A) for Designated

Fill Properties listed in Category 1 in Appendix T, shall take effect upon the receipt by

EPA of the payments required by Paragraph 94.a of Section XX (Reimbursement of

Costs), and (B) for Designated Fill Properties listed in Category 2 in Appendix T, shall

take effect upon the receipt by EPA of the payments required by Paragraphs 94 a and

95.a of Section XX related to such Category 2 Designated Fill Properties With respect to

future liability for each of the Designated Fill Properties, the covenant not to sue shall be

effective upon written approval by MADEP of a Response Action Outcome Statement

(hereafter "RAO") for such property pursuant to the MCP.

              e.     These covenants not to sue are conditioned upon the satisfactory

performance by Settling Defendant of its obligations under this Consent Decree,

provided, however, that a failure by Settling Defendant to satisfactorily perform its

obligations with respect to a Removal or Remedial Action shall not affect the United

States' covenant not to sue with respect to any other Removal or Remedial Action,

unless such failure to satisfactorily perform its obligations with respect to one~Removal or


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  Remedial Action results in a Work Takeover pursuant to Paragraph 178 of this Consent

 Decree, in which case the covenants not to sue do not apply to any Removal or Remedial

 Action subject to the Work Takeover.                       ' ~­

        162    United States' Pre-Certlfication Reservations (Except Relating to Natural

 Resource Damages). The United States reserves its rights pursuant to this Paragraph

 with respect to performance of each individual Removal or Remedial Action at the Site or

 with respect to performance of response actions at the Designated Fill Properties

 Issuance by the United States of a Certification of Completion for any individual Removal

 or Remedial Action at the Site or by the State of an RAO for any individual Designated

 Fill Property shall have no effect on the covenants or reservations of rights by the United

 States for any other response action at the Site or at the Designated Fill Properties.

 Subject to Paragraph 177 (Issuance of Administrative Orders) of this Consent Decree,

 the United States reserves, and this Consent Decree is without prejudice to, the right to

 institute proceedings in this action or in a new action, or to issue an administrative order

 seeking to compel Settling Defendant,

              a.        to perform further response actions relating to the Site or the

 Designated Fill Properties, or

              b.        to reimburse the United States for additional costs of response,

- if, prior to Certification of Completion of each individual Removal or-Remedial Action or

issuance of an RAO for each Designated Fill Property:

                   •   (i)    conditions at the Site or the Designated Fill Property as

applicable, previously unknown to EPA, are discovered, or


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                      (ii)   information, previously unknown to EPA, is received, in whole

or in part,

and EPA determines that these_previously unknown conditions or information together,

with any other relevant information indicates that the individual Removal or Remedial

Action or response action previously performed at a Designated Fill Property (as

applicable) is not protective of human health or the environment; provided that such

further response actions are related to EPA's determination that the individual Removal

or Remedial Action, or response actions at a particular Designated Fill Property, as

applicable, are not protective of human health and the environment.

       163.   United States' Post-Certification Reservations (Except Relating to Natural

Resource Damages). The United States reserves its rights pursuant to this Paragraph

with respect to performance of each individual Removal or Remedial Action at the Site or

with respect to performance of response actions at the Designated Fill Properties.

Issuance by the United States of a Certification of Completion for any individual Removal

or Remedial Action at the Site, or by the State of an RAO for any individual Designated

Fill Property, shall have no effect on the covenants or reservations of rights by the United

States for any other response action at the Site or at the Designated Fill Properties.

Subject to Paragraph 177 (Issuance of Administrative Orders) of this Consent Decree,

the United States reserves, and this Consent Decree is without-prejudice to, the right to

institute proceedings in this action or in a new action, or to issue an administrative order

seeking to compel Settling Defendant,




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              a    to perform further response actions relating to the Site or the

Designated Fill Properties, or

              b.    to reimburse the United States for additional costs of response

 if, subsequent to Certification of Completion of each individual Removal or Remedial

Action or issuance of an RAO for each Designated Fill Property,

                     (i)    conditions at the Site or the Designated Fill Property, as

applicable, previously unknown to EPA, are discovered, or

                     (ii)   information, previously unknown to EPA, is received, in whole

or in part,

and EPA determines that these previously unknown conditions or this information

together with other relevant information indicate that the individual Removal or Remedial

Action or response action previously performed at a Designated Fill Property (as

applicable) is not protective of human health or the environment; provided that such

further response actions are related to EPA's determination that the individual Removal

or Remedial Action, or the response actions at a particular Designated Fill Property, as

applicable, are not protective of human health and the environment.

       164.   United States Covenant as to the City

              a In consideration of the facts and circumstances, and the actions that will

be performed in connection with this Consent Decree and the Definitive Economic

Development Agreement, and except as specifically provided in Paragraphs 162, 163,

and 175 of this Section and below in this Paragraph 164, the United States, on behalf of

EPA, covenants not to sue or to take administrative action against the City in its capacity


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as an owner, within the meaning of Section 107(a)(1) of CERCLA of the portions of the

property identified in Appendix U that are within the Site, pursuant to Sections 106 or

107(a) of CERCLA, for releases or threatened releases of Waste Materials at such

portions of property within the Site, provided, however, that with respect to the property at

901 Holmes Road (Parcel No J2-2-1), the United States' covenant shall extend only to

releases or threatened releases of Waste Materials that originated at the GE Plant Area

and that are remediated pursuant to this Consent Decree Except with respect to the

covenants for future liability, these covenants not to sue shall take effect upon entry of

this Consent Decree With respect to future liability, the covenants not to sue shall be

effective for each property upon EPA's Certtfication of Completion for the individual

Removal or Remedial Action related to such property The covenant not to sue in this

Paragraph with respect to each particular property is contingent upon the satisfactory

performance by the City of its obligations under this Consent Decree as to such particular

property

              (i) The City certifies that as to each property identified in Appendix U

except for 901 Holmes Road (Parcel No J2-2-1) and the Allendale School Property

(Parcel No K11 -7-29) (1) the City, despite due diligence, was unaware of the existence

of the contamination at the property at the time it obtained an interest in such property,

(2) the City has not caused or contnbuted to the release of Waste Materials at such

property, and (3) the City has not disposed of Waste Matenals at such property

             (ii) With respect to 901 Holmes Road, the City certifies that (1) the City,

despite due diligence, was unaware of the existence of the contamination which


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originated at the GE Plant Area at the property at the time it obtained an interest in the

property; (2) the City has not knowingly, or as a result of its negligence in the ownership

or operation of its wastewater treatment facility, caused or contributed to the release of,

or disposed of, Waste Materials that originated at the GE Plant Area, except in

connection with federally permitted releases, as defined in Section 101(10) of CERCLA.

42 U.S.C. §9601(10).

              (iii) With respect to the Allendale School Property, the City certifies that

(1) the City, despite due diligence, was unaware of the existence of contamination at the

property at the time it obtained an interest in the property, and (2) since placement of fill

material in connection with construction of the school in 1950-1951 the City has not

knowingly or negligently caused or contributed to the release of, or disposed of, Waste

Materials at such property.

              (iv) The language of the certifications in this Paragraph shall not be

construed to expand the scope of the covenant not to sue in this Paragraph These

covenants not to sue are conditioned upon the veracity of the City's certifications. Should

the United States determine that such certifications were not true or accurate with respect

to a particular property at the time of entry of this Consent Decree, these covenants not

to sue shall be null and void as to that particular property.

              b. United States' Pre-Certification Reservations as to the Citv.

       The United States reserves, and this Consent Decree is without prejudice to, the

right to institute proceedings in this action or in a new action, or to issue an administrative

order seeking to compel the City with respect to properties Jdentified in Appendix U,


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                 (i)      to perform further response actions relating to the Site or

                 (n)      to reimburse the United States for additional costs of response

 rf, prior to Certification of Completion of each individual Removal or Remedial Action

                         (A)    conditions at such property previously unknown to EPA are

discovered, or

                         (B)    information, previously unknown to EPA, is received in whole

or in part,

and EPA determines that these previously unknown conditions or information together

with any other relevant information indicates that the individual Removal or Remedial

Action is not protective of human health or the environment, provided that such further

response actions are related to EPA's determination that the individual Removal or

Remedial Action is not protective of human health and the environment

                c      United States' Post-Certrfication Reservations as to the City

          The United States reserves, and this Consent Decree is without prejudice to, the

right to institute proceedings in this action or in a new action, or to issue an administrative

order seeking to compel the City with respect to properties identified in Appendix U,

                (i)    to perform further response actions relating to the Site, or

                (n)    to reimburse the United States for additional costs of response,

if, subsequent to Certification of Completion of each individual Removal or Remedial

Action,

                        (A)    conditions at such property previously unknown to EPA, are

discovered, or


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                     (B)    information, previously unknown to EPA, is received, in whole

or in part,

and EPA determines that these previously unknown conditions or this information

together with other relevant information indicate that the individual Removal or Remedial

Action is not protective of human health or the environment; provided that such further

response actions are related to EPA's determination that the individual Removal or

Remedial Action is not protective of human health and the environment.

       165.   United States' Known Conditions and Information

              a.   For purposes of Paragraphs 162 and 164.b, except as specified

below, the information and the conditions known to EPA shall include the following, to the

extent received by EPA 30 days or more prior to the date of lodging of this Consent

Decree: (i) the 1981 RCRA Administrative Consent Order; (ii) reports submitted to EPA

pursuant to the 1981 RCRA Administrative Consent Order; (iii) the Administrative Record

for the RCRA Permit (including the administrative records for the RCRA permit issued on

February 11, 1991, and for the modified permit issued effective January 3, 1994, as

described in Paragraph I of Section I); (iv) reports submitted to EPA pursuant to the

RCRA Permit; (v) reports submitted to EPA after January 3, 1994 pursuant to the 1990

Administrative Consent Orders executed by Settling Defendant and MADEP; (vi) copies

submitted to EPA of reports submitted to CTDEP as listed in Appendix W; (vii) the EPA

Action Memorandum and the Unilateral Administrative Order (issued Dec. 18, 1996) for

the Building 68 Removal Action, the Administrative Record for such Action Memorandum

and reports submitted to EPA under such Unilateral Administrative Order; (viii) the EPA


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Action Memorandum for the Upper Reach, its Administrative Record and reports

submitted to EPA pursuant to that Action Memorandum, (ix) the EPA Action

Memorandum for the Allendale School Removal Action and its Administrative Record, (x)

other reports submitted to EPA in 1998 and 1999 relating to investigations and other

response actions conducted by Settling Defendant at the Site in those years (as listed in

Appendix V); (xi) the results of any sampling or other investigations conducted by EPA at

the Site, (xii) the EPA Action Memorandum for the Removal Actions Outside the River

and its Administrative Record, (xiii) with respect to the Designated Fill Properties, all

documents submitted by Settling Defendant to EPA regarding the Designated Fill

Properties; and (xiv) the narrative answers submitted by Settling Defendant in response

to EPA's September 4, 1997 (supplemented on May 22, 1998) CERCLA Section 104(e)

information requests ("EPA's Information Request"), and the September 9, 1997 MADEP

information request, as well as the narrative answers submitted by Settling Defendant on

August 19, 1996, November 27, 1996, March 19, 1997, June 2, 1997, and September 16,

1997, in response to information requests from MADEP dated July 19, 1996, and October

28, 1996 As of nine months following entry of this Consent Decree, for purposes of

Paragraphs 162 and 164.b, the information and the conditions known to EPA shall

include the documents specifically referenced in, and submitted with, Settling

Defendant's August 19, 1996, November 27, 1996, March 19, 1997. June 2, 1997, and

September 16, 1997 responses to MADEP's July 19, 1996. and October 28, 1996

information requests, and the Bates-numbered documents which were referenced by

Bates number in, and submitted with, Settling Defendant's narrative responses to EPA's


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Information Request and MADEP's September 9, 1997 information request As of

eighteen months following entry of the Consent Decree, for purposes of Paragraphs 162

and 164.b, the information and the conditions known to EPA shall include all other

documents submitted by Settling Defendant in response to EPA's Information Request

and MADEP's 1996 and 1997 information requests

              b.    For purposes of Paragraphs 163 and 164.C, the information and the

conditions known to EPA shall include only the information and conditions identified in the

subparagraph immediately above, and that information and those conditions known to

EPA as of the date of Certification of Completion of each individual Removal or Remedial

Action and set forth in the applicable Action Memorandum or final modification of the

Reissued RCRA Permit, the administrative record supporting the particular Removal or

Remedial Action, the administrative record developed in design or implementation of the

particular Removal or Remedial Action, or in any information received by EPA pursuant

to the requirements of this Consent Decree or the Reissued RCRA Permit prior to

Certification of Completion of the particular Removal or Remedial Action.

       166   Massachusetts Covenants

             a     (i)   In consideration of the actions that will be performed and the

payments that will be made by Settling Defendant under the terms of this Consent

Decree, and except as provided in Paragraphs 166.k, 167, 168, 175, and 176, the State

covenants not to sue or to take administrative action against Settling Defendant, pursuant

to the statutes and common law theories listed in Paragraph 166.a(ii), whether on its own

behalf or as parens patriae, for releases or threatened releases of Waste Material at the


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 Site (where such Waste Material originated at the GE Plant Area) or for performance of

the Work; provided, however, that such covenant is limited to claims or actions (A) to

compel Settling Defendant to implement, comply with, or fund response actions,

corrective actions or measures, or similar judicial or administrative response-type

injunctive relief; (B) for recovery, reimbursement, contribution, or equitable share of

response costs or Natural Resource Damages; and (C) for recovery, reimbursement,

contribution, or equitable share of property damage.

                       (ii)   The statutes and common law theories subject to the covenant

in Paragraph 166.a(i), and to the limitations set forth therein, are the following: Sections

107, 113, 121(e)(2), 121(f), and 310 of CERCLA; Sections 1002, 1005, 1006, 1008, and

1009 of the Oil Pollution Act; Section 7002 of RCRA; Section 20 of TSCA; Section 505 of

the Clean Water Act; Sections 3A, 4, 4A, 5, 9, and 10 of M.G.L. C.21E and Section 11 of

M.G.L. c.21E for violation or enforcement of such Sections 3A, 4, 4A, 5, 9, and 10,

Section 4 of M.G.L c. 21H; Sections 5, 7, and 11D of M.G.L c.12; Sections 42. 44, 46,

and 53 of M.G.L. c.21; Sections 9 and 10 of M.G.L C.21C; Sections 142A, 142B, 160,

160B, and 162 of M.G.L c.111; Section 169 of M.G.L c.111 for violation of Section 167;

Sections 40, 40A, 42, and 90 of M.G.L c.131; Section 7A of M.G.L. c.214; Section 39G

of M.G.L. c.40; Sections 59 and 59A of M.G.L c.91; Sections 4, 9, and 11 of M.G.L.

C.93A for violation of Section 2; and Section 6 of M.G.L. C.131A (including the

implementing regulations of the statutes listed in this subparagraph a(ii)); and nuisance,

trespass, negligence, strict liability, or restitution.




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                     (in)   While not agreeing that CERCLA does not authorize

challenges to decisions by EPA to waive ARARs for removal actions, the State agrees

not to challenge a decision by EPA to waive a standard or requirement for the Removal

Actions Outside the River, the Upper Va Mile Reach Removal Action, or the 1 Ya Mile

Reach Removal Action, based on the status of such standard or requirement as an

ARAR. The State further agrees not to challenge any failure by EPA to enforce such a

standard or requirement based on the status of such a standard or requirement as an

ARAR. The State reserves any other rights it may have with respect to enforcement or

waiver of such standard or requirement

                    (iv)    Nothing in this Paragraph 166 or Paragraph 22 shall be

interpreted as modifying or otherwise affecting any of the following

                            (A)   Settling Defendant's obligations to comply with all

ARARs for the Rest of River Remedial Action that have not been waived by EPA

pursuant to Section 121 of CERCLA and Special Condition II.J. of the Reissued RCRA

Permit,

                            (B)   the State's rights pursuant to Section 121 of CERCLA

and to this Consent Decree to receive notice of, and reasonable opportunity to comment

on, EPA's remedy selection plans and decision for the Rest of River,

                            (C)   the State's rights pursuant to Paragraph 22.bb of this

Consent Decree to seek review of any determination by EPA, in its initial or a revised

decision to modify the Reissued RCRA Permit, to waive an ARAR for the Rest of the

River Remedial Action or O&M; and


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                             (D)   any rights the State may have pursuant to Section 121

of CERCLA to bring an action challenging EPA's determination to waive an ARAR for the

Rest of the River Remedial Action or O&M during implementation of such Remedial

Action or O&M (other than bringing an action challenging EPA's selection of such

Remedial Action or O&M pursuant to Paragraph 22 bb) and/or to bnng an action

challenging EPA's failure to enforce such an ARAR dunng implementation of the Rest of

the River Remedial Action or O&M, provided that, in either case

                     (1)   the State brings such action in this Court,

                     (2)   the State bnngs such action within two years of obtaining

actual knowledge of EPA' s determination to waive such ARAR or its failure to enforce

such ARAR,

                     (3)   Settling Defendant or the State may request this Court to grant

a stay, pending the Court's decision, of the work (or portion of the work) for which

resolution of the State's challenge is necessary to be decided prior to proceeding or

proceeding further with such work (or portion thereof), and if Settling Defendant or the

State does so, there will be a rebuttable presumption in favor of granting such stay and

the Court will consider all relevant equitable factors in deciding whether to grant such

stay,

                     (4)   in the event that the Court holds that EPA has improperly

waived such ARAR or has improperly failed to enforce such ARAR, neither Settling

Defendant nor EPA shall be required to undo or re-do any implementation work that has

previously been completed by Settling Defendant or EPA, so as to comply with such


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ARAR However, Settling Defendant shall be required to comply with such ARAR in

accordance with the Court's decision, in implementing all future work,

                         (5)     Settling Defendant shall not be deemed to be in

noncompliance with this Consent Decree for failure to comply with such ARAR unless

and until the Court determines that EPA improperly waived or declined to enforce such

ARAR and Settling Defendant fails to comply with such ARAR in accordance with the

applicable schedule as determined by the Court or as approved by EPA (after reasonable

opportunity for review and comment by the State) following the Court's decision, and

                     (6)         the United States reserves its rights to respond to any such

State challenge, including the United States' right to argue that Section 121 of CERCLA

does not provide for such a challenge, and Settling Defendant reserves any rights it may

have to respond to any such State challenge.

              b.   (i)         In consideration of the actions that will be performed and the

payments that will be made by Settling Defendant under the terms of this Consent

Decree, and except as provided in Paragraphs 166.C and 175, the State covenants not to

sue or to take administrative action against Settling Defendant for civil or administrative

penalties or civil fines with respect to the release or threatened release of Waste

Materials at the Site (regardless of the manner in which such Waste Materials may be

listed, defined, or characterized under the statutes and regulations listed in subparagraph

166.b(i)(D) and regardless of whether such release or threatened release is

characterized as storage, release, threatened release, presence, disposal, discharge,

handling or otherwise pursuant to the statutes and regulations listed in subparagraph


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166.b(i)(D)) for alleged violations of or noncomphance with the following requirements

that occurred prior to the lodging of this Consent Decree and that are based on "known

conditions and information" (as set forth in Paragraph 166.b(iv))

                       (A)    the Consent Order issued by EPA on June 30, 1981, pursuant

to Sections 3007, 3013, and 7003 of RCRA;

                       (B)    the RCRA Permit;

                       (C)    the Administrative Consent Orders executed in 1981 and 1990

by MADEP and Settling Defendant, to the extent such Orders applied to any properties

within the Site; and

                       (D)    M.G.L. C.21E; the Massachusetts Contingency Plan, M G.L

c.21H; Sections 26-53 of M.G.L c.21; M.G.L. C.21C; Sections 150Aand 150B of M G.L

c 111; Sections 40, 40A, 42, and 90 of M.G.L c.131; M.G.L. c. 91; M.G.L. c 93A, and

M.G.L. c. 131A (including the implementing regulations of the statutes listed above and

including, but not limited to, alleged violations or noncompliance with respect to any

report, response, or submission by Settling Defendant, or failure to make a report,

response, or submission).

                       (ii)   The State and Settling Defendant concur that the remediation

of the existing Waste Material contamination at the Site is to be governed by this Consent

Decree, subject to the terms and conditions set forth herein. Accordingly, in

consideration of the actions that will be performed and the payments that will be made by

Settling Defendant under the terms of this Consent Decree, except as provided in

Paragraphs 166.C and 175, the State covenants not to sue or to take administrative


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action against Settling Defendant for civil or administrative penalties or civil fines with

respect to the performance of the Work, or with respect to the release or threatened

release of Waste Materials at the Site (regardless of the manner in which such Waste

Materials may be listed, defined, or characterized under the statutes and regulations

listed in subparagraph 166.b(iii) and regardless of whether such release or threatened

release is characterized as storage, release, threatened release, presence, disposal,

discharge, handling or otherwise pursuant to the statutes and regulations listed in

subparagraph 166.b(iii)) for alleged violations of or noncomphance with the following

requirements occurring after the lodging of this Consent Decree

                     (A)   those duties otherwise imposed by state law that have been

preempted by operation of CERCLA;

                     (B)   any obligations under state law where the conduct or inaction

that underlies such violation or noncomphance also constitutes a violation of Settling

Defendant's obligations under this Consent Decree (other than conduct or inaction that

constitutes a violation solely of the first sentence of Paragraph 8 of this Consent Decree

and not of any other provision of this Consent Decree); or

                     (C)   any obligations that Settling Defendant otherwise may have

independent of this Consent Decree, pursuant to the statutes and regulations listed in

Paragraph 166.b(iii), with respect to the continued presence or passive release of Waste

Materials at the Site that this Consent Decree is designed to address (regardless of the

manner in which such Waste Materials may be listed, defined, or characterized under

such statutes and regulations and regardless of whether such continued presence or


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 passive release is characterized as storage, release, threatened release, disposal

discharge, handling, or otherwise pursuant to such statutes), regarding the following

                      (1)   a duty to maintain records regarding, to abate, or to respond to

such continued presence or passive release,

                      (2)   a duty to secure a permit or other approval for such continued

presence or passive release; or

                      (3)   damage or injury caused by such continued presence or

passive release.

              (in)   The statutes and regulations referred to in Paragraph 166.b(ii) are

M.G.L c.21E; the Massachusetts Contingency Plan; M.G.L C.21H; Sections 26-53 of

M G L c.21, M G.L C.21C, Section 39G of M G.L c.40 and Sections 160, 162, and 170

of M.G.L c.111; Sections 150Aand 150B of M.G.L c 111, Sections 40, 40A, 42, and 90

of M.G.L c.131; M.G.L. c. 91; M.G.L. C.93A; and M.G.L c. 131A (including the

implementing regulations of the statutes listed above).

             (iv)    For purposes of Paragraph 166.b(i), "known conditions or

information" shall mean

                      (A)   Information and conditions described in the following, to the

extent received by the State 30 or more days pnor to lodging of this Consent Decree:

                     (1)    The reports submitted to MADEP in accordance with, and the

     documents issued by MADEP pursuant to, the 1981 Administrative Consent Order

     executed by MADEP and Settling Defendant;




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                  (2)   The reports submitted to MADEP in accordance with and the

     documents issued by MADEP pursuant to, the 1990 Administrative Consent

     Orders (dated May 22 and July 2, 1990) executed by MADEP and Settling

     Defendant,

                  (3)   The reports submitted to MADEP pursuant to the RCRA

    Permit,

                  (4)   The reports and other documents submitted by Settling

     Defendant to MADEP pursuant to the Unilateral Administrative Order (issued by

     EPA to Settling Defendant on December 18, 1996) for the Building 68 Removal

    Action,

                  (5)   Reports and other documents submitted to MADEP by

     Settling Defendant which were also submitted to EPA pursuant to the EPA Action

    Memorandum for the Upper Reach,

                  (6)   The reports listed in Appendix V (which consist of other

    reports submitted to MADEP in 1998 and 1999 relating to investigations and other

    response actions conducted by Settling Defendant at the Site in those years),

                  (7)   The results of any sampling or other investigations conducted

    by MADEP at or regarding the Site,

                  (8)   Copies of reports submitted by EPA to MADEP of sampling or

    other investigations conducted by EPA at the Site, and




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                      (9)    Settling Defendant's responses (including Bates numbered

        and other documents submitted in such responses) to MADEP's 1996 and 1997

        Requests for Information; and

                      (B)    Information made known to MADEP concerning the Site, after

entry of the Consent Decree, relating to the presence, concentrations, and quantities of

Waste Materials or practices and policies for the treatment or disposal of Waste Materials

(regardless of the manner in which such Waste Materials may be listed, defined, or

characterized under the statutes and regulations listed in subparagraph 166.b(i)(D) that is

generally consistent with such information already known to MADEP at least 30 days

prior to lodging of this Consent Decree, as provided in subparagraphs iv(A)(1)-(9) above

              c     The covenant in Paragraph 166.b shall not apply to, and the State

specifically reserves, any judicial or administrative claim seeking civil or administrative

penalties for the following (i) failure to notify MADEP of releases or threats of releases of

oil or hazardous material; (ii) failure to timely, adequately, and completely respond to, or

comply with, requests for information issued by MADEP, including, but not limited to

failure to produce complete and timely information and records to MADEP with regard to

the transportation, transfer, or disposal of fill, debris, or other material from the GE Plant

Area, and making, or causing any person to make, false, inaccurate, incomplete, or

misleading statements with regard to the transportation, transfer, or disposal of fill, debris,

or other material from the GE Plant Area; (iii) to the extent not covered by clauses (i) and

(ii), failure, prior to the lodging of this Consent Decree, to produce complete and timely

information and records to MADEP with regard to the transportation, transfer, or disposal


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of fill debris or other material from the GE Plant Area to or at Newell Street Area I or II

as defined in the SOW, and (iv) to the extent not covered by clauses (i) and (n) making

or causing any person to make, false, inaccurate, incomplete, or misleading statements

prior to the lodging of this Consent Decree, with regard to the transportation, transfer, or

disposal of fill, debris, or other material from the GE Plant Area to or at Newell Street

Area I or II as defined in the SOW, and (v) the matters reserved in Paragraph 175

(General Reservations), including all claims, liability, and actions expressly referenced

therein

              d    Except as otherwise expressly provided by the terms of Paragraph

166 b, the covenant set forth in Paragraph 166 b does not apply to any judicial or

administrative action through which the State is seeking a civil penalty for violations of

those statutes set forth in Paragraph 166 b, provided, however, that nothing in this

subparagraph shall be interpreted as qualifying the terms of Paragraph 166 c

              e    The State's covenants at Paragraphs 166 b and 166 j shall be effective

upon entry of this Consent Decree Except with respect to the covenants for future

liability at Paragraphs 166 a and 166 g, the covenants not to sue at Paragraphs 166 a

and 166 g shall take effect upon the receipt by the State of the payment required by

Paragraph 94 d(i) of Section XX (Reimbursement of Costs) With respect to future

liability, the covenants not to sue at Paragraphs 166 a and 166 g shall be effective for

each Removal or Remedial Action to be performed by Settling Defendant pursuant to this

Consent Decree, and for the area and media addressed by such Removal or Remedial

Action, upon EPA's Certification of Completion for that individual Removal or Remedial


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 Action, except for the 1 V* Mile Reach, for which the covenant not to sue for future liability

 shall be effective upon EPA's completion of the 1 % Mile Reach Removal Action referred

 to in Paragraph 21 of this Consent Decree The covenant not to sue for future liability for

 the Site under Paragraphs 166.a and 166.g shall be effective upon EPA's issuance of the-

 final Certification of Completion of Work for the Site issued pursuant to Paragraph 89 of

 this Consent Decree. EPA's Certification of Completion of Work for the Site shall state

 that it is the final Certification for purposes of this Paragraph 161 .e.

               f.   These covenants not to sue are conditioned upon the satisfactory

performance by Settling Defendant of its obligations under this Consent Decree,

provided, however, that a failure by Settling Defendant to satisfactorily perform its

obligations with respect to a Removal or Remedial Action shall not affect the State's

covenant not to sue with respect to any other Removal or Remedial Action, unless such

failure to satisfactorily perform its obligations with respect to one Removal or Remedial

Action results in a Work Takeover pursuant to Paragraph 178 of this Consent Decree, in ­

which case the covenants not to sue do not apply to any Removal or Remedial Action

subject to the Work Takeover.

               g    Without addressing whether the United States could lawfully do so, the

Parties acknowledge that the United States has not to date delegated to the State the

authority to take administrative or judicial action pursuant to Section 106 of CERCLA

The Parties further acknowledge that they intend that, in the event the United States

were to delegate such authority to the State, the State shall not exercise such authonty to




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the extent that the United States has covenanted not to exercise such authority in

Paragraph 161 of this Consent Decree

                 h    Nothing in this Consent Decree affects Settling Defendant s obligations

pursuant to M G L c.253, §§ 44-50A, and to the regulations promulgated thereunder, and

the State reserves the right to take any administrative or judicial action to enforce any

such obligations, including, but not limited to, issuing administrative orders or pursuing

judicial enforcement or cost recovery, provided however, that the Parties acknowledge

that such authority shall be used exclusively with regard to the dam safety purposes

underlying such obligations, and not to seek additional response actions or costs to

address the contamination concerns addressed by this Consent Decree

              i      The covenants included in this Paragraph 166 do not constitute a

Brownfields Covenant Not to Sue Agreement entered into pursuant to M G L c 21E,

§ 3AQ)(3) and 940 C M R 23 00

             j       Notwithstanding any other provision of this Consent Decree, the State

covenants not to seek civil penalties pursuant to Section 310 of CERCLA for any violation

of this Consent Decree by Settling Defendant

             k       The covenants in this Paragraph 166 shall not apply to, and the State

specifically reserves, any rights or claims that the Massachusetts Highway Department

may have against Settling Defendant under any contracts, existing as of the date of

lodging of this Consent Decree, between the Massachusetts Highway Department and

Settling Defendant relating to the Massachusetts Highway Department's project to

reconstruct Merrill Road and East Street in Pittsfield, Massachusetts, including but not


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limited to such contracts regarding the properties and easements taken by eminent

domain from Settling Defendant by the Massachusetts Highway Department in 1997 for

the purpose of such reconstruction.

       167.   State's Pre-Certification Reservations (Except Relating to Natural Resource

Damages): The State reserves its rights pursuant to this Paragraph with respect to

performance of each individual Removal or Remedial Action at the Site. Issuance of a

Certification of Completion for any individual Removal or Remedial Action at the Site shall

have no effect on the covenants or reservations of rights by the State for any other

response action at the Site. Subject to Paragraph 177 (Issuance of Administrative

Orders) of this Consent Decree, the State on behalf of MADEP reserves, and this

Consent Decree is without prejudice to, any right jointly with, or separately from, the

United States to institute proceedings in this action or in a new action under Section 107

of CERCLA, 42 U.S.C. § 9607, or under any applicable State law, including but not

limited to M.G.L. c. 21E, seeking to compel Settling Defendant (1) to perform other

response actions at the Site, or (2) to reimburse the State for additional response costs

for response actions at the Site, to the extent that EPA has determined that such

response actions required under (1) and (2) above in this Paragraph will not significantly

delay or be inconsistent with the response actions selected or contemplated by EPA, if,

prior to EPA's Certification of Completion of each individual Removal or Remedial Action;

      (i) conditions at the Site, previously unknown to the State, are discovered or

become known to the State, or




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        (n) information previously unknown to the State is received by the State in whole

or in part,

and the MADEP Commissioner or his or her delegate determines, pursuant to M G L c

21 E, that these previously unknown conditions or this information together with any other

relevant information indicate that the individual Removal or Remedial Action taken is not

protective of health, safety, public welfare or the environment, provided that such further

response actions are related to MADEP's determination that the individual Removal or

Remedial Action is not protective of human health and the environment         The United

States reserves all nghts it may have under applicable law to oppose any determinations

made or any actions taken, ordered or proposed by the State pursuant to this Paragraph

       168      State's Post-Certification Reservations (Except Relating to Natural

Resources Damages) The State reserves its rights pursuant to this Paragraph with

respect to performance of each individual Removal or Remedial Action at the Site

Issuance of a Certification of Completion for any individual Removal or Remedial Action

at the Site shall have no effect on the covenants or reservations of rights by the State for

any other response action at the Site Subject to Paragraph 177 of this Consent Decree,

the State, on behalf of MADEP, reserves, and this Consent Decree is without prejudice

to, the right jointly with, or separately from, the United States to institute proceedings in

this action or in a new action under Section 107 of CERCLA, 42 U S C § 9607, or under

any applicable State law, including but not limited to M.G.L c 21 E, seeking to compel

Settling Defendant (1) to perform other response actions at the Site, or (2) to reimburse

the State for additional response costs for response actions at the Site, to the extent that


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EPA has determined that such response actions required under (1) and (2) above in this

Paragraph will not significantly delay or be inconsistent with the response actions

selected or contemplated by EPA, if, subsequent to EPA's Certification of Completion of

each individual Removal or Remedial Action

       (i) conditions at the Site, previously unknown to the State, are discovered or

become known to the State after the Certification of Completion, or

       (li) information previously unknown to the State is received by the State, in whole

or in part, after the Certification of Completion,

and the MADEP Commissioner or his or her delegate determines, pursuant to M G.L c

21E, that these previously unknown conditions or this information together with any other

relevant information indicate that the individual Removal or Remedial Action taken is not

protective of health, safety, public welfare or the environment; provided that such further

response actions are related to MADEP's determination that the individual Removal or

Remedial Action is not protective of human health and the environment      The United

States reserves all rights it may have under applicable law to oppose any determinations

made or any actions taken, ordered or proposed by the State pursuant to this Paragraph

       169.   State's Known Information and Conditions

              a.      For purposes of Paragraphs 167 and 174.b, except as specified

below, the information and the conditions known to the State shall include only the

information and conditions described in the following, to the extent received by the State

30 days or more prior to lodging:




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                     (i)     The reports submitted to MADEP in accordance with, and the

documents issued by MADEP pursuant to, the 1981 Administrative Consent Order

executed by MADEP and Settling Defendant;

                    (ii)     The reports submitted to MADEP in accordance with, and the

documents issued by MADEP pursuant to, the 1990 Administrative Consent Orders

(dated May 22 and June 29, 1990) executed by MADEP and Settling Defendant,

                    (iii)    The reports submitted to MADEP pursuant to the RCRA Permit;

                    (iv) Reports and other documents submitted by Settling Defendant

to MADEP pursuant to the EPA Unilateral Administrative Order (issued to Settling

Defendant on Dec. 18, 1996) for the Building 68 Removal Action;

                    (v)      Reports and other documents submitted by Settling Defendant

to MADEP pursuant to the EPA Action Memorandum for the Upper Reach;

                    (vi)     The EPA Action Memorandum for the Allendale School

Removal Action and its Administrative Record;

                    (vii)    The reports listed in Appendix V, which consist of other reports

submitted to MADEP in 1998 and 1999 relating to investigations and other response

actions conducted by Settling Defendant at the Site in those years;

                    (viii)   The results of any sampling or other investigations conducted

by MADEP at the Site;

                    (ix)     Copies of reports submitted by EPA to MADEP of sampling or

other investigations conducted by EPA at the Site; and




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                     (x)   Settling Defendant's written narrative answers (excluding

documents referenced therein) submitted by Settling Defendant in response to MADEP's

July 19, 1996, October 28, 1996, and September 9, 1997 Requests for Information

              As of nine months following entry of this Consent Decree, for purposes of

Paragraphs 167 and 174.b, the information and the conditions known to the State shall

include the documents referenced in and submitted with Settling Defendant's responses

to MADEP's 1996 Requests for Information and the Bates-numbered documents which

Settling Defendant submitted with and specifically cross-referenced in its narrative

answers submitted in response to MADEP's September 9, 1997 Request for Information.

As of eighteen months following entry of this Consent Decree, for purposes of

Paragraphs 167 and 174.b, the information and the conditions known to the State shall

include the remaining Bates-numbered documents submitted by Settling Defendant in

response to MADEP's September 9, 1997 Request for Information.

             b.     For purposes of Paragraphs168 and 174.C, the information and the

conditions known to the State shall include only the information and the conditions

identified in subparagraph 169.a, and that information and those conditions known to

MADEP as of the date of the Certification of Completion of each individual Removal or

Remedial Action, EPA's administrative record supporting the particular Removal or

Remedial Action, the administrative record developed in design or implementation of the

particular Removal or Remedial Action, or any information received by MADEP pursuant

to the requirements of this Consent Decree or the Reissued RCRA Permit prior to the

Certification of Completion of the particular Removal or Remedial Action.


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       170    Connecticut Covenants

              a In consideration of the actions that will be performed and the payments

that will be made by the Settling Defendant under the terms of this Consent Decree, and

except as specifically provided in Paragraphs 171, 172, 175 and 176 of this Section,

Connecticut covenants not to sue or take administrative action against Settling Defendant

pursuant to Sections 107, 121(e)(2), or 113 of CERCLA, Sections 310 and 106 of

CERCLA, Sections 7002 and 7003 of RCRA, Sections 20 and 7 of TSCA, Sections 1002,

1005, 1006, 1008 and 1009 of the Oil Pollution Act or Sections 505 and 504 of the Clean

Water Act for releases or threatened releases of substances subject to these statutes at

the Site, where such substances originated at the GE Plant Area, or for performance of

the Work, and not to sue or take administrative action against Settling Defendant

pursuant to the Connecticut statutory provisions set forth herein with respect to releases,

spills or discharges of or pollution from, or threatened releases, spills or discharges of or

pollution from, the chemical liquids, hazardous wastes, oil or petroleum, waste oil or solid,

liquid or gaseous products subject to such statutes at the Site, where such substances

originated at the GE Plant Area, or for performance of the Work. The Connecticut

statutory provisions subject to Connecticut's covenant are Sections 5, 6, 6a, 7, 427, 432,

435, 451 and 452 of Title 22a of the Connecticut General Statutes, and, to the extent

Connecticut participates in the New England Interstate Water Pollution Control

Commission, these covenants include Section 309, Article XII of the'Connecticut General

Statutes. For purposes of this subparagraph a, the phrase "substances subject to these

statutes" includes wastes, hazardous constituents, refuse, materials, chemical


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 substances or mixtures, PCBs, pollutants, oil, hazardous substances, and pollution

sources.

               b. In consideration of the actions that will be performed and the payments

that will be made by the Settling Defendant under the terms of this Consent Decree, and

except as specifically provided in Paragraphs 171, 172, 175 and 176 of this Section and

subject to the limitations set forth herein, Connecticut covenants not to sue Settling

Defendant pursuant to Sections 7002 and 3004(u) or (v) of RCRA, Sections 7002 and

3008 of RCRA, Sections 20 and 17 of TSCA, Sections 505 and 309 of the Clean Water

Act, or Sections 505 and 311 of the Clean Water Act; and further covenants not to sue

Settling Defendant for nuisance, negligence, negligence per se, strict liability for

ultrahazardous activity, restitution, reckless misconduct, trespass, or under the public

trust doctrine theory, with respect to pollution, chemical liquids, hazardous wastes, oil or

petroleum, waste oil or solid, liquid or gaseous products at the Site where such pollution,

chemical liquids, hazardous wastes, oil or petroleum, waste oil or solid, liquid or gaseous

products originated at the GE Plant Area, or for performance of the Work; and further

covenants not to sue or take administrative action against Settling Defendant, pursuant to

the statutory provisions set forth herein, with respect to the pollution, chemical liquids,

hazardous wastes, oil or petroleum, waste oil or solid, liquid or gaseous products subject

to the statutes set forth herein at the Site, where such pollution, chemical liquids,

hazardous wastes, oil or petroleum, waste oil or solid, liquid or gaseous products

originated at the GE Plant Area, or for performance of the Work. The Connecticut

statutory provisions subject to Connecticut's covenant are Sections 6b, 6e, 14 et seq.


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(Environmental Protection Act), 123, 131, 133c-g, 225, 226, 226a, 226b. 416 430 438.

449(c) and 463-469 of Title 22a of the Connecticut General Statutes. Connecticut's

covenant set forth in this subparagraph 170.D, with respect to the aforementioned

common law and statutory provisions, does not apply to any action other than: (i) an

action to compel Settling Defendant to implement response actions, corrective actions or

measures, or for other similar judicial or administrative injunctive relief; or (ii) an action for

recovery of response costs, damages, civil penalties or Natural Resource Damages

              c.    For purposes of subparagraphs a and b of this Paragraph 170, the

phrase "pollution, chemical liquids, hazardous wastes, oil or petroleum, waste oil or solid,

liquid or gaseous products" shall be as defined in Chapters 445 or 446k of the

Connecticut General Statutes.

              d.     Except with respect to future liability, these covenants not to sue shall

take effect upon the receipt by Connecticut of the payment required by Paragraph 94.e of

Section XX (Reimbursement of Costs) With respect to future liability, the covenant not to

sue shall be effective for each Removal or Remedial Action upon EPA's Certification of

Completion for that individual Removal or Remedial Action to be performed by the

Settling Defendant, except for the 1 '/& Mile Reach, for which the covenant not to sue for

future liability shall be effective upon EPA's completion of the 1 '/> Mile Reach Removal

Action referred to in Paragraph 21 of this Consent Decree. The covenant not to sue for

future liability for the Site shall be effective upon EPA's issuance of the final Certification

of Completion of the Work for the Site pursuant to Paragraph 89 of this Consent Decree.




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               e    These covenants not to sue are conditioned upon the satisfactory

performance by Settling Defendant of its obligations under this Consent Decree

provided, however, that a failure by'Settling Defendant to satisfactorily perform its

obligations with respect to a Removal or Remedial Action shall not affect Connecticut's

covenant not to sue with respect to any other Removal or Remedial Action, unless such

failure to satisfactorily perform its obligations with respect to one Removal or Remedial

Action results in a Work Takeover pursuant to Paragraph 178 of this Consent Decree, in

which case the covenants not to sue do not apply to any Removal or Remedial Action

subject to the Work Takeover

              f.   In addition, Paragraphs 166.a(iii) and 166 a(iv) are incorporated into

this Paragraph 170 f by reference except that each reference to "the State" shall be read

as a reference to "Connecticut," each reference to "Paragraph 166" shall be read as a

reference to "Paragraph 170," and each reference to "Paragraph 22 bb" shall be read as

a reference to "Paragraph 22.cc"

       171    Connecticut's Pre-Certrfication Reservations (Except Relating to Natural

Resource Damages}. Connecticut reserves its rights pursuant to this Paragraph with

respect to performance of each individual Removal or Remedial Action at the Site

Issuance of a Certification of Completion for any individual Removal or Remedial Action

at the Site shall have no effect on the covenants or reservations of rights by Connecticut

for any other response action at the Site Subject to Paragraph 177 of this Consent

Decree, the State of Connecticut on behalf of CTDEP reserves, and this Consent Decree

is without prejudice to, any right jointly with, or separately from, the United States to


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institute proceedings in this action or in a new action under Section 107 of CERCLA 42

U S C § 9607, or under any applicable Connecticut law, including but not limited to

Conn Gen Stat §§ 22a~432 and 22a-451, seeking to compel "Settling Defendant (1) to

perform other response actions at the Site, or (2) to reimburse Connecticut for additional

response costs for response actions at the Site, to the extent that EPA has determined

that such response actions required under (1) and (2) above in this Paragraph will not

significantly delay or be inconsistent with the response actions selected or contemplated

by EPA, if, prior to EPA's Certification of Completion of each individual Removal or

Remedial Action

       (i) conditions at the Site, previously unknown to Connecticut, are discovered or

become known to Connecticut, or

       (u) information previously unknown to Connecticut is received by Connecticut, in

whole or in part,

and the CTDEP Commissioner or his or her delegate determines, pursuant to Conn Gen

Stat §§ 22a-432 and 22a-451, that these previously unknown conditions or this

information together with any other relevant information indicate that the individual

Removal or Remedial Action taken is not protective of health, safety, public welfare or the

environment, provided that such further response actions are related to CTDEP's

determination that the individual Removal or Remedial Action is not protective of human

health and the environment The United States reserves all rights it may have under

applicable law to oppose any determinations made or any actions taken, ordered or

proposed by Connecticut pursuant to this Paragraph


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        172    Connecticut's Post-Certrfication Reservations (Fxrept Relating to Natural

 Resource Damages) Connecticut reserves its rights pursuant to this Paragraph with

 respect to performance of each individual Removal or Remedial Action at the Site

 Issuance of a Certification of Completion for any individual Removal or Remedial Action

at the Site shall have no effect on the covenants or reservations of rights by Connecticut

for any other response action at the Site Subject to Paragraph 177 of this Consent

Decree, the State of Connecticut, on behalf of CTDEP, reserves, and this Consent

Decree is without prejudice to, the right jointly with, or separately from, the United States

to institute proceedings in this action or in a new action under Section 107 of CERCLA,

42 U.S C § 9607, or under any applicable Connecticut law, including but not limited to

Conn Gen Stat §§ 22a-432 and 22a-451, seeking to compel Settling Defendant (1) to

perform other response actions at the Site, or (2) to reimburse Connecticut for additional

response costs for response actions at the Site, to the extent that EPA has determined

that such response actions required under (1) and (2) above in this Paragraph will not

significantly delay or be inconsistent with the response actions selected or contemplated

by EPA, if, subsequent to EPA's Certification of Completion of each individual Removal

or Remedial Action.

       (i) conditions at the Site, previously unknown to Connecticut, are discovered or

become known to Connecticut after the Certification of Completion, or

       (ii) information previously unknown to Connecticut is received by Connecticut, in

whole or in part, after the Certification of Completion,




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and the CTDEP Commissioner or his or her delegate determines, pursuant to Conn Gen

Stat. §§ 22a-432 and 22a-451, that these previously unknown conditions or this

information together with any other relevant information indicate that the individual

Removal or Remedial Action taken is not protective of health, safety, public welfare or the

environment; provided that such further response actions are related to CTDEP's

determination that the individual Removal or Remedial Action is not protective of human

health and the environment. The United States reserves all rights it may have under

applicable law to oppose any determinations made or any actions taken, ordered or

proposed by Connecticut pursuant to this Paragraph.

       173.   Connecticut Known Conditions and Information.

              a.     For purposes of Paragraph 171, except as specified below, the

information and the conditions known to Connecticut shall include the following, to the

extent received by Connecticut 30 days or more prior to the date of lodging of this

Consent Decree: (i) the 1981 RCRA Administrative Consent Order issued by EPA; (ii)

reports submitted to EPA pursuant to the 1981 RCRA Administrative Consent Order; (iii)

the Administrative Record for the RCRA Permit (including the administrative records for

the RCRA permit issued on February 11, 1991, and for the modified permit issued

effective January 3, 1994, as described in Paragraph I of Section I); (iv) reports submitted

to EPA pursuant to the RCRA Permit; (v) reports submitted to EPA after January 3, 1994

pursuant to the 1990 Administrative Consent Orders executed by Settling Defendant and

MADEP; (vi) reports submitted to CTDEP under the 1984 and 1990 Cooperative

Agreements between Settling Defendant and CTDEP and reports submitted to CTDEP


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regarding investigations of the Connecticut portion of the Housatonic River subsequent to

1995 (all as listed in Appendix W), (vn) the EPA Action Memorandum and EPA Unilateral

Administrative Order (issued to Settling Defendant on Dec 18, 1996) for the Building 68

Removal Action, the Administrative Record for such Action Memorandum and reports

submitted to EPA under such Unilateral Administrative Order; (viii) the EPA Action

Memorandum for the Upper Reach, its Administrative Record, and reports submitted to

EPA pursuant to that Action Memorandum, (ix) other reports submitted to EPA in 1998

and 1999 relating to investigations and other response actions conducted by Settling

Defendant at the Site in those years (as listed in Appendix V), (x) the EPA Action

Memorandum for the Allendale School Removal Action and its Administrative Record, (xi)

the EPA Action Memorandum for the Removal Actions Outside the River and its

Administrative Record, (xn) the results of any sampling or other investigations conducted

by Connecticut at the Site, and (xm) copies of reports submitted to CTDEP concerning

sampling or other investigations conducted by EPA or MADEP at the Site.

             b       For purposes of Paragraph 172, the information and the conditions

known to Connecticut shall include only the information and conditions identified in the

subparagraph immediately above, and that information and those conditions known to

Connecticut as of the date of Certification of Completion of each individual Removal or

Remedial Action, the administrative record supporting the particular Removal or

Remedial Action, the administrative record developed in design or implementation of the

particular Removal or Remedial Action, or any information received by Connecticut




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pursuant to the requirements of this Consent Decree prior to Certification of Completion

of the particular Removal or Remedial Action.

       174.   Massachusetts Covenants as to the City

              a.    (i) In consideration of the facts and circumstances, and the actions that

will be performed in connection with this Consent Decree and the Definitive Economic

Development Agreement, and except as specifically provided in Paragraphs 167, 168,

and 175 of this Section and below in this Paragraph 174, the State covenants not to sue

or to take administrative action against the City in its capacity as an owner, within the

meaning of Sections 5(a)(1) of M.G.L C.21E and 107(a)(1) of CERCLA, of the portions of

the property identified in Appendix U that are within the Site, pursuant to Section 5(a) of

M.G.L. c. 21E or Section 107(a) of CERCLA, for releases or threatened releases of

Waste Materials at such portions of property within the Site; provided, however, that with

respect to the property at 901 Holmes Road (Parcel No. J2-2-1), the State's covenant

shall extend only to releases or threatened releases of Waste Materials that originated at

the GE Plant Area and that are remediated pursuant to this Consent Decree. Except with

respect to the covenants for future liability, these covenants not to sue shall take effect

upon entry of this Consent Decree. With respect to future liability, the covenants not to

sue shall be effective for each property upon EPA's Certification of Completion for the

individual Removal or Remedial Action related to such property. The covenant not to sue

in this Paragraph with respect to each particular property is contingent upon the

satisfactory performance by the City of its obligations under this Consent Decree as to

such particular property.


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                             (A)   The City certifies that as to each property identified in

Appendix U except for 901 Holmes Road (Parcel No, J2-2-1) and the Allendale School

Property (Parcel No. K11-7-29): (1) the City, despite due diligence, was unaware of the

existence of the contamination at the property at the time it obtained an interest in such

property; (2) the City has not caused or contributed to the release of Waste Materials at

such property, (3) the City has not disposed of Waste Materials at such property; and (4)

for each property, the City meets the requirements of Section 5(c)(3) of M.G.L. c.21 E

                            (B)    With respect to 901 Holmes Road, the City certifies that:

(1) the City, despite due diligence, was unaware of the existence of the contamination

that originated at the GE Plant Area at the property at the time it obtained an interest in

the property; and (2) the City has not knowingly, or as a result of its negligence in the

ownership or operation of its wastewater treatment facility, caused or contributed to the

release of, or disposed of, Waste Materials that originated at the GE Plant Area, except in

connection with federally permitted releases as defined in Section 101(10) of CERCLA,

42 U.S.C. §9601(10).

                            (C)    With respect to the Allendale School Property, the City

certifies that: (1) the City, despite due diligence, was unaware of the existence of

contamination at the property at the time it obtained an interest in the property; and (2)

since placement of fill material in connection with construction of the school in 1950­

1951, the City has not knowingly or negligently caused or contributed to the release of, or

disposed of, Waste Materials at such property.




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                     (ii)    These covenants not to sue are conditioned upon the veracity

of the City's certifications. The language of the certifications in this Paragraph shall not

be construed to expand the scope of Ihe covenant not to sue in this Paragraph 174

Should the State determine that such certifications, in whole or in part, were not true or

accurate with respect to a particular property at the time of entry of this Consent Decree,

these covenants not to sue shall be null and void as to that particular property.

                     (iii)   The State's covenant under this Paragraph 174 also is subject

to the following conditions:

                               (A)   with respect to the portions of property identified in

Appendix U that are within the Site, the City's compliance with the release notification

provisions established by M.G.L. C.21E and the MCP;

                               (B)   the City's providing reasonable access upon reasonable

notice, as provided in M.G.L. C.21E and the MCP, to the portions of property identified in

Appendix U that are within the Site to employees, agents, and contractors of MADEP for

all purposes authorized by M.G.L. C.21E and the MCP, and to other persons intending to

conduct response actions pursuant to that Chapter and the MCP and/or pursuant to this

Consent Decree;

                               (C)   the City's responding in a reasonably timely manner to

any request made by the State to produce information with respect to portions of property

identified in Appendix U that are within the Site as required pursuant to M.G.L. C.21E and

the MCP; and




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                             (D)    the City's taking reasonable steps as appropriate (1)

to prevent the exposure of people to Waste Materials on portions of property identified in

Appendix U that are within the Site and under the City's'control; and (2) to contain any

further release or threat of release of Waste Material from a structure or container under

the City's control located on portions of property identified in Appendix U that are within

the Site upon obtaining knowledge of a release or threat of release of Waste Material,

provided, however, that such steps shall not interfere with Settling Defendant's or EPA's

performance of response actions pursuant to this Consent Decree.

       b.   State's Pre-Certification Reservations as to the City

              The State on behalf of MADEP reserves, and this Consent Decree is

without prejudice to, any right jointly with, or separately from, the United States to institute

proceedings in this action or in a new action under Section 107 of CERCLA, 42 U.S.C.

§ 9607, or under any applicable State law, including but not limited to M.G.L. c.21 E,

seeking to compel the City, with respect to the properties identified in Appendix U, (1) to

perform other response actions at the Site, or (2) to reimburse the State for additional

response costs for response actions at the Site, to the extent that EPA has determined

that such response actions required under (1) and (2) above in this Paragraph will not

significantly delay or be inconsistent with the response actions selected or contemplated

by EPA, if, prior to EPA's Certification of Completion of each individual Removal or

Remedial Action:

              (i)   conditions at such property, previously unknown to the State, are

discovered or become known to the State, or


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               (ii)    information previously unknown to the State is received by the State

in whole or in part,

and the MADEP Commissioner or his or her delegate determines, pursuant to M.G.L

c.21E, that these previously unknown conditions or this information together with any

other relevant information indicate that the individual Removal or Remedial Action taken

is not protective of health, safety, public welfare or the environment; provided that such

further response actions are related to MADEP's determination that the individual

Removal or Remedial Action is not protective of human health and the environment. The

United States reserves all rights it may have under applicable law to oppose any

determinations made or any actions taken, ordered or proposed by the State pursuant to

this Paragraph.

       c    State's Post-Certification Reservations as to the City

              The State, on behalf of MADEP, reserves, and this Consent Decree is

without prejudice to, the right jointly with, or separately from, the United States to institute

proceedings in this action or in a new action under Section 107 of CERCLA, 42 U.S.C. §

9607, or under any applicable State law, including but not limited to M.G.L c.21 E,

seeking to compel the City, with respect to the .properties identified in Appendix U, (1) to

perform other response actions at the Site, or (2) to reimburse the State for additional

response costs for response actions at the Site, to the extent that EPA has determined

that such response actions required under (1) and (2) above in this 'Paragraph will not

significantly delay or be inconsistent with the response actions selected or contemplated




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by EPA, If, subsequent to EPA's Certification of Completion of each individual Removal

or Remedial Action

                      (i)    conditions at such property, previously unknown to the State

are discovered or become known to the State after the Certification of Completion, or

                      (ii)   information previously unknown to the State is received by the

State, in whole or in part, after the Certification of Completion,

and the MADEP Commissioner or his or her delegate determines, pursuant to M G.L

c.21 E, that these previously unknown conditions or this information together with any

other relevant information indicate that the individual Removal or Remedial Action taken

is not protective of health, safety, public welfare or the environment; provided that such

further response actions are related to MADEP's determination that the individual

Removal or Remedial Action is not protective of human health and the environment The

United States reserves all rights it may have under applicable law to oppose any

determinations made or any actions taken, ordered or proposed by the State pursuant to

this Paragraph

       175.   General Reservations of Rights. The covenants not to sue set forth above

do not pertain to any matters other than those expressly specified in Paragraph 161,

164.a, 166, 170, and 174.a. The United States, Connecticut and the State reserve, and

this Consent Decree is without prejudice to, all rights against Settling Defendant and the

City with respect to all other matters, including but not limited to, the following:

              a.      claims based on a failure by Settling Defendant or the City (as

applicable) to meet a requirement of this Consent Decree;


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                  b      liability arising from the past, present, or future disposal release or

threat of release of Waste Material outside of the Site, except, as to claims of the United

States against Settling Defendant, with respect to Designated Fill Properties,

              c       liability for future disposal of Waste Material at the Site, other than as

provided in the Consent Decree, the SOW, the Upper !4 Mile Reach Removal Action

Work Plan, the Rest of the River SOW, Work Plans approved pursuant to the Consent

Decree, the SOW, or the Rest of the River SOW, the Work to be performed under this

Consent Decree, or otherwise ordered by EPA,

              d        criminal liability,

              e        liability for violations of federal or state law which occur during or after

implementation of any Removal or Remedial Action under this Consent Decree,

              f       liability, prior to Certification of Completion of the Groundwater

Removal Actions under this Consent Decree, for additional response actions that EPA

determines are necessary to achieve Performance Standards for NAPL, as set forth in

the Consent Decree and SOW for such Removal Actions, but that cannot be required

pursuant to Paragraph 39 (Modification of the SOW or Related Work Plans),

              g       liability arising from the past, present or future operations by Settling

Defendant at the GE Plant Area unrelated to the releases or threatened releases of

Waste Material that are the subject of this Consent Decree, to performance of the Work

or, as to the United States, to Designated Fill Properties,

              h       any judicial or administrative action seeking injunctive relief to require

Settling Defendant or the City (i) to comply with any legal obligations to report releases


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 or threats of releases of Waste Material, to respond to requests for information or

 otherwise to provide timely, complete, and accurate information to the United States, the

 State, or Connecticut; or (ii) to comply with any other ongoing obligations of state or

federal law, except as provided in Paragraphs 161, 164, 166, 170, 174 and 177, as

applicable;

              i.   any claims or defenses relating to the administration or enforcement of

a recorded ERE and/or CER at the Site that EPA or the State may otherwise have under

state or federal law against Settling Defendant or the City in its capacity as grantor of a

recorded ERE and/or CER or as the owner of property subject to a recorded ERE and/or

CER; provided, however, that any disputes regarding the obligations of Settling

Defendant, in its capacity as Settling Defendant (and not in its capacity as grantor of a

recorded ERE and/or CER or as an owner of property subject to a recorded ERE and/or

CER), pursuant to Section XIII of this Consent Decree shall be subject to dispute

resolution as authorized pursuant to Section XXIV of this Decree,

              j.   in the event Settling Defendant asserts a claim against the United

States, Connecticut, or the State pursuant to Paragraph 184 of this Consent Decree, all

claims, counterclaims, defenses, or causes of action against the Settling Defendant

arising out of the same matters, transactions, or occurrences that are the subject of

Settling Defendant s claim; and

              k.   liability of the City arising from the past, present or future disposal,

release or threat of release of Waste Material other than at those portions of the

properties identified in Appendix U that are within the Site.


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       176.   Reservations Relating to Natural Resource Damages Notwithstanding any

other provision of this Consent Decree, the United States, the State and Connecticut on

behalf of their respective Trustees, NOAA, DOI, EOEA and CTDEP, reserve the right to

institute proceedings against Settling Defendant in this action or in a new action seeking

recovery of Natural Resource Damages, if, after lodging of this Consent Decree:

              a.     there is:

                     (i) a catastrophic failure of Woods Pond Dam or Rising Pond Dam

that results in a substantial release of PCBs from the impoundments behind one or both

of the dams to the Housatonic River and/or its associated environs, and such release

results in injury to, destruction of, or loss of natural resources. Such action shall be

limited to Natural Resource Damages that result from such release.

                     (ii) with respect to Woods Pond Dam only, material breach of the

dam due to Settling Defendant's negligent operation or maintenance of Woods Pond

Dam that results in a release of PCBs from the impoundment behind Woods Pond Dam

to the Housatonic River and/or its associated environs, that is materially greater than

PCB transport from that impoundment under the normal range of flow conditions, and

such release results in injury to, destruction of, or loss of natural resources Such action

shall be limited to Natural Resource Damages that result from such release.

              b. Any proceedings initiated pursuant to this Paragraph 176 shall be

commenced within three years of such release. Except as provided in Paragraph 199.a

of this Decree, in any proceedings initiated by the United States, the State or Connecticut




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pursuant to this Paragraph, Settling Defendant may assert any defenses available under

applicable law

               c. If the Rest of the River Remedial Action addresses the threat of

catastrophic dam failure and the management of sediments in the impoundments behind

Woods Pond Dam and Rising Pond Dam, the reservation of rights set forth in Paragraph

176.a(i) shall expire as to releases from Rising Pond Dam and Woods Pond Dam upon

Certification of Completion of the Rest of the River Remedial Action pursuant to

Paragraph 88 (Completion of Each Response Action).

              d.   Notwithstanding any other provision of this Consent Decree, the United

States, the State and Connecticut, on behalf of their respective Trustees, reserve the

right to institute proceedings against the City with respect to Natural Resource Damages

related to the Site.

       177.   Issuance of Administrative Orders.

              a.       The United States, the State and Connecticut agree not to issue any

administrative orders to Settling Defendant for the performance of Work that the Settling

Defendant is performing or (prior to the time for such performance under the approved

schedule) is required to perform under this Consent Decree except as provided in

Paragraphs 162, 163, 167, 168, 171 and/or 172 (Pre-and Post-Certification

Reservations) of this Consent Decree

              b.       The United States, the State and Connecticut agree that, subject to

Settling Defendant's satisfactory completion of the Work required by this Consent

Decree, the information and conditions currently known to EPA, the State and


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 Connecticut, as defined in Paragraphs 165, 169 and 173, demonstrate no need for

 issuance of an order to conduct removal actions at the Site.

              c      The United States, the State and Connecticut agree not to issue any

administrative orders to Settling Defendant to perform work in the 1 V* Mile Reach based

on Paragraphs 162, 163, 167, 168, 171 and/or 172 (Pre- and Post-Certification

Reservations) of this Consent Decree prior to the time that the 1 % Mile Reach Removal

Action to be conducted by EPA in the 1 !4 Mile Reach is completed.

              d.     The United States, the State and Connecticut agree not to issue any

administrative orders to Settling Defendant to perform work in the Rest of the River based

on Paragraphs 162, 163, 167, 168, 171 and/or 172 (Pre-and Post-Certification

Reservations) of this Consent Decree prior to the time that a final decision on the Rest of

River Remedial Action has become effective pursuant to Paragraph 22 of this Consent

Decree

             e.     If the United States, the State or Connecticut issues an

administrative order pursuant to Paragraphs 162, 163, 167, 168, 171 and 172 (Pre-and

Post-Certification Reservations) of this Consent Decree, Settling Defendant shall have

the right to invoke and pursue dispute resolution in accordance with Section XXIV

(Dispute Resolution) of this Consent Decree with respect to such order

       178   Work Takeover

      a      In the event EPA determines that Settling Defendant has ceased

implementation of any Removal or Remedial Action, is seriously or repeatedly deficient or

late in its performance of any Removal or Remedial Action, or is implementing any


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 Removal or Remedial Action in a manner which may cause an endangerment to human

health or the environment, EPA may assume the performance of such Removal or

Remedial Action.

       b.       In the event of an EPA determination as provided in Paragraph 178.a, EPA

may also assume performance of any or all other Removal or Remedial Actions if EPA

determines that such other Removal or Remedial Actions are sufficiently technically

related to the Removal or Remedial Action subject to the determination so that rt is likely

that Settling Defendant will cease implementation of such other Removal or Remedial

Actions or that Settling Defendant's performance of such other Removal or Remedial

Actions will be seriously or repeatedly deficient or late or will cause an endangerment to

human health or the environment.

       c.     Settling Defendant may invoke the procedures set forth in Section XXIV

(Dispute Resolution), Paragraph 136 (Record Review), to dispute EPA's determination

that takeover of the Work is warranted under this Paragraph. Costs Incurred by the

United States in performing the Work pursuant to this Paragraph shall be considered U.S.

Future Response Costs that Settling Defendant shall pay pursuant to Section XX

(Reimbursement of Costs).

       179     Subject to the other provisions of this Consent Decree, the United States,

Connecticut and the State retain all authority and reserve all rights to take any and all

response actions authorized by law.

       180.    Covenant Not to Sue the State bv the United States. In consideration of the

State's directly accepting any interest in land as grantee of .any ERE and/or CER under


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the terms of this Consent Decree, the United States covenants not to sue or to take

administrative action against the State, pursuant to Sections 106 and 107(a) of CERCLA,

and Sections 3008 and 7003 of RCRA, for releases or threats of releases of Waste

Materials at or from the property subject to the ERE and/or CER for which liability arises

as a result of the State's said interests] in land. These covenants not to sue shall take

effect upon the recordation of any ERE and/or CER, pursuant to this Consent Decree,

granting any interest in land to the State.

       181.   The United States and PEDA agree to initiate negotiations after lodging of

the Consent Decree regarding a prospective purchaser agreement ("PPA") based on

PEDA's prospective ownership of certain properties located at the GE Plant Area

pursuant to the Definitive Economic Development Agreement. In order to promote

economic redevelopment, the United States and PEDA agree to negotiate in good faith

and will use best efforts to reach an agreement by January 30, 2000. The parties intend

to negotiate the terms of the PPA, including the covenant not to sue, to provide

protections consistent with the EPA Model Agreement on Settlements with Prospective

Purchasers of Contaminated Property, with appropriate Site-specific modifications Any

PPA that is negotiated is subject to review and approval by appropriate officials of the

United States and PEDA.

      182.    Massachusetts and PEDA agree to initiate negotiations after lodging of the

Consent Decree regarding a Brownfields Covenant Not to Sue Agreement pursuant to

Section (3)(A)G)(3) of M.G.L. c. 21E (Brownfields Covenant) based on PEDA's

prospective ownership of certain properties located at the GE Plant Area pursuant to the


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 Definitive Economic Development Agreement. In order to promote economic

 redevelopment at such property, Massachusetts and PEDA agree to negotiate in good

faith and will use best efforts to reach an agreement as soon as reasonably feasible,

 provided that PEDA can demonstrate compliance with the applicable requirements under

the Brownfields statute. Any Brownfields covenant that is negotiated is subject to review

and approval by appropriate officials of Massachusetts and PEDA.

                       XXVII COVENANTS BY SETTLING DEFENDANT

        183.      Covenant Not to Sue.   Subject to the reservations in Paragraph 184 and

except as provided in Paragraphs 5(d) and 13 of the Consent Decree entered on

June 30, 1999, in United States v. General Electric Company. Civil Action No. 99-30131­

MAP (D. Mass.), Settling Defendant hereby covenants not to sue and agrees not to

assert any claims or causes of action against the United States, on behalf of EPA, DO I,

NOAA, DOD, ACOE, ATSDR, or any other agency of the United States which may have

authority to administer the statutes cited in Paragraph 161, or against Connecticut or the

State (including any department, agency or instrumentality of Connecticut or the State),

with respect to the Site, this Consent Decree, or, as to the United States, Designated Fill

Properties. The claims or causes of action covered by this paragraph include, but are

not limited to:

                       a. any direct or indirect claim for reimbursement from the Hazardous

Substance Superfund (established pursuant to the Internal Revenue Code, 26 U.S.C.

§ 9507) through Sections 106(b)(2), 107, 111, 112, or 113 of CERCLA, or any other

provision of law;


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                      b. any direct or indirect claim for reimbursement, recovery,

contribution or equitable share of response costs, for Natural Resource Damages, or for

property damage pursuant to M.G.L. C.21E,

                     c. any claims under Section 107 or 113 of CERCLA, Section 7002 of

RCRA, Section 504 of the Clean Water Act, or Sections 1002, 1005, 1008, 1009, or 1015

of the Oil Pollution Act related to the Site or, as to the United States, Designated Fill

Properties;

                     d. any claims arising out of response activities at the Site or, as to

the United States, Designated Fill Properties, including claims based on the United

States', Connecticut's and the State's selection or performance of response actions,

oversight of response actions, or approval of plans for such actions;

                     e. any claim under the Fifth Amendment to the United States

Constitution or under the Massachusetts Constitution for "takings";

                     f. any claim under the Tucker Act, 28 U.S.C. § 1491, or at common

law, arising out of or relating to access to, land use restrictions on, or response activities

undertaken at the Site; and

                     g. any claim, demand or cause of action arising from a contract

between the Settling Defendant and the United States, including but not limited to claims,

demands, or causes of action under the Contract Disputes Act of 1978, 41 U.S.C. § 601

et seq., Public Law 85-804, or Federal Acquisition Regulation, Part 50, except for

applications to the Court by Settling Defendant to obtain relief under Paragraph 211 of

this Consent Decree regarding the Access and Services Agreement.


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               Nothing in this Paragraph shall be construed to preclude Settling Defendant

 from pursuing dispute resolution under Section XXIV of this Decree, defending against a

 claim by the United States or the State in accordance with Paragraph 16.m of this

Decree, challenging a settlement under Paragraph 125 of this Decree, applying to the

Court for relief under Paragraph 211 of this Decree, submitting comments to any

government agency, or challenging rules, regulations or permits issued by any such

agency; provided, however, that any challenge to issuance of the Reissued RCRA Permit

shall be in accordance with Paragraph 10 of this Consent Decree, and any challenges to

the modification to the Reissued RCRA Permit to select the Rest of the River Remedial

Action shall be in accordance with Paragraphs 22 and 141.b of this Consent Decree

       184.    Settling Defendant reserves, and this Consent Decree is without prejudice

to, the following:

              a.     claims by Settling Defendant against the United States, subject to

the provisions of Chapter 171 of Title 28 of the United States Code, for money damages

for injury or loss of property or personal injury or death caused by the negligent or

wrongful act or omission of any employee of the United States while acting within the

scope of his office or employment under circumstances where the United States, if a

private person, would be liable to the claimant in accordance with the law of the place

where the act or omission occurred. However, any such claim against the United States

shall not include a claim for any damages caused, in whole or in part, by the act or

omission of any person, including any contractor, who is not a federal employee as that

term is defined in 28 U.S.C. § 2671; nor shall any such claim include a claim based on


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 EPA's selection of response actions, or the United States' oversight or approval of

 Settling Defendant's plans or activities, provided, however, that nothing in this

subparagraph shall affect Settling Defendant's nght to assert claims against any person

(other than the United States or a federal employee), including any contractor, for

impacts to GE property arising out of negligent work by such person performing work in

connection with the 1 Ya Mile Reach Removal Action. (The reservation in this Paragraph

184.a applies only to claims which are brought pursuant to any statute other than

CERCLA and for which the waiver of sovereign immunity is found in a statute other than

CERCLA);

              b.     claims by Settling Defendant against the United States based on

contamination in the Rest of the River that Settling Defendant shows by clear and

convincing evidence is or was caused by the gross negligence of the United States or its

contractor in performance of work in the 1 1/£ Mile Reach. (Nothing in the reservation in

this Paragraph 184.b shall permit any claims by Settling Defendant for reimbursement or

offset of Settling Defendant's share of response costs for the 1 Va Mile Reach Removal

Action, as provided in Paragraphs 103-111 of this Consent Decree);

              c.     liability of the United States, on behalf of DOD, arising from past or

present disposal, release, or threat of release of Waste Materials by DOD or its

contractors outside of the Site or the Designated Fill Properties, and liability arising from

future disposal, release, or threat of release of Waste Material by the DOD or its

contractors (other than Settling Defendant) outside of the Site or the Designated Fill




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Properties, except for liability arising from future transshipment of Waste Material by

Settling Defendant or its contractor,

              d.     liability of the United States, on behalf of DOD, for future disposal of

Waste Material by DOD or its contractors (other than Settling Defendant) at the Site,

other than future disposal of Waste Material by DOD or its contractors (other than Settling

Defendant) as provided in the Consent Decree, the SOW, the Upper % Mile Reach

Removal Action Work Plan, the Rest of the River SOW, Work Plans approved pursuant

to the Consent Decree, the SOW, or the Rest of the River SOW, or the Work to be

performed under this Consent Decree.

             e.    any right by Settling Defendant to submit and pursue claims regarding

requests for information on any subject under M.G.L. chapter 66 (Public Records Act)

and/or Connecticut General Statutes, Title 1, Chapter 14, Sections 1-200 et sea

(Connecticut Freedom of Information Act) or any other similar provisions of state law;

             f.     any and all rights by Settling Defendant to defend against a request

for information or administrative subpoena submitted by, and/or an action related to such

request for information or subpoena brought by, the United States, the State or

Connecticut under federal, State or Connecticut law, including but not limited to Sections

104(e) and 122(e) of CERCLA and Section 8 of M.G.L c. 21 E, except as otherwise

provided in this Consent Decree,

             g.     claims arising from past, present or future operations by Settling

Defendant at the GE Plant Area unrelated to releases or threatened releases of Waste




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Material that are the subject of this Consent Decree, performance of the Work or. as to

the United States, Designated Fill Properties,

                 h     in the event the United States, the State or Connecticut brings further

action against Settling Defendant pursuant to Paragraphs 162, 163, 167, 168, 171 and/or

172 of this Consent Decree, all claims, counterclaims, defenses or causes of action

against the United States, the State or Connecticut for cost recovery, reimbursement,

contribution or equitable share of response costs incurred by Settling Defendant as a

result of such further action; provided, however, that nothing in this subparagraph shall

limit the right of the United States, the State or Connecticut to assert any defense to such

claim or cause of action;

              i      in the event the United States, the State, or Connecticut, on behalf of

their respective Trustees, NOAA, DOI, EOEA and CTDEP, brings further action against

Settling Defendant for recovery of Natural Resource Damages pursuant to Paragraph

176 of this Consent Decree, all claims, counterclaims, defenses or causes of action

against the United States, the State, or Connecticut for Natural Resource Damages paid

by Settling Defendant as a result of such further action, provided, however, that nothing

in this subparagraph shall limit the right of the United States, the State, or Connecticut to

assert any defense to such claim or cause of action,

             j       any claims or defenses relating to the administration or enforcement

of a recorded ERE and/or CER at the Site that Settling Defendant may otherwise have

under state or federal law, in its capacity as grantor or as the owner of property subject to

a recorded ERE and/or CER, against EPA or the State; provided, however, that any


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 disputes regarding the obligations of Settling Defendant, in its capacity as Settling

 Defendant (and not in its capacity as grantor of a recorded ERE and/or CER or the owner

of property subject to a recorded ERE and/or CER), pursuant Section XIII of this Consent

Decree shall be subject to dispute resolution as authorized pursuant to Section XXIV of

this Decree, and

               k.   any rights or claims that Settling Defendant may have against the

Massachusetts Highway Department under any contracts, existing as of the date of

lodging of this Consent Decree, between the Massachusetts Highway Department and

Settling Defendant relating to the Massachusetts Highway Department's project to

reconstruct Merrill Road and East Street in Pittsfield, Massachusetts, including but not

limited to such contracts regarding the properties and easements taken by eminent

domain from Settling Defendant by the Massachusetts Highway Department in 1997 for

the purpose of such reconstruction.

       Nothing in this Paragraph shall be construed to create any rights or claims that do

not otherwise exist independent of this Consent Decree

       185    Nothing in this Consent Decree shall be deemed to constitute

preauthonzation of a claim within the meaning of § 111 of CERCLA, 42 U.S.C § 9611,

or 40 C F R § 300.700(d)

       186    Settling Defendant agrees not to assert any claims and to waive all claims

or causes of action that it may have for all matters relating to the Site, including for

contribution, against the following persons where such person's liability to Settling

Defendant with respect to the Site is based solely on having arranged for disposal or


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treatment, or for transport for disposal or treatment, of Waste Materials at the Site or

having accepted for transport for disposal or treatment of Waste Materials at the Site

              a.     Any person other than Berkshire Gas Company who

                     (i)    contributed materials constituting Municipal Solid Waste

("MSW") or Municipal Sewage Sludge ("MSS") to the GE Plant Area and such materials

did not exceed 0.2% of the total volume of waste at the GE Plant Area, and

                     (ii)   contributed materials containing hazardous substances, but not

constituting MSW or MSS, to the GE Plant Area and such materials did not exceed the

greater of:

                             (A)   0.002% of the total volume of waste at the GE Plant

Area, or

                             (B)   110 gallons of liquid materials or 200 pounds of solid

materials

              b.    Any person who:

                    (i)     contributed materials constituting MSW or MSS to a residential

or non-residential property within the Site (other than the GE Plant Area) and such

materials did not exceed 0.2% of the total volume of waste at such property; or

                    (ii)    contributed materials containing hazardous substances, but not

constituting MSW or MSS, to a residential or non-residential property within the Site

(other than the GE Plant Area) and such materials did not exceed the greater of

                             (A)    0.002% of the total volume of waste at such property,

or


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                               (B)   25 gallons of liquid materials or 50 pounds of solid

 materials

This waiver shall not apply to any claim or cause of action against any person meeting

the above criteria if EPA has determined that the materials contributed to the particular

property by such person contributed or could contribute significantly to the costs of

response at that property

                              XXVIII COVENANTS BY THE CITY

       187        Covenant Not to Sue Subject to the reservations in Paragraph 188, the

City hereby covenants not to sue and agrees not to assert any claims or causes of action

against the United States or the State (including any department, agency or

instrumentality of the State), with respect to releases or threatened releases of Waste

Material at the property identified in Appendix U The claims or causes of action covered

by this Paragraph include, but are not limited to

              a      any direct or indirect claim for reimbursement from the Hazardous

Substance Superfund (established pursuant to the Internal Revenue Code, 26 U S C

§ 9507) through Sections 106(b)(2), 107, 111, 112, or 113 of CERCLA, or any other

provision of law,

              b      any direct or indirect claim for reimbursement, recovery, contribution or

equitable share of response costs, for Natural Resource Damages, or for property

damage pursuant to M G.L c 21E,

              c       any claims arising out of response activities at any of the properties

identified in Appendix U, including claims based on the United States', Connecticut's and


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the State's selection or performance of response actions, oversight of response actions

or approval of plans for such actions,

              d     any claim under the Fifth Amendment to the United States Constitution

or under the Massachusetts Constitution for "takings", and

              e    Any claim under the Tucker Act, 28 U.S.C. § 1491 or at common law,

arising out of or relating to access to, land use restrictions on, or response activities

undertaken at any of the properties identified in Appendix U.

       188    The City reserves, and this Consent Decree is without prejudice to, the

following

              a    claims by the City against the United States, subject to the provisions

of Chapter 171 of Title 28 of the United States Code, for money damages for injury or

loss of property or personal injury or death caused by the negligent or wrongful act or

omission of any employee of the United States while acting within the scope of his office

or employment under circumstances where the United States, if a private person, would

liable to the claimant in accordance with the law of the place where the act or omission

occurred However, any such claim against the United States shall not include a claim

for any damages caused, in whole or in part, by the act or omission of any person,

including any contractor, who is not a federal employee as that term is defined in 28

U.S C § 2671, nor shall any such claim include a claim based on EPA's selection of

response actions, or the United States' oversight or approval of the City's or the Settling

Defendant's plans or activities. (The reservation in this Paragraph 188.a applies only to




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 claims which are brought pursuant to any statute other than CERCLA and for which the

waiver of sovereign immunity is found in a statute other than CERCLA),

              b.   in the event the United States or the State brings an action against the

City pursuant to Paragraphs 164 and/or 174 of this Consent Decree, all claims,

counterclaims, defenses or causes of action against the United States or the State for

cost recovery, reimbursement, contribution or equitable share of response costs incurred

by the City as a result of such further action; provided, however, that nothing in this

subparagraph shall limit the right of the United States or the State to assert any defense

to such claim or cause of action; and

              c.   in the event the United States or the State, on behalf of their respective

Trustees, NOAA, DOI, and EOEA, brings an action against the City for recovery of

Natural Resource Damages, all claims, counterclaims, defenses or causes of action

against the United States or the State for Natural Resource Damages paid by the City as

a result of such further action; provided, however, that nothing in this subparagraph shall

limit the right of the United States or the State to assert any defense to such claim or

cause of action.

       Nothing in this Paragraph shall be construed to create any rights or claims that do

not otherwise exist independent of this Consent Decree.

          XXIX. EFFECT OF SETTLEMENT. CONTRIBUTION PROTECTION

      189.   Nothing in this Consent Decree shall be construed to create any rights in, or

grant any cause of action to, any person not a Party to this Consent Decree. The

preceding sentence shall not be construed to waive or nullify any rights that any person


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 not a signatory to this Decree may have under applicable law Except as provided in

 Paragraph 186 of this Consent Decree, each of the Parties expressly reserves any and

all rights (including, but not limited to, any right to contribution), defenses, claims,

demands, and causes of action which each Party may have with respect to any matter,

transaction, or occurrence relating in any way to the Site against any person not a Party

hereto.

          190.   The Parties agree, and by entering this Consent Decree this Court finds,

that the payments to be made and the Work to be performed by Settling Defendant

pursuant to this Consent Decree represent a good faith settlement and compromise of

disputed claims, and that this settlement represents a fair and reasonable resolution of

Settling Defendant's liability for the matters addressed in this Consent Decree

       191.      The Parties agree, and by entering this Consent Decree this Court finds,

that the Settling Defendant is entitled, as of the effective date of this Consent Decree, to

protection from contribution actions or claims to the extent provided by CERCLA Section

113(f)(2), 42 U.S.C. § 9613(f)(2), or other applicable law, for matters addressed in this

Consent Decree "Matters addressed in this Consent Decree" shall mean all Work

performed and to be performed by Settling Defendant pursuant to this Consent Decree,

all response actions performed and to be performed by the United States in connection

with the 1 >2 Mile Reach Removal Action, all U S Future Response Costs, U S. Oversight

Costs, U.S. Past Response Costs, U.S Interim Response Costs, U.S. Future Rest of

River Capped Response Costs, U.S. Rest of River Oversight Costs, U.S Future

Additional Sampling Costs, U.S Post-Removal/Groundwater Monitoring Costs, DOI


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 Future Costs, DOI Oversight Costs, DOI Past Assessment Costs, NOAA Future Costs

 NOAA Oversight Costs, NOAA Past Assessment Costs. Connecticut Future Costs

 Connecticut Past Response Costs, Massachusetts Future Response Costs,

Massachusetts Oversight Costs, Massachusetts Past Response Costs, Massachusetts

Interim Response Costs, Massachusetts Trustee Future Response Costs, Massachusetts

Trustee Oversight Costs, any Natural Resource Damages and all Restoration Work and

other natural resource protection and restoration actions to be completed and payments

to be made by Settling Defendant to the Trustees.

       192.   The State and Settling Defendant agree, and by entering this Consent

Decree this Court finds, that pursuant to M.G.L C.21E, § 3AQ)(2), Settling Defendant is

entitled, as of the effective date of this Consent Decree, to protection from claims brought

pursuant to M.G.L c. 21 E, regarding matters addressed in this Consent Decree, for cost

recovery, contribution, and equitable share as to those persons receiving notice and an

opportunity to comment on this Consent Decree in accordance with M G.L c.21 E,

§ 3A(j)(2). For purposes of this paragraph, "matters addressed" shall be as defined in

Paragraph 191 The 90-day comment period shall commence 30 days after the date of

lodging of this Consent Decree Settling Defendant's failure to provide timely and

adequate notice to one person shall not affect its nghts as against any other person who

received such notice.

       193    Connecticut and Settling Defendant agree, and by entering this Consent

Decree the Court finds, that the Settling Defendant is entitled, as of the effective date of

this Consent Decree, to protection from contribution actions or claims to the extent


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provided by other applicable law, for matters addressed in this Consent Decree, as

defined in Paragraph 191

       194.   The Parties agree, and by entering this Consent Decree this Court finds,

that the State is entitled, as of the date of transfer of any interest in land pursuant to an

ERE and/or CER, to protection from contribution actions or claims to the extent provided

by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2), for matters addressed in this

Consent Decree, provided that such contribution actions arise as a result of the State's

acquisition of an interest in land as grantee of an ERE and/or CER pursuant to this

Consent Decree. For purposes of this paragraph, "matters addressed in this Consent

Decree" shall mean Removal and Remedial Actions performed pursuant to this Consent

Decree, reimbursement of all costs Incurred and to be Incurred relating to the release of

Waste Materials at the Site, Natural Resource Damages, and Restoration Work and other

natural resource protection and restoration actions to be completed and payments made

to the Trustees pursuant to this Consent Decree.

       195    The United States, the State and the City agree, and by entering this

Consent Decree the Court finds, that the City is entitled, as of the effective date of this

Consent Decree, to protection from contribution actions or claims to the extent provided

by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2), for matters addressed in this

Consent Decree. For purposes of this Paragraph, the "matters addressed in this

Consent Decree" shall mean costs Incurred or to be Incurred by any person in

connection with the Work, as to the portions of the properties identified on Appendix U




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 that are within the Site, for Waste Materials that originated at the GE Plant Area and are

 remediated pursuant to this Consent Decree

        196.   The Parties do not intend for the provisions of Paragraphs 191 -195 to affect

in any way the rights of persons with actual or potential claims against the parties

referenced in Paragraphs 191-195 with respect to any portion of the Site for causes of

action other than those described in such Paragraphs.

        197.   Settling Defendant agrees that with respect to any suit or claim for

contribution brought by rt for matters related to this Consent Decree, it will notify the

United States, Connecticut and the State in writing no later than 60 days prior to the

initiation of such suit or claim unless Settling Defendant asserts such suit or claim as a

counterclaim or third-party claim in an action instituted by a person not a Party to this

Consent Decree, in which case Settling Defendant will notify the United States,

Connecticut and the State within 20 days of asserting such counterclaim or third-party

claim

        198.   Settling Defendant also agrees that with respect to any suit or claim for

contribution brought against it for matters related to this Consent Decree, it will notify in

writing the United States, Connecticut and the State within 30 days of service of the

complaint on it. In addition. Settling Defendant shall notify the United States, Connecticut

and the State within 10 days of service or receipt of any Motion for Summary Judgment

and within 30 days of receipt of any order from a court setting a case for trial.

        199.   a. In any subsequent administrative or judicial proceeding initiated by the

United States, Connecticut or the State for injunctive relief, recovery of response costs, or


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other appropriate relief relating to the Site or to other properties where Waste Materials

from the GE Plant Area have come to be located Settling Defendant shall not assert and

may not maintain, any defense or claim based upon the principles of waiver, res mdicata.

collateral estoppel, issue preclusion, claim-splitting, or other defenses based upon any

contention that the claims raised by the United States, Connecticut or the State in the

subsequent proceeding were or should have been brought in the instant case, provided,

however, that nothing in this Paragraph affects the enforceabihty of the covenants not to

sue set forth in Section XXVI (Covenants Not to Sue by Plaintiffs)

              b. In any subsequent administrative or judicial proceeding initiated by

Settling Defendant against the United States, Connecticut or the State for mjunctive

relief, recovery of response costs or other appropriate relief relating to the Site or to other

properties where Waste Materials from the GE Plant Area have come to be located the

United States, Connecticut and/or the State (as applicable) shall not assert, and may not

maintain, any defense or claim based upon the principles of waiver, res mdicata.

collateral estoppel, issue preclusion, claim-splitting, or other defenses based upon any

contention that the claims raised by Settling Defendant in the subsequent proceeding

were or should have been brought in the instant case, provided, however, that nothing in

this Paragraph affects the enforceabihty of Settling Defendant's covenants set forth in

Section XXVII

      200     EPA will defer a final decision on its proposal to place the "GE-Housatonic

River Site" on the CERCLA National Priorities List ("NPL"), as set forth in 62 Fed Reg

50450 (September 25, 1997) EPA will not finalize such listing or otherwise seek to place


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 the Site or any portion thereof on the NPL, except only as provided in subparagraphs

 200.a and 200.D below

               a.     EPA may finalize listing the Site on the NPL any time that it

 concludes that a "Work Takeover" situation exists pursuant to Paragraph 178 of this

 Consent Decree. Settling Defendant reserves the right to seek dispute resolution

 pursuant to Section XXIV of this Consent Decree in connection with EPA's determination

 that a Work Takeover situation exists; provided, however, that if Settling Defendant

. invokes dispute resolution in connection with that determination, the NPL listing process

 shall not be stayed pending the outcome of the dispute resolution process Settling

 Defendant also reserves its right to challenge such a final NPL listing in court, but shall

 not in such a challenge raise or otherwise use against the United States the fact of the

 settlement, and in particular the Upper % Mile Reach Removal Action, the 1 14 Mile

 Reach Removal Action, the Removal Actions Outside the River, and/or any studies of the

 Rest of the River pursuant to the Reissued RCRA Permit.

              b.      For response actions in the Rest of River which Settling Defendant

 is not obligated to perform after the outcome of the dispute resolution process described

 in Paragraphs 22 and 141.b of this Consent Decree, but which the United States

concludes are still necessary, or as provided in Paragraph 22.u(v), EPA may proceed

with listing the Site on the NPL and may Incur costs from the Hazardous Substances

Superfund on such response actions; provided, however, that notwithstanding the

provisions of Section 113(j) of CERCLA, the United States will not seek cost recovery

from Settling Defendant for any costs Incurred to implement any portion of the Rest of the


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 River Remedial Action that is determined to be arbitrary and capricious or otherwise

 unlawful by the EPA Environmental Appeals Board or by the United States Court of

Appeals

       201    The Parties agree that the characteristics of the Site and the context of

these negotiations are unique and that no aspect of this settlement should be considered

precedent

                            XXX ACCESS TO INFORMATION

       202    Settling Defendant shall provide to EPA, Connecticut and the State, upon

request, copies of all documents and information within its possession or control or that

of their contractors or agents relating to the implementation of this Consent Decree,

including, but not limited to, sampling, analysis, chain of custody records, manifests,

trucking logs, receipts, reports, sample traffic routing, correspondence, or other

documents or information related to the Work Settling Defendant shall also make

available to the United States, Connecticut and the State, at a reasonable time and

place, for purposes of assisting the United States, Connecticut or the State in overseeing

the Work or implementing the Consent Decree a representative of Settling Defendant

with knowledge of, and to discuss, the performance of the Work Nothing in this

Paragraph constitutes a waiver of otherwise applicable privilege or business

confidentiality claims

       203     In response to requests for information from EPA, Settling Defendant may

assert business confidentiality claims covering part or all of the documents or information

submitted to EPA under this Consent Decree to the extent permitted by and in


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 accordance with Section 104(e)(7) of CERCLA, 42 U S C § 9604(e)(7), and 40 C F R

 § 2.203(b) Documents or information determined to be confidential by EPA will be

 afforded the protection specified in 40 C F R Part 2, Subpart B In response to requests

for information from Connecticut or the State, Settling Defendant may assert business

confidentiality claims covering part or all of the documents or information submitted to

Connecticut or the State under this Consent Decree to the extent permitted by and in

accordance with state law If no claim of confidentiality accompanies documents or

information when they are submitted to EPA, Connecticut and the State, or if EPA,

Connecticut or the State has notified Settling Defendant that the documents or

information are not confidential under the standards of Section 104(e)(7) of CERCLA or

state law, the public may be given access to such documents or information without

further notice to Settling Defendant

       204    For submissions to EPA, Settling Defendant may assert that certain

documents, records and other information are privileged under the attorney-client

privilege or any other privilege recognized by federal law For submissions to the State

or Connecticut, Settling Defendant may assert that certain documents, records and other

information are privileged under the attorney-client privilege or any other privilege

recognized by state law     If Settling Defendant asserts such a privilege in lieu of

providing documents, it shall provide the Plaintiffs with the following (1) the title of the

document, record, or information, (2) the date of the document, record, or information, (3)

the name and title of the author of the document, record, or information, (4) the name and

title of each addressee and recipient, (5) a description of the contents of the document,


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record or information and (6) the privilege asserted by Settling Defendant However no

final documents, reports or other information required to be created or generated to

implement the requirements of this Consent Decree shall be withheld on the grounds that

they are privileged

       205    No claim of pnvilege shall be made with respect to any data, including, but

not limited to, all sampling analytical, monitoring, hydrogeologic, chemical, or

engineering data, or any other factual information evidencing conditions at or around the

Site or otherwise obtained in implementing this Consent Decree

                             XXXI RETENTION OF RECORDS

       206    a Settling Defendant shall preserve and retain, for the periods specified in

Paragraph 206 b, a copy of the following final records and documents (where no "final"

record or document was created, then a copy of the last draft of such record or document

shall be preserved and retained for the specified period) now in its possession or control

or which come into its possession or control, regardless of any corporate retention policy

to the contrary

                      (i)    Correspondence with the United States, the State,

Connecticut, City, PEDA or with owners of properties within the Site, specifically

discussing the performance of the Work or implementation of this Consent Decree,

                      (11)   Records and documents reflecting the chain-of-custody of

collection and analysis, and the analytical reports of analyses, of physical evidence

(including chemical sampling) relating specifically to the performance of the Work or the

implementation of this Consent Decree,


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                     (iii)   Technical reports and field notes supporting Settling

 Defendant's plans for or conduct of activities specifically related to performance of the

Work or implementation of this Consent Decree (including any "shadow studies"),

                     (iv)    Records and documents documenting the generation,

storage, transportation and disposal or treatment of Waste Materials pursuant to this

Consent Decree.

                     (v)     Records and documents documenting the protocols to be

followed by Settling Defendant in the performance of Work pursuant to this Consent

Decree.

              b.     Records or documents required to be retained under Paragraph

206.a above (except those which pertain to the Rest of the River Remedial Action and/or

the Upper 14 Mile Reach and 1% Mile Reach Removal Actions) shall be retained until 5

years after EPA's issuance under Paragraph 88 of this Decree of the last Certification of

Completion for the Removal Actions Outside the River taken by Settling Defendant.

Records or documents required to be retained under Paragraph 206.a above which

pertain to the Rest of River Remedial Action and/or to the 1V£ Mile Reach and Upper V3

Mile Reach Removal Actions shall be retained until 5 years after EPA's issuance under

Paragraph 88 of this Decree of the Certification of Completion for the Rest of the River

Remedial Action.

              c.     For purposes of this Paragraph 206, records and documents in the

possession of contractors retained by Settling Defendant shall be deemed to be within

Settling Defendant's "control."


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               d.     For purposes of Section XXV (Stipulated Penalties), a violation of

this Paragraph 206 by Settling Defendant shall be limited to a stipulated penalty of $500

for any individual record or document not retained in compliance with subparagraph a

The cumulative maximum stipulated penalties which can be assessed against Settling

Defendant for violations of this Paragraph 206 shall be limited to $250,000.

       207.    At the conclusion of the relevant document retention period specified in

Paragraph 206, Settling Defendant shall notify the United States and the State at least 90

days prior to the destruction of any such records or documents, and, upon request by the

United States or the State, Settling Defendant shall deliver any such records or

documents to EPA or the State. Settling Defendant may assert that certain documents,

records and other information are privileged under the attorney-client privilege or any

other privilege recognized by federal or state law, as applicable. If Settling Defendant

asserts such a privilege, it shall provide the Plaintiffs with the following: (a) the title of the

document, record, or information; (b) the date of the document, record, or information; (c)

the name and title of the author of the document, record, or information; (d) the name and

title of each addressee and recipient; (e) a description of the subject of the document,

record, or information; and (f) the privilege asserted by Settling Defendant. However, no

documents, reports or other information required to be created or generated to implement

the requirements of this Consent Decree shall be withheld on the grounds that they are

privileged. Settling Defendant shall retain all documents for which it has asserted a claim

of privilege until such time as the Parties have resolved any disputes concerning such

documents.


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       208    For any notification that Settling Defendant transmits to EPA pursuant to

 Paragraph 5(b)(1) of the Consent Decree entered on June 30, 1999, in United States v

 General Electric Company, Civil Action No 99-30131-MAP (D Mass) (hereinafter "the

104(e) Consent Decree"), Settling Defendant shall at the same time transmit such

notification to MADEP (if the relevant place or location is in Massachusetts) or to CTDEP

(if the relevant location is in Connecticut) Nothing in this Paragraph 208 shall be

interpreted as modifying any reporting obligations that Settling Defendant may have

pursuant to M G L c 21E or the MCP or pursuant to relevant Connecticut state law,

provided, however, that while the State may seek stipulated penalties pursuant to

Paragraph 158 of this Consent Decree (for the amounts set forth in Paragraph 149 a) for

GE's failure to transmit to MADEP a copy of any notification provided to EPA pursuant to

Paragraph 5(b)(1) of the 104(e) Consent Decree, this provision does not create any right

by the State or Connecticut to enforce the provisions of the 104(e) Consent Decree

                         XXXII NOTICES AND SUBMISSIONS

       209   Whenever, under the terms of this Consent Decree, wntten notice is

required to be given or a report or other document is required to be sent by one Party to

another, it shall be directed to the individuals at the addresses specified below, unless

those individuals or their successors give notice of a change to the other Parties in

writing All notices and submissions shall be considered effective upon receipt, unless

otherwise provided Written notice as specified herein shall constitute complete

satisfaction of any written notice requirement of the Consent Decree with respect to the




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United States, EPA, NOAA, DOI, the State, Connecticut, and Settling Defendant

respectively

As to the United States:              Chief, Environmental Enforcement Section
                                      Environment and Natural Resources Division
                                      U.S. Department of Justice
                                      P.O. Box 7611
                                      Washington, D.C. 20044-7611
                                      Re: DJ #90-11-3-1479
                                                #90-11-3-1479Z

      and
                                      Director,
                                      Office of Site Remediation and Restoration
                                      United States Environmental Protection
                                      Agency
                                      Region I
                                      One Congress Street
                                      Suite 1100
                                      Boston, Massachusetts 02114-2023
                                      Ref: GE-Pittsfield/Housatonic River Site

As to EPA.     .                      Bryan Olson
                                      EPA Project Coordinator
                                      United States Environmental Protection
                                      Agency
                                      Region I
                                      One Congress Street
                                      Suite 1100
                                      Boston, Massachusetts 02114-2023

As to DOI                             Field Supervisor
                                      U.S. Fish and Wildlife Service
                                      22 Bridge Street
                                      Concord, New Hampshire 03301

                                      Mark Barash
                                      Office of Regional Solicitor
                                      U.S. Department of the Interior
                                      One Gateway Center, Suite 612
                                      Newton Comer, Massachusetts 02158-2868




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 As to NOAA                        Kenneth Finkelstein, PhD
                                   NOAA Project Coordinator
                                   NOAA/CPRD
                                   c/o EPA Office of Site Remediation and
                                      Restoration (HIO)
                                   1 Congress Street
                                   Boston, Massachusetts 02114

                                   Anton P. Giedt
                                   NOAA Office of General Counsel
                                   One Blackburn Drive
                                   Gloucester, Massachusetts 01930-2298

As to the State:                  J. Lyn Cutler
                                  State Project Coordinator
                                  Section Chief, Special Projects
                                  Bureau of Waste Site Cleanup
                                  Department of Environmental
                                    Protection
                                  436 Dwight Street
                                  Springfield, MA 01103

                                  Thomas La Rosa
                                  Executive Office of Environmental Affairs
                                  100 Cambridge Street
                                  Room 200
                                  Boston, Massachusetts 02202

                                  Chief, Environmental Protection Division
                                  Office of the Attorney General
                                  200 Portland Street
                                  Boston, Massachusetts 02114

As to Connecticut:                Charles Fredette
                                  Water Management Bureau
                                  Planning and Standards
                                  Department of Environmental Protection
                                  79 Elm Street
                                  Hartford, Connecticut 06103

As to the Citv:                   Mayor
                                  City of Pittsfield
                                  City Hall
                                  Pittsfield, MA 01201



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 As to the Settling Defendant             Andrew T Sitter, P.E
                                          Project Coordinator
                                          Corporate Environmental Programs
                                          General Electric Company
                                          100 Woodlawn Avenue
                                          Pittsfield, Massachusetts 01201

                                          and

                                          Andrew J. Thomas, Jr.
                                          Counsel, Environmental Matters
                                          Corporate Environmental Programs
                                          General Electric Company
                                          3135 Easton Turnpike
                                          Fairfield, Connecticut 06431

As to PEDA                                Director, Pittsfield Economic
                                          Development Authority
                                          100 Woodlawn Ave
                                          Building 42-100
                                          Pittsfield, MA 01201

                                XXXIII. EFFECTIVE DATE

      210.    The effective date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court, except as otherwise provided herein.

                        XXXIV. RETENTION OF JURISDICTION

      211     This Court retains jurisdiction over both the subject matter of this Consent

Decree and Settling Defendant for the duration of the performance of the terms and

provisions of this Consent Decree for the purpose of enabling any of the Parties to apply

to the Court at any time for such further order, direction, and relief as may be necessary

or appropriate for the construction or modification of this Consent Decree, or to effectuate

or enforce compliance with its terms, or to resolve disputes in accordance with Section

XXIV (Dispute Resolution) hereof.


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                                 XXXV APPENDICES

      212     The following appendices are attached to and incorporated into this

Consent Decree

      "Appendix A" is the following set of maps related to the Site

               A-1    GE-Pittsfield/Housatonic River Site

              A-2     GE Plant Area

              A-3     Building 71 Consolidation Area

              A-4.    Hill 78 Consolidation Area

              A-5    Unkamet Brook Area

              A-€    Former Oxbow Areas

              A-7    Silver Lake Area

              A-8    GE Plastics Area

      "Appendix B" is EPA's "Combined Action and EE/CA Approval Memorandum" for

the Upper Reach, dated and approved May 26, 1998

      "Appendix C" is EPA's Action Memorandum for the Allendale School Removal

Action, dated and approved July 12, 1999

      "Appendix D" is EPA's Action Memorandum for Removal Actions Outside the

River, dated August 4. 1999, and approved August 5, 1999.

      "Appendix E" is the SOW for the Removal Actions Outside the River

      "Appendix F" is the Removal Action Work Plan for Upper 14 Mile Reach of

Housatonic River, dated August 1999, and EPA's approval letter dated August 5, 1999

      "Appendix G " is the Draft Reissued RCRA Permit.

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      "Appendix H" is the Administrative Consent Order to be executed by MADEP and

Settling Defendant

      "Appendix I" is the list of Property to Be Transferred to PEDA Pursuant to Definitive

Economic Development Agreement

      "Appendix J" is the Protocol for EPA Peer Review Process - Housatonic River

      "Appendix K" is the Access and Services Agreement.

      "Appendix L" is the Model Grant of Environmental Restriction and Easement for

Settling Defendant Property

      "Appendix M" is the Model for Subordination Agreement.

      "Appendix N" is the Model Grant of Conservation Easement and Restriction for

Unkamet Brook Wetlands Area.

      "Appendix 0" is the Model Grant of Environmental Restriction and Easement for

Non-Settling Defendant Property

      "Appendix P" is the Form of Notice ERE for State-Owned Properties

      "Appendix Q" is the EREs, CERs and Conditional Solution Inspection Criteria and

Requirements

      "Appendix R" is the Model for Consent to Access to Property.

      "Appendix S" is the Model Confidentiality Agreement for Mediation, referenced in

Section XXIV (Dispute Resolution)

     "Appendix T" is the List of Designated Fill Properties

     "Appendix U" is the list of Properties Owned by the City Subject to this Consent

Decree

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        "Appendix V" is the List of GE Documents Submitted to USEPA and MADEP from

 1/1/98 through 7/31/99 Relating to Investigations and Response Actions Conducted by

 GE at the Site in that Time Period, Excluding Documents Submitted Under RCRA Permit,

 State ACOs, and Building 68 UAO

       "Appendix W is the List of GE Documents Submitted to Connecticut Department of

Environmental Protection Which Conveyed Site-Related Information: 1984 to Present

        Settling Defendant does not, by entenng into this Consent Decree, admit the

validity of any statements or conclusions set forth in Appendices B, C or D.

                            XXXVI. COMMUNITY RELATIONS

       213     Settling Defendant shall propose to EPA and the State the extent of its

participation in the community relations plan to be developed by EPA. Settling Defendant

shall cooperate with EPA and the State in implementing that plan. Settling Defendant

shall also cooperate with EPA and the State in providing information regarding the Work

to the public, including the Citizens' Coordinating Council. As requested by EPA or the

State, Settling Defendant shall participate in the preparation of such information for

dissemination to the public, including the Citizens' Coordinating Council, and in public

meetings which may be held or sponsored by EPA or the State to explain activities at or

relating to the Site.

       214      During the performance of the Work under this Consent Decree, the

Parties shall coordinate and cooperate with the Citizens Coordinating Council established

with regard to the Site.




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                                   XXXVII MODIFICATION

       215     Schedules specified in this Consent Decree for completion of the Work may

be modified by agreement of Settling Defendant and EPA, after reasonable opportunity

for review and comment by the State. All such modifications shall be made in writing and

shall be effective uporr filing with the Court.

      216.     Except as provided in Paragraph 39 ("Modification of the SOW or related

Work Plans"), no material modifications shall be made to the SOW, the Upper ya Mile

Reach Removal Action Work Plan, or the Rest of River SOW without written notification

to and written approval of the United States, Settling Defendant, and the Court. Prior to

providing its approval to any modification, the United States will provide the State with a

reasonable opportunity to review and comment on the proposed modification. In the

event that the State disagrees with EPA's proposal to make a material modification to the

SOW, the United States shall attach the State's objections to its motion to modify the

SOW and shall include a reference to the State's objections in the body of such motion.

Modifications to the SOW, the Upper Va Mile Reach Removal Action Work Plan, or the

Rest of River SOW that do not materially alter such document may be made by written

agreement between EPA, after providing the State with a reasonable opportunity to

review and comment on the proposed modification, and Settling Defendant. Material

modifications to the SOW, the Upper !4 Mile Reach Removal Action Work Plan, or the

Rest of River SOW shall be effective upon filing by the United States and approval by the

Court. Non-material modifications to the SOW, the Upper !4 Mile Reach Removal Action

Work Plan, or the Rest of River SOW shall be effective upon filing with the Court by the

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 United States Written notification of material modifications to the SOW, the Upper Y2

 Mile Reach Removal Action Work Plan, or the Rest of River SOW shall be given to the

City and PEDA

       217.    Non-material modifications to the Consent Decree (which do not include

modifications to the SOW, the Upper !4 Mile Reach Removal Action Work Plan, or the

Rest of River SOW) may be made only by written notification to and written approval of

the United States, the State and the Settling Defendant. Such modifications will become

effective upon filing with the Court by the United States. Material modifications to the

Consent Decree and any modifications to the Performance Standards may be made only

by written notification to and written approval of the United States, Connecticut, the State,

Settling Defendant and the Court. Written notification of material and non-material

modifications to this Consent Decree shall be given to the City and PEDA

      218     Nothing in this Decree shall be deemed to alter the Court's power to

enforce, supervise or approve modifications to this Consent Decree.

      219     For purposes of this Section XXXVII of the Consent Decree, the Consent

Decree shall not include the SOW, the Upper 14 Mile Reach Removal Action Work Plan,

or the Rest of River SOW.

            XXXVIII. LODGING AND OPPORTUNITY FOR PUBLIC COMMENT

      220.    This Consent Decree shall be lodged with the Court and subject to public

notice and comment in accordance with 42 U.S.C. § 9622(d)(2), 42 U.S.C. § 6973,

28 C.F.R. § 50.7, 40 C.F.R. Part 124, and M.G.L. 21E. § 3AG)(2). The United States

reserves the right to withdraw or withhold its consent if the comments regarding the

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 Consent Decree disclose facts or considerations which indicate that the Consent Decree

 is inappropriate, improper, or inadequate Given the unique circumstances of this case

where the state and federal agencies have worked together closely and cooperatively

throughout the development and settlement of the case, the State or Connecticut may

withdraw or withhold its consent to the entry of this Consent Decree if comments received

disclose facts or considerations which show that the Consent Decree violates state law,

and the State also may withdraw or withhold its consent to the entry of this Consent

Decree if comments received disclose facts or considerations which show that the

Consent Decree's termination of the rights of third parties by operation of M.G.L c 21E,

§. 3A(j)(2) would render the Consent Decree unfair The United States reserves the right

to challenge in court the State's or Connecticut's withdrawal from the Consent Decree

The State and Connecticut reserve the right to oppose the United States' position in

opposition to the proposed withdrawal. In addition, in the event of the United States'

withdrawal from this Consent Decree, the State and Connecticut reserve their right to

withdraw from this Consent Decree     Settling Defendant consents to the entry of this

Consent Decree without further notice, except as provided in Paragraph 10.c of this

Consent Decree.

      221.    Except as otherwise provided in Paragraph 16 (Performance of Removal

Actions Prior to Effective Date of Consent Decree), if for any reason the Court should

decline to approve this Consent Decree in the form presented, this agreement is voidable

at the sole discretion of any Party and the terms of the agreement may not be used as

evidence in any litigation between the Parties

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                             XXXIX SIGNATORIES/SERVICE

       222.    Each undersigned representative of Settling Defendant, the City, and

PEDA, and the Assistant Attorney General for the Environment and Natural Resources

Division of the Department of Justice, the Attorney General for the Commonwealth of

Massachusetts, and the Attorney General for the State of Connecticut certifies that he or

she is fully authorized to enter into the terms and conditions of this Consent Decree and

to execute and legally bind such Party to this document.

       223.    Settling Defendant hereby agrees not to oppose entry of thi&Consent

Decree by this Court or to challenge any provision of this Consent Decree unless the

United States has notified the Settling Defendant irvwriting that it no longer supports

entry of the Consent Decree, and/or except as provided in Paragraph 10.c of this

Consent Decree. The City and PEDA agree not to oppose entry of this Consent Decree

by this Court, unless the United States has notified the City and PEDA in writing that it no

longer supports entry of the Consent Decree.

      224.    Settling Defendant, the City and PEDA shall identify, on the attached

signature pages, the name, address and telephone number of an agent who is

authorized to accept service of process by mail on behalf of that Party with respect to all

matters arising under or relating to this Consent Decree. Settling Defendant, the City and

PEDA hereby agree to accept service in that manner and to waive the formal service

requirements set forth in Rule 4 of the Federal Rules of Civil Procedure and any

applicable local rules of this Court, including, but not limited to, service of a summons




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                                            XL. FINAL JUDGMENT

                225.      Upon approval and entry of this Consent Decree by the Court, this Consent

       Decree shall constitute a final judgment between and among the United States, the

       Commonwealth of Massachusetts, the State of Connecticut, the City, PEDA and Settling

       Defendant. The Court finds that there is no just reason for delay and therefore enters

       this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.

       SO ORDERED THIS-^L DAY OF bkk»                .




                                                    United States District Judge




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
the Commonwealth of Massachusetts, and the State of Connecticut v General Electric
Company, relating to the General Electric-Pittsfield/Housatonic River Site



                                        FOR THE UNITED STATES OF AMERICA




Date                                    Lois J</£chiffer~^
                                        Assistant Attorney General
                                        Environment and Natural Resources Division
                                        U.S. Department of Justice
                                        Washington, D.C. 20530



Date     '                              Cyn^ia S. Huber
                                        Senior Attorney
                                        Environmental Enforcement Section
                                        Environment and Natural Resources Division
                                        U.S. Department of Justice
                                        P.O. Box 7611
                                        Washington, D.C. 20530-7611
                                        (202)514-5273



Date                                    Catherine Adams Fiske
                                        Environmental Enforcement Section
                                        Environment and Natural Resources Division
                                        U.S. Department of Justice
                                        One Gateway Center
                                        Suite 616
                                        Newton Corner, MA 02458
                                        (617)450-0444




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
the Commonwealth of Massachusetts, and the State of Connecticut v. General Electric Company,
relating to the General Electric-Pittsfield/Housatonic River Site.




                                          Donald Stem
                                          United States Attorney
                                          District of Massachusetts

                                          Karen Goodwin
                                          Assistant United States Attorney
                                          District of Massachusetts
                                          1550 Main Street
                                          Springfield, Massachusetts




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the Commonwealth of Massachusetts, and the State of Connecticut v. General Electric
Company, relating to the General Electric-Pittsfield/Housatonic River Site.




Date                                    John P. DeVillars
                                        Regional Administrator, Region I
                                        U.S. Environmental Protection Agency
                                        Boston, Massachusetts 02114-2023



Date                                    Timothy M.
                                        John W. Kilbom V
                                        Senior Enforcement Counsels
                                        U.S. Environmental Protection Agency
                                        Region 1
                                        One Congress Street
                                        Suite 1100
                                        Boston, Massachusetts 02114-2023




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
the Commonwealth of Massachusetts, and the State of Connecticut v. General Electric
Company, relating to the General Electric-Pittsfield/Housatonic River Site.




Date                                    Steven 'A. fierman
                                        Assistant Administrator
                                        Office of Enforcement and Compliance
                                         Assurance
                                        U.S. Environmental Protection Agency
                                        Washington, D.C. 20460




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  THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
  the Commonwealth of Massachusetts, and the State of Connecticut v. General Electric Company,
  relating to the General Electric-Pittsfield/Housatonic River Site.


                                            FOR THE COMMONWEALTH OF
                                            MASSACHUSETTS


                                            Tom Reilly
                                            Attorney General
                                            Commonwealth of Massachusetts



  ,o
  Date                                      Date


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  Dean Richlin                              James R. Milkey
  First Assistant Attorney General          Assistant Attorney General
  Office of the Attorney General            Chief, Environmental Protection Division
  One Ashburton Place                       200 Portland Street
  Boston, Massachusetts 02108               Boston, Massachusetts 02114



  Date                                      Date



  Matthew Brock                             Nancy E. Harper
  Assistant Attorney General                Assistant Attorney General
  Office of Attorney General                Office of Attorney General
  200 Portland Street                       200 Portland Street
  Boston, Massachusetts 02114               Boston, Massachusetts 02114
       Case 3:23-cv-30099 Document 1-1 Filed 09/29/23 Page 406 of 410


THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
the Commonwealth of Massachusetts, and the State of Connecticut v. General Electric
Company, relating to the General Electric-Pittsfield/Housatonic River Site



Date                                    Lauren A. Liss
                                        Commissioner
                                        Department of Environmental
                                          Protection
                                        Commonwealth of Massachusetts




Date     ~                              RotTert Durand
                                        Secretary
                                        Executive Office of Environmental
                                         Affairs
                                        Commonwealth of Massachusetts




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
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Company, relating to the General Electric-Pittsfield/Housatonic River Site


                                        FOR/THE STA         F CONNECTICUT

ICfi/ff
Date7                                   Richard Blumenthal
                                        Attorney General
                                        55 Elm Street
                                        P.O. Box 120
                                        Hartford, Connecticut 06141-0120



  te '                                  JqhnM. Looney / /
                                        Rfchard F. Webbl/




                                      •^Arthur J. Rocqu
                                        Commissioner of nvironmental Protection
                                        79 Elm Street
                                        Hartford, Connecticut 06106




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THE UNDERSIGNED PARTY enters into this Consent Decree in the metier of United States,
the Commonwealth of Massachusetts, and the Sure of Connecticut v. GenenI Electric Company,
relating to the General Electhc-Pittsfield/Housatonic River Site.



                                      FORG                           OMPANY



Date                                   /Stephe^D. Ratfisey
                                         Vice P/esident
                                         Corporate Environmental Programs
                                         General Electric Company
                                         3135 Easton Turnpike
                                         Fairfield, CT 06431


Agent Authorized to Accept Service on Behalf of Above-signed Party.

                                         Name:        Michael Carroll
                                         Title:       Manager of Prttsfield Remediation
                                                          Programs
                                                      Corporate Environmental
                                                          Programs
                                                       General Electric Company
                                          Address:   100 Woodlawn Ave.
                                                      Prttsfield, MA 01201
                                          Ph. Number. 413-494-35OO
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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
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                                        FOR THE PITTSFIELD ECONOMIC
                                        DEVELOPMENT AUTHORITY




Date                                    Thomas E. Hickey, Jr.   7
                                        Interim Director
                                        100 Woodlawn Avenue, Bldg. 42-100
                                        Pittsfield, MA01201


Agent Authorized to Accept Service on Behalf of the Pittsfield Economic Development
Authority:


                                        Jeffrey M. Bernstein, Esq.
                                        Bernstein, Cushner & Kimmell, P.C.
                                        One Court Street, Suite 700
                                        Boston MA 02108




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THE UNDERSIGNED PARTY enters into this Consent Decree in the matter of United States,
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Company, relating to the General Electric-Pittsfield/Housatonic River Site.




                                         FOR THE CITY OF PITTSFIELD




Date                                     Gerald S. Doyle, Jr.
                                         Mayor of the City of Prttsfield
                                         City Hall
                                         Pittsfield, MA 01201



Agent Authorized to Accept Service on Behalf of the City of Pittsfield:


                                         Jeffrey M. Bernstein, Esq.
                                         Bernstein, Cushner & Kimmell, P.C.
                                         One Court Street, Suite 700
                                         Boston, MA 02108




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